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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

    In re
                                             Chapter 11
    Boy Scouts of America and Delaware
    BSA, LLC,1                               Bankruptcy Case No. 20-10343
                     Debtors.                (LSS) (Jointly Administered)

    National Union Fire Insurance Co. of     Lead Case No. 22-cv-01237-RGA
    Pittsburgh, PA, et al.,
                                             Consolidated Case Nos. 22-cv-01238-
                     Appellants.             RGA; 22-cv-01239-RGA; 22-cv-
    v.                                       01240-RGA; 22-cv-01241-RGA; 22-
                                             cv-01242-RGA; 22-cv-01243-RGA;
    Boy Scouts of America and Delaware
                                             22-cv-01244-RGA;       22-cv-01245-
    BSA, LLC, et al.,
                                             RGA; 22-cv-01246-RGA; 22-cv-
                     Appellees.              01247-RGA; 22-cv-01249-RGA; 22-
                                             cv-01250-RGA; 22-cv-01251-RGA;
                                             22-cv-01252-RGA;       22-cv-01258-
                                             RGA; 22-cv-01263-RGA


         DEBTORS-APPELLEES’ CONSOLIDATED ANSWERING BRIEF




                         (Counsel Listed on Following Page)




1
     The Debtors, together with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Boy Scouts of America (6300); and
     Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West
     Walnut Hill Lane, Irving, Texas 75038.
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                CORPORATE DISCLOSURE STATEMENT

      Boy Scouts of America is a non-profit corporation founded in 1910 and

chartered by an act of Congress on June 15, 1916. Boy Scouts of America has no

parent corporation and has issued no stock. No publicly-held corporation holds

any interest in Boy Scouts of America.

      Delaware BSA, LLC is a wholly-owned subsidiary of Boy Scouts of

America. Delaware BSA, LLC has issued no stock, and no publicly-held

corporation holds any interest in Delaware BSA, LLC.
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        Appellees Boy Scouts of America and Delaware BSA LLC (together, the

 “Appellees” or the “BSA”)2 file this consolidated brief in opposition to the above-

 captioned consolidated appeals (the “Appeals”) of the Opinion with respect to

 confirmation of the Plan [D.I. 1-3] (the “Confirmation Opinion”),3 the

 Confirmation Order [D.I. 1-1], and the Pre-Petition Century/Chubb Companies

 Claims Order [Bankr. D.I. 10327] (each term as defined herein) of the United

 States Bankruptcy Court for the District of Delaware and in response to each of

 the briefs (collectively, the “Opening Briefs”) filed in support thereof by National

 Union Fire Insurance Co. of Pittsburgh, PA, et al., Travelers Casualty and Surety

 Company, Inc. et al., Old Republic Insurance Company, General Star Indemnity

 Company, Indian Harbor Insurance Company, Munich Reinsurance America, Inc.,

 Arch Insurance Company, Great American Assurance Company et al., The

 Continental Insurance Co., et al., Gemini Insurance Company, Traders and Pacific

 2
     References to the “BSA” herein shall be to Boy Scouts of America or to Boy
     Scouts of America and Delaware BSA, LLC jointly as the debtors and debtors
     in possession in the underlying chapter 11 cases (the “Chapter 11 Cases”), as
     the context requires.
 3
     “D.I. __” refers to documents filed in this consolidated appeal docket (Case No.
     22-cv-01237 (RGA)). “Bankr. D.I. ___” refers to documents filed in the main
     bankruptcy case that is the subject of this appeal (Case No. 20-10343 (LSS)).
     “A__” refers to documents in the Notice of Lodging of Multimedia Filing filed
     by the Certain Insurers [D.I. 47]. “ADV__” refers to documents in the
     Appendix to the D&V Claimants’ Opening Brief [D.I. 46], “ALW” refers to
     documents in the Appendix to the Lujan Claimants’ Opening Brief [D.I. 44],
     and “SA__” refers to documents included in the Debtors’ supplemental
     appendix to this brief, filed contemporaneously herewith.

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 Insurance Company et al., Argonaut Insurance Company et al., Arrowood

 Indemnity Company, Liberty Mutual Insurance Company et al. (“Liberty”) and

 Allianz Global Risks US Insurance Company et al. (“Allianz”) [D.I. 45]

 (collectively, the “Certain Insurers” or “Insurers”), Liberty and Allianz [D.I. 43],

 the claimants represented by Dumas & Vaughn, LLC [D.I. 41] (collectively, the

 “D&V Claimants”), and the claimants represented by Lujan & Wolff LLP [D.I. 40]

 (collectively, the “Lujan Claimants”).

                                INTRODUCTION4

       An “extraordinary case by any measure”—this is the bankruptcy court’s

 characterization of the historic resolution of these chapter 11 cases after presiding

 over fifty-nine hearings culminating in twenty-two days of confirmation trial.

 After nearly three years in bankruptcy and thousands of hours of arduous mediated

 negotiations among more than a dozen stakeholder groups, the BSA is poised to

 effectuate an overwhelmingly consensual Plan that will create a settlement trust to

 compensate survivors of sexual abuse—the largest in United States history. This

 trust, to be administered by the well-respected, former bankruptcy judge Barbara

 Houser, will equitably compensate survivors with cash and other assets totaling

 approximately $2.46 billion plus significant unliquidated assets, including valuable



 4
     Capitalized terms used but not defined in this Introduction shall have the
     meanings ascribed to such terms below.

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 insurance rights. The Plan will also allow the BSA, a congressionally chartered

 non-profit organization that is woven into the fabric of American life, to continue

 its charitable mission of providing boys and girls with “opportunities to learn self-

 sufficiency and leadership skills that can contribute to the betterment of society.”5

        The global resolution embodied in the confirmed plan of reorganization is a

 carefully calibrated compromise among the often competing interests of the BSA,

 Local Councils and Chartered Organizations that together form an interconnected

 network united to deliver the mission of Scouting; insurance companies that issued

 policies to the BSA, Local Councils and Chartered Organizations covering claims

 for Scouting-related abuse; and abuse survivors. The Plan resolves a complex

 array of overlapping liabilities and insurance rights through a series of settlements

 by channeling Scouting-related abuse claims to the Settlement Trust and by

 granting corresponding releases of such claims in favor of the BSA, Related Non-

 Debtor Entities, Local Councils, Chartered Organizations and Settling Insurance

 Companies. Without each such element of the Plan, there would be no resolution.

 The parties would face a melt-down of the BSA organization and the Scouting

 mission and hundreds of Local Council and Chartered Organization bankruptcies,

 resulting in a race to the courthouse that would jeopardize or eliminate any ability




 5
     D.I. 1-3, Introduction at 2.

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 for abuse survivors, many of whom are aged and in desperate need of funds and

 closure, to recover anything or achieve the closure they seek.

       The only delays in implementing this extraordinary outcome are the instant

 appeals by two categories of Appellants: (i) a group of insurance companies, which

 seek to forestall, by any means necessary, their payment obligations under

 insurance policies covering Scouting-related abuse claims because they say the

 trust will pay survivors too much, and (ii) a vanishingly small minority of abuse

 survivors, representing less than 0.2% of the class, who seek to elevate their claims

 above similarly situated claimants.

       The Certain Insurers principally challenge the bankruptcy court’s finding of

 fact that the Plan was proposed in good faith. The D&V Claimants and Lujan

 Claimants principally challenge the bankruptcy court’s authorization of the

 channeling injunction and non-consensual third-party releases that are the lynchpin

 of the Plan. Neither challenge has merit.

       The    bankruptcy    court’s    exhaustive   and    well-reasoned    269-page

 Confirmation Opinion properly determined that the Plan was proposed in good

 faith after diligently examining the totality of the circumstances.       Despite an

 extremely high bar to reverse such a factual finding, the Certain Insurers appeal the

 bankruptcy court’s finding that the Plan was proposed in good faith, primarily

 asserting that Retired Judge Houser will issue inflated awards that the Insurers will



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 have to pay, and complaining about the substantial increase of claims that allegedly

 would never have been filed but for the bankruptcy. The Certain Insurers not only

 fail to demonstrate that the bankruptcy court’s findings of fact are completely

 devoid of evidence, as required, but fail to introduce any credible evidence to

 support a contrary finding. The fact that survivors filed claims in the bankruptcy

 that may otherwise be barred under applicable state law does not demonstrate,

 much less support, any theory that the BSA proposed the Plan in bad faith.

 Further, the Settlement Trust has mechanisms for assessing the validity of claims,

 and the Certain Insurers’ rights to raise coverage defenses are fully preserved

 under the Plan.

       The bankruptcy court also properly applied the Third Circuit’s standard for

 approval of the channeling injunction and related third-party releases as set forth in

 Continental to the facts of these chapter 11 cases, many of which were

 uncontroverted. In particular, the bankruptcy court made specific factual findings,

 including that it had subject matter jurisdiction over the claims that were the

 subject to the channeling injunction and releases and that the channeling injunction

 and releases are fair and necessary to the reorganization.

       The order confirming the Plan in these extraordinary cases should be

 affirmed.




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                       JURISDICTIONAL STATEMENT

       The bankruptcy court had subject matter jurisdiction to enter a final order

 confirming the Third Modified Fifth Amended Chapter 11 Plan of Reorganization

 (With Technical Modifications) For Boy Scouts of America and Delaware BSA,

 LLC [Bankr. D.I. 10296] (the “Plan”) and the Supplemental Findings of Fact and

 Conclusions of Law and Order Confirming the Third Modified Fifth Amended

 Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

 of America and Delaware BSA, LLC [Bankr. D.I. 10316] (the “Confirmation

 Order”)6 pursuant to 28 U.S.C. §§ 157(a) and (b) and 1334. This Court has

 jurisdiction to hear the Appeals under 28 U.S.C. § 158(a)(1), which confers

 jurisdiction to district courts to hear appeals from “final judgments, orders, and

 decrees” of bankruptcy courts.

                            STANDARD OF REVIEW

       The Appellants challenge various findings and rulings that the bankruptcy

 court made in connection with its decision to confirm the Appellees’ historic plan

 of reorganization—a decision the bankruptcy court explained in more than 300

 pages of opinion and supplemental findings, after hearing fifteen days of testimony

 and seven days of oral argument. None amount to reversible error.

 6
     All capitalized terms used but not otherwise defined herein shall have the
     meanings ascribed to such terms in the Plan or the Confirmation Order, as
     applicable.

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       The bankruptcy court’s factual findings are reviewed for clear error. See In

 re Millennium Lab Holdings II, LLC, 591 B.R. 559, 570 (D. Del. 2018), aff’d, 945

 F.3d 126 (3d Cir. 2019); In re W.R. Grace & Co., 475 B.R. 34, 75 (D. Del. 2012),

 aff’d, 729 F.3d 332 (3d Cir. 2013). A bankruptcy court’s factual findings “may only

 be overturned if they are ‘completely devoid of a credible evidentiary basis or bear[]

 no rational relationship to the supporting data.’” In re Fruehauf Trailer Corp., 444

 F.3d 203, 210 (3d Cir. 2006) (quoting Citicorp Venture Capital, Ltd. v. Comm. of

 Creditors, 323 F.3d 228, 232 (3d Cir. 2003)); see also Burtch v. Opus LLC (In re

 Opus E. LLC), 698 F. App’x 711, 714 (3d Cir. 2017) (“Clear error occurs only if the

 court’s finding is completely devoid of minimum evidentiary support displaying

 some hue of credibility or bears no rational relationship to the supportive evidentiary

 data.” (internal citations omitted)).    A bankruptcy court’s legal conclusions,

 including a determination that it has subject matter jurisdiction, are reviewed de

 novo. See In re Fed.-Mogul Glob. Inc., 402 B.R. 625, 630 (D. Del. 2009). Mixed

 questions of law and fact are reviewed under a mixed standard, affording a clearly

 erroneous standard to factual findings but exercising plenary review of the

 bankruptcy court’s interpretation and application of those facts to legal precepts.

 In re HomeBanc Mortg. Corp., 945 F.3d 801, 810–11 (3d Cir. 2019); see also In re

 Nortel Networks, Inc., 669 F.3d 128, 137 (3d Cir. 2011); In re Woodbridge Grp. of

 Cos., LLC, 617 B.R. 796, 801 (D. Del. 2020).



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                           STATEMENT OF THE CASE

       A.     General Overview Of Confirmed Plan

       The Plan is a tapestry of interconnected and interdependent settlements that

 will establish the largest sexual abuse compensation fund in the history of the

 United States. Critically, the Plan is supported by every estate fiduciary and nearly

 every organized creditor group. D.I. 1-3 at 168. The settlements memorialized in

 the Plan are the product of nearly two years of intensive mediation and provide at

 least $2.46 billion in cash and property to a Settlement Trust benefiting abuse

 survivors, plus significant unliquidated assets, including valuable insurance rights.

 D.I. 1-3 at 68–69; Bankr. D.I. 9280 ¶¶ 52, 55.

       The global resolution of Scouting-related Abuse Claims under the Plan is

 predicated on these settlements and the related releases and injunctions. These

 settlements resolve the overlapping liabilities, insurance rights and obligations of

 the Protected Parties, Limited Protected Parties, and Opt-Out Chartered

 Organizations. If any one of the settlements is eliminated, the totality of the global

 resolution embodied in the Plan would fall apart, an outcome which would, in turn,

 threaten the full payment to abuse survivors and the survival of Scouting. See, e.g.,

 Bankr. D.I. 9280 ¶¶ 107, 120, 135, 155, 170 (testimony that without the

 settlements, the plan would “not be possible”). This Court’s affirmance of the




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 Confirmation Order is a condition precedent to the Insurance Settlement

 Agreements and the effectiveness of the Plan as a whole.

       The Plan “channels” to the Settlement Trust all Abuse Claims against the

 BSA, the Related Non-Debtor Entities, the Local Councils, certain Chartered

 Organizations, and those covered by insurance policies issued by the Settling

 Insurance Companies and provides for coextensive nonconsensual releases of the

 channeled Abuse Claims (the “Releases”). The channeled Abuse Claims will be

 processed, liquidated, and paid by the Settlement Trustee in accordance with the

 Settlement Trust Agreement and Trust Distribution Procedures (the “TDP”), and

 were the subject of intensive negotiations by the BSA and various constituencies

 during the Chapter 11 Cases. See, e.g., D.I. 1-3 at 174–75; D.I. 1-4 Art. III.B.10,

 III.B.11, VII.A, Ex. A, Art. I.D.14. The Channeling Injunction and Releases are

 the “cornerstone of the Plan,” D.I. 1-3 at 154–55, and are necessary to ensure an

 equitable process by which abuse survivors’ claims will be administered and paid.

       B.     Brief Background On The BSA And Scouting

       The BSA was incorporated in the District of Columbia on February 8, 1910,

 and chartered by an act of Congress as a non-profit corporation under title 36 of the

 United States Code, which was signed into law by President Woodrow Wilson on

 June 15, 1916. See 36 U.S.C. §§ 30901-08; Bankr. D.I. 4 at 1. The BSA’s

 charitable mission is to prepare young people for life by instilling in them the



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 values of the Scout Oath and Law and encouraging them to be trustworthy, kind,

 friendly and helpful.    Id.   The BSA also trains young men and women in

 responsible citizenship, character development, and self-reliance through

 participation in a wide range of outdoor activities, educational programs, and

 career-oriented programs in partnership with community organizations.              Id.

 Congress recognized the “importance and magnitude” of the BSA’s work and

 observed that the BSA “tends to conserve the moral, intellectual, and physical life

 of the coming generation.” See H.R. Rep. No. 64-130, at 245 (1916).

       Scouting operates through a network of organizations that share a common

 charitable mission. See Bankr. D.I. 9316 ¶ 10; Bankr. D.I. 9280 ¶ 14. The BSA, in

 accordance with its congressional charter, develops and disseminates the structure

 and content of the Scouting program, owns and licenses intellectual property, and

 establishes merit badge requirements and membership qualifications. The BSA

 also purchases general liability insurance that is shared among the BSA, Local

 Councils and Chartered Organizations (since the 1970s) and provides shared

 technical support, accounting, human resources and other corporate services to the

 Local Councils. See Bankr. D.I. 9280 ¶¶ 15–17; Bankr. D.I. 9316 ¶¶ 10–11. Each

 of these Local Councils and Chartered Organizations, along with the BSA, form

 part of an interconnected organizational structure that is crucial to carrying out the

 BSA’s mission. See D.I. 1-3 at 120, 155; Bankr. D.I. 9341 at 263:14–264:1.



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       Most Scouts never interact with the national BSA organization directly.

 Bankr. D.I. 9316 ¶ 10.         Instead, the tens of thousands of Scouting units

 nationwide—e.g., “troops,” “packs,” and “dens”—are organized locally, through

 “Chartered Organizations,” including churches, schools, and civic associations,

 which are often referred to as Scouting’s partners. Id. These Scouting units and

 their Chartered Organization partners are, in turn, supported by the Local Councils.

 Id. The bankruptcy court found that it takes

       all three levels of organization to deliver Scouting—national, which
       sets policy and provides administrative services, Local Councils,
       which charter Organizations, recruit Scouts and volunteer leaders and
       enforce BSA rules and regulations, and Chartered Organizations,
       which provide facilities and use Scouting to further one of their goals
       of youth character development, career skill development, community
       service, patriotism, military and veteran recognition or faith-based
       youth ministry.

 D.I. 1-3 at 133 (finding identity of interest).

       Approximately 250 Local Councils in the United States cover geographic

 areas of varying size, population, and demographics. Bankr. D.I. 9280 ¶ 14. Each

 Local Council is a non-profit organization incorporated under applicable state law.

 The Local Councils are chartered by the BSA on an annual basis to facilitate the

 delivery of the Scouting program. Bankr. D.I. 9280 ¶ 14. Local Councils are led

 by paid professional adult leaders with assistance from volunteers and their own

 boards of directors and senior management. Bankr. D.I. 9280 ¶ 14; Bankr. D.I.

 9316 ¶ 10; ADV719. Pursuant to the BSA bylaws, the BSA may revoke or refuse


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 to renew a Local Council charter at any time in its sole discretion and in the best

 interest of Scouting. Bankr. D.I. 9279 ¶ 14; SA 8 (BSA Bylaws, dated May 2021,

 Art. VI, Sec. 3, 4); SA 36 (September 2020 Rules and Regulations); see also, e.g.,

 SA 60 (Capital Area Council and North Florida Council Charter Renewals). In

 such circumstances, the articles of incorporation for the Local Council provide that

 such council will take the actions necessary to dissolve the entity. See, e.g., SA 64

 (Template Articles of Incorporation, Art. II); SA 109 [JTX 7-2].

       The BSA relies on Local Councils for services essential to Scouting,

 including funding local Scouting programs and initiatives, recruiting Scouts and

 volunteer leaders, Scout and volunteer training, opportunities for rank

 advancement, local enforcement of the BSA’s policies, rules, and regulations, and

 registration of members and leaders. Bankr. D.I. 9280 ¶ 15. In addition, Local

 Councils own and operate hundreds of unique camps and other properties that host

 outdoor activities, educational programs, and leadership training for youth

 involved in the BSA’s Scouting programs. Id. ¶ 14; Bankr. D.I. 16 ¶ 91.

       Through Local Councils, the BSA maintains relationships with local donors

 and Chartered Organizations, which currently sponsor more than 44,000 local

 Scouting units throughout the country. Bankr. D.I. 9316 ¶ 11; 9280 ¶ 16. These

 relationships, vital to the success of Scouting, drive membership and provide

 essential funding. Id. Without a Local Council operating in a particular region, the



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 BSA would lose access to the resources necessary to operate Scouting units in such

 region. Id. Thus, if a Local Council were to dissolve or file for bankruptcy, it

 would be difficult for the BSA to reestablish the community ties necessary for a

 successful Scouting program. Id.

       The BSA also receives services and support from certain Related Non-

 Debtor Entities. Bankr. D.I. 9280 ¶ 18. These entities include (a) BSA Asset

 Management, LLC, a Delaware limited liability company that provides the BSA

 with investment management and advisory services; (b) BSA Commingled

 Endowment Fund, LP, a Delaware limited partnership through which the BSA’s

 and certain Local Councils’ investments are managed by BSA Asset Management,

 LLC; (c) BSA Endowment Master Trust, a non-profit trust established for

 investing funds contributed to the BSA Commingled Endowment Fund, LP; (d)

 National Boy Scouts of America Foundation, a non-profit corporation that partners

 with Local Councils and other donors by providing support for major-gift

 fundraising efforts and managing donor-advised funds; (e) Learning for Life, a

 non-profit corporation that provides important education programs and mentoring

 to young people for future career opportunities; (f) Arrow WV, Inc., a non-profit

 corporation that owns, develops, and leases the Summit Bechtel Family National

 Scout Reserve high adventure base in West Virginia to the BSA; and (g) Atikaki

 Youth Ventures Inc. and Atikokan Youth Ventures Inc., non-share capital



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 corporations formed under the laws of Canada that own and operate the BSA

 portions of the Northern Tier High Adventure Base located in Canada. Id. ¶¶ 19–

 24. There is “no record that any of the Non-Related Debtor Entities is involved in

 anything other than Scouting.” D.I. 1-3 at 135.

       C.     Prepetition Abuse Claim Litigation

       The BSA’s bankruptcy proceedings exist because of liabilities related to

 claims of sexual abuse. Prior to the Petition Date, the BSA was a defendant in a

 significant number of abuse-related lawsuits and claims asserted by abuse

 survivors. D.I. 1-3 at 7–10, 20; Bankr. D.I. 4 at 3; Bankr. D.I. 16 ¶¶ 7, 52. Most of

 these lawsuits also named non-debtor entities as co-defendants, including Local

 Councils, Chartered Organizations, and certain Related Non-Debtor Entities. D.I.

 1-3 at 19; Bankr. D.I. 9273 ¶¶ 6, 19. The abuse allegations in these claims and

 complaints ranged in severity, and plaintiffs generally sought economic and non-

 economic damages, punitive damages, and non-monetary relief. D.I. 1-3 at 10.

 The vast majority of the Abuse Claims that were settled before the Petition Date

 involved allegations of abuse that occurred more than thirty years ago. Bankr. D.I.

 9273 ¶ 7.

       As a result of a growing trend of changes in state statutes of limitations for

 claims related to childhood sexual abuse, the number of abuse claims against the

 BSA sharply increased during the time period immediately preceding the BSA’s



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 Chapter 11 Cases.      D.I. 1-3 at 20; Bankr. D.I. 9280 ¶ 42. Since 2002,

 approximately seventeen states have enacted legislation allowing victims of sexual

 abuse to assert claims that previously would have been barred by applicable

 statutes of limitation. Bankr. D.I. 4 at 5; Bankr. D.I. 9280 ¶ 42. This trend

 accelerated in 2019, when more than a dozen states enacted such legislation.

 Bankr. D.I. 4 at 5.

       Beginning in 2016, the BSA, together with Ogletree Deakins Nash, Smoak

 & Stewart, P.C. (“Ogletree”), the BSA’s national coordinating counsel handling

 Abuse Claims litigation, worked to resolve Abuse Claims that were either the

 subject of pre-litigation demands or pending lawsuits. D.I. 1-3 at 19; Bankr. D.I.

 9273 ¶ 10. The BSA sought to implement a coordinated, uniform approach for

 investigating, defending, and resolving Abuse Claims and ensuring consistent

 defense and claim resolution strategies across the country. Bankr. D.I. 9273 ¶¶ 18–

 32. With certain exceptions,7 the BSA generally administered and defended Abuse

 Claims on behalf of Local Councils, Related Non-Debtor Entities, and Chartered

 Organizations, as well as authorizing and paying settlement amounts related to

 Abuse Claims, such that these entities did not bear the costs of litigation or

 settlement of Abuse Claims. D.I. 1-3 at 20; Bankr. D.I. 9273 ¶ 4.


 7
     See Bankr. D.I. 9354 at 189:13-21, 191:11-192:6 (Griggs) (describing
     exceptions with respect to the Archbishop of Agaña and Guam and TCJC);
     Bankr. D.I. 9273 ¶ 4.

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       The BSA, with the assistance of Ogletree, was able to resolve approximately

 250 prepetition Abuse Claims and spent approximately $150 million on these

 efforts between 2017 and 2019.8 D.I. 1-3 at 20; Bankr. D.I. 9273 ¶¶ 6–7. But with

 potential claims still mounting toward the end of 2018 and throughout 2019, the

 BSA, with assistance of legal and financial advisors, began to explore strategic

 options for achieving an equitable and global out-of-court resolution of Abuse

 Claims. Bankr. D.I. 16 ¶¶ 8–9. In late 2019, the BSA participated in a mediation

 with counsel to certain abuse survivors and some of the BSA’s insurers. D.I. 1-3 at

 20; Bankr D.I. 9354 at 109:11-110:17; Bankr. D.I. 16 ¶ 58; Bankr. D.I. 4 at 6. The

 mediation was unsuccessful. D.I. 1-3 at 20; Bankr. D.I. 16 ¶ 58. So, the writing

 was on the wall: given the pace and volume of Abuse Claims, the BSA recognized

 that case-by-case litigation untenably threatened the ability to provide equitable

 compensation to all survivors of sexual abuse and the future of Scouting, and that a

 global resolution outside of bankruptcy was not possible. See D.I. 1-3 at 20;

 Bankr. D.I. 4 at 6.

       D.     Overview Of Insurance And Coverage Litigation

              1.       Insurance Policies

       The BSA’s insurance program has evolved over the last eighty years, with

 variations in insurance carriers, covered entities, type and amount of limits, and the

 8
     These include Abuse Claims asserted against the BSA, Local Councils, and/or
     Related Non-Debtor Entities. D.I. 1-3 at 20; D.I. 9273 ¶ 6.

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 use of deductibles. Bankr. D.I. 9398 ¶ 7; SA 3822. Nearly all years have some

 available coverage for Abuse Claims, whether through a per-occurrence limit, an

 aggregate limit, or both. Bankr. D.I. 9398 ¶¶ 7, 8; Bankr. D.I. 9490 at 12:2-14:12;

 see, e.g., A14624, SA 2621, SA 2600.

        Between at least 1935 and 1982, the BSA purchased primary insurance

 policies providing coverage for Abuse Claims, with the limits of liability subject to

 a per-person or per-occurrence limit, but no aggregate limit.9 Bankr. D.I. 9398 ¶ 9;

 see, e.g., SA 2457, SA 2492, SA 2548, SA 3822. Certain of the older policies

 during this period are missing or are disputed. See, e.g., Bankr. D.I. 9398 ¶ 71

 (describing Hartford policies for which only secondary evidence exists).

        From 1969 to 1982, the BSA purchased excess insurance policies, which are

 triggered once the primary insurance coverage is exhausted. Bankr. D.I. 9398 ¶

 10. Again, most of these excess policies provide per-occurrence coverage with no

 aggregate limit, meaning that once the primary policy’s per-occurrence limit is

 exhausted, the excess policy attaches to cover any remaining value of the claim.

 Id. As a result, the policies can repeatedly pay out the per-occurrence limits. Id.




 9
     A per-occurrence limit represents how much an insurance policy will pay for
     any one occurrence whereas an aggregate limit represents the overall amount a
     policy will pay for all occurrences that take place during the policy period; once
     the applicable payments made by these policies reach the aggregate limit, the
     policy will no longer respond to claims. Bankr. D.I. 9398 ¶ 8.

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       Beginning in 1983, the BSA insurance policies generally incorporated

 aggregate limits for Abuse Claims. Id. ¶ 11. Because of these aggregate limits,

 BSA purchased significantly more layers of excess coverage. Id. In the post-1982

 period alone, approximately $3.6 billion of coverage is potentially available within

 the policies’ aggregate limits (after accounting for prior settlements and exhaustion

 of coverage). Id.

       From 1986 through 2018, the BSA purchased primary and first-layer excess

 policies that have deductibles that match the policies’ limits of liability, dollar for

 dollar. Id. ¶ 12; Bankr. D.I. 9490 at 15:8-19; SA 3822. Beginning in 2019 and

 continuing to the present, the BSA discontinued its practice of procuring policies

 with matching deductibles. Bankr. D.I. 9398 ¶ 14; SA 3822.

       In addition to providing insurance coverage to the BSA, the BSA insurance

 program also provided insurance coverage to Local Councils beginning in 1971.

 Bankr. D.I. 9398 ¶ 15. Prior to 1971, Local Councils were not insureds under the

 BSA insurance program; instead, they independently purchased insurance policies.

 Id. ¶ 16. For a brief period in the 1970s, the BSA offered each Local Council the

 opportunity to pay a premium to be added as an additional insured (i.e., a party

 with rights to the insurance coverage) on the BSA’s insurance policies. Id. ¶ 17.

 Many Local Councils elected this option; others continued to purchase coverage

 independently. Id. Starting in 1975, all Local Councils became insureds under the



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 BSA’s insurance program, whether as an additional insured (between 1975 and

 1977) or as a named insured (between 1978 and the present). Id. ¶ 18.

       Beginning in 1976, the BSA also amended its policies to provide coverage

 for Chartered Organizations. Id. ¶ 19. Starting in 1978, the BSA specifically

 included Chartered Organizations as insureds on its insurance policies, albeit with

 some variation in coverage. Id. Some (but not all) Chartered Organizations are

 also listed as additional insureds on their Local Council’s independent insurance

 policies. Bankr. D.I. 1-3 at 14; Bankr. D.I. 9398 ¶¶ 25–26; Bankr. D.I. 9490 at

 22:17-19, 103:22-104:2.

              2.     Prepetition Insurance Coverage Litigation

       The BSA was also engaged in extensive insurance coverage litigation arising

 out of Abuse Claims prior to the filing of the Chapter 11 Cases. D.I. 1-3 at 16;

 Bankr. D.I. 9398 ¶¶ 68, 82.

       The “Illinois Action” commenced in 2017 when National Surety

 Corporation sued BSA, the Chicago Area Council, and twenty-one other insurance

 companies (including Allianz, Century and Hartford) in Illinois state court seeking

 declaratory relief that no coverage existed under certain excess liability policies for

 lawsuits alleging abuse by repeat abuser Thomas Hacker. D.I. 1-3 at 16; Bankr.

 D.I. 9398 ¶ 68; SA 478.




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         Century and certain other defendants asserted counterclaims against the BSA

 and the Chicago Area Council in the Illinois Action, arguing that two settlements

 involving abuse by Hacker were not covered on the grounds that they were

 unreasonable and/or attributable to punitive damages exposure. See D.I. 1-3 at 17;

 SA 3790.

         The “Century Texas Action” commenced in 2018 when the BSA and certain

 Local Councils filed an action in Texas state court to resolve various coverage

 issues, including how a settlement called the First Encounter Agreement10 should

 be applied in allocating the costs of defense and indemnity to Century and other

 insurers and other disputes over payment. Bankr. D.I. 9398 ¶¶ 82–83; SA 494. As

 to Century, the Illinois Action and the Century Texas Action have been resolved

 through the Century and Chubb Companies Insurance Settlement Agreement. D.I.

 1-3 at 77–78; Bankr. D.I. 8907-1. The remainder of the Illinois Action and the

 Century Texas Action are stayed pending the Chapter 11 Cases. Bankr. D.I. 10316

 ¶ 54.

         The “Hartford Texas Action” also commenced in 2018 when the BSA filed

 an action in Texas state court, alleging that Hartford had breached the terms of its

 10
      The First Encounter Agreement was an agreement entered into between the
      BSA and Century in 1996 in which it was agreed that the date of “occurrence”
      pertaining to Abuse Claims would be the date of when the first act of abuse
      took place regardless of whether additional acts of abuse occurred in later
      policy periods. Bankr. D.I. 9398 ¶ 44.

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 insurance policies and acted in bad faith for denying coverage of Abuse Claims.

 Bankr. D.I. 9398 ¶ 68; SA 516. Hartford responded with counterclaims alleging

 various coverage defenses including that Abuse Claims arise out of a single

 occurrence (which would dramatically limit the amount Hartford would owe for

 Abuse Claims).      Bankr. D.I. 9398 ¶ 68.       Hartford later filed an adversary

 proceeding against the BSA, certain of the BSA’s insurers, and certain Local

 Councils that raised the same coverage issues. D.I. 1-3 at 18 n.91; Bankr. D.I.

 9398 ¶ 69. Both the Hartford Texas Action and the adversary proceeding filed by

 Hartford have been resolved by the Hartford Insurance Settlement Agreement. See

 Bankr. D.I. 8816-1.

         E.    Chapter 11 Cases

         On February 18, 2020 (the “Petition Date”), the BSA filed for relief under

 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

               1.    Claims Filed In The Chapter 11 Cases

         On May 26, 2020, the bankruptcy court entered an order establishing, among

 other deadlines, November 16, 2020 as the deadline for holders of Abuse Claims

 and other claims to file claims against the BSA (the “Bar Date Order”).11 Bankr.




 11
      Prior to their settlement with the Debtors, Century and Chubb Companies
      appealed the Bar Date Order, but such appeal is currently stayed before the
      Third Circuit pending the finality of the Confirmation Order. See Century
      Indemnity Co., et al, v. Boy Scouts of Am., Case No. 20-00774 (D. Del. Mar. 29,

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 D.I. 695; D.I. 1-3 at 21. The Bar Date Order also approved procedures for the

 provision of notice to known and unknown survivors of Scouting-related abuse,

 and procedures for the confidential submission of Abuse Claims. Bankr. D.I. 695;

 D.I. 1-3 at 22. As of the bar date, approximately 82,200 unique and timely Direct

 Abuse Claims, 14,000 largely, if not entirely, contingent and unliquidated Indirect

 Abuse Claims, and 950 non-abuse claims were filed in the Chapter 11 Cases.

 Bankr. D.I. 6445 Art. V.M.4; SA 3823; see also Bankr. D.I. 9317.

               2.    Mediation And The Plan

         From the outset of the Chapter 11 Cases, the Debtors have sought a global

 resolution that would achieve their dual objectives of (i) providing an equitable,

 streamlined, and certain process by which abuse survivors may obtain

 compensation for Abuse while preserving trust assets such as insurance policies

 and (ii) ensuring that the BSA has the ability to continue its vital charitable

 mission. Bankr. D.I. 9280 ¶¶ 43–44; Bankr. D.I. 9309 ¶ 7. To that end, on June 9,

 2020, the bankruptcy court appointed three mediators in the Chapter 11 Cases12 to

 aid the Debtors in achieving consensus. Bankr. D.I. 812; D.I. 1-3 at 24. Indeed, for

 nearly two years, the Debtors engaged in near-continuous mediation with every



      2021) [D.I. 1, 25, 27]; see also Century Indemnity Co., et al, v. Boy Scouts of
      America, Case No. 21-1792 (3d Cir. Jan. 3, 2022) [D.I. 35].
 12
      Of the three mediators originally appointed by the bankruptcy court, only
      Timothy V.P. Gallagher continues to serve as mediator.

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 major creditor constituency in the Chapter 11 Cases, including the Certain Insurers.

 D.I. 1-3 at 24, 30; Bankr. D.I. 9280 ¶ 55; see also Bankr. D.I. 2292, 2624, 5219,

 5284, 5287, 6210, 7772, 7884, 7928, 8095, 8772, 9386, 10178.

         As set forth above, mediation ultimately led to overwhelming support for the

 Plan by key constituencies, including (i) the representatives of almost all abuse

 survivors, including the official committee appointed by the United States Trustee

 to represent abuse survivors (the “Tort Claimants’ Committee”), Bankr. D.I. 142,

 the Future Claimants’ Representative, Bankr. D.I. 486, the Coalition (an ad hoc

 committee representing more than 70,000 abuse survivors), and the Pfau/Zalkin

 claimants (certain survivors represented by the law firms of Pfau Cochran Vertetis

 Amala PLLC and Zalkin Law Firm, P.C.), (ii) the Settling Insurance Companies,13

 (iii) the Debtors’ prepetition secured lender, JPM (JPMorgan Chase Bank, N.A.),

 (iv) the official committee for general unsecured creditors (the “Creditors’

 Committee”), Bankr. D.I. 141, (v) the Ad Hoc Committee (for Local Councils),

 (vi) and various Chartered Organizations, including TCJC (The Church of Jesus

 Christ of Latter-day Saints, a long-time Chartered Organization that ended its

 relationship with the BSA in 2019), the UMAHC (the United Methodist ad hoc

 committee, representing the United Methodist Entities involved in Scouting), and



 13
      This includes Century and Chubb Companies, Hartford, Zurich Insurers, Zurich
      Affiliated Insurers, and Clarendon.

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 the RCAHC (the Roman Catholic ad hoc committee, representing Roman Catholic

 Entities involving in Scouting). D.I. 1-3 at 56. Moreover, the Archbishop of

 Agaña (the “AOA”) and the official creditors’ committee in the AOA’s bankruptcy

 case (the “AOA Committee”) have settled with the Debtors and no longer dispute

 the Confirmation Opinion and Confirmation Order.14 See Stipulation and Order of

 Voluntary Dismissal, D.I. 7 (dismissing the AOA’s appeal of the Confirmation

 Opinion and Confirmation Order with prejudice); see generally D.I. 1-3 at 54.

         The final voting results following solicitation of votes on the Plan

 demonstrate overwhelming creditor support for the Plan, with all voting classes

 voting to accept. See Bankr. D.I. 8345, 9275. With respect to Debtor BSA,

 85.72% of holders of Class 8 Direct Abuse Claims and 82.41% of Class 9 Indirect

 Abuse Claims voted to accept the Plan. See Bankr. D.I. 9275; see also D.I. 1-3 at

 164 (finding that 85% acceptance by Class 8 constituted overwhelming creditor

 support for the Plan).15

         The settlements achieved through mediation and embodied in the Plan

 resulted in substantial monetary and other valuable contributions to the Settlement


 14
      The AOA withdrew its appeal of the Confirmation Order as a result of the AOA
      Stipulation (defined herein). The AOA Committee did not appeal any of the
      decisions below.
 15
      With respect to Delaware BSA, there were no Class 8 Direct Abuse Claims and
      81.03% of Class 9 Indirect Abuse Claims voted to accept the Plan. D.I. 1-3 at
      53; Bankr. D.I. 9275.

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 Trust and non-monetary contributions to the Scouting mission (including an

 enhanced Youth Protection program), which enabled the bankruptcy court to

 confirm the Plan. D.I. 1-3 at 140. The Plan and Confirmation Order create the

 Settlement Trust, which, in addition to being funded with more than $2.46 billion

 in cash and property and assigned insurance and other rights under policies of the

 Debtors, Local Councils and certain Chartered Organizations, will also be entitled

 to pursue additional recoveries against non-settling parties, including many

 Chartered Organizations and insurance companies for the benefit of abuse

 survivors. D.I. 1-3 at 68, 70–71; D.I. 1-4 Art. IV.O.

         An overview of the core components of the Plan is set forth below.

         Contributions and Settlements. The BSA’s contributions to the Settlement

 Trust include the following: (i) the BSA’s Net Unrestricted Cash and Investments,

 (ii) the BSA Settlement Trust Note in the principal amount of $80 million, (iii) the

 Insurance Assignment,16 (iv) the BSA’s right, title, and interest in and to the


 16
      It is well-established that anti-assignment provisions are pre-empted by the
      Bankruptcy Code, and unenforceable. In re Fed.-Mogul, 684 F.3d 355, 366,
      374, 382 (3d Cir. 2012). Thus, the Debtors can, and routinely do, assign their
      insurance policy interests to a settlement trust. See, e.g., Combustion Eng’g,
      Inc., 391 F.3d 190, 218 n.27 (3d Cir. 2004) (“The Bankruptcy Code expressly
      contemplates the inclusion of debtor insurance policies in the bankruptcy
      estate.”); In re Kaiser Aluminum Corp., 343 B.R. 88, 95 (D. Del. 2006); In re
      Fed.-Mogul, Inc., 385 B.R. 560, 567 (Bankr. D. Del. 2008) (“[Section]
      1123(a)(5)(B) expressly contemplates that the debtor’s interests in the policies
      may be assigned to a trust or other entity.”); see also In re Congoleum Corp.,
      No. 03-51524 (KCF), 2008 WL 4186899, at *2 (Bankr. D.N.J. Sept. 2, 2008)

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 Artwork, which is deemed to be valued at approximately $59 million, (v) the BSA

 Cash Sharing Amount, (vi) the Oil and Gas Interests, valued at approximately $7.6

 million, (vii) the BSA’s Settlement Trust Causes of Action, and (viii) the

 assignment of any Perpetrator Indemnification Claims held by the BSA. D.I. 1-4

 Art I.A.45.

       The Local Councils are also providing valuable contributions to the

 Settlement Trust, including, in the aggregate: (i) $500 million in cash or real

 property, (ii) the DST Note, a non-recourse interest-bearing promissory note in the

 principal amount of $100 million, (iii) the Local Council Insurance Rights, and

 (iv) material insurance rights in the BSA Insurance Policies. D.I. 1-4 Art. V.S.1.a.

 The Local Councils will also make the Chartered Organization Contribution of

 approximately $40 million to obtain certain protections for Participating Chartered

 Organizations. D.I. 1-4 Art. I.A.181. The Plan provision providing for the Local

 Council Settlement Contribution also contains a savings clause that ensures the

 benefit of the contribution even if a Local Council is unable to transfer Local

 Council Insurance Rights to the Settlement Trust. In such a scenario, the Plan

 provides that:

       …the Local Council shall, at the sole cost and expense of the
       Settlement Trust: (a) take such actions reasonably requested by the


    (“[A] plan of reorganization may assign insurance policies to a personal injury
    trust.”).

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       Settlement Trustee to pursue any of the Local Council Insurance
       Rights for the benefit of the Settlement Trust; and (b) promptly
       transfer to the Settlement Trust any amount recovered under or on
       account of any of the Local Council Insurance Rights…

 D.I. 1-4 at 81.      The Bankruptcy Court approved the Non-Debtor Policy

 Assignment, subject to this savings clause, and “to the extent permitted under state

 law.” D.I. 1-1 ⁋ I.2.c. Accordingly, to the extent the assignment is permissible

 under state law, the assignment will be effectuated “through an outright

 assignment,” and to the extent the assignment is not permissible, the Plan ensures

 the benefit of the transfers “through the cooperation mechanism in the savings

 clause.” D.I. 1-3 at 256.

       The Plan also includes valuable Insurance Settlements with Hartford,

 Century and Chubb Companies, the Zurich Insurers and Zurich Affiliated Insurers,

 and Clarendon. In exchange for the benefits of the Channeling Injunction and

 Releases, the Settling Insurance Companies will make cash contributions of more

 than $1.6 billion to the Settlement Trust as consideration for the purchase of their

 respective policies. The Insurance Settlements also resolve certain other disputes

 between the parties to the benefit of the BSA’s estates and other parties in interest.

 See Bankr. D.I. 6210; Bankr. D.I. 7745; Bankr. D.I. 7929; Bankr. D.I. 8102.

       Finally, the Plan includes other settlements with critical constituencies to the

 BSA, including (a) a settlement with the United Methodist Entities providing,

 among other things, a $30 million contribution to the Settlement Trust and a


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 partnership to strengthen Youth Protection efforts and Methodist partnerships with

 Scouting, see Bankr. D.I. 7884, 7929, 8907, (b) the JPM / Creditors’ Committee

 Settlement, see Bankr. D.I. 2292; D.I. 1-4 Art. V.S.2, and (c) the TCC/Abuse

 Survivor Settlement, under which the BSA agreed to certain governance changes

 to the Settlement Trust, the addition of an optional Independent Review Option in

 the TDP, the Youth Protection Program, and clarifications to certain Plan terms,

 see Bankr. D.I. 8772.

       Youth Protection Measures. The BSA is committed to becoming the gold

 standard in abuse prevention.    The BSA’s Youth Protection Program will be

 strengthened by enhancements set forth in the Plan, which will ensure that abuse

 survivors play a key role in shaping the BSA’s future youth protection efforts.

 Such enhancements were the result of months of cooperative discussions and

 mediation sessions including a group of survivors affiliated with the Coalition,

 who formed what became known as the Survivors Working Group, affiliated with

 the Coalition, survivors from the Tort Claimants’ Committee, representatives from

 the BSA and Local Councils, and a number of youth protection experts.

       As a result of the Youth Protection Program, the BSA will engage in a

 number of initiatives, including (a) hiring a Youth Protection executive with

 extensive experience in prevention of childhood abuse, (b) forming a Youth

 Protection Committee, and (c) conducting an extensive review and update of



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 existing policies. See D.I. 1-4, Ex. L. The BSA will also appoint a qualified

 survivor of abuse in Scouting to the organization’s national executive board. See

 Bankr. D.I. 8647.

         Chartered Organizations. As set forth more fully in the Plan, there are

 three categories of Chartered Organization participation in the Plan that also enable

 the global resolution of Scouting-related Abuse Claims: (a) Contributing Chartered

 Organizations;    (b) Participating   Chartered   Organizations;   and   (c) Opt-Out

 Chartered Organizations. D.I. 1-3 at 44-45; Bankr. D.I. 9280 ¶ 190. Contributing

 Chartered Organizations, which currently includes the United Methodist Entities,

 are those that make a substantial contribution to the Settlement Trust in an amount

 deemed sufficiently substantial by the BSA or, after the Plan goes effective, the

 Settlement Trust, and become a Protected Party with respect to the Channeling

 Injunction and Releases.        D.I. 1-4 Art. I.A.86.       Participating Chartered

 Organizations, which is the default under the Plan, receive Limited Protected Party

 status and more limited protection of the Channeling Injunction and Releases.17

 D.I. 1-3 at 46; D.I. 1-4 Art. I.A.199; Bankr. D.I. 9280 ¶ 191. Opt-Out Chartered

 17
      In exchange for various contributions and releases with respect to Abuse
      Insurance Policies, the assignment of various causes of action against non-
      settling Insurance Companies, and the monetary contributions made by Local
      Councils on behalf of Participating Chartered Organizations, all Post-1975
      Chartered Organization Abuse Claims and all Pre-1976 Chartered Organization
      Abuse Claims that are covered under an insurance policy issued by a Settling
      Insurance Company will be channeled to the Settlement Trust.

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 Organizations may opt out of participation in the Plan and will remain liable for all

 Scouting-related Abuse Claims regardless of whether such Abuse Claims arose

 before or after January 1, 1976, with a limited exception for Abuse Claims covered

 under an insurance policy issued by a Settling Insurance Company. See D.I. 1-3 at

 47–48; D.I. 1-4 Art. I.A.196; Bankr. D.I. 9280 ¶ 197; Bankr. D.I. 9395 ¶ 32.

       Channeling Injunction and Releases. To facilitate a global resolution of

 Abuse Claims, the Plan channels to the Settlement Trust all Scouting-related

 Abuse Claims against the BSA, Related Non-Debtor Entities, Local Councils,

 Contributing Chartered Organizations, Settling Insurance Companies, and their

 respective Representatives—collectively defined under the Plan “Protected

 Parties”—and provides for corresponding Releases in favor of such parties. The

 Plan also channels to the Settlement Trust and provides for corresponding releases

 of (a) all Post-1975 Chartered Organization Abuse Claims against Participating

 Chartered Organizations and their Representatives—collectively defined under the

 Plan as “Limited Protected Parties,”—and (b) all Opt-Out Chartered Organization

 Abuse Claims against Opt-Out Chartered Organizations and their Representatives.

 D.I. 1-4 Arts. X.F, X.J.3. The Channeling Injunction, Insurance Entity Injunction,

 and Releases allow for all of the monetary contributions provided to the Settlement

 Trust by resolving Abuse Claims against the Protected Parties and Limited




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 Protected Parties under the Plan. D.I. 1-3 at 151–55.18 This unique structure is

 critical to securing the contributions from the Local Councils, Chartered

 Organizations, and Settling Insurance Companies, and unlocking the BSA’s

 insurance for the benefit of the Settlement Trust.

          F.    Confirmation Hearing

          The BSA’s contested confirmation hearing commenced on March 14, 2022

 and continued for twenty-two trial days. See D.I. 1-3 at 56. Fifteen days were

 devoted to the submission of testimony and evidence, and seven days were devoted

 to oral arguments. Id. Every objecting party had ample time to present arguments.

 Id.

          The trial record is extensive. Twenty-six witnesses, eleven of whom were

 qualified as experts, provided written or live testimony and were subject to cross-

 examination. Id. The hearing transcripts for the confirmation hearing total more

 than 5,000 pages. See generally Bankr. D.I. 9341, 9354, 9389, 9406, 9407, 9408,

 9409, 9454, 9455, 9482, 9490, 9497, 9517, 9530, 9544, 9562, 9563, 9564, 9578,

 9616, 9638, 9639, 9646, 9648, 9656. More than one thousand exhibits, totaling

 tens of thousands of pages, and portions of six recorded depositions were admitted




 18
       See also Bankr. D.I. 9517 at 79:11-21; Bankr. D.I. 9280 ¶¶ 134, 154, 169, 184;
       Bankr. D.I. 9395 ¶ 31; Bankr. D.I. 9407 at 187:21-24; Bankr. D.I. 9316 ¶¶ 67–
       70; Bankr. D.I. 9341 at 50:20–51:7.

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 into evidence. D.I. 1-3 at 56. At the close of the confirmation hearing on April 14,

 2022, the bankruptcy court took the matter under advisement. Id. at 56.

       The opinions of many of the BSA’s expert witnesses were not challenged by

 competing expert opinions or testimony.       For example, no party produced a

 witness to contradict the opinions of Dr. Charles Bates (who testified as to the

 range of aggregate values of Direct Abuse Claims for the purposes of

 confirmation) or Nancy Gutzler (who testified as to the reasonableness of the

 insurance settlements, as well as the amount of insurance available from Non-

 Settling Insurance Companies).

       G.    Confirmation Opinion And Confirmation Order

       On July 29, 2022, the bankruptcy court issued the Confirmation Opinion.

 D.I. 1-3. The Confirmation Opinion did not confirm or deny confirmation of the

 Plan, as there were still certain issues to be addressed. But the Confirmation

 Opinion approved the key elements of the Plan.

       After the bankruptcy court issued the Confirmation Opinion, the BSA, in

 consultation with the other Plan supporters, modified the Plan and prepared a

 revised proposed Confirmation Order that conformed to and supplemented the

 Confirmation Opinion.     To this end, on August 12, 2022, the BSA filed the

 Debtors’ Motion to Amend and Supplement the Findings of Fact and Conclusions

 of Law in the Confirmation Opinion Pursuant to Fed. R. Bankr. P. 7052 and Fed.



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 R. Civ. P. 52 [Bankr. D.I. 10188] (the “Rule 7052 Motion”), which requested the

 bankruptcy court’s authorization to amend and supplement the Confirmation

 Opinion and entry of the proposed Confirmation Order confirming the modified

 Plan.19 During a status conference held on August 18, 2022, the bankruptcy court

 acknowledged the need for certain findings not discussed in the Confirmation

 Opinion to be included in the revised Confirmation Order, and encouraged the

 parties to work together to accomplish this goal. See Bankr. D.I. 10215 at 11:4–

 12:14.

          The court held hearings on September 1 and September 7, 2022. Bankr. D.I.

 10288; Bankr. D.I. 10317. Before each hearing, the BSA mediated with the

 Appellants about potential Plan modifications and revisions to the proposed

 Confirmation Order. See Bankr. D.I. 10288 at 8:2-9:9; Bankr. D.I. 10317 at 4:23-

 8:20.     At each of the hearings, the bankruptcy court afforded all parties an

 opportunity to raise issues that they believed were not addressed in the

 Confirmation Opinion.      Bankr. D.I. 10288 at 11:7–23, 14:21–23; Bankr. D.I.

 10317 at 8:21–23. The Certain Insurers proposed twelve categories of revisions to

 the proposed Confirmation Order and modified Plan, and the Lujan Claimants



 19
      The Rule 7052 Motion also requested an order approving the release of the Pre-
      Petition Century/Chubb Claims, as required by section 36 of the Century and
      Chubb Companies Insurance Settlement Agreement, in connection with the
      confirmation of the Plan. See Bankr. D.I. 8907.

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 objected to modifications related to the Insurance Settlement Agreements. Bankr.

 D.I. 10246, 10247.

       At the September 1 hearing, the bankruptcy court reviewed the changes

 made to the proposed Confirmation Order and the modified Plan that were in

 dispute. See generally Bankr. D.I. 10288. The court ruled on certain of these

 issues and made its own modifications to the proposed Confirmation Order. Id.

 The court ultimately requested that the parties negotiate certain remaining disputed

 provisions and submit a revised order. Id. at 112:1–113:10. The parties met and

 conferred but were unable to consensually resolve all disputed issues. See Bankr.

 D.I. 10317 at 4:23–8:20.

       At the September 7 hearing, the bankruptcy court ruled on all outstanding

 issues other than a dispute about the judgment reduction provision contained in the

 Plan. See id. at 70:11–16. The court requested that the parties submit competing

 proposed judgment reduction provisions.       Id. at 69:24-70:2.    Thereafter, the

 bankruptcy court issued a letter ruling largely accepting the provision proposed by

 the BSA and certain other Plan supporters. Bankr. D.I. 10304. The BSA then

 submitted a revised form of Confirmation Order incorporating such language.

 Bankr. D.I. 10310. The court entered the Confirmation Order on September 8,




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 2022 (Bankr. D.I. 10316) and the Pre-Petition Century/Chubb Companies Claims

 Order on September 12, 2022 (Bankr. D.I. 10327).20

                          SUMMARY OF ARGUMENT21

        The Certain Insurers did not discharge their burden of proving that the

 bankruptcy court’s factual finding that the Plan was proposed in good faith was

 “completely devoid” of evidence. To the contrary, the finding is supported by

 overwhelming evidence. The Certain Insurers’ second challenge that the Plan

 abrogates their contractual rights is demonstrably wrong. To the contrary, the Plan

 and TDP preserve the policy obligations as they existed prepetition, and the

 bankruptcy court further confirmed that any defenses of the Certain Insurers are

 preserved.

        For their part, the Lujan and D&V Claimants fail to show that the

 bankruptcy court erred when approving the Channeling Injunction and Releases, as

 the bankruptcy court correctly found that it had jurisdiction because (i) the

 Channeling Injunction and Releases were necessarily “arising in” and “arising

 under” title 11 in the context of confirmation of the plan of reorganization, and (ii)

 20
      As the Pre-Petition Century/Chubb Companies Claims Order recognizes, “[n]o
      objection was filed to this component of the Century and Chubb Companies
      Insurance Settlement Agreement and the entry of this Order.” Bankr. D.I.
      10327 at 2 (emphasis added).
 21
      In addition to the arguments presented herein, the Appellees incorporate by
      reference, certain arguments set forth in the answering brief of the Future
      Claimants’ Representative, which is filed concurrently herewith.

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 it had “related to” jurisdiction over the third-party claims. Nor did the bankruptcy

 court commit clear error in finding that the third-party releases satisfied applicable

 Third Circuit law.

         The Lujan Claimants also challenge the Insurance Settlement Agreements,

 but fail to demonstrate that the bankruptcy court abused its discretion when

 determining that the agreements are reasonable and in the best interests of the

 BSA’s estates.    The Lujan Claimants also claim that the Plan, Confirmation

 Opinion, and Confirmation Order violate the automatic stay issued in the AOA’s

 bankruptcy case, but they lack standing to make this argument, and, in any event,

 the confirmation of the AOA’s plan of reorganization has rendered their arguments

 moot.

         The Lujan Claimants’ other arguments also fail. The McCarran-Ferguson

 Act, as a procedural statute, does not reverse or preempt the Bankruptcy Code in

 any respect. The Lujan Claimants fail to show clear error by the bankruptcy court

 in determining that the Plan satisfies the best interests test of section 1129(a)(7) of

 the Bankruptcy Code. The bankruptcy court also correctly found that the Plan

 properly classifies the Lujan Claimants in accordance with section 1122 of the

 Bankruptcy Code because their claims are substantially similar to others in the

 same class, and the Plan provides for the equal treatment of holders of Direct

 Abuse Claims in compliance with section 1123(a)(4) of the Bankruptcy Code. The



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 Lujan Claimants also argue that the Debtors violated certain notice requirements,

 but the Lujan Claimants lack standing to make these meritless arguments and fail

 to show that the bankruptcy court erred in confirming the plan.

         All of the Appellants’ remaining arguments on appeal are meritless and/or

 were not properly preserved for these Appeals. The D&V Claimants argue that the

 Plan is not fair and equitable to current and future holders of Direct Abuse Claims,

 but this argument was waived below and, in any event, the Settlement Trust will be

 governed by comprehensive process-oriented guidelines for paying current claims,

 while also ensuring that sufficient funds remain to continue to compensate

 remaining current, as well as future claims going forward. Allianz and Liberty also

 fail to show that the bankruptcy court erred in approving the judgment reduction

 provisions in the plan.

                                    ARGUMENT

         The court approved the Plan after nearly two years of mediation that

 produced overwhelming support from almost all creditor constituencies in the

 bankruptcy cases. None of the Appellants’ arguments support a challenge to the

 Plan.

  I.     The Certain Insurers Failed To Prove That The Bankruptcy Court’s
         Good Faith Finding Is Clearly Erroneous

         The Certain Insurers raise two challenges under section 1129(a)(3), arguing

 that the bankruptcy court: (a) erred in finding that the Plan was proposed in good


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 faith, and (b) confirmed a Plan that abrogates the Certain Insurers’ rights under the

 Abuse Insurance Policies. See D.I. 45 at 59-86. Both challenges are meritless.

       A plan is proposed in good faith when it “fairly achieve[s] a result consistent

 with the objectives and purposes of the Bankruptcy Code.” In re PWS Holding

 Corp., 228 F.3d 224, 242 (3d Cir. 2000) (citation omitted). “In its assessment, the

 [c]ourt should keep[] in mind [that] the purpose of the Bankruptcy Code is to give

 debtors a reasonable opportunity to make a fresh start.” W.R. Grace, 475 B.R. at 87

 (internal quotations and citation omitted) (alterations in original). “The factors

 which a court should consider in determining a debtor’s good faith include if the

 plan: (1) fosters a result consistent with the [Bankruptcy] Code’s objectives; (2) has

 been proposed with honesty and good intentions and with a basis for expecting that

 reorganization can be effected; and (3) [reflects] a fundamental fairness in dealing

 with the creditors.” Id. at 87-88 (citation omitted). Courts examine the “totality of

 the circumstances” when analyzing these factors, none of which is dispositive. W.R.

 Grace, 475 B.R. at 88; In re Am. Capital Equip., LLC, 688 F.3d 145, 157 (3d Cir.

 2012) (stating that the good faith inquiry ‘“requires an examination of all of the facts

 and circumstances and depends upon an amalgam of factors, none of which is

 dispositive’”) (internal citation omitted). “[T]hat there might be another plan, or

 even a better one, is not grounds to find a lack of good faith.” D.I. 1-3 at 239; In re

 Tonopah Solar Energy, LLC, No. 11844 (KBO), 2022 WL 982558, at *8 (D. Del.



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 Mar. 31, 2022) (affirming finding of good faith under section 1129(a)(3) “[e]ven

 assuming a better settlement could be reached”); In re Spansion, Inc., 426 B.R.

 114, 128 (Bankr. D. Del. 2010) (“Even assuming the Alternative Rights Offering

 provides ‘a better deal’ for some creditors, the Debtors’ refusal to accept the

 proposal does not, on its own, demonstrate ‘bad faith.’”) (citing In re Celotex

 Corp., 204 B.R. 586, 611-12 (Bankr. M.D. Fla. 1996)).

        “[T]he good faith determination is a factual inquiry” committed to the

 bankruptcy court’s sound discretion as fact finder.” In re Exide Holdings, Inc., No.

 20-11157 (RGA), 2021 WL 3145612, at *11 (D. Del. July 26, 2021).               “It is

 recognized that [b]ankruptcy courts are in the best position to ascertain the good

 faith of the parties’ proposals.” Id.; see also CoreStates Bank, N.A. v. United Chem.

 Techs., 202 B.R. 33, 57 (E.D. Pa. 1996) (“The Bankruptcy Judge was in the best

 position to assess the legitimacy and honesty of each party’s proposal as well as the

 Plan’s probability of success. The Court will not disturb findings with regard to

 those issues in light of the present record.”). Consequently, bankruptcy courts have

 “considerable discretion” in making the “factually specific,” “case-by-case”

 determinations involved in analyzing good faith. See, e.g., PWS Holding, 228 F.3d at

 242; see also W.R. Grace, 475 B.R. at 87. “[D]enial of bankruptcy relief based on a

 lack of good faith ‘should be confined carefully and is generally utilized only




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 in…egregious cases.’” In re Walker, 628 B.R. 9, 17 (Bankr. E.D. Pa. 2021) (quoting

 In re Falch, 450 B.R. 88, 93 (Bankr. E.D. Pa. 2011)).

           A bankruptcy court’s factual findings “may only be overturned if they are

 ‘completely devoid of a credible evidentiary basis or bear[] no rational relationship to

 the supporting data.’” Fruehauf Trailer, 444 F.3d at 210 (quoting Citicorp Venture

 Capital, 323 F.3d at 232); Burtch, 698 F. App’x at 714 (“Clear error occurs only if

 the bankruptcy court’s finding is ‘completely devoid of minimum evidentiary

 support displaying some hue of credibility or bears no rational relationship to the

 supportive evidentiary data.’” (internal quotations omitted)).

           A.    The Bankruptcy Court’s Good Faith Finding Is Not Completely
                 Devoid Of Evidence, But Rather Is Supported By Overwhelming
                 Evidence

           The Certain Insurers’ assertion that the bankruptcy court “never answered the

 fundamental question whether the plan as proposed was in good faith” is incorrect.

 D.I. 45 at 67. The bankruptcy court found that the “Plan has been proposed in good

 faith” and, as addressed below, did so based on the totality of the circumstances and

 an overwhelming volume of evidence that was largely uncontroverted. See D.I. 1-1

 ¶ II.D.

           “The Supreme Court of the United States has specifically identified two

 purposes of Chapter 11 as: (1) preserving going concerns; and (2) maximizing

 property available to satisfy creditors.” W.R. Grace, 475 B.R. at 88 (citing Bank of



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 Am. Nat’l Trust & Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 453

 (1999)); see also In re Thgh Liquidating LLC, No. 19-2215 (RGA), 2020 WL

 5409002, at *7 (D. Del. Sept. 9, 2020) (Andrews, J.) (One “honest” purpose in

 developing a plan of reorganization is to “maximiz[e] value for the Debtors, their

 estates, and their creditors.”). The bankruptcy court correctly concluded that the

 Plan was proposed in good faith because it is consistent with the purposes and

 objectives of the Bankruptcy Code: “The Plan fosters a result consistent with the

 Code, is proposed for the purpose of reorganizing and delivers value to creditors.”

 D.I. 1-3 at 239; D.I. 1-1 ¶ II.D.

       The evidentiary record established that after filing the Chapter 11 Cases due

 to the “tremendous financial pressure” imposed by the sharp increase in the number

 of Abuse Claims, the BSA maintained two consistent objectives: (1) to timely and

 equitably compensate abuse survivors and (2) to emerge from bankruptcy with the

 capability to continue to carry out their charitable mission. See Bankr. D.I. 9280

 ¶ 43 (“[T]he goal for the Debtors, a non-profit organization, has been to (a) provide

 an equitable, streamlined, and certain process by which abuse survivors may obtain

 compensation for Abuse and (b) ensure that the Reorganized BSA has the ability to

 continue its vital charitable mission.”); id. ¶ 55 (“[T]he Plan contains a series of

 compromises that represent a good faith effort to achieve consensual resolution,

 maximize recoveries for creditors, resolve Scouting-related Abuse Claims as a



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 whole, and provide recoveries for abuse survivors through the Settlement Trust.”);

 Bankr. D.I. 9341 at 41:20-25 (Desai) (“[T]he organization, through the efforts of

 many of the insurers and chartered partners, and our local council partners have

 been able to forge a pathway…to emerge from this process while achieving the

 twofold objectives that the Boy Scouts of America set out to do, which were, one,

 to equitably compensate our victims, two, to allow the mission of Scouting to

 continue.”). The Insurers did not introduce any evidence refuting the BSA’s

 honest intent to compensate creditors and to reorganize, nor could they do so.

 Thus, the bankruptcy court correctly credited the unrefuted evidence of the BSA’s

 intention to reorganize through “a global resolution that balanced the competing

 interests of Chartered Organizations, Insurance Companies, and abuse survivors”

 and “provided the BSA with the opportunity to survive the Bankruptcy and fulfill

 its mission of Scouting.” Bankr. D.I. 9279 ¶ 23.

       The Certain Insurers did not and cannot dispute that the BSA’s plan to

 compensate survivors and reorganize the BSA is exactly consistent with the

 purposes and objectives of the Bankruptcy Code. See, e.g., In re Maremont Corp.,

 601 B.R. 1, 20—21 (Bankr. D. Del. 2019) (finding that “providing a fair and

 equitable resolution” of the debtors’ asbestos personal injury claims and

 “maximizing the returns available to creditors and other parties in interest” is a

 “legitimate purpose” of reorganization). Consequently, the bankruptcy court did



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 not err in finding that “the Plan fosters a result consistent with the [Bankruptcy]

 Code, [and] is proposed for the purpose of reorganizing and delivers value to

 creditors.” See D.I. 1-3 at 239; see also D.I. 1-1 § II.D. As the bankruptcy court

 found, “[m]any survivors have been waiting for thirty, forty or even fifty years to

 tell their stories and receive a meaningful recovery. This Plan makes that happen.”

 D.I. 1-3 at 158.    “Overall, I find that the claims being compromised bring

 significant value to the estate, enabling Debtors to fund the Settlement Trust with

 substantial insurance proceeds in a timely fashion.” Id. at 82.

       When determining whether a plan is proposed in good faith, courts may

 “focus[] ‘more to the process of plan development than the content of the plan.’”

 In re Emerge Energy Servs. LP, No. 19-11563 (KBO), 2019 WL 7634308, at *16

 (Bankr. D. Del. Dec. 5, 2019) (quoting In re Genco Shipping & Trading Ltd., 513

 B.R. 233, 261 (Bankr. S.D.N.Y. 2014)); see also In re RTI Holding Co., LLC, No.

 20-12456 (JTD), 2021 WL 4994414, at *9 (Bankr. D. Del. Oct. 27, 2021) (quoting

 In re Chemtura Corp., 439 B.R. 561, 608 (Bankr. S.D.N.Y. 2010)). In this regard,

 courts routinely rely on the fact that a plan was formulated based on settlements in

 mediation in finding good faith. See, e.g., Exide Holdings, 2021 WL 3145612, at

 *12 (“[T]he plan was premised on the court-appointed mediators’ settlement

 proposal after lengthy arm’s length negotiations. The global settlement was

 overwhelmingly supported by all key stakeholder…and was fully consistent with the



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 objectives of chapter 11….[T]he plan was proposed in good faith as a way to

 preserve the proposal made by the mediators.”); In re Peabody Energy Corp., 933

 F.3d 918, 927 (8th Cir. 2019) (“[The] Debtors proposed their plan in good faith.

 The record shows that the Debtors mediated with their creditors to resolve a major

 dispute between those creditors. The Debtors reached a settlement with substantial

 input from the negotiating parties.”); In re Roman Catholic Archbishop of Portland,

 No. 04-37154 (EP), 2007 Bankr. LEXIS 1180, *18–19 (Bankr. D. Or. Apr. 13,

 2007) [D.I. 5065] at 13 (“I find that the plan has been proposed in good faith and not

 by any means forbidden by law. The plan is the result of months of negotiations and

 mediation, and has the support of the vast majority of the affected parties. There is

 no argument or evidence of bad faith or that the plan was proposed by means

 forbidden by law.”).

       The BSA’s bankruptcy was a complicated one, involving tens of thousands

 of survivors and other creditors on the one hand, and numerous sophisticated

 insurers on the other.    Since the outset of these Chapter 11 Cases, the BSA

 recognized the need for a court-appointed mediator to assist in navigating the

 “unique challenges” and “complicated legal and financial issues” and “foster[ing]

 productive settlement discussions among the relevant stakeholders.” Bankr. D.I.

 17 ¶ 6. With the tireless help of one or more of the bankruptcy court-appointed

 mediators, the BSA for almost two years engaged in hard-fought, good-faith, and



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 complex negotiations with more than twenty-five separate parties. See D.I. 1-3 at

 24. Hundreds of formal and informal mediation sessions resulted in the filing of

 thirteen mediator reports. Bankr D.I. 2292, 2624, 5219, 5284, 5287, 6210, 7745,

 7884, 7928, 8095, 8772, 9386, 10177.          As discussed above, these mediation

 sessions produced settlements and resolutions that form the backbone of the Plan

 and provide at least $2.46 billion in cash and property plus significant unliquidated

 assets, including valuable insurance rights, to the Settlement Trust for the benefit

 of holders of Abuse Claims. See supra pp. 22-331.

       On March 1, 2021, the BSA reached their first significant resolution—the

 JPM / Creditors’ Committee Settlement—the terms of which are memorialized in

 the First Mediators’ Report and incorporated into the terms of the Plan. See

 Bankr. D.I. 2292. This settlement provides critically important benefits to the BSA

 and its estate, including saving the estate millions of dollars of advisor fees.

 Bankr. D.I. 9280 ¶¶ 57-72.

       Approximately one month later, the BSA reached an initial settlement with a

 major insurer, Hartford, the terms of which are memorialized in the Second

 Mediators’ Report. Bankr. D.I. 2624. However, the terms of that settlement with

 Hartford were not acceptable to some of the survivor constituencies, including the

 Tort Claimants’ Committee, so the BSA engaged in new and lengthy negotiations

 with Hartford and ultimately reached a new settlement agreement approximately



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 five months later, the terms of which are memorialized in the Sixth Mediators’

 Report and Exhibit I-1 of the Plan. See Bankr. D.I. 6210; D.I. 1-4, Ex. I-1.

       Three months later, on December 14, 2021, the BSA achieved the Century

 and Chubb Companies Insurance Settlement Agreement, the terms of which are

 memorialized in the Seventh Mediators’ Report and Exhibit I-2 of the Plan. See

 Bankr. D.I. 7745; D.I. 1-4, Ex. I-2. Within the next three weeks, the BSA reached

 settlement agreements with the UMAHC (see Bankr. D.I. 7884; D.I. 1-4, Ex. J-2)

 and two more of the BSA’s insurers, Zurich Insurers/Zurich Affiliated Insurers and

 Clarendon. See Bankr. D.I.s 7928, 8095; D.I. 1-4 Ex. I-3, I-4.

       On January 18, 2022, the Solicitation Agent filed a voting report showing

 that 73.57% of the Class 8 Direct Abuse Claims had voted in favor of the Plan.

 Bankr. D.I. 8345. These initial voting results, however, did not deter the BSA’s

 eﬀorts to seek a broader base of support for the Plan and mediated resolution of

 disputes with certain constituents—including the Tort Claimants’ Committee,

 which at the time opposed the Plan and had been encouraging its constituents to

 reject the Plan. See Bankr. D.I.s 7928, 8095; D.I. 1-4 Ex. I-3, I-4. The BSA and

 the Tort Claimants’ Committee continued to negotiate, which finally resulted in a

 resolution on February 10, 2022, the terms of which were supported by numerous

 state court counsel for abuse survivors and ultimately incorporated into the Plan.

 Bankr. D.I. 8772. The TCC/Abuse Survivor Settlement led to an increase from



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 73.57% to 85.72% in support from survivors.              See Bankr. D.I. 9275.

 Approximately one month later, and three days after the commencement of the

 confirmation hearing, the BSA reached a final, consensual resolution with the

 RCAHC, which prompted a number of Opt-Out Chartered Organizations to

 withdraw their elections to opt out of the Plan and instead become Participating

 Chartered Organizations under the Plan. See Bankr. D.I. 9386. The resulting

 support of the RCAHC and Roman Catholic Entities will support the BSA’s

 second goal of these Chapter 11 Cases—namely, the preservation of Scouting. See

 id. The Certain Insurers and a tiny number of survivors are the only parties that

 would not settle.

       As the bankruptcy court found:

       This is an extraordinary case crying out for extraordinary solutions.
       Two years of mediation by capable lawyers has yielded a Plan
       supported by Debtors, JPM, the [Creditors’ Committee], the [Tort
       Claimants’ Committee], the [Future Claimants’ Representative], the
       Coalition, the Settling Insurers and 85.72% of Direct Abuse
       Claimants. The combination of the monetary and non-monetary
       aspects of the Plan are fair to the holders of Abuse Claims.

 D.I.1-3 at 168. The court also found that they were the result of “hard-fought

 negotiations with the help of seasoned mediators.” See D.I. 1-3 at 155.

       Good faith is further evidenced by the fact that the BSA then had the

 mediated arrangement documented by teams of top-tier professionals, including

 attorneys expert in bankruptcy, sexual abuse claims, mass torts and insurance, and



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 a team of economists experienced in mass tort settlements and claims adjudication.

 The bankruptcy court also relied on the fact that the BSA continuously tried to

 reach consensual resolutions with stakeholders. D.I. 1-3 at 30-35, 49, 73. Those

 tireless mediation efforts demonstrate good faith in seeking to achieve a consensual

 resolution.

       The BSA’s internal process further demonstrates its good faith. The BSA is

 a charitable organization and operates largely through volunteers, including some

 of the most accomplished people in the country. See Bankr. D.I. 9279 ¶¶ 6-9; SA

 1; SA 5. Mr. Desai, a volunteer member of the BSA’s National Executive Board,

 the National Executive Committee, and the Bankruptcy Task Force, testified to the

 nearly 100 board and committee meetings where the numerous resolutions and

 settlements that culminated in the Plan were carefully reviewed and approved.

 Bankr. D.I. 9279 ¶¶ 2, 18.

       [D]uring [these] meetings, the NEB, NEC, and BTF reviewed
       presentations prepared by the Debtors’ advisor team describing the
       various potential terms and provisions of the settlements that now
       constitute the terms of the Plan and highlighting the advantages and
       disadvantages of entering into such agreements. The factors
       considered included the contributions from the BSA and Local
       Councils to a Settlement Trust for abuse survivors, the parties
       included in the Plan, the ability to make further settlements with
       Chartered Organizations and Insurance Companies and any related
       limitation, the costs required under the Plan, the conditions applicable
       to the Settlement Trust and the Trust Distribution Procedures, youth
       protection issues, trust governance, the alternatives to entering into the
       Plan, and the risks of achieving a successful confirmation of a plan of



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       reorganization. The Plan was approved only after careful deliberation
       of these and other considerations.

 Id. ¶ 20.

       Those experts formulated the terms of the TDP to replicate the BSA’s

 prepetition claim resolutions. See infra at pp. 55-57. The BSA further acted in

 good faith by proposing the highly respected former bankruptcy judge Barbara

 Houser to administer the Settlement Trust. Bankr. D.I. 9309 ¶¶ 9-10; Bankr. D.I.

 9273 ¶¶ 49-50; D.I. 1-3 at 36; D.I. 1-4, Ex. B § 5.1. Establishing a settlement trust

 designed to provide fair, expedited, and cost-effective compensation to survivors

 of childhood sexual abuse, funded with the assets available to the BSA, is a

 paradigm of honesty and good intentions for the bankruptcy cases. See In re

 Maremont Corp., 601 B.R. at 20-21 (finding that plan “providing a fair and

 equitable resolution” of the debtors’ asbestos personal injury claims and

 “maximizing the returns available to creditors and other parties in interest” was

 proposed in good faith).

       The Plan’s fundamental fairness to creditors is likewise demonstrated by the

 overwhelming creditors’ support.      See D.I. 1-3 at 164. Every major creditor

 constituency supports the Plan, including over 85% of survivors, the two statutory

 committees (the Tort Claimants Committee and the Creditors’ Committee), the

 Coalition, the Future Claimants’ Representative, the Local Councils, a number of

 Chartered Organizations (including the United Methodist Entities and Roman


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 Catholic Entities), and four of the BSA’s primary and excess insurers. Id. at 164,

 56. As the bankruptcy court stated, “[t]here are 82,209 claimants whose views need

 to be considered, and as I said previously, in the context of this case, I consider

 85% to be overwhelming acceptance.” Id. at 164.

         The bankruptcy court also balanced confirmation of the Plan against the

 alternative: “[w]ithout this Plan, litigation goes one of two ways…Claimants may

 race to courthouses across the country suing Local Councils and Chartered

 Organizations” or they would “recover only the pennies that a BSA-only

 bankruptcy plan would bring.” D.I. 1-3 at 164-65. In addition, when parties

 sought to terminate the BSA’s exclusive period to file a plan of reorganization, the

 bankruptcy court stated that “to solicit a plan that has no abuse survivor support is

 not an attractive option, but neither is engaging in protracted litigation that has the

 potential to…end the Boy Scouts as it currently exists.” Bankr. D.I. 4716 at

 100:24-101:3.

         The Insurers are not creditors.22 Rather, the Certain Insurers issued policies

 to the BSA, which are property of the estate, and also Local Council Policies,

 which are property of the estate once assigned to the BSA. D.I. 1-3 at 87 (“The

 BSA Insurance Policies were purchased by the BSA.                Any Local Council

 22
      Some of the Insurers have filed proofs of claim on account of alleged secured
      and/or unsecured claims. But the Insurers are not raising good faith objections
      in that capacity and are being paid in full.

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 Insurance Policies, once assigned to the BSA in connection with the Plan, will be

 property of the estate.”). And one honest purpose in reorganization is to maximize

 the assets of the estate. Thgh Liquidating, 2020 WL 5409002, at *7. Nonetheless,

 the BSA dealt with all insurers fairly, preserving their policy terms and coverage

 defenses, which places them in the same position under the Plan that they would be

 in outside of the Plan, where they will have to pay any claims presented to them

 only if they are covered by their policies and not otherwise subject to a coverage

 defense.

                                     *    *   *

       In short, the bankruptcy court’s finding of good faith is not “completely

 devoid” of evidence, but rather is supported by essentially all of the evidence. The

 Certain Insurers ignore virtually all of the record evidence relevant to the issue.

 Their arguments are instead either wholly unsupported by the evidence, or

 supported only by evidentiary fragments that are incompetent, unpersuasive, and

 contrary to the overwhelming weight of evidence. An appeal is not an opportunity

 to ask for a reassessment of evidence, other than to determine whether the trial

 court’s findings are “completely devoid of an evidentiary basis.” See Tonopah

 Solar Energy, LLC, 2022 WL 982558, at *5. But none of these fragments of

 evidence could even support a finding of bad faith, much less require one.




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         B.    The Certain Insurers’ Argument That The Bankruptcy Court Did
               Not Consider The Evidence As A Whole Is Unsupported And
               Incorrect

         The Certain Insurers’ claim that the bankruptcy court “analyzed the record

 evidence piecemeal, concluding that [the evidence]…did not in isolation

 demonstrate a lack of good faith” is a fabrication. D.I. 45 at 67. The bankruptcy

 court made no such statement, nor did it give any indication that it was somehow

 viewing evidence in isolation—and it is not clear how a judge could view six

 weeks of evidence in isolation.       To the contrary, on the first page of the

 Confirmation Opinion, the bankruptcy court stated that “[t]hese findings of fact draw

 on the trial testimony and the admitted exhibits.” D.I. 1-3 at 1 n.1. In this regard,

 the bankruptcy court specifically said that it considered the testimony of twenty-six

 witnesses, including “portions of six video depositions,” “over one thousand

 exhibits,” “designated and counter-designated portions of eight depositions,” and

 “six days of oral argument.” D.I. 1-3 at 56. Indeed, the bankruptcy court analyzed

 and cited to the record evidence hundreds of times,23 and explicitly stated that its

 findings of fact were drawn “on the trial testimony and the admitted exhibits” and

 made “based on the record,” which is the aggregation of all of the evidence


 23
      The Confirmation Opinion contains 765 footnotes, a sizeable portion of which
      cite evidence from the trial record. The section of the Confirmation Opinion
      addressing the Debtors’ satisfaction of section 1129(a)(3) alone contains
      approximately fifty citations to the evidentiary record (i.e., references to
      declarations, submitted evidence and trial testimony).

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 admitted at trial. D.I. 1-3 at 1 n.1, 56, 189 n.558. The totality of evidence

 considered by the bankruptcy court addressed the Plan negotiations, the fact that

 the Plan was negotiated in mediation, the terms of the Plan, the TDP, including the

 Claims Matrix, the professionals that had structured and documented the

 arrangement, the careful consideration of the BSA’s board and committees, the

 views of representative survivors, and the support of every major constituency in

 the case. See supra at pp. 22-35.

       The bankruptcy court also relied on the fact that the Certain Insurers had

 introduced no evidence supporting their allegations of bad faith:

       I was underwhelmed with, I don’t know if that’s the right word, the
       lack of evidence of bad faith, if you will, on this record. I heard the
       testimony and I didn’t see anything to support this objection or to
       support the insurers’ position on this….So I am with [the Debtors] on
       this.

 Bankr. D.I. 9616 at 44:18-45:1; see also id. at 61:12-62:6 (Court: “I’m not

 persuaded by [the Certain Insurers’ argument regarding the bad faith of the

 proposed trust mechanism] either.” (emphasis added)); D.I. 1-3 at 216 (“Based on

 this record…I cannot find that Debtors…proceeded in bad faith.”). Thus, the

 bankruptcy court’s factual finding is overwhelmingly supported by the totality of

 the evidence.

       The Insurers’ argument that the bankruptcy court considered each piece of

 evidence in isolation is based on the bankruptcy court’s finding that “I reject out-



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 of-hand the notion that this explosion of claims, alone, could be grounds for denial

 of confirmation.” D.I. 1-3 at 223; see also D.I. 45 at 67.    The use of the word

 “alone” did not mean that any evidence was viewed in isolation. Rather, the

 bankruptcy court used the word “alone” in responding to the Certain Insurers’

 argument that the explosion of claims “alone” provided grounds for denying

 confirmation. See D.I. 1-3 at 223 (The Certain Insurers argue “that this ‘explosion’

 of claims alone is grounds to deny confirmation of the Plan.”). Likewise, the

 Insurers’ “see also” cites neither state, nor reflect, that the bankruptcy court

 somehow viewed each piece of evidence in isolation. See D.I. 45 at 67 (citing D.I.

 1-3 at 216, 221-24, 231, and 233-34).

       C.    The Certain Insurers’ Spin On Fragments Of Evidence Does Not
             Prove Clear Error Or Even Support Their Requested Finding Of
             Bad Faith

       The Certain Insurers’ shotgun approach of making arguments that are

 unsupported by evidence, and citing fragments of incompetent or unpersuasive

 evidence, does not even support a finding of bad faith, much less prove clear error.

 Under any reading, the bankruptcy court’s finding of good faith is not “completely

 devoid” of evidence, but rather is supported by the overwhelming weight of

 competent evidence. For sake of completeness, however, the BSA responds below

 to each of the Certain Insurers’ arguments.




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              1.    The Certain Insurers’ Argument That The Plan Was Not
                    Proposed In Good Faith Because It Inflates Claim Values
                    And Requires The Certain Insurers To Pay Them Is
                    Incorrect And Unsupported By Evidence

       The Certain Insurers’ core challenge to the Plan is based on an incorrect

 argument that Judge Houser will award “inflated claim values” that are “worlds

 apart from BSA’s prepetition claims history[,]” which the Certain Insurers will be

 required to pay. D.I. 45 at 2, 5, 60-68, 72-74. The Certain Insurers introduced no

 evidence to support those arguments, much less to prove that the bankruptcy court

 committed clear error in not adopting their incorrect positions as findings of fact.

                    a.     The Plan Does Not Inflate Claims

       The evidence is that the Settlement Trust is intended to replicate the BSA’s

 prepetition claim history, not inflate the value of the claims. Bankr. D.I. 9309

 ¶¶ 9-10; Bankr. D.I. 9273 ¶¶ 49-63. The lead developers and drafters of the TDP

 and related documents were law firms and an economist firm. See generally

 Bankr. D.I. 9309; see also id. ¶ 12. One of the lead attorneys was Mr. Azer, and

 the economist team was led by Dr. Bates. Mr. Azer and Dr. Bates met repeatedly

 with Mr. Griggs (the BSA’s national coordinating counsel) to understand and

 document the BSA’s prepetition practices and experiences. Bankr. D.I. 9309 ¶ 4-

 10; Bankr. D.I. 9273 ¶¶ 49-50. Mr. Azer testified that he and teams of lawyers

 drafted the TDP, including criteria for claims and mitigating and aggravating

 factors, based on the BSA’s prepetition practices and experiences. Bankr. D.I.


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 9309 ¶¶ 4-10. Mr. Griggs also testified that the TDP is consistent with the BSA’s

 prepetition practices and experiences, which he in fact determined and supervised.

 Bankr. D.I. 9273 ¶¶ 9, 52-63. The Certain Insurers introduced no evidence to

 refute Mr. Griggs’s testimony about prepetition practices and experience, or Mr.

 Azer’s and Mr. Griggs’s testimony that the TDP is consistent with those

 prepetition practices.

       The Claims Matrix, the section of the TDP that provides guidance as to

 valuing claims, was formulated by the economist team, led by Dr. Bates. Dr. Bates

 and his team have vast experience in structuring trust distribution procedures in

 mass tort cases.     Bankr. D.I. 9454 at 95:6-22.     Dr. Bates testified that his

 assignment was to design the TDP base matrix values and scalars that were based

 on and consistent with the BSA’s historical abuse settlements and litigation

 outcomes. Bankr. D.I. 9455 at 31:22-32:7. He further testified that the TDP base

 matrix values and scalars were designed to be used by the Settlement Trustee to

 emulate the tort system and replicate the values that Abuse Claims would have

 received had they been litigated outside of the Chapter 11 Cases. Bankr. D.I. 9454

 at 96:14-20. Dr. Bates testified unequivocally that, in his expert opinion, the

 combination of base values and scalars set forth in the TDP were consistent with

 the BSA’s historical abuse claim settlement values. Bankr. D.I. 9454 at 226:1-4.

       The base matrix values and scal[a]rs that are at hand for the trustee to
       be able to valuate the individual claims and assign to them appropriate

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       values that would be consistent with those claims as if they were filed
       in the tort system, but perhaps even better than that in that they would
       be able to be consistently applied and equitably applied across all of
       the claimants by having the same procedures used for all of them.

 Bankr. D.I. 9454 at 98:2-9.

       The Certain Insurers complain that the prepetition claim pool is different

 from the post-petition claim pool, but the TDP specifically accounts for those

 differences through mitigating and aggravating factors and scalars to ensure that

 new claims are treated consistently with prior practices. Bankr. D.I. 9454 at

 207:15-209:12, 223:11-224:12; Bankr. D.I. 9455 at 33:2-5; see also Bankr. D.I.

 9406 at 294:10-295:11 (Azer); D.I. 1-4, Ex. A., Art. VIII.C-D. Dr. Bates testified

 that because of the differences between the claims pools, the average post-petition

 claim is estimated to be lower than the average prepetition claim. Bankr. D.I. 9454

 at 164:11-14 (“[T]he average value of the claims in the POC, the abuse claims, will

 be lower than what we saw historically.”); Id. at 135:13-15 (“[T]he value of the

 abuse claims will on average be much lower than the historical claims”); Bankr.

 D.I. 9455 at 42:16-43:3; Bankr. D.I. 9454 at 209:8-10 (“[M]ost of the claims will,

 to emulate the tort values, be scaled downward from the base matrix values…by

 design.”); see also Bankr. D.I. 9455 at 42:16-43:3. And the bankruptcy court

 credited Dr. Bates’s unrebutted opinion that the TDP will result in awards at lower

 average values, not inflated values:




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       The result of [Dr. Bates’s] thought experiment confirmed his view
       that the value of a Direct Abuse Claim, on average, will be less than
       the average value of Historical Abuse Claims although the aggregate
       of such claims could be significant…Dr. Bates’ analysis was thorough
       and credible based on the data available.               It was also
       undisputed….Based on the record and my assessment of Dr. Bates’s
       credibility, there is no reason to disregard Dr. Bates’s analysis and
       conclusions, which I accept for purposes of confirmation as his best
       estimate of the aggregate valuation of the Direct Abuse Claims.

 D.I. 1-3 at 63-65.

       The fact that the TDP does not provide for inflated claim values was also

 confirmed by Michael Burnett of Burnett Risk Control International, LLC, an

 expert, who opined on the reasonableness of the TDP based on his experience

 evaluating and assessing sexual abuse claims in litigation for over 26 years. Bankr.

 D.I. 9274 ¶ 5. Mr. Burnett has evaluated and valued thousands abuse claims,

 including over 500 abuse claims in the last year alone, and testified that the TDP is

 reasonable. Bankr. D.I. 9274 ¶ 6; Bankr. D.I. 9389 at 42:1-3 (“[M]y opinion is that

 the TDP mimic what you might get in the tort system and I believe that the TDPs

 are reasonable.”).

       The Certain Insurers introduced no evidence contradicting the testimony of

 these percipient and expert witnesses, or otherwise to support their argument that

 future claim values will be inflated. Indeed, the Insurers mostly embraced Dr.

 Bates’s analysis. Bankr. D.I. 8819 at 90:2-7 (Certain Insurers’ Counsel: “Mr.

 Kornfeld is right about one thing, the [insurers] do like Dr. Bates’ opinion, but he’s



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 wrong about why we like them, we like them because they’re the truth.”); Bankr.

 D.I. 9177-1 ¶ 17 (“Dr. Bates’s valuation opinions are reliable and relevant, were

 timely and properly disclosed, and should be fully considered by this Court.”); id.

 ¶ 31 (“Dr. Bates’s opinions with respect to selection bias are supported by

 published economic literature, his analysis of the historical tort population

 compared to the abuse claims, and his own experience in other mass tort contexts

 and should be considered by this Court.”).

       Importantly, the Insurers retained an economist to try to rebut Dr. Bates, but

 did not offer that defective testimony. D.I. 1-3 at 221 (the “Certain Insurers

 retained an expert to opine on the TDP….The Certain Insurers, however, chose not

 to use their expert during the confirmation hearing to support their argument that

 the TDP produce over-inflated values.”). Accordingly, the bankruptcy court found

 the Insurers’ position “underwhelm[ing]”:

       The Certain Insurers could have chosen to put on their expert to
       challenge the Base Matrix Value or otherwise clear up any confusion,
       but they did not. This appears to be all optics. Any misperception,
       especially when the Certain Insurers chose not to challenge the Base
       Matrix value through their own expert, is not so egregious as to deny
       confirmation.

 D.I. 1-3 at 222; Bankr. D.I. 9616 at 44:18-45:1.

       Now, lacking any aﬃrmative evidence to support their appeal, the Insurers

 assert that the BSA’s supporting testimony is not “reality,” D.I. 45 at 28, but cite to

 evidence that does not even address whether the TDP and Claims Matrix replicate


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 prepetition practices or will result in inflated claim values, much less that disproves

 the uncontroverted testimony of four different witnesses that the bankruptcy court

 found credible. See D.I. 1-3 at 65, 68, 220, 234-35.

       The Certain Insurers’ speculation about inflated awards also fails to explain

 why Judge Houser, a highly qualified and well-respected former bankruptcy judge,

 would set aside her duties and issue inflated awards.         Furthermore, the very

 existence of a Settlement Trust minimizes the risk of inflated awards because the

 childhood sexual abuse claims at issue here would otherwise be subject to jury

 trials, where awards for these emotionally charged claims have been huge. See

 Bankr. D.I. 9274 ¶ 48 (Burnett) (“In my experience, the detailed, well-founded,

 defined and extensive criteria of the Matrix and Scaling Factors in Article VIII [of

 the TDP] would be welcome by both defendants and their insurers. They provide a

 tangible and predictable basis for claim valuation in a way that avoids a volatile

 and emotionally-charged jury trial in the tort system.”); id. ¶ 54 (Burnett)

 (“[Settling sexual abuse claims for less than full value amounts] constitutes a

 leverage against the risk of a court’s potential denial of a motion to dismiss or

 motion for summary judgment, with the potential for the making of ‘bad law;’

 especially since abuse claims are fraught with emotion and often are personally

 offensive to judges.”); see also Bankr. D.I. 9273 ¶ 32 (Griggs) (“Settlement

 provided a more consistent way to value and settle cases. Generally, we did not



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 consider a jury trial to be a favorable forum for claims involving allegations of

 childhood sexual abuse, both with respect to determinations of liability as well as

 for determinations of damages.”); Bankr. D.I. 9354 at 176:8-16 (Griggs) (testifying

 that the BSA faced a $20 million verdict in a jury trial for a single sexual abuse

 case in Portland); Bankr. D.I. 9389 at 232:11-233:6 (Burnett) (testifying that the

 Diocese of Rockville Center in New York faced a combined $11 million verdict in

 a case involving two teenage victims of sexual abuse, and anecdotally recalling

 that the Diocese of Burlington in Vermont was subject to “very large verdicts”

 after losing cases in trial).

                      b.     The Plan Does Not Require The Insurers To Pay
                             Awards

        The Certain Insurers’ argument that the Plan requires them to pay future

 inflated awards—the sole interest they could have in this case—is also incorrect.

 The bankruptcy court held that Certain Insurers would not be bound by the awards

 issued by the Settlement Trust: “the allowed amount of a claim does not

 necessarily correlate to what an insurer is ‘obligated to pay’ or what ‘a loss’ is

 under its insurance policy and ‘a finding in the plan’ does not equate the two.” D.I.

 1-3 at 188. Rather, the bankruptcy court held, a future court will determine

 whether awards are covered by any particular insurance policy to the extent that

 there is a dispute in the future about that matter:




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       The Settlement Trust’s rights under any insurance policies issued by
       Non-Settling Insurance Companies, including the effect of any failure
       to satisfy conditions precedent or obligations under such policies
       (other than, in the case of the BSA Insurance Policies, the terms of
       any policies or provisions of applicable law that are argued to prohibit
       the assignment or transfer of such rights), shall be determined under
       the law applicable to each such policy in subsequent litigation.

 D.I. 1-1 ¶ II.I.2(e) (emphasis added); see also D.I. 1-3 at 187 (“What insurers are

 obligated to pay under their policies is an insurance coverage issue that is not

 before the court.”); id. at 231 (“I will not anticipate how an insurance coverage

 court will interpret the Plan, the TDP or any confirmation order that may be

 entered.”); see also Bankr. D.I. 9530 at 81:11-19 (Harrington) (“What will be

 determined in a coverage court…would be whether or not that breach should in

 fact resolve or allow the parties seeking recovery to get the money from the

 insurance company despite the breach.”).

       Moreover, as acknowledged by the bankruptcy court, the Plan explicitly

 preserves any defenses that the Certain Insurers may have:

       Except for the Insurance Assignment (and subject to paragraph II.I.2
       of [the Confirmation] Order), or as otherwise provided in the
       Bankruptcy Code, applicable law, the findings made by this Court in
       the Confirmation Order, nothing in the Plan shall modify, amend,
       or supplement, or be interpreted as modifying, amending, or
       supplementing, the terms of any Insurance Policy issued by a
       Non-Settling Insurance Company or rights or obligations under
       such Insurance Policy to the extent such rights and obligations are
       otherwise available under applicable law, and the rights and
       obligations, if any, of any Non-Settling Insurance Company relating
       to or arising out of the Plan Documents, including the Plan, the
       Confirmation Order, and the Affirmation Order, or any provision


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        thereof, shall be determined pursuant to the terms and provisions
        of the Insurance Policies and applicable law.

 D.I. 1-1 ¶ 48 (emphasis added); see also Bankr. D.I. 10288 at 27:11- 28:3 (Court:

 “There are defenses. We need to make sure those are preserved and it will have

 the effect that it has.”).

        These protective insurance provisions are mirrored in the TDP. Specifically,

 Article V.C of the TDP provides that nothing in the TDP modifies, supplements, or

 amends the insurance policies:

        Nothing in these TDP shall modify, amend, or supplement, or be
        interpreted as modifying, amending, or supplementing, the terms of
        any Insurance Policy or rights and obligations under any Insurance
        Policy assigned to the Settlement Trust to the extent such rights and
        obligations are otherwise available under applicable law and subject
        to the Plan and Confirmation Order.

 D.I. 1-4, Ex. A, Art. V.C.

        Further, the BSA consistently testified that they did not intend to bind the

 Insurers or otherwise prejudice their right to raise coverage defenses, a false

 premise for the Certain Insurers’ appeal:

        Q:    Did the debtors intend for the TDP[] to impair or change in any
        way the insurers’ rights, whatever they might be, under their policies?

        A:     Absolutely not. That’s why we were negotiating so hard for
        Article 5(c) in the language in there.

        Q:    Did the debtors intend for the             settlement   trustee’s
        determinations to be binding on the insurers?




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       A:    No…again, we weren’t trying to prejudge anyone’s rights
       insurers or otherwise. That is for a coverage [court]…we did not
       mean for that to have any effect.

       Q:      Did the debtors intend for the settlement trustee’s
       determinations to bind future court in any potential coverage
       litigation?

       A:     No…we did not.

 Bankr. D.I. 9406 at 46:5-18 (Azer); see also id. at 40:18-42:19; 63:7-20; 149:6-

 150:8; 291:2-292:11.

       Consequently, if the Insurers are correct in their crystal ball argument that

 awards will be inflated (and they are not), then they will be able to defend against

 coverage to the same extent they would have been able to defend against coverage

 for a settlement made without a trust. Courts have recognized that this is enough

 to protect insurers. See W.R. Grace, 446 B.R. at 132 (“[T]he mere fact that the

 Trust pays a claim does not bind the non-settling insurer to bind the Trust. The

 insurer retains its right to object to the claim against it if and when the Trust seeks

 to recover from the insurer.”).

       What the Insurers are concerned about is not that the bankruptcy court

 bound them—it indisputably did not—but that a court in the future will find that an

 award issued through this well-constructed Settlement Trust by a former

 bankruptcy judge is reasonable. The bankruptcy court correctly held that whether

 “an insurance coverage court will find any relevance to [‘the award’] is for that



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 court to consider.” D.I. 1-3 at 188. But the fact that awards are likely to be

 reasonable is not a ground for challenging the Plan and preventing the BSA from

 compensating survivors of childhood sexual abuse.

       The Insurers also argue that the survivors’ counsel were seeking “the Holy

 Grail” of binding Insurers to pay awards, and that plaintiffs’ lawyers “will continue

 to attempt in other mass tort bankruptcies” to bind insurers to trust awards, “unless

 halted by the courts.” D.I. 45 at 65. But the Plan includes no such term, so there is

 nothing for this Court to halt. Indeed, the BSA never proposed a plan that would

 bind the Insurers to pay awards (or release them from their obligations). The

 Certain Insurers cannot eliminate compensation to tens of thousands of abuse

 survivors so they can fight terms that they speculate might be included in some

 future plan of reorganization of some other debtor.

                    c.     The Plan Is Not Designed To Leverage The Insurers

       The Certain Insurers’ repeated argument that the Plan is designed to create

 “hydraulic pressure to settle” is irrelevant and incorrect. It is irrelevant because

 there is no confirmation objection based on whether a plan creates pressure to

 settle. The Certain Insurers’ reliance on Newton is misplaced. D.I. 45 at 6, 64, 88.

 Newton is not a bankruptcy case or a mass tort case, and did not address




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 confirmation, good faith or settlement, or remotely suggest that leverage to

 settlement is relevant to any confirmation requirement.24

         The Certain Insurers’ hyperbolic characterization of the Plan as having been

 designed to point “an 82,000 claim bazooka at Insurers [to] create[] ‘hydraulic

 pressure’ to settle that serves no legitimate purpose” is incorrect because it is based

 on the faulty premise that they are bound by future awards. See D.I. 45 at 6. It is

 also contradicted by the record. There is no evidence that the Plan was intended to

 leverage the Certain Insurers to settle, and the argument does not even make sense

 because the Insurers have proven themselves to be utterly immune to efforts to

 achieve a settlement. As the bankruptcy court found based on an overwhelming

 volume of evidence, the Plan was designed to serve the legitimate purpose of

 compensating survivors of childhood abuse in a cost-effective and expedited way,



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      Newton addressed a district court’s decision to deny class certification and
      certify an interlocutory appeal. Newton v. Merrill Lynch, Pierce, Fenner &
      Smith, Inc., 259 F.3d 154, 162 (3d Cir. 2001). The Third Circuit held that the
      district court did not abuse its discretion in not certifying a class because
      common issues did not predominate and the class action vehicle was not
      superior, among other reasons, where there would be “hydraulic pressure” to
      settle and “determining actual injury would require hundreds of millions of
      individual assessments.” Id. at 192. Even as to class certification, the court
      rejected the notion that leverage to settle is problematic: “We do not want to be
      misunderstood as saying that class actions are bad because they place pressure
      on defendants to settle. That pressure is a reality, but it must be balanced
      against the undoubted benefits of the class action that have made it an
      authorized procedure for employment by federal courts.” Id. at 167 n.8
      (quoting In re Rhone-Poulenc Rorer Inc., 51 F.3d 1293, 1299 (7th Cir. 1995)).

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 and to allow the Reorganized BSA to continue its charitable mission of teaching

 scouting skills and morals to America’s youths. See supra pp. 42-43. The notion

 that the parties formulated a record-breaking trust, funded primarily by insurance

 companies, not to compensate survivors fairly, but somehow to leverage the

 remaining Insurers—meaning that insurance companies contributed approximately

 $1.656 billion not to settle liabilities under their own policies to pay claims of

 survivors, but rather to leverage the Certain Insurers to add money to the

 Settlement Trust—is facially absurd. Moreover, the Certain Insurers have no right

 to prevent the parties from settling, regardless of whether or not they, as the only

 parties refusing to provide anything to resolve claims, feel leveraged to settle

 (while not actually settling).

                                      *   *    *

       The unrefuted evidence is that the BSA had no “intention of diluting, in any

 fashion, the contract provisions protecting against an impairment or change in the

 insurers’ rights and policies.” Bankr. D.I. 9406 at 292:12-16.

       The Operative TDP were designed by the Debtors to emulate, to the
       greatest extent practicable, the prepetition practices of the BSA and its
       insurance companies for investigating, evaluating, valuing, and
       resolving Direct Abuse Claims, while simultaneously preserving all of
       the rights of the Non-Settling Insurance Companies to dispute and
       litigate coverage issues with the Settlement Trust.

 Bankr. D.I. 9309 ¶ 5; see also Bankr. D.I. 9406 at 292:17-293:11, 293:20.




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              2.     The Bankruptcy Court Did Not Err In Relying On The
                     Testimony Of A BSA Witness, Nor Was That The Sole Basis
                     For The Bankruptcy Court’s Good Faith Finding

       The Insurers’ argument that the bankruptcy court determined that the “BSA

 had not colluded with claimant representatives when drafting Plan provisions on

 the sole basis that the BSA’s counsel [Mr. Azer] testified that he believed he

 successfully negotiated with claimants to protect Insurers’ right” is irrelevant and

 incorrect. D.I. 45 at 52. It is irrelevant because it is not clear error to rely on the

 unobjected to testimony of a percipient witness. Thus, the Insurers’ argument that

 the bankruptcy court erred in “rely[ing] on” or “emphasizing” the testimony of a

 percipient witness about the BSA’s work to protect Insurers’ rights is puzzling.

 D.I. 45 at 75.

       The Insurers’ argument is incorrect because the bankruptcy court did not

 rely solely on Mr. Azer’s testimony, but also relied on the contemporaneous

 documents introduced as trial exhibits that confirmed his testimony, the fact that

 the Plan was formulated in a nearly two-year mediation, the terms of the Plan, and

 the testimony of other percipient witnesses. See supra pp. 31-32, 45-52. And the

 bankruptcy court relied on its factual finding that the “Certain Insurers’ argument

 that Debtors colluded with the Coalition, rather than negotiated with the Coalition,

 is wholly unsupported by the record.” D.I. 1-3 at 217. Indeed, the accusation was

 conclusively refuted by the record. Notably, the Insurers were provided with



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 access to the mediation documents and the drafting history, so they fully know that

 their allegations of collusion are baseless.

                      a.      The Insurers’ Argument That The Survivors Drafted
                              The TDP And Claim Matrix Is Unsupported And
                              Incorrect

       The Certain Insurers based their accusations of bad faith on their allegation

 that the BSA had “turned over the pen” on the TDP to the survivors, and never

 negotiated at all.        Indeed, the Certain Insurers were successful in invading

 mediation privilege based on those false accusations. D.I. 1-3 at 213 (“Because of

 their allegations of bad faith, I permitted insurers to take discovery into the

 mediation process with respect to the development of the TDP.”). The Certain

 Insurers also argued that the protections for the Insurers “were nearly always

 gutted or removed by the claimants’ attorneys…[a]nd BSA allowed it to happen.”

 D.I. 45 at 40. The Certain Insurers’ allegations are demonstrably wrong.

       Mr. Azer was a lead drafter of the TDP, and he testified that BSA had the

 pen, not the survivors, and that he never gave up control of the documents to the

 survivors or anyone else. Bankr. D.I. 9309 ¶ 7; Bankr. D.I. 9406 at 298:11-21

 (Azer) (Q: And had the debtors ceded control of the plan process to the coalition,

 TCC, and FCR? Azer: No, absolutely not…Like I said throughout my testimony,

 we were playing it straight down the fairway, trying to protect everyone’s rights,

 including insurers’ contractual rights.”).      Indeed, Mr. Azer testified that the



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 survivors had no input into the initial draft, and that the BSA rejected the survivor

 model. Bankr. D.I. 9309 ¶ 15 (“The Debtors rejected the February Term Sheet and

 instead filed multiple drafts of the TDP that were directly contrary to the terms

 required in the February Term Sheet.”). And Mr. Azer’s testimony was fully

 supported by the contemporaneous records. D.I. 1-3 at 213; Bankr. D.I. 9406 at

 37:20-48:14; Bankr. D.I. 9309 ¶¶ 14-23; A11673; A11696; see also SA 2146,

 SA 2176, SA 2196, SA 2197, SA 2246, SA 2267.

       Mr. Azer testified, and the bankruptcy court found, that he and other counsel

 for the BSA drafted the initial TDP based on a model provided by an insurer, then

 an adversary, not the survivors. Bankr. D.I. 9406 at 37:20-38:1; D.I. 1-3 at 214.

 The BSA also relied on other mass tort bankruptcy trust distribution procedures.

 Bankr. D.I. 9406 at 39:13-24. With those templates as a starting point, the BSA

 created trust distribution procedures with the goal of emulating, to the greatest

 extent practical, the BSA’s prepetition practices for resolving sexual abuse claims.

 Bankr. D.I. 9309 ¶¶ 5, 9, 42-44; Bankr. D.I. 9406 at 73:5-9. To do so, Mr. Azer

 consulted with Mr. Griggs who provided the extensive, real-world background that

 informed (a) the criteria for determining claim validity, and (b) the types of

 aggravating and mitigating factors considered by the BSA in resolving abuse

 claims on a prepetition basis. Bankr. D.I. 9309 ¶¶ 9, 10; Bankr. D.I. 9273 ¶¶ 49-

 50. “The Debtors exercised good faith throughout the whole process, taking into



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 consideration both the interests of the Direct Abuse Claimants and the Non-

 Settling Insurance Companies. The BSA never ceded control of the TDP… to any

 other party (be it a claimant constituency or an insurance company) or colluded

 with any third party to prejudice the rights of another.” Bankr. D.I. 9309 ¶ 7. Mr.

 Azer’s testimony was irrefutable, and the Insurers did not even question him at

 trial about the fact that he had the pen on the TDP, notwithstanding their months’

 long accusations against him.

       The BSA also relied on its expert consultant, Bates White, economists with

 deep expertise and experience on trust distribution procedures and claim valuation,

 to identify base claim values, as well as the amount of the scaling and mitigating

 factors, that would produce results consistent with the BSA’s prepetition practices.

 Bankr. D.I. 9309 ¶ 12; see supra, pp. 56-58. The Bates White team developed the

 Claims Matrix based on the BSA’s data for prepetition claims resolutions and

 comprehensive statistical modeling and analyses. Bankr. D.I. 9454 at 201:10-

 230:5. “Dr. Charles Bates, chairman of Bates White LLC and Debtors’ retained

 expert was qualified without objection as an expert in claim valuation, mass tort

 matrixes and trust distribution procedures. He spent eight hours on the stand.”

 D.I. 1-3 at 58. “Dr. Bates’s analysis was thorough and credible based on data

 available. It was also undisputed. No other expert testified on the aggregate

 valuation of the Direct Abuse Claims.” Id. at 65. The bankruptcy court found:



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       Based on the record and my assessment of Dr. Bates’s credibility,
       there is no reason to disregard Dr. Bates’s analysis and conclusions,
       which I accept for the purposes of confirmation as his best estimate of
       the aggregate valuation of the Direct Abuse Claims. Accordingly, I
       conclude based on the record of evidence presented and the
       information known to date regarding the Direct Abuse Claims, that
       the aggregate valuation of the Direct Abuse Claims is most likely
       between $2.4 billion and $3.6 billion.

 Id. at 65-66.

                     b.     The Insurers’ Argument That The BSA Did Not
                            Protect Them Is Unsupported And Incorrect

       The evidence also proves that the BSA did protect the interests of the

 Insurers, even though the Insurers were not settling. Bankr. D.I. 9309 ¶ 26; Bankr.

 D.I. 9406 at 40:18-42:19. The written contemporaneous record proves that Mr.

 Azer negotiated against the Coalition, persistently including protections for the

 Insurers after they had been stricken by the Coalition. Mr. Azer painstakingly

 walked the bankruptcy court through multiple versions of negotiated TDP drafts,

 demonstrating how and where the BSA protected any existing rights of the

 Insurers. Bankr. D.I. 9309 ¶¶ 27-41; D.I. 1-3 at 214 (“Counsel for the Certain

 Insurers walked Mr. Azer through the TDP (and, various redlines) in minute detail

 by focusing on provisions that were modified or eliminated after negotiations with

 counsel for the Coalition …Mr. Azer testified that he believes [the language in

 Article V.C of the TDP] encompasses all of the language that was deleted in the

 numerous provisions in the TDP and achieves his goal of preserving the Insurers’

 rights under their contracts.” (citations omitted)).

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       The Certain Insurers’ argument that the BSA was buying votes from

 survivors by settling is unsupported by evidence. The fact that the BSA negotiated

 a settlement with survivors demonstrates good faith, not bad faith. Negotiations

 for plan support do not prove, or remotely support, bad faith. Debtors negotiate

 with creditors in every case and need creditors’ support for a consensual plan of

 reorganization. As the bankruptcy court noted, “Debtors are supposed to negotiate

 plans, as are official committees (i.e., the [Tort Claimants’ Committee]). Other

 constituencies are often involved.” D.I. 1-3 at 178. The BSA could not dictate the

 terms of an agreement with survivors, so the BSA negotiated in mediation with

 stakeholders who were willing to engage. Bankr. D.I. 9309 ¶ 20. Mr. Azer

 testified that “[t]he insurers were not willing to engage constructively to seek a

 mutually agreeable resolution with any sort of creditor support.” Id. ¶ 47. “They

 did not provide input into the [TDP]. Instead, so the emails we got back from the

 insurers, and this is in the record. But the insurers basically refused to provide

 comments. They threatened us with kind of multi-year litigation if we proceeded.”

 Bankr. D.I. 9406 at 47:11-15.

       Despite the Certain Insurers’ unwillingness to cooperate, the BSA continued

 to revise the Plan and the TDP in a manner that would preserve the Certain

 Insurers’ contractual rights. The BSA only included changes proposed by the

 Coalition to the extent such revisions were consistent with BSA’s prepetition



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 settlement practices, and rejected any proposed revisions that were inconsistent

 with such practices. Bankr. D.I. 9309 ¶ 11.

       That was actually probably the hardest part of the negotiation and, the
       most significant part of the negotiation. So they kind of fell into two
       buckets. . . . The first bucket dealt with the process of the [TDP], like
       how the trustee would evaluate claims. . . . And then there was a
       second – second line of negotiations relating to what was the no
       modification of insurance rights, which is now the assignment of
       insurance rights provision, which is Article [V.C] of the TDP. We
       had lots of negotiations around putting in and keeping protective
       language that made sure that we weren’t modifying, amending, or
       supplementing the insurers’ contractual rights.

 Bankr. D.I. 9406 at 40:20-42:19 (Azer).         Notably, the BSA never stopped

 negotiating and working to address concerns expressed by the parties. For

 example, the BSA made additional revisions to Article V.C to address specific

 concerns raised by the Insurers with respect to the treatment of self-insured

 retentions and to provide less favorable treatment for the statute of limitations in

 Pennsylvania, even though the Insurers provided nothing in return. Bankr. D.I.

 9309 ¶¶ 36-37, 49.

       After numerous exchanges of drafts over several months, the parties agreed

 to plan terms providing that none of the Insurers’ rights or obligations were being

 modified, and preserving any coverage defenses they had. Bankr. D.I. 9309 ¶¶ 27-

 41. The Plan proves that those protections demanded by the BSA, and repeatedly

 rejected by the Coalition, are included. See supra at pp. 70-73. There were drafts

 that repeated the same protection in multiple provisions, but ultimately the


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 protections were consolidated because repetition added nothing and “the broad

 general protections in Article V.C would be clearer, less ambiguous, and protected

 the interests of Non-Settling Insurance Companies.”

       I actually think it ended up being ambiguous, right. Using the
       principle of specific over the general, people thought it was confusing
       for me to try to identify every provision that applied versus having the
       general, which was meant to cover all of it. . . . So the reason we
       took it out is people were like, ‘Well, wait a minute. If you don’t
       identify in each provision it may apply, how do you know it doesn’t
       apply? Just have it in a catchall. . . . I think people thought it was
       ultimately ambiguous as to the inclusion and that’s why we ultimately
       conceded to taking it out because we had the general provision.”).

 Bankr. D.I. 9406 at 149:14-25.        The bankruptcy court correctly found that

 consolidating the protections into one provision, rather than including them in

 several provisions, was a matter of drafting convention.          D.I. 1-3 at 216

 (concluding that while “[t]he Non-Settling Insurance Companies may have

 preferred Mr. Azer’s belts and suspenders’ language,” the bankruptcy court would

 not “weigh into the apparent disagreement on drafting conventions”).

       The Insurers also argue, without evidence, that the BSA had no interest in

 the TDP after reaching an agreement on its financial contribution, but the evidence

 was that BSA had a strong interest because the BSA needed a confirmable plan

 and needed to protect its insurance assets:

       [W]e knew we had to get a confirmable plan and we needed
       something that…the Court would approve; And so, therefore, we had
       a really significant interest…[to play it]…straight down the
       fairway…We needed to make sure we were taking into consideration


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       the interests of claimants, but also making sure that we preserve the
       rights of our insurers…. That is a significant asset to the estate, and
       we needed to make sure that we were protecting our insurers’
       contractual rights.

 Bankr. D.I. 9406 at 40:8-17 (Azer); see Bankr. D.I. 9309 ¶ 7. Moreover, arguing

 that the BSA was not incentivized to protect their interests does nothing to avoid

 the actual record that the BSA did develop a TDP that emulated its prepetition

 practices and experience, and did successfully negotiate, against considerable

 opposition, to not modify any Insurer’s policy and to protect any available

 coverage defenses for the non-settling insurance companies. Further, the Third

 Circuit has rejected the argument raised here challenging trust distribution

 procedures on the ground that the debtor is not incentivized to protect their

 insurers. See Fed.-Mogul, 684 F.3d at 380 (“[T]he shift in incentives is not unique

 to [trust distribution procedures in] the asbestos context and occurs in bankruptcy

 where there is a discharge of liability to the debtor but not that of the insurer.”).

       The Certain Insurers are also wrong in arguing that whether Mr. Azer

 “thought he was protecting Insurers’ rights while negotiating with the Plaintiffs’

 lawyers is irrelevant.”     D.I. 45 at 76.      While subjective intent may not be

 “determinative” of the entire analysis (cf. In re SGL Carbon, 200 F.3d 154, 165 (3d

 Cir. 1999))—and it was not determinative for the bankruptcy court—the BSA’s

 intent is certainly relevant to good faith. See, e.g., PWS Holding, 228 F.3d at 24-43

 (relying on subjective testimony and rejecting a challenge to good faith). Indeed,


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 the Insurers put the BSA’s intent to issue, as demonstrated in their very next

 sentence, where they claim that the “BSA was complicit in the Plan” to prejudice

 the Insurers, D.I. 45 at 76, which is something that would require the BSA’s

 agreement and, therefore, intent. Am. Capital Equip., 688 F.3d at 158 (“However,

 we are not convinced the Fifth Plan is collusive because insurers have not pointed

 to any evidence of an agreement to defraud insurers,” and citing authority that

 collusion is an agreement between two parties to defraud another). Here, the

 record is that the BSA did negotiate protections for the Insurers, requiring that the

 Plan preserve the Insurers’ coverage defenses, so the BSA’s actions and intent both

 show good faith.

                    c.     The Insurers Introduced No Evidence Of Collusion
                           Or To Support Their Other Accusations Of Bad Faith

       In addition to relying on the volume of evidence that the BSA did not

 collude with survivors, the bankruptcy court also relied on the fact that the Certain

 Insurers introduced no evidence to support their assertions, nor could they given

 the contemporaneous record.       D.I. 1-3 at 219 (“I find no collusion.”). The

 bankruptcy court correctly found that the Certain Insurers’ allegations of collusion

 “wholly unsupported by the record.” Id. at 217.

       Based on this record, I cannot find that Debtors colluded with the
       Coalition or other plaintiff representative to intentionally deprive
       insurers of their rights. I cannot find that Debtors abdicated their
       responsibility to negotiate a plan or proceeded in bad faith…The
       Certain Insurers’ arguments that Debtors colluded with the Coalition,


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       rather than negotiated with the Coalition, is wholly unsupported by
       the record.

 Id. at 216-17.

       Even after discovery conclusively demonstrated that the Certain Insurers’

 accusations that the BSA never negotiated the TDP, but just accepted whatever the

 survivors presented, were wrong, the Insurers continued to make them. As the

 bankruptcy court found:

       Because of their allegations of bad faith, I permitted insurers to take
       discovery into the mediation process with respect to the development
       of the TDP. In their confirmation opinion, Certain Insurers represent
       that “the results of that discovery were damning.” I disagree. The
       record developed at trial shows that Mr. Azer, Debtors’ insurance
       counsel, penned the initial draft of the TDP….Thereafter Mr. Azer
       never gave up the pen. Mr. Azer testified that Debtors had an interest
       in the TDP because they needed a confirmable plan and that they
       spent significant time negotiating protections for the insurers’
       contractual rights.
 D.I. 1-3 at 213-214.
              1.    The Fact That 82,209 Proofs Of Claim Were Filed In The
                    Chapter 11 Cases Does Not Demonstrate That The
                    Bankruptcy Court Committed Clear Error In Finding That
                    The Plan Was Proposed In Good Faith, Or Support A
                    Contrary Finding

       The Certain Insurers argue that the bankruptcy court committed clear error

 in finding that the Plan was proposed in good faith because there was “an

 explosion of claims” and because (they say) that “tens of thousands” of the claims

 are “meritless or questionable.” D.I. 45 at 61, 72. Both assertions are incorrect.




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         The fact that numerous claims were filed against the BSA in the Chapter 11

 Cases is irrelevant to a finding of good faith. The BSA had nothing to do with the

 filing of claims. The Insurers cannot impute to the BSA the conduct of the

 plaintiffs’ attorneys in successfully soliciting clients.     The Certain Insurers

 introduced no evidence that the BSA had anything to do with the filing of claims

 against it because there is no such evidence.25 See D.I 1-3 at 224-24.

         The Certain Insurers also introduced no evidence that any of the claims were

 invalid. The Certain Insurers cite the fact that there were 1,700 abuse claims filed

 prepetition, and then 82,209 filed post-petition, but the fact a bankruptcy that

 would result in a discharge of the BSA’s liability attracted the attention of the

 plaintiffs’ bar and survivors does not prove that the claims are invalid (or provide

 any ground to not account for them in a plan of reorganization). See D.I. 45 at 72-

 73. The Certain Insurers had access to all 82,209 proofs of claims and did not

 25
      Attributing bad faith to the Debtors for this so-called “explosion of claims” is
      also improper in light of the efforts that the Debtors took to mitigate the
      potential for fraud. As noted in the Confirmation Opinion, the Debtors sought
      to supplement the Bar Date Order to prevent “what Debtors deemed to be false
      and misleading statements.” D.I. 1-3 at 23; Bankr. D.I. 1145 ¶ 42. As a result
      of these efforts, on September 16, 2020, the court entered the Supplemental Bar
      Date Order prohibiting the plaintiffs’ bar from continuing to make statements
      (i) suggesting that abuse claimants may remain anonymous, (ii) indicating a
      specific value of any potential compensation trust, and (iii) suggesting that
      abuse claimants will never have to be deposed, appear in court or otherwise
      prove their claims.” D.I. 1-3 at 23; Bankr. D.I. 1331 ¶ 10.A. The Debtors have
      never taken any action to facilitate the payment of false or fraudulent claims,
      nor were they “at best, willfully blind.” D.I. 45 at 5.

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 challenge a single one. The Certain Insurers did introduce evidence about certain

 group filings at the deadline, but an attorney’s effort to preserve claims before they

 expire does not prove fraud. See Bankr. D.I. 9517 at 221:15-224:21 (explaining

 that proof of claim forms were submitted, and sometimes signed on behalf of

 claimants, at or near the bar date “to protect them from a Draconian bar date in a

 pandemic” and “avoid the Draconian consequences of missing the bar date”).

       The Insurers’ claim that the “claimants’ own expert recognized [that] a

 significant portion [of claims] are likely fraudulent” is incorrect. D.I. 45 at 2. The

 Certain Insurers cite to a statement made by a witness that was not retained or

 qualified as an expert to evaluate the prevalence of fraud in the claim pool, and did

 not evaluate the claim pool. See Bankr. D.I. 9517 at 197:17-24 (proffering Dr.

 Conte as an expert witness to opine on the characteristics of the allegations,

 survivor profiles, and legal issues presented by the proofs of claim, but not to

 evaluate the claim pool for instances of fraud). And the witness simply said during

 the course of the deposition that his reaction was that, given the number of claims,

 “a significant portion of that 80,000…are probably not real claims,” without

 defining what would constitute a significant portion or providing any data or

 analysis to support his personal belief, much less a report. Bankr. D.I. 9517 at

 202:20-22. Consequently, it is incompetent. Ace Pallet Corp. v. Conrail, 764 F.

 App’x 197, 198 (3d Cir. 2019) Mfg. Res. Int’l, Inc. v. Civiq Smartscapes, LLC, No.



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 17-269 (RGA), 2019 WL 4198194, at *7 (D. Del. Sept. 4, 2019) (excluding

 opinion that contains “no actual analysis”). In fact, the number of claims does not

 indicate fraud because the BSA has served more than 130 million Americans since

 its inception (Bankr. D.I. 16 ¶ 6), but Dr. Conte never analyzed whether the

 number of claims was unreasonably large given this total population. Dr. Conte

 also did not indicate that he was aware that the BSA had served 130 million

 children (or how that fact might impact his belief), so that 82,209 claims was

 0.06% of the population, which is actually lower than the national average. In

 contrast, Dr. Bates comprehensively analyzed the difference between pre-petition

 and post-petition claim numbers, and concluded that the increase of claims post-

 petition was a result of survivors’ privacy concerns and economic considerations of

 survivors and their attorneys. Bankr. D.I. 9454 at 142:9-146:8. That is, survivors

 who were unwilling to engage in costly and public litigation in the tort system

 came forward in the bankruptcy proceeding to file claims when presented the

 opportunity to do so through the confidential proof of claim process. Id.

       The Insurers also cite an analysis by the BSA’s data management expert that

 90% of claimants never reported abuse to Scouting or law enforcement. D.I. 45 at

 22.   The fact that children that were abused decades ago did not report, or

 frequently even understand, abuse does not remotely support the Insurers’

 argument that the claims are fraudulent. The Insurers introduced no evidence



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 whatsoever that abused children frequently reported abuse decades ago, or that

 claims involving a survivor that did not report abuse are fraudulent. The Insurers

 never even argued at confirmation that the fact that most claimants never reported

 abuse to Scouting or law enforcement proved that their claims were fraudulent.

 See Bankr. D.I. 8695; Bankr. D.I. 9033 (Certain Insurers failing to argue in their

 confirmation objection that a failure to report abuse prior to filing a proof of claim

 evidenced fraud on behalf of a claimants). The Insurers also introduce no evidence

 that the BSA did not pay claims that were not reported. To the contrary, the

 evidence is that the BSA did pay claims that had not been reported, and insurers

 funded those settlements. See Bankr D.I. 9273 ¶¶ 39, 48.

       The Certain Insurers are also incorrect that the possibility of invalid claims

 “was never addressed in this Plan.” D.I. 45 at 72. To the contrary, the Plan

 includes numerous provisions for assessing the validity of claims and one of the

 founding principles of the TDP is the “prevention and detection of any fraud.” D.I.

 1-4, Ex. A, Art. I.B.5. For example, the signature page on the proof of claim form

 requires a signature under penalty of perjury, and contains a warning of substantial

 consequences for submitting false claims:

           “Penalty for presenting fraudulent claim has a fine of up to
         $500,000 or imprisonment of up to five years or both. 18 U.S.C.
                               §§ 152, 157, 2571.”




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       “I have examined the information in the sexual abuse survivor proof of

 claim and have a reasonable belief that the information is true and correct.”

       “I declare under penalty of perjury that the foregoing statements are

 true and correct.” (A 11596).

       Furthermore, the bankruptcy court directed that the Confirmation Order

 provide that the Settlement Trustee propose certain procedures,

       to suss out fraudulent claims taking into account factors which she
       deems appropriate, which she can include a cost/benefit analysis.
       Those procedures will be presented to the court…In addition to
       disallowance of a claim, penalties may include seeking the
       prosecution of the claimant or the claimant’s attorney for presenting a
       fraudulent claim in violation of 18 U.S.C. § 152 and seeking sanctions
       from the court.

 D.I. 1-3 at 211-12.

       The TDP was amended to provide that the Settlement Trustee “shall propose

 procedures to identify fraudulent claims…to the Bankruptcy Court for approval”

 and “shall work with the Claims Administrators to institute auditing and other

 procedures to detect and prevent the allowance of Abuse Claims based on

 fraudulent Trust Claim Submissions.” D.I. 1-4, Ex. A., Art VII.I; see also D.I. 1-1

 ¶ 19. The fraud-prevention procedures will, among other things, “permit the

 Settlement Trustee or Claims Administrators to conduct random audits to verify

 supporting documentation submitted in randomly selected Trust Claim

 Submissions, as well as targeted audits of individual Trust Claim Submissions or



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 groups of Trust Claim Submissions, any of which may include Settlement Trustee

 Interviews.” D.I. 1-4, Ex. A, Art. VII.I. In addition, the Trust Claim Submissions

 “must be signed under the pains and penalties of perjury and to the extent of

 applicable law…may subject those responsible to criminal prosecution in the

 Federal Courts.” Id.; see D.I. 1-1 ¶ 19 (“In addition to disallowance of a claim,

 penalties may include seeking the prosecution of the claimant or claimant’s

 attorney for presenting a fraudulent claim in violation of 18 U.S.C. § 152 and

 seeking sanctions from the [Bankruptcy] Court.”). A Submitted Abuse Claim will

 only be deemed to be allowed once it has met the “evidentiary standard set forth in

 the General Criteria” and “the Settlement Trustee has verified such information

 and determined that no materials submitted or information received in connection

 with the Submitted Abuse Claim are deceptive or fraudulent.” D.I. 1-4, Ex. A, Art.

 VII.C.3.

       No settlement trust (or litigation) is immune from efforts by unscrupulous

 people to commit fraud, but the Plan includes more than adequate procedures for

 denying any such claims. And the hypothetical fact that an unscrupulous person

 might pursue a fraudulent claim—and there is no proof that anyone has done so—

 does not prove or even remotely support an argument that the BSA acted in bad

 faith in setting up a comprehensive settlement trust to compensate victims of

 childhood sexual abuse. Speculation that potential fraudulent claims will get past



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 Judge Houser, but would not also have fooled the BSA, unsupported by any

 evidence, does not demonstrate bad faith. To the contrary, mass tort settlements

 administered by trusts like the one at issue here are commonplace. See Maremont,

 601 B.R. at 20-21; In re W.R. Grace & Co., 446 B.R. 96, 132 (Bankr. D. Del.

 2011), (“The Trustees have a fiduciary duty to ensure that only valid claims are

 paid. No evidence was proffered to suggest, let alone prove, that Trustee will

 violate that duty.”), aff’d, 729 F.3d 311 (3d Cir. 2013). And contrary to the Certain

 Insurers’ suggestion that litigation would identify invalid claims through

 discovery, evidence shows that sexual abuse claims are established primarily

 through the testimony of the survivor, not through recordings or documentary

 evidence, and the TDP allows Judge Houser to take testimony. See D.I. 1-4, Ex.

 A, Art. VII.A (allowing the Settlement Trustee to obtain additional evidence from

 the holder of an Abuse Claim or from other parties pursuant to certain document

 obligations in order to complete the evaluation of each Abuse Claim). Moreover,

 the evidence is that the BSA paid claims prepetition as long as the case appeared

 credible, especially if the abuse claimant “was willing to accept a settlement offer

 for an amount less than the cost of defending the case through trial.” Bankr. D.I.

 9273 ¶ 39. And notably, the Certain Insurers seek to defeat the Plan, not to protect

 against fraudulent claims, because, as the bankruptcy court found, the Certain

 Insurers never suggested any procedures for protecting against fraudulent claims.



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 D.I. 1-3 at 211.     Nonetheless, if Judge Houser somehow does not identify

 fraudulent claims as such, then the Certain Insurers will have their coverage

 defenses. See supra at pp 62-65. And again, the Certain Insurers’ position is not

 prejudiced or changed because the BSA could settle fraudulent claims without a

 trust, subject only to coverage defenses.

       The Certain Insurers’ argument that the recovery for bona fide claimants will

 be reduced by invalid claims is again based on their faulty premise that invalid

 claims will be provided awards. D.I. 45 at 74. Additionally, the Certain Insurers

 have no standing to assert arguments for their adversaries in this case, the

 survivors, who are represented by opposing counsel and are the very parties that

 the Insurers seek to harm by eliminating the Settlement Trust set up to compensate

 them for their injuries.    The survivors overwhelmingly voted for the Plan.

 Moreover, the Certain Insurers’ contention that claims will be diluted ignores the

 bankruptcy court’s factual finding that survivors will likely be paid in full. See

 D.I. 1-3 at 72. The Insurers introduced no contrary evidence. The Insurers’

 argument about dilution also conflicts with their core argument on appeal that

 claims will be inflated, not diluted. Additionally, the Certain Insurers’ assertion

 that “experts on both sides testified” that the Plan victimizes the “people who are

 really deserving” is wrong. D.I. 45 at 74. Dr. Treacy, the Certain Insurers’ expert

 did not testify that the Plan victimizes survivors or that there were fraudulent



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 claims. Rather, Dr. Treacy testified that people making fraudulent claims deserve

 nothing and should not be permitted to dilute the claim pool, but the Plan does not

 provide for any compensation to fraudulent claims. Bankr. D.I. 9530 at 186:6-12;

 see D.I. 1-1 ¶ III.19; D.I. 1-4 Ex. A, Arts. VII.C, VII.I.

        The Certain Insurers also argue that the BSA did not seek to disallow

 claims, but cite no authority that a debtor should seek to disallow claims, rather

 than having claims assessed through the TDP, much less that a decision to do so

 could constitute bad faith. The Certain Insurers never before these Appeals even

 suggested that the BSA should seek to disallow claims. See Bankr. D.I. 8695;

 Bankr. D.I. 9033 (Certain Insurers failing to argue that the BSA must first attempt

 to disallow claims before the Plan could be confirmed). Moreover, it would have

 made no sense for the BSA to adjudicate 82,209 claims in the disallowance

 proceeding, so that it could proceed to a trust to adjudicate those same claims,

 defeating the purpose and the efficiencies of the TDP.       Indeed, despite their

 insinuations of impropriety, the Certain Insurers never sought to designate votes.

 As the bankruptcy court found, the Certain Insurers, however, did not “move to

 designate any votes as they presaged they might do, nor challenge in any way the

 vote count.” D.I. 1-3 at 210 n.615.

       The Certain Insurers also speculate that but for the BSA’s bankruptcy

 proceedings, the “explosion of claims” would not have occurred. D.I. 45 at 20.



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 The Certain Insurers do not point to any evidence that supports this conclusion, nor

 do they account for the fact that the establishment of the Bar Date that required all

 claimants to assert their claims or forever lose them. As the bankruptcy court

 found, the “explosion” of claims “could be a consequence of a bankruptcy filing

 and a bar date and an open statutes of limitations and the advertising that went on.”

 See Bankr. D.I. 9638 at 191:10-17.

       A debtor’s ability to obtain a good faith finding necessary for
       confirmation certainly cannot turn on the number of claims filed,
       whether plaintiff lawyers advertised for clients or whether plaintiff
       lawyers filed claims in derogation of applicable rules. The remedy for
       inappropriate behavior, if any, rests with state supreme courts and/or
       disciplinary counsel around the country, any appropriate remedy in
       this court for personal who failed to perform appropriate diligence
       before signing proofs of claim and appropriate procedures in the TDP
       to ferret out any fraudulent claims. Denying confirmation, however,
       is not an appropriate or proportional remedy.

 D.I. 1-3 at 224.

       In any case, bankruptcy law provides no ground for defeating confirmation

 based on the volume of claims brought against the BSA, nor do the Certain

 Insurers’ insurance policies contain any limitation based on the volume of claims

 filed against their insureds, other than aggregate limits, which remain in place. As

 the bankruptcy court correctly held, “the logical extension of [the Insurers’]

 argument is that no entity with mass tort liabilities can file a bankruptcy case

 because claims might increase exponentially.” D.I. 1-3 at 224; see Bankr. D.I.

 9616 at 62:2-6 (finding the argument that the debtors “can’t be allowed to file a

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 bankruptcy because it might generate a whole bunch of claims” unpersuasive); see

 In re Fed.-Mogul Glob. Inc., 684 F.3d 355, 380 (rejecting the argument about

 increasing an insurer’s exposure through bankruptcy, holding that exposure to an

 insurer provides standing to participate in bankruptcy proceedings, “[b]ut granting

 a private party powerful leverage that may amount to a de facto veto over the

 reorganization proceedings does not seem promising solution to these potential

 problems.”).

       Regardless of how many proofs of claims were filed, they had to be

 addressed by the BSA in the Chapter 11 Cases. Whether awards will be issued that

 reach the Certain Insurers, and whether the Certain Insurers will decline to pay

 those awards, can only be determined in the future.

                2.   The Fact That Some Proofs Of Claim Are Missing
                     Information Does Not Demonstrate Or Even Support A
                     Finding Of Bad Faith

       The Certain Insurers’ contention that certain proofs of claim are missing

 information is also irrelevant. The submission of a proof of claim with missing

 information does not prove fraud. Indeed, it is commonplace for a survivor to not

 recall the name of his or her abuser from decades earlier. Bankr. D.I. 9274 ¶ 33

 (“Often a victim, due to age and the passage of time, will not have an initial

 recollection of their abuser’s name, but are able to identify them based on their role

 in Scouting, or where the scout troop met, or their role in a religious organization,



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 if any.”). Nonetheless, the TDP requires the provision of information, regardless

 of whether it is missing from the proof of claim, and claims that do not provide

 required information will be treated accordingly by Judge Houser and her team.

 D.I. 1-4, Ex. A, Art. VII.C.4 (providing for disallowance of claim that does not

 satisfy certain General Criteria); id. Art VII.A (providing that a claimant’s failure

 to comply with agreement to produce documents, consent to examinations, and

 cooperate in a written/oral examination under oath shall be grounds for

 disallowance or significant reduction of an Abuse Claim). Allowing survivors to

 present claims, which then will or will not be awarded compensation depending on

 their merits, does not support, much less require, finding that the BSA did not

 propose the Plan in good faith.

              3.    The Payment Of Claims Subject To A Statute Of
                    Limitations Defense Is Customary And Does Not Show Bad
                    Faith

       The Certain Insurers’ argument that the bankruptcy court should have found

 that the Plan was not proposed in good faith because the Settlement Trust will pay

 claims that are subject to a statute of limitations defense, and therefore is

 inconsistent with prepetition practices, is unsupported by evidence and incorrect.

 D.I. 45 at 28, 38. The Certain Insurers rely on the testimony of one of their

 witnesses, Ms. Bitar, that a survivor in the tort system “would get nothing” on a

 time-barred claim, and under the TDP “would get $300,000.” D.I. 45 at 33. Both



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 assertions are incorrect, something Ms. Bitar would not have known because she

 has never represented the BSA, and she has never settled even a single abuse

 claim. D.I. 9563 at 72:4-73:2.

       Claims subject to statute of limitations defenses were paid by the BSA and

 sometimes its insurers prepetition.       The testimony at trial was that States

 consistently revive abuse claims, and that “courts are reluctant to grant dispositive

 motions on a statute of limitations basis, particularly for something like childhood

 sexual abuse. Indeed, many of the states that had potentially applicable statutes of

 limitations also included exceptions (such as discovery exceptions) that would

 effectively negate a dispositive motion on a statute of limitations defense.” Bankr.

 D.I. 9273 ¶ 24. Mr. Griggs provided an example of a case where the “BSA

 believed it had meritorious defenses with respect to certain abuse claims in Idaho

 based on the statute of limitations. The bankruptcy court, however, essentially

 articulated a new legal theory based on fraudulent concealment that circumvented

 the applicable statute of limitations in that case, which prevented the BSA from

 prevailing on its statute of limitations defense.” Id. ¶ 25.

       Mr. Griggs further testified that the BSA often settled claims with a statute

 of limitations defenses, even if it was likely to prevail on the defense, and insurers

 often approved and funded those settlements. Id. ¶¶ 22-26. The BSA even paid

 claims after prevailing on the defense: “[I]n a case filed in Connecticut, the trial



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 court granted the BSA’s motion for summary judgment on the basis that the claim

 was untimely under a statute of repose. Notwithstanding that the motion for

 summary judgment was granted, the BSA ultimately settled that lawsuit with the

 consent of its insurer rather than face the cost and risk of an appeal.” Id. ¶ 26.

       Notably, many of the largest settlements paid by the BSA and its insurers

 arose out of claims where the BSA believed it had a viable statute of limitations

 defense. Id. ¶ 24. The BSA’s largest settlement, in fact, was subject to a time-bar

 defense, and the courts rejected it through appeal. Id. ¶ 24 (describing settlement

 of Hacker claims). Dr. Bates and his team analyzed the BSA’s prepetition claim

 pool to evaluate the impact of the statute of limitations defense on claim value, and

 he testified that the BSA’s average value in the claim pool was not in fact reduced

 where there were statute of limitations defenses. Bankr. D.I. 9454 at 260:5-261:1.

 “[I]n fact, if you…go through the claims, evaluate the historical claims based on

 the statute of limitations discount and do it properly, you wind up finding no

 difference in the average values in the claim pool.” D.I. 9454 at 263:15-264:4.

 Nonetheless, Dr. Bates and his team formulated a Claims Matrix that include

 different discounts for statute of limitations defenses based on the strength of the

 relevant State’s statute.

       The Insurers complain that the defense is a mitigating factor, rather than part

 of the General Criteria, but Mr. Griggs testified that the availability of a potential



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 statute of limitations defense was considered a mitigating factor prepetition, not

 part of the General Criteria that would have to be satisfied for payment. D.I. 9273

 ¶ 24.

         [The BSA sometimes] would use the possibility of a statute of
         limitation defense as an argument to reduce the value of a settlement
         in negotiations with counsel for underlying plaintiffs, but not as a
         complete bar to recovery. This is because if we presented the statute
         of limitations defense and lost, the underlying plaintiffs’ settlement
         demand would likely increase to be more similar to a claim that was
         not subject to any such defense. For instance, BSA had a statute of
         limitations defense to Hacker claims, but lost the motion for summary
         judgment on the defense. BSA took an appeal, and lost again.
         Consequently, we did not ultimately achieve any discount for the
         statute of limitations in settling with the plaintiffs.

 Id.

         The bankruptcy court credited Mr. Griggs’ unrefuted evidence: “During the

 trial there was much discussion about the statute of limitations defense. As Mr.

 Griggs testified, his experience is that even states with closed statutes of

 limitations, courts are hesitant to dismiss on statute of limitations grounds.” D.I. 1-

 3 at 191 n.566 (internal citation omitted).

         There is no ‘law’ that prevents a defendant (or putative defendant)
         from settling with or paying a claim made by a personal injury
         claimant whose claim may be time-barred.                     Indeed, the
         uncontroverted testimony of Mr. Griggs is that prepetition BSA was
         not often successful in asserting statute of limitations defenses even in
         states where the defense was viable, and that even when BSA
         prevailed on a statute of limitations defense it still might subsequently
         settle the claim.




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 D.I. 1-3 at 233. Consequently, the bankruptcy court found that it could not find

 based on the record before it, “that this result means the Plan was not proposed in

 good faith.” Id. at 234.

       Mr. Burnett, an expert on sexual abuse claim evaluation, also testified that,

 based on his considerable experience, it was reasonable to treat the statute of

 limitations and the statute of repose as a mitigating factor, rather than a claim

 validity criteria, given (a) his experience that trial courts are reluctant to grant

 statute of limitations defenses in sexual abuse claims, (b) that dismissal on the

 basis of statute of limitations are usually without prejudice, with the bankruptcy

 court providing a roadmap on how to remedy pleading errors in an amended

 complaint, (c) complexities concerning reviver windows, and (4) that prevailing on

 a statute of limitations defense can be a pyrrhic victory where defense costs exceed

 the value of a claim. Bankr. D.I. 9274 ¶¶ 54–56. The bankruptcy court did not

 commit clear error by not finding bad faith on the basis of the Certain Insurers’

 unsupported and incorrect assertion that claims subject to statute of limitations

 defenses would receive nothing outside the Settlement Trust or that the potential

 availability of the defense should be part of the General Criteria, not the mitigating

 factors.

       The second half of Ms. Bitar’s testimony is also incorrect. Ms. Bitar not

 only stated incorrectly that a survivor “would get nothing” on a time-barred claim



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 prepetition, but she also stated incorrectly that the survivor “would get $300,000”

 in the Settlement Trust. Bankr. D.I. 9563 at 52:6-8. Ms. Bitar simply took a Base

 Value and applied a statute of limitations discount. Bankr. D.I. 9563 at 50:18-

 52:8, 122:4-15.    The parties who formulated the TDP testified that claims

 adjudication does not work the way Ms. Bitar assumed. Rather, the Settlement

 Trustee must apply numerous mitigating and aggravating factors to ascertain the

 value of a claim, and the TDP is not expected to result in any awards at the Base

 Matrix Value number. D.I. 1-3 at 221 (“Dr. Bates’s testimony was clear: the Base

 Matrix Values in the TDP are a starting point, not an ending point. In his words,

 the Base Matrix Values are not ‘magic number[s]’; rather, any number could be

 used…one would simply have to modify the Scaling Factors appropriately.”).

             4.     The TDP Criteria For Legal Responsibility Do Not Prove,
                    Or Even Support, The Insurers’ Allegation Of Bad Faith

       The Certain Insurers also object that evidence of the “BSA’s negligence is

 not a prerequisite for liability as it would be in the tort system.” D.I. 45 at 28.

 Under the TDP, the Settlement Trustee will consider evidence of “legal

 responsibility,” rather than negligence because claims other than negligence had

 been brought on a prepetition basis. Consequently, the TDP needed to address the

 potential liability of a Protected Party for all claims, not merely for negligence

 claims. Bankr. D.I. 9309 ¶¶ 50-51; Bankr. D.I. 9406 at 217:20-23 (Azer) (“I think

 we wanted to encompass all the causes of action, right, so we wanted to make sure


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 we were encompassing everything that could be out there, and this is the reason we

 used that language.”).

       The Certain Insurers also argue that the TDP is unfair because it treats

 negligence as an aggravating factor.     D.I. 45 at 28.    This is incorrect.    The

 testimony at trial established that “the showing of negligence was subsumed by the

 General Criteria.” Bankr. D.I. 9309 ¶ 50; see also Bankr. D.I. 9273 ¶ 59 (“Based

 on my work as NCC, if an underlying plaintiff could establish, by a preponderance

 of the evidence, each of the General Criteria, I would have considered that a claim

 should be settled because the claimant likely would be able to show negligence by

 the BSA, Local Council, and/or Chartered Organization.”).            Moreover, the

 evidence is that the General Criteria is consistent with the BSA’s prepetition

 practices. Specifically, if all of the General Criteria was met prepetition, then the

 BSA viewed that as a sufficient basis to establish negligence and to pay the claim.

 Bankr. D.I. 9273 ¶ 59. While there is a reference to negligence in the “aggravating

 factors” of the TDP, the unrebutted testimony is that the BSA meant for this to

 address the issue of notice, rather than legal liability, which is subsumed by the

 General Criteria of the TDP. Bankr. D.I. 9406 at 41:15-22 (Azer) (“[W]e actually

 had a reference to negligence….[I]f the BSA had notice, then it was meant to allow

 for an increased dollar value, and I guess the insurers were confused by that. And

 so, again, we modified that language to try to make clear our intent in the



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 aggravating factors.”). The testimony further established that treating the degree of

 notice as an aggravating factor was consistent with the BSA’s prepetition practices.

 D.I. 9273 ¶ 41. In any case, the BSA subsequently revised the TDP after the

 confirmation hearing to expressly require that “a Protected Party may be negligent

 or may otherwise bear legal responsibility” in the final version of the TDP. D.I.

 1-4, Ex. A, Art. VII.C.2(c) (emphasis added). Moreover, Mr. Griggs’ testimony

 established that the BSA’s prepetition practices were focused on settlements, not

 trials, and settlements are not based on proof of negligence, but on the possibility

 that the survivor may prove negligence at trial. Bankr. D.I. 9273 ¶ 53.

       D.     The Certain Insurers’ Challenges Based On Terms That Were
              Not Included In The Confirmed Plan On Appeal Are Meritless

              1.    The Insurance-Related Provisions Contained In A Prior
                    Plan Are Not Relevant, And Do Not Prove Clear Error

       The Certain Insurers next argue that the Plan was proposed in bad faith

 based on certain insurance related terms that were included in a prior plan, and not

 in the Plan that was confirmed and is now on appeal. These arguments are

 frivolous. The section 1129(a) requirements for confirmation of a plan (including

 good faith) have to be satisfied for the plan under consideration, not for prior

 versions of the plan. The Certain Insurers cannot establish that the Plan was

 proposed in bad faith based on terms that were not in fact proposed in this Plan.




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 The terms that are not included in the confirmed Plan cannot harm, or otherwise

 impact, the Certain Insurers.

       The BSA proposed a plan in February 2022 that included certain insurance-

 related terms opposed by the Insurers. See Bankr. D.I. 8813 Art. IX.A.3.w-aa.

 The bankruptcy court declined to approve certain of those terms. See D.I. 1-3 at

 171-89. Section 1127(a) provides a debtor with the right to modify its plan, and

 then it is that modified plan that needs to satisfy the confirmation requirements, not

 a prior plan: “The proponent of a plan may modify such plan at any time before

 confirmation… After the proponent of the plan files a modification of such plan

 with the court, the plan that is modified becomes the plan.” 11 U.S.C. § 1127(a).

 Altering plan provisions before and after confirmation is consistent with

 bankruptcy precedent and procedure.

       In August 2022, the BSA modified the prior plan to comply with the

 Confirmation Opinion, listed those changes in a plan addendum, and filed a

 corresponding proposed order confirming the Plan. See Bankr. D.I. 10188, Exs. A,

 B, 10190. The bankruptcy court ultimately confirmed the Plan over the Certain

 Insurers’ objection in September 2022. D.I. 1-1, 1-4. The Certain Insurers cannot

 challenge the Plan based on terms that are not in it, much less demonstrate that the

 bankruptcy court committed clear error by not making certain factual findings

 based on terms that the BSA did not propose in the confirmed Plan.



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         The Insurers try to avoid that fact by pointing out that it was the bankruptcy

 court that caused the parties to change the terms of the Plan by declining to

 confirm the prior plan. D.I. 45 at 69-72. The fact that plan terms were modified to

 come into compliance with the bankruptcy court’s ruling does not demonstrate or

 support bad faith. The Certain Insurers cite no authority whatsoever for their novel

 and incorrect argument that a plan modified to come into compliance with the

 Confirmation Opinion is then not proposed in good faith (because it was the

 bankruptcy court that guided the modification).26 Section 1127(a) is not limited to

 modifications that are made independent of any court ruling. Indeed, there can be

 no stronger basis for modifying a plan than to come into compliance with a court

 order, because there is no option to do otherwise. Debtors routinely modify plans

 to come into compliance with court rulings and confirmation of a plan is often

 contingent on post-confirmation hearing modifications.             See, e.g., In re

 Mallinckrodt PLC, 639 B.R. 837, 910 (Bankr. D. Del. 2022) (“I find the [p]lan

 satisfies the statutory requirements of the Code, with the one exception noted

 above. All objections, including any not specifically addressed in this [o]pinion,

 26
      The Certain Insurers cite In re Grasso, 490 B.R. 500, 511 (Bankr. E.D. Pa.
      2013) for the proposition that the bankruptcy court’s reliance on the elimination
      of the terms that it did not approve “was legally erroneous.” D.I. 45 at 69.
      First, Grasso involved a debtor that violated his fiduciary obligations and
      diverted estate assets; it did not involve a modified plan that eliminated prior
      terms or even remotely suggest that a court could consider the terms of a prior
      plan in assessing whether a debtor proposed a plan in good faith.

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 other than to the [e]xculpation [p]rovision, are overruled. Debtors should submit a

 revised form of order.”); In re Purdue Pharma L.P., 633 B.R. 53, 115 (Bankr.

 S.D.N.Y. 2021), rev’d on other grounds, 635 B.R. 26 (S.D.N.Y. 2021)

 (“[A]ssuming that the changes to section 5.8 and 10.07(b) of the plan that I

 outlined will be made, as well as one other change that I will address in a moment,

 I will confirm the plan…I will enter an order confirming the plan if it is amended

 as required hereby, which order can generally be in the form of proposed

 confirmation order previously circulated to the parties and provided to

 chambers.”); In re Maremont Corp., No. 19-10118 (KJC), May 14, 2019 Hr’g Tr.

 at 10:1-10 (Bankr. D. Del. May 22, 2019) [D.I. 250] (“I felt the changes were

 necessary and…assuming that the change to be made and finalized in the language

 is non-substantive and I have no questions about it, I am indeed content to consider

 a confirmation order….”); In re USA Gymnastics, No. 18-09108 (RLM), Dec. 13,

 2021 Hr’g Tr. at 49:4-56:10 (Bankr. S.D. Ind. Dec. 22, 2021) [D.I. 1790]

 (conditionally approving plan subject to changes contemplated in the confirmation

 order and plan at the conclusion of the confirmation hearing in which revisions

 incorporating comments from various parties were made).

       In addition to being unsupported and wrong, the Certain Insurers’ position

 suggests absurd results. For instance, if the terms of a prior plan permanently

 tainted debtors, as the Insurers suggest, then debtors would not be able to



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 reorganize if courts do not overrule every plan objection (because they could not

 modify their plans to comply with the bankruptcy court decisions). Bankruptcy is

 not a one shot process, where debtors get a single opportunity to confirm a plan.

 The bankruptcy court dedicated over two years to the Chapter 11 Cases, including

 an extended confirmation hearing, and spent months drafting a 269-page opinion

 approving certain terms and rejecting others. Any position that the BSA could not

 then propose a plan in good faith to comply with the bankruptcy court’s order is

 frivolous. Indeed, notwithstanding their argument that terms of a prior plan taint

 the BSA, the Certain Insurers acknowledge that the BSA was entitled to propose a

 modified plan: “BSA can easily propose a plan that expressly makes clear that it

 does not affect any rights and obligations in the operative insurance contracts.”

 D.I. 45 at 88. As the bankruptcy court correctly found, that is what the BSA did.

       Additionally, although the terms of the prior Plan are not relevant to the

 confirmed Plan on appeal, those prior terms were not proposed in bad faith.

 Rather, those terms were included as part of a compromise with counsel for

 survivors who were concerned that without such provisions, the Insurers would try

 to raise improper future legal challenges to the Settlement Trust and the TDP. And

 the bankruptcy court did not find that those terms were proposed in bad faith, but

 rather declined to approve them because they were unnecessary to confirmation.

 D.I. 1-3 at 183-84 (“None of the Coalition’s rationales require me to find that the



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 Claims Matrix, Base Matrix Values, Maximum Matrix Values, and Scaling Factors

 ‘are appropriate and provide for a fair and equitable settlement of Abuse Claims’ in

 order to confirm the Plan. I decline to do so.”); id. at 184 (“The very fact that the

 required Finding had to be adjusted in an attempt to conform to the evidence

 suggests the Finding is unnecessary to confirmation. It also suggests that I should

 not enter Finding aa, which is imprecise at best.”); id. at 185 (“Finding w seems

 innocuous enough at first glance. But, if it is, why is it necessary?”); id. at 189 (“I

 ruled in connection with Finding x that § 1129(a)(3) does not justify a finding that

 the component parts of the TDP…are appropriate or fair and equitable. Finding z

 appears to be a back door, or perhaps ‘belts and suspenders’ way to get to these

 same findings. I decline to make Finding z.”).          Thus, in addition to being

 irrelevant, there is no basis for requiring a finding that the BSA did not propose the

 prior plan in good faith by agreeing to terms requested by survivors, whose support

 was needed for a consensual plan of reorganization, that were subject to court

 approval.

              2.     An Earlier Proposal For A Settlement Trustee Is Irrelevant
                     And Does Not Prove Clear Error Or Support A Finding Of
                     Bad Faith

       The Certain Insurers’ allegation that an earlier proposal to retain Professor

 Eric Green as the trustee means that the Plan was not proposed in good faith is

 frivolous. D.I. 45 at 34-35, 71-72. The current Plan did not propose Professor



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 Green, nor did the prior plan, but rather proposed former bankruptcy judge Houser,

 someone everyone agrees is an “eminently qualified, retired, neutral Federal

 Judge[].” Bankr. D.I. 9389 at 50:13-15; D.I. 1-3 at 211 (“[N]o one questions the

 integrity of the proposed Settlement Trustee.”). As addressed above, a challenge

 directed to a proposal that was not included in the Plan presented for confirmation,

 and is not included in the Plan that has been confirmed and is on appeal, is

 irrelevant.

       Additionally, Professor Green was qualified to serve as a trustee. Professor

 Green is a leading practitioner and scholar familiar with the dynamics of mass-tort

 cases, including most recently as the special master and trustee for all Takata

 airbag personal injury and wrongful death claims. The Insurers introduced no

 proof that Professor Green was biased. The fact that an experienced attorney that

 has served as a mediator in cases that involved members of the plaintiffs’ bar—

 and, of course, members of the defense bar—does not show bias, much less bad

 faith. Indeed, arguing that the BSA engaged in bad faith by initially proposing the

 appointment of a well-regarded mediator, and then changing the proposal in

 response to objections by the Insurers, just demonstrates the weakness of this

 appeal.




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       E.     The Fact That The Settlement Trust Does Not Replicate Scorched
              Earth Litigation Is Not A Ground For Challenging Confirmation

       The Certain Insurers’ argument that the Settlement Trust resolution process

 is different from the tort system is correct. The TDP is designed to replicate tort

 system resolutions in an expedited and cost-effective fashion, not years’ long

 litigation. Mass tort settlements establishing an adjudication procedure, or trust

 distribution procedures, instead of litigation, are commonplace. See, e.g., W.R.

 Grace, 446 B.R. 96; In re Leslie Controls, Inc., No. 10-12199 (CSS) (Bankr. D.

 Del. Jan. 18, 2011) [D.I. 503]. As addressed above, the TDP here was fashioned

 on other mass tort settlements. See supra pp. 70-71; D.I. 1-3 at 214 (crediting

 Mr. Azer’s testimony that the TDP was drafted using precedent from trust

 distribution procedures in other mass tort cases).

       The Insurers’ preference for scorched-earth litigation against survivors is not

 a ground for challenging the Plan. The Insurers have no right to require litigation

 or to prevent settlement. Bankr. D.I. 9406 at 87:4-89:13. Even the Insurers’

 expert, Mr. Harrington, conceded that it was not feasible to litigate 82,000 claims.

 D.I. 1-3 at 229 (citing Bankr. D.I. 9530 at 104:5-6). In any case, the BSA was

 always free to settle abuse claims, and not litigate, even without the rigor of review

 by a former bankruptcy court judge and a Claims Matrix developed by experienced

 economists, as here. The insurance policies do not prevent the BSA from settling

 unilaterally or through a trust. Bankr. D.I. 9406 at 87:4-89:13. The BSA could at


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 any time settle claims at the values indicated for the Settlement Trust, or at any

 other value, on its own, and the Insurers could do nothing to prevent those

 resolutions. Id. What the Certain Insurers could do in that circumstance is refuse

 to pay under their policies to the extent they could establish a coverage defense,

 and insurers did exactly that prepetition. Bankr. D.I. 9406 at 64:16-65:7 (Azer).

 Thus, the Certain Insurers’ insurance expert described the consent rights as

 “providing that no action lies against the insurer for breach unless…the claimant,

 insured and insurer have agreed to writing to settle the claim.” D.I. 45 at 16. The

 Certain Insurers have that same right to raise that same purported coverage defense

 for awards under the Settlement Trust because the Plan and the bankruptcy court

 preserved the Insurers’ rights and coverage defenses. D.I. 1-4, Ex. A, Arts. V.C.,

 X.

       Because the BSA was entitled to settle without litigation, subject to any

 resulting coverage defense, the Certain Insurers’ claim that Court dismissed in a

 footnote two days of testimony about how the TDP differ from the tort system

 because “insurance neutrality” is merely “a standing concept” is irrelevant. D.I. 45

 at 77. It is also incorrect. What the bankruptcy court found in its footnote is that it

 did not need to determine “whether a claims process in trust distribution

 procedures are ‘like’ the tort system, given the acceptance of Class 8.” D.I. 1-3 at

 184 n. 547. Bankruptcy courts need only determine whether treatment under the



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 plan is fair “with respect to each class or claims or interests that is impaired under,

 and has not accepted, the plan.” 11 U.S.C. § 1129(b)(1). Because Class 8 voted to

 accept their treatment, a finding on whether such treatment is fair and equitable in

 accordance with tort system principles is irrelevant.

       The Certain Insurers also are wrong that the bankruptcy court “erroneously

 declined to engage with the [P]lan’s real-world impact because the court believed

 ‘insurance neutrality’ is merely a ‘standing concept.’” D.I. 45 at 77. “Insurance

 neutrality” is a standing doctrine, not a plan requirement. See In re Combustion

 Eng’g, Inc., 391 F.3d 190, 217 (3d Cir. 2004), as amended (Feb. 23, 2005). As the

 bankruptcy court correctly noted, there is no confirmation requirement that a

 Chapter 11 plan be “insurance neutral.” D.I. 1-3 at 216 (“There is nothing that

 requires Debtors to negotiate a plan that is ‘insurance neutral,’ which is not a

 concept in the Bankruptcy Code” (citing Purdue Pharma, 633 B.R. at 63 (“[T]here

 is no requirement that a Chapter 11 plan be ‘insurance neutral’ in any respect.”)).

 The Certain Insurers do not cite a single authority to the contrary. The Insurers

 cite Global Industrial and Combustion Engineering, but the bankruptcy court

 correctly found that neither case held that a plan had to be insurance neutral. D.I.

 1-3 at 250. Rather, these cases held that the insurers in those cases had standing to

 raise challenges to the plan. Id. (“[I]f a plan is not ‘insurance neutral,’ insurance




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 companies have standing (at either the bankruptcy or the appellate level, as

 applicable) to be heard.”).

       The bankruptcy court did address the real-life impact of the Plan by

 preserving the Insurers’ defenses and correctly ruling that, to the extent a dispute

 arises in the future, a court with jurisdiction over the matter will determine the

 dispute based on the then-existing facts. D.I. 1-3 at 231 (“I will not anticipate how

 an insurance coverage court will interpret the Plan, the TDP or any confirmation

 order that may be entered.”). At this point, no awards have been issued, much less

 presented to any of the Insurers for payment, and no Insurer has disputed any

 hypothetical award, so no court has jurisdiction to resolve this potential, but

 currently non-justiciable, dispute. See Lewis v. Continental Bank Corp., 494 U.S.

 472, 479-80 (1990) (it was not justiciable where it “amounts to a request for advice

 as to ‘what the law would be upon a hypothetical state of facts’” or is predicated on

 “‘contingent future events that may not occur as anticipated, or indeed may not

 occur at all.’”) (quoting Aetna Life Ins. Co. v. Haworth, 300 U.S. 227, 241 (1937)

 and Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580-81 (1985));

 Sherwin-Williams Co. v. Cty. of Del., 968 F.3d 264, 272 (3d Cir. 2020) (“A dispute

 is not ripe for judicial determination if it rests upon contingent future events that

 may not occur as anticipated, or indeed may not occur at all.”) (quoting Wyatt v.

 Gov’t of the V.I., 385 F.3d 801, 806 (3d Cir. 2004)).



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       F.     The Rare Cases Finding Bad Faith That Are Cited By The
              Insurers Are Inapposite

       The cases that the Certain Insurers cite for finding bad faith reveal the

 deficiencies of their appeal. These cases either do not address good faith or aﬃrm

 a bankruptcy court’s finding of bad faith, the exact opposite of what occurred here.

 Moreover, the Insurers do not cite a single case disturbing a bankruptcy court’s

 finding of good faith. As noted above, it is very difficult to disturb a trial court’s

 findings of fact, and impossible here, where the record evidence overwhelming

 supports the findings and where the Certain Insurers introduced no evidence to

 support a bad faith finding.

       The Insurers cite In re SGL Carbon, which did not address confirmation

 issues. 200 F.3d 154 (3d Cir. 1999). Rather, that case dismissed the bankruptcy

 petition because the debtor was “a financially healthy company” and the “Chapter

 11 lacks a valid reorganization purpose…” Id. at 156, 166 (finding courts have

 “consistently dismissed Chapter 11 petitions filed by financially healthy companies

 with no need to reorganize under the protection of Chapter 11.”).

       The Insurers cite Global Industrial, but that court did not rule on good faith.

 It merely found that the bankruptcy court erred in holding that the insurers had no

 standing to object to a plan where their policies were being transferred to a trust,

 and where the insurers had submitted substantial evidence that 91.5% of the claims




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 were not legitimate.27 In re Glob. Indus. Techs., 645 F.3d 201, 207-08 (3d Cir.

 2011). Further, the bankruptcy court found that there was record evidence that

 “[the debtor] had sold out [the insurers] by setting up a system in which they would

 pay for newly ginned-up silica claims in exchange for asbestos claimants casting

 their votes in favor of the [plan].” Id. at 214. Indeed, the debtors obtained a list of

 silica claimants from another company’s bankruptcy and then solicited those

 claims to gain confirmation votes, causing the “explosion of silica claims.” Id.

 Although the bankruptcy court had considered some of the insurers’ contentions,

 the Third Circuit remanded to ensure that the insurers had the opportunity to make

 a full record: “[w]e accept the logical position that a party, granted standing and a

 full opportunity to participate, may add something meaningful to the record on

 which the bankruptcy court is called to make a decision.” Id. at 215 n.33.

         Here, the bankruptcy court granted standing to the Insurers, and they were

 full participants at trial, but introduced no evidence of collusion or that any claims

 were fraudulent, the exact opposite of what happened in Global Industrial.



 27
      The insurers produced evidence showing that the diagnosing physicians had
      been barred in other mass tort cases for making “questionable to abysmal”
      diagnoses in a van sitting in parking lots and for claimants that had already been
      diagnosed with asbestos-disease. In re Glob. Indus. Techs., 645 F.3d 201, 207
      n.16 (3d Cir. 2011). The Third Circuit noted that having both an asbestos and
      silicon related disease is so improbable that “[a] golfer is more likely to hit a
      hole in one than an occupational medicine specialist is to find a single case of
      silicosis and asbestosis.” Id. at 207.

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 Moreover, on the basis of a full record, the bankruptcy court found that the BSA

 did not collude with the survivors’ counsel. See supra pp. 78-79. The Certain

 Insurers introduced no evidence to the contrary, relying primarily on an argument

 that the BSA was incentivized to collude (D.I. 45 at 66-67), which is patently

 insufficient, as Global Industrial pointed out, and was specifically rejected by the

 Third Circuit in Federal-Mogul, another case relied on by the Insurers:

       Insurers also allege the trust mechanism might distort ordinary
       incentives between insurer and insured, encouraging the Debtor to
       collude with claimants and impose costs on the insurer. But as
       Federal-Mogul points out, this shift in incentives is not unique to the
       asbestos context and occurs in bankruptcy where there is a discharge
       of the liability of the debtor but not that of the insurer…. Nor did the
       Insurers provide any evidence of such collusion in this case. Such
       bare speculation does not establish an increase in risk.

 684 F.3d at 380.

       The bankruptcy court In re ACandS made a factual finding that the plan was

 not proposed in good faith because the trust structure was totally unfair to

 claimants. 311 B.R. 36, 43 (Bankr. D. Del. 2004). The trust structure was dictated

 by plaintiffs’ attorneys that favored their clients over other claimants.         Id.

 Specifically, the conflicted controllers provided a different treatment for the exact

 same claims, so that their clients would be paid in full even if they were merely

 exposed to asbestos and were not sick, while someone they did not represent, with

 the most serious disease, mesothelioma, could get nothing: “[I]t is fundamentally

 unfair that one claimant with non-symptomatic plural plaques would be paid in


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 full, but while someone with mesothelioma runs a substantial risk of receiving

 nothing. Both should be compensated based on the nature of their injuries, not

 based on the influence and cunning of their lawyers.” Id. at 40, 43.

       The bankruptcy court In re Coram Healthcare made a factual finding that

 the plan was not proposed in good faith because the debtors’ CEO and president

 had an actual conflict of interest when entering into an agreement with the debtors’

 largest creditor, requiring that he take the creditors’ instructions. 271 B.R. 228,

 234-35 (Bankr. D. Del. 2001). His annual fee of $1 million was substantially more

 than the executive’s salary from the debtor, the executive breached his fiduciary

 duties, and the conflict caused “insidious effects,” including the debtors’ decision

 to provide the creditor with $6.3 million interest payment, “with no legal

 obligation” to do so, harming the debtors’ liquidity at a time that they needed cash

 to achieve “operational advantages, as well as an enhanced negotiating position

 vis-à-vis to its creditors.” Id. at 236. Neither the executive nor the creditor

 disclosed the arrangement, until it was uncovered in discovery, and the bankruptcy

 court found the executive’s testimony “unconvincing.” Id. at 239. The Certain

 Insurers oddly cite the case as rejecting a “no harm, no foul” approach, but the

 bankruptcy court did not reject the “no harm, no foul” approach, but rather rejected

 the application of it in that case because there was harm. Id. at 237-38.




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       The bankruptcy court in In re American Capital found that the plan was not

 proposed in good faith based on a structure that was entirely different from the one

 here at issue, and in fact was used to distinguish the plan from a trust like the one

 on appeal. In American Capital, the bankruptcy did not relate to the tort liability,

 the debtors did not contribute to the fund, but would only take from the fund, the

 tort claimants were the sole source of funding, the funds were to pay off only

 creditors and insurers, rather than tort claimants, and there was “inherent conflict

 of interest” as the plan stripped the insurers of “procedural and substantive rights

 without the protections of Section 524(g).” 688 F.3d at 159-60. The Third Circuit

 held that the “inherent conflict of interest” was “especially concerning” because

 the debtors were financially incentivized to sabotage their own defense due to a

 kickback mechanism. Id. at 158-60 (“[The debtor] is required to cooperate in its

 defense, but will be incentivized to do otherwise.”). In contrast to the debtors in

 American Capital, the BSA has no conflict of interest, has meaningfully

 contributed to the Settlement Trust, and has not established a surcharge mechanism

 at the claimants’ expense for the BSA’s own gain. In almost every meaningful

 respect, the Plan serves as a direct foil to the plan in American Capital.

       G.     The TCC/Abuse Survivor Settlement Does Not Support, Much
              Less Require, A Finding Of Bad Faith

       The Certain Insurers’ argument that the TCC/Abuse Survivor Settlement,

 that provides an Independent Review Option and uncapped recoveries against non-


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 settling insurance companies, proves that the bankruptcy court committed clear

 error in not finding that the Plan was proposed in good faith is baseless. A goal of

 the TDP was to reflect the BSA’s prepetition settlement practices, and the BSA

 and its insurers sometimes paid sexual abuse claims in excess of the $2.7 million

 maximum cap applicable to a Trust Claim Submission. Bankr. D.I. 9309 ¶¶ 55-56;

 Bankr. D.I. 9454 at 237:12-18 (Bates). The Independent Review Option was

 intended to address the fact that the prior TDP that did not provide a pathway for

 recoveries in excess of $2.7 million for particularly egregious cases and, therefore,

 is consistent with the BSA’s prepetition practices. Bankr. D.I. 9454 237:12-18

 (Bates); see Bankr. D.I. 9454 at 98:14-99:1 (Bates) (“[The Independent Review

 Option] [b]asically remov[es]…a windfall that the excess insurers had obtained in

 the original draft of the [TDP].”); id. at 235:16-23 (Bates) (“The excess

 insurers…pay more, but…only to the extent that they got a windfall from the

 original [TDP], which capped itself at 2.7. So, they aren’t actually made worse off,

 relative to what the policies are worth.”).

       The Certain Insurers are not entitled to capped recoveries. Outside of the

 Settlement Trust, survivors are able to, and did, pursue claims with uncapped

 recoveries.   Bankr. D.I. 9273 ¶ 63.          And prepetition, the BSA paid claims

 substantially in excess of $2.7 million for egregious cases. Bankr. D.I. 9273 ¶ 63.

 The Insurers have no right to the windfall of a $2.7 million cap on claims,



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 something they would not have without the Plan. Nonetheless, if the awards are

 unreasonable, and there is no evidence that will ever occur, then the Certain

 Insurers retain their coverage defenses.

       The Certain Insurers also argue that the TCC/Abuse Survivor Settlement

 required the BSA to “downplay BSA’s own expert testimony at trial regarding the

 likely amount of aggregate liability from the claims.” D.I. 45 at 63. That is untrue.

 As the bankruptcy court found, “while the TCC/Abuse Survivor Settlement

 provided claimants with certain consultation rights with respect to Dr. Bates’s

 testimony, such testimony would be truthful and consistent with [his] own

 opinions.” D.I. 1-3 at 218 n.642. Indeed, the Certain Insurers’ concern was that

 Dr. Bates would walk away from his opinion about his range of aggregate claim

 values, and in particular the most likely range, and he did not do so. To the

 contrary, as found by the bankruptcy court, Dr. Bates’s testimony was “definitive,”

 “in no way hedged,” and the Certain Insurers “did not point to any difference

 between [Dr. Bates’s expert] reports [which were filed prior to the TCC/Abuse

 Survivor Settlement] and Dr. Bates’s testimony.”        D.I. 1-3 at 218-219.     The

 bankruptcy court correctly concluded that the challenges to “good faith” based on

 this issue were nothing more than “optics.” D.I. 1-3 at 222.




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  II.   The Plan Does Not Abrogate The Certain Insurers’ Contractual Rights

        As the bankruptcy court correctly held, “a debtor may assign, delegate, or

 transfer rights and/or obligations under section 363 of the Bankruptcy Code,

 provided that the criteria of that section are satisfied.” D.I. 1-3 at 251 (quoting In

 re Am. Home Mortg., 402 B.R. 87, 923-93 (Bankr. D. Del. 2009) (emphasis in

 original). The bankruptcy court found that Section 363 was satisfied: “The Plan’s

 transfer of rights under BSA Insurance Policies (the “Debtor Policy Assignment”)

 is authorized and permissible notwithstanding any terms of any policies or

 provisions of applicable law that are argued to prohibit the assignment or transfer

 of such rights.” D.I. 1-1 ¶ II.I.2. The Certain Insurers identify no authority

 whatsoever that their policies’ interests could not be assigned, and such interests

 are routinely assigned by debtors.

        The Certain Insurers do not cite any language in the Plan or the TDP

 abrogating the BSA’s obligations under the insurance policies because there is

 none. To the contrary, the TDP is explicit in not modifying the insurance policies

 and preserving the policy obligations as they existed prepetition:

        Nothing in these TDP shall modify, amend or supplement, or be
        interpreted as modifying, amending or supplementing the terms of any
        insurance policy or rights and obligations under an Insurance Policy
        assigned to Settlement Trust to the extent such rights and obligations
        or otherwise available under applicable law and subject to the Plan
        and Confirmation Order. The rights and obligations, if any, of the
        Non-Settling Insurance Companies relating to the TDP, or any



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       provision hereof, shall be determined pursuant to the terms and
       provisions of the Insurance Policies and applicable law.

 D.I. 1-4, Ex. A, Art. V.C (emphasis added).

       The Plan again references preserving those obligations—to the extent they

 exist—in the assignment provision:

       The Settlement Trust’s rights under any insurance policies issued by
       the Non-Settling Insurance Companies, including the effect of any
       failure to satisfy conditions precedent or obligations under such
       policies (other than, in case of the BSA Insurance Policies, the terms
       of any policies or provision of applicable law that are argued to
       prohibit the assignment or transfer of such rights), shall be determined
       under the law applicable to each policy in subsequent litigation.
 D.I. 1-1 ¶ II.I.2(e) (emphasis added).
       Moreover, the TDP provide:

       The Bankruptcy Court has authorized the Insurance Assignment
       pursuant to the Plan and the Confirmation Order, and the Settlement
       Trust has received the assignment and transfer of the Insurance
       Actions, the Insurance Action Recoveries, the Insurance Settlement
       Agreements (if applicable), the Insurance Coverage, and all other
       rights or obligations under or with respect to the Insurance Policies
       (but not the policies themselves) in accordance with the Bankruptcy
       Code.

 D.I. 1-4, Ex. A, Art. V.C.

       Additionally, the bankruptcy court repeatedly referred to the obligations as

 part of the policies, not as having been abrogated: “If the obligations form the basis

 for claims, they will be treated accordingly. If the obligations are conditions

 precedent, then the Non-Settling Insurance Companies may be able to assert those

 conditions as a defense to performance.” D.I. 1-3 at 253 (emphasis added). An


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 “obligation” cannot form the basis of the claim or be a condition precedent if it had

 been abrogated.

         Thus, the “obligations” under the insurance policies were not abrogated.

 D.I. 1-3 at 255. Instead, what the Certain Insurers seem to argue is that, in the

 future, Judge Houser will breach the policies by not complying with their

 conditions. Speculation about a potential alleged future breach of the insurance

 policies does not constitute abrogation. Thus, the bankruptcy court correctly held

 that speculation about future breaches does not provide a ground for objecting to

 the Plan, and then did the opposite of abrogating the BSA’s obligations under the

 insurance policies by holding that if the TDP:

         Creates a defense in subsequent insurance litigation, the Non-Settling
         Insurance Companies may reap that benefit. But, that is not certain.
         While there is nothing in the TDP that requires the Settlement Trustee
         to cooperate with the Non-Settling Insurance Companies under the
         Claims Matrix process, there is nothing that prohibits the Settlement
         Trustee from taking any and all action that she believes are
         appropriate or required to ensure that the Settlement Trust Insurance
         rights are maximized rather than compromised.

 D.I. 1-3 at 216.       The bankruptcy court further stated that she would “not

 anticipate how the Settlement Trustee will perform her duties, but I am confident

 she will be mindful of the need to maximize the insurance assets.”28 D.I. 1-3 at


 28
      The Certain Insurers’ argument that they are losing the ability to minimize
      liability by participating in defense is unsupported by evidence. The evidence
      is that other than Century, Hartford, and “to a lesser degree, AIG…[o]ther
      insurance companies were largely uninvolved with respect to defense and

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 230; see also D.I. 1-4, Ex. A, Art. X (“The Settlement Trustee will exercise those

 rights consistent with their duty to preserve and maximize the assets of the

 Settlement Trust.”).

       The Certain Insurers argue that the Plan does not specifically provide for the

 BSA or the Settlement Trustee to cooperate in the defense of claims or consent to

 settlements or other resolutions, but there is no requirement for a plan of

 reorganization to provide those rights to insurers.      Moreover, the BSA could

 always settle claims without the Insurer’s consent, and it has done so numerous

 times in the past, subject to the risk of coverage defense. Bankr. D.I. 9354 at 91:2-

 8. The Settlement Trust is no different. If the Insurers believe that there is some

 future breach of their insurance contracts, then they retain the right to raise that



    settlement of Abuse Claims.” Bankr. D.I. 9273 ¶ 33. As the bankruptcy court
    found, any conclusions from Professor Harrington “about the actual impact of
    the loss of contractual rights is all in the hypothetical.” D.I. 1-3 at 229.
    Professor Harrington had no knowledge of how insurers actually participate in
    the defense of any claims. Id. at 225. Indeed, as the bankruptcy court also
    found, “it is evident, notwithstanding the specific and narrow nature of his
    expertise, Professor Harrington’s opinions wander outside his academic
    expertise into interpretation of the Plan and TDP and speak generally about
    ‘prejudice’ to litigation outcomes, an area in which he was not offered and
    admittedly has no experience.” Id. at 226. The Insurers also misstate the
    contracts by saying that they anticipate that claims will be “settled within the
    context of the court system.” Bankr. D.I. 9530 at 23:23-25 (Harrington). There
    is no language in the contract limiting settlements, and claims are routinely
    settled without the need for litigation. In any event, the testimony is irrelevant
    because of the Certain Insurers’ rights under the contracts, including its right to
    claim breach, are fully preserved.

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 defense to coverage. Moreover, the Insurers’ interest is not actually to defend

 these claims, but rather to avoid making payments under their policies.

 Consequently, if the Certain Insurers can establish a coverage defense based on a

 breach, then the Certain Insurers are benefitted by the breach, not harmed by it.

       The Certain Insurers also argue that any future failure to involve them in the

 defense will result in inflated awards that “would fundamentally alter the economic

 bargain between the parties.” D.I. 45 at 62. As addressed above, the Certain

 Insurers introduced no evidence that future awards would be inflated, and the

 record evidence is exactly to the contrary. See supra pp. 56-61. Moreover, the

 bargain between the parties is set forth in the terms of the insurance policies, and it

 is for the Certain Insurers to pay covered claims, and to not pay claims that are not

 covered or are otherwise subject to a coverage defense. If there is future award

 that reaches an Insurer, and they dispute their obligation to pay that award, then

 they will raise their coverage defense, and that defense will be adjudicated on the

 then-existing facts. See supra pp. 62-65. But the policies do not allow, and there

 never was a bargain to allow, the Certain Insurers to prevent the BSA from

 compensating survivors of childhood abuse or otherwise resolving claims.

       The Certain Insurers’ back-up argument that the bankruptcy court should

 have decided the insurance coverage issue is incorrect.         D.I. 45 at 87.      The

 requirements for confirmation do not include an obligation, or a right, to resolve



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 coverage disputes, much less with respect to future alleged claims. Indeed, the

 claim would not even be justiciable because there is no award, much less one

 presented to any of the Certain Insurers for payment, nor have the Certain Insurers

 joined issue by disputing any potential, future payment obligation. See, e.g.,

 Lewis, 494 U.S. at 479-80 (finding a claim was not justiciable where it “amounts to

 a request for advice as to ‘what the law would be upon a hypothetical state of

 facts’” or is predicated on “‘contingent future events that may not occur as

 anticipated, or indeed may not occur at all.’”) (quoting Haworth, 300 U.S. at 241,

 and Thomas, 473 U.S. at 580-81); Sherwin-Williams Co., 968 F.3d at 272 (“[A]

 dispute is not ripe for judicial determination if it rests upon contingent future

 events that may not occur as anticipated, or indeed may not occur at all.”) (quoting

 Wyatt, 385 F.3d at 806). Thus, the bankruptcy court correctly determined not to

 adjudicate future breaches that had not occurred, and might not occur. D.I. 1-3 at

 231 (“I will not anticipate how an insurance coverage court will interpret the Plan,

 the TDP or any confirmation order that may be entered”). As even Professor

 Harrington acknowledged, he does not know “‘how anything will come out.’” Id.

 at 321, 256 (“This issue will be resolved by a coverage court in the event of any

 disputes.”); id. at 224 (“[W]hile there may be some issues that are global in nature,

 insurance coverage litigation is often before the coverage court on whether an




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 insurer must pay a specific settlement entered into by the insured without the

 insurer’s consent. This would appear to be a fact intensive inquiry.”).

       Additionally, the Certain Insurers’ position is completely inconsistent with

 the position they took before the bankruptcy court.            Various insurers have

 repeatedly and loudly argued that their potential liability under their insurance

 contracts should be decided outside of bankruptcy, by a court with jurisdiction over

 the coverage disputes. See, e.g., Bankr. D.I. 4716 at 214:21-25 (“[Y]ou’re a

 bankruptcy judge.    You’re not a coverage judge; you’re not there to decide

 coverage issues, you’re there to decide bankruptcy issues.”); id. at 222:8-20 (“I

 don’t have a qualm about Your Honor deciding bankruptcy issues…but Your

 Honor is not deciding – and this is what [the BSA] want[s] you to do, they want

 you to decide a coverage issue, an aggregate liability issue that they can then run

 into coverage court and say, BSA’s liability has been found, it’s been liquidated,

 who was the carrier that year? That’s what this is all about…It’s coverage, not

 bankruptcy.”); id. at 223 (“But, again, all we’re really looking for is to not have

 you make findings with respect to coverage issues and not alter the contractual

 rights.”); see also id. at 241:18-22, 242:9-17 (explaining that “no coverage issue is

 going to be adjudicated” and that the bankruptcy court “can’t imagine I would

 decide a coverage issue” in response to repeated concerns from insurers rejecting

 the bankruptcy court’s authority to decide coverage issues).



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 III.   The Bankruptcy Court Did Not Err In Approving The Channeling
        Injunction And Releases Under Third Circuit Law

        A.      The Bankruptcy Court Properly Exercised Its Subject Matter
                Jurisdiction To Approve The Channeling Injunction And
                Releases

        The D&V and Lujan Claimants argue that the bankruptcy court lacked

 subject matter jurisdiction to confirm the Plan and to approve the Channeling

 Injunction and Releases therein, challenging both the legal and factual bases for the

 Confirmation Opinion. D.I. 40 at 6-16; D.I. 41 at 25-45. They are incorrect.

 Under 28 U.S.C. §§ 157 and 1334, Congress vested bankruptcy courts with subject

 matter jurisdiction over three types of matters: (i) “proceedings arising under title

 11,” (ii) “proceedings arising in a case under title 11,” and (iii) “proceedings

 related to a case under title 11.” See 11 U.S.C. § 157(b); D.I. 1-3 at 117–27; see

 also In re Millennium Lab Holdings II, LLC, 562 B.R. 614, 621 (Bankr. D. Del.

 2016).      The Supreme Court has recognized that “Congress intended to grant

 comprehensive jurisdiction to the courts so that they might deal efficiently and

 expeditiously with all matters connected with the bankruptcy estate,” and the

 “related to” language must be read to give district courts (and bankruptcy courts

 under § 157(a)) jurisdiction over more than simply proceedings involving property

 of the debtor or its estate. Celotex Corp. v. Edwards, 514 U.S. 300, 308 (1995).

 As the bankruptcy court correctly determined, it had subject matter jurisdiction to

 confirm the Plan both because (i) the Channeling Injunction and Releases were


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 “arising in” and “arising under” title 11 in the context of this plan of

 reorganization, and (ii) it had “related to” jurisdiction over the Abuse Claims that

 are the subject of the Channeling Injunction and Releases.

               1.     The Bankruptcy Court Had “Arising In” And “Arising
                      Under” Jurisdiction To Approve The Channeling
                      Injunction And Releases

         As an initial matter, the bankruptcy court correctly concluded, and no party

 contested in the confirmation hearing, that the bankruptcy court had “arising

 under” and “arising in” jurisdiction to confirm the Plan. D.I. 1-3 at 118–19.29

 Now, on appeal, the Lujan Claimants argue that the bankruptcy court erred in

 exercising “arising in” jurisdiction and that the parties cannot “create” subject-

 matter jurisdiction on their own by agreement or by structuring a plan in such a

 way that it depends upon third-party contributions.          See D.I. 40 at 7 (citing

 Combustion Eng’g, 391 F.3d at 228).30 This argument overlooks the fundamental

 premise that the bankruptcy court has subject-matter jurisdiction over any matter

 “arising in” this “case” or “proceeding,” and a confirmation hearing is a

 29
      ‘“Arising under’ jurisdiction refers to those causes of action specifically created
      by the bankruptcy statute. ‘Arising in’ cases involve the administration of the
      bankruptcy estate.” In re 710 Long Ridge Rd. Operating Co., II, LLC, No. 13-
      13653 (DHS), 2014 WL 886433, at *13 (Bankr. D.N.J. Mar. 5, 2014) (citing In
      re Marcus Hook Dev. Park, Inc., 943 F.2d 261, 267 (3d Cir.1991)).
 30
      In Combustion Engineering, cited by the Lujan Claimants, the Third Circuit
      focused entirely on “related to” jurisdiction without addressing “arising in” or
      “arising under” jurisdiction as the bankruptcy court correctly observed. D.I. 1-3
      at 119; see Combustion Eng’g, 391 F.3d at 227.

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 proceeding that necessarily “could arise only in the context of a bankruptcy case.”

 D.I. 1-3 at 118–19 (quoting In re New Century TRS Holdings, Inc., 505 B.R. 431,

 441 (Bankr. D. Del. 2014) (citation omitted); see also Stoe v. Flaherty, 436 F.3d

 209, 218 (3d Cir. 2006), as amended (Mar. 17, 2006); 710 Long Ridge, 2014 WL

 886433 at *13. The bankruptcy court relied on sections 105, 1123 and 1129 of the

 Bankruptcy Code as the statutory bases for approving the Channeling Injunction

 and Releases. The bankruptcy court therefore had arising in—as well as arising

 under—jurisdiction to confirm the Plan, including the Channeling Injunction and

 Releases that form “the cornerstone of the Plan” and an integral part of the

 settlements memorialized in the Plan. D.I. 1-3 at 154–55.

       “Bankruptcy ‘arising under’ jurisdiction is analogous to 28 U.S.C. § 1331”

 and exists where “the Bankruptcy Code creates the cause of action or provides the

 substantive right invoked.” Stoe, 436 F.3d at 216–217. Here, the Channeling

 Injunction and Releases were considered in the context of a confirmation hearing,

 which can only occur with respect to a plan being considered under the relevant

 provisions of the Bankruptcy Code. See D.I. 1-3 at 118.

       Third Circuit precedent establishes that bankruptcy courts have statutory

 jurisdiction to approve third-party releases. In Millennium Lab Holdings II, the

 court of appeals held that “Bankruptcy Court indisputably had ‘core’ statutory

 authority to confirm” a plan containing third-party releases because “‘[c]ore



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 proceedings include…confirmations of plans.’” 945 F.3d 126, 137 (3d Cir. 2019)

 (28 U.S.C. § 157(b)(2)). The Millennium Lab Holdings court went on to hold that,

 because the non-debtor releases were “integral to the restructuring of the debtor-

 creditor relationship,” the constitutional overlay on bankruptcy court jurisdiction

 laid out by the Supreme Court in Stern v. Marshall did not change the result. Id. at

 138. As the bankruptcy court concluded, the Channeling Injunction and Releases

 here are unquestionably integral to the restructuring of the debtor-creditor

 relationship. See D.I. 1-3 at 117–29 (citing In re Charles St. African Methodist

 Episcopal Church of Boston, 499 B.R. 66, 99 (Bankr. D. Mass. 2013)) (holding

 that a plan of reorganization, the “unitary omnibus civil proceeding for the

 reorganization or adjustment of all obligations of the debtor and disposition of all

 the debtors’ assets,” was the “quintessential bankruptcy matter” and thus, “arising

 under” jurisdiction existed over third party releases,” “even without recourse to its

 related-to jurisdiction.” (emphasis added)); 710 Long Ridge, 2014 WL 886433, at

 *13 (“The bankruptcy court’s jurisdiction to adjudicate core proceedings, including

 those in the process of plan confirmation, includes granting releases and

 injunctions in appropriate circumstances.”)). As a result, the bankruptcy court had

 “arising in” and “arising under” jurisdiction to approve them as part of a plan.31


 31
      The Lujan Claimants argue that the Bankruptcy Court lacked “arising in” and
      “arising under” jurisdiction to approve the Channeling Injunction and Releases
      because the underlying abuse claims arose prepetition under non-bankruptcy

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              2.    The Bankruptcy Court Had “Related To” Jurisdiction To
                    Approve The Channeling Injunction And Releases

       In addition to its “arising in” and “arising under” jurisdiction, the bankruptcy

 court also correctly determined that it had “related to” jurisdiction—a third

 independent basis to vest the bankruptcy court with statutory authority to approve

 the Channeling Injunction and Releases. D.I. 1-3 at 120. Courts have “related to”

 jurisdiction over proceedings, including third-party claims, in circumstances where

 “the outcome of that proceeding could conceivably have any effect on the estate

 being administered in bankruptcy.” Pacor Inc. v. Higgins, 743 F.2d 984, 994 (3d

 Cir. 1984) (emphasis in original omitted); see also Combustion Eng’g, 391 F.3d at

 226 (“suits between third parties that conceivably may have an effect on the

 bankruptcy estate” are “‘related to’ a title 11 case”); accord Celotex, 514 U.S. at

 308 (“We agree with the views expressed by the Court of Appeals for the Third

 Circuit in Pacor, Inc. v. Higgins[.]”). An action satisfies the “conceivable effect”

 test “if the outcome could alter the debtor’s rights, liabilities, options, or freedom

 of action (either positively or negatively) and which in any way impacts upon the

 handling and administration of the bankrupt estate.” Pacor, 743 F.2d at 994. The




    law rather than under the Bankruptcy Code. D.I. 40 at 7. But this
    misapprehends relevant law. Claims and liabilities addressed by a confirmation
    hearing always arise prior to the filing of a chapter 11 case and under non-
    bankruptcy law.

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 “key word [in the Pacor test] is ‘conceivable.’ Certainty, or even likelihood, is not

 a requirement.” Marcus Hook, 943 F.2d at 264 (citation omitted).

       Whether a claim is sufficiently “related to” a bankruptcy case to warrant the

 exercise of subject matter jurisdiction depends on the facts and circumstances of

 the particular case. In re W.R. Grace & Co., 591 F.3d 164, 174 n.9 (3d Cir. 2009),

 cert. denied, 562 U.S. 839 (2010). The Third Circuit has held that third-party

 claims against non-debtors are “related to” a bankruptcy case where the action

 against the non-debtor “affect[s] the bankruptcy [] without the intervention of yet

 another lawsuit.” Id. at 173 (citing In re Fed.-Mogul Glob. Inc., 300 F.3d 368, 382

 (3d Cir. 2002); Combustion Eng’g, 391 F.3d at 232).            Courts may therefore

 exercise “related to” jurisdiction over third-party claims where the debtor is the

 real party defendant or where the claims implicate indemnification obligations

 owed by, or insurance policies shared with, the debtor. See, e.g., A.H. Robins Co.,

 Inc. v. Piccinin, 788 F.2d 994, 999-1002 (4th Cir. 1986) (finding “related to”

 jurisdiction based on findings of identity of interest, express indemnification rights,

 and shared insurance); see also Combustion Eng’g, 391 F.3d at 228, 230-31

 (noting that corporate affiliation may be sufficient for “related to” jurisdiction “if

 supported by factual findings demonstrating that a suit against [non-debtors] would

 deplete the estate or effect its administration” and finding that shared insurance

 may be sufficient if supported by evidence of automatic liability); W.R. Grace, 591



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 F.3d at 171 (indicating that for a finding of “related to” jurisdiction

 indemnification rights must accrue upon the filing of the claim without the

 intervention of another lawsuit).

       Here, the bankruptcy court found that the third-party claims subject to the

 Channeling Injunction and Releases have a “conceivable effect” on the BSA’s

 estates. See D.I. 1-3 at 120–25. Specifically, the bankruptcy court found that

 “related to” jurisdiction exists with respect to the Abuse Claims “for any or all” of

 several reasons, including: (a) a clear identity of interest based on

 interconnectedness among the BSA and the other Protected Parties, Limited

 Protected Parties and Opt-Out Chartered Organizations (collectively, the

 “Releasees”), which each benefit from the protections afforded by the Channeling

 Injunction and Releases, see D.I. 1-3 at 133–35; Bankr. D.I. 9341 at 263: 14–

 264:1; (b) shared insurance coverage among the BSA, the Local Councils, and the

 Chartered Organizations, which, if depleted, would reduce property of the BSA’s

 estates that would otherwise be available for distribution to creditors, see D.I. 1-3

 at 133–35; Bankr. D.I. 9341 at 263: 14–264:1; (c) contractual indemnification

 obligations among the BSA, Local Councils and certain of the other Releasees,

 including Chartered Organizations and the BSA’s Representatives, which

 obligations, when triggered, would deplete property of the estates, see D.I. 1-3 at

 122-23, 127; and (d) the BSA’s residual interest in all of the Local Councils’



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 property in the event of any such Local Council’s dissolution or the revocation of

 its charter.32 D.I. 1-3 at 4 n.25, 120–21. Each of these reasons are independently

 sufficient to provide jurisdiction; considered together, the bankruptcy court’s

 exercise of subject-matter jurisdiction was more than well-founded.

                      a.    Interconnectedness

         “Related to” jurisdiction is appropriately exercised where there is an identity

 of interest between a non-debtor codefendant and the debtor, such that the debtor is

 the real party in interest. See McCartney v. Integra Nat’l Bank North, 106 F.3d

 506, 510 (3d Cir. 1997) (extending the automatic stay to nonbankrupt codefendants

 where “there is there is such identity between the debtor and the third-party

 defendant that the debtor may be said to be the real party defendant and that a


 32
      For similar reasons, the bankruptcy court determined (and such determination
      was uncontested) that it also had “related to” jurisdiction over Abuse Claims
      asserted against Related Non-Debtor Entities and the Debtors’ officers,
      directors, and other Representatives. D.I. 1-3 at 125–26. There is
      uncontroverted evidence that there is an identity of interest between the Debtors
      and (a) Related Non-Debtor Entities because the BSA defended and settled
      prepetition Abuse Claims on their behalf before the Petition Date, and all of the
      Related Non-Debtor Entities are additional insureds under the BSA’s insurance
      policies, D.I. 1-3 at 125; D.I. 9273 ¶ 4; 9280 ¶ 203; see, e.g. JTX 10-36; JTX
      10-37, and (b) their Representatives, many of whom are volunteers, who
      participated in relevant decision-making and worked tirelessly throughout the
      Chapter 11 Cases to formulate a plan of reorganization that would provide
      compensation to survivors, all while continuing to carry out the mission of
      Scouting. D.I. 1-3 at 125–27; D.I. 9341 at 41:19-24, 22:19025. Further, the
      BSA’s Charter and Bylaws provide the BSA’s officers and directors with
      automatic contractual rights to indemnification. D.I. 1-3 at 126; JTX 234 Art.
      XIII Sec. 1.

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 judgment against the third-party defendant will in effect be a judgment or finding

 against the debtor.”) (citing A.H. Robins, 788 F.2d at 999); In re Dow Corning

 Corp., 86 F.3d 482, 493 (6th Cir. 1996) (noting that “[t]he degree of identity

 between a debtor and nondebtor codefendants” is an important factor and holding

 that there was “related to” subject matter jurisdiction over claims pending against

 nondebtor defendants).

       Courts have found an identity of interest between a debtor and a non-debtor

 where third-party claims center on the debtor’s product or operations and allege

 joint responsibility among the debtor and non-debtor defendants. See, e.g., Dow

 Corning, 86 F.3d at 492–94 & n.11 (finding identity of interest where litigation

 centered on debtor’s role as manufacturer and/or supplier and claims demonstrated

 a relatedness between the parties); A.H. Robins, 788 F.2d at 996, 1014 (finding

 identity of interest with respect to claims arising out of use of single device

 manufactured by the debtor); W.R. Grace, 386 B.R. at 30–32 (finding identity of

 interest where debtor’s conduct and operations were “at the core” of third-party

 claims against non-debtors); cf. Combustion Eng’g, 391 F.3d at 230–31

 (distinguishing “single product” case law and declining to exercise “related to”

 jurisdiction over claims arising out of non-debtors’ product line, which products

 were not manufactured or distributed by the debtor or subject to contractual

 indemnification obligations of the debtor). In other words, “the existence of strong



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 interconnections between the third party and the bankruptcy” commonly serves as

 the basis for the exercise of “related to” jurisdiction. In re WorldCom, Inc. Sec.

 Litig., 293 B.R. 308, 321 (S.D.N.Y. 2003) (collecting cases).

         “The proper inquiry,” according to the Third Circuit,

         is to review the law applicable to the claims being raised against the
         third party (and when necessary to interpret state law) to determine
         whether the third-party’s liability is wholly separate from the debtor’s
         liability or instead depends on it….[T]his approach does not require
         the reviewing court to decide state-law claims on the merits. It does,
         however, require it to ascertain what liability under the relevant law
         demands.

 In re W.R. Grace & Co., 13 F.4th 279, 286 (3d Cir. 2021). A claim against a third

 party may be derivative even if the claim is based on the third party’s own

 misconduct. See id. The mere fact that “a third party is alleged to have engaged in

 some wrongdoing is not enough to render a claim against it independent if its

 liability depends on the debtor’s liability.” Id.

         Here, the main theories of liability against Local Councils and Chartered

 Organizations are negligence and respondeat superior.33 See D.I. 1-3 at 9-10, 138-



 33
      It is irrelevant that each Local Council and Chartered Organization is legally
      separate from the BSA. See D.I. 1-2 at 136. Indeed, if they were all the same
      entity—or if they had all the same duties and liabilities—third-party releases
      would not be necessary and this entire discussion would be meaningless. Id.
      Moreover, the Lujan Claimants’ speculation that survivors hold independent
      claims against non-debtors is similarly unpersuasive and absent from the record.
      Critically, the Lujan Claimants filed proofs of claim to assert that the BSA
      bears responsibility for Scouting-related Abuse, and identifying both Local

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 140; see generally SA 1602, SA 2291, SA 1614, SA 618. The negligence-based

 Scouting-related Abuse Claims asserted against the Protected Parties, Limited

 Protected Parties and Opt-Out Chartered Organizations are not, and could never be,

 “wholly separate from the debtor’s liability.” In re W.R. Grace & Co., 900 F.3d

 126, 137 (3d Cir. 2018); see also D.I. 1-3 at 140. Similar to the plaintiffs’ claims

 against the insurer in W.R. Grace, the liabilities of these parties in this case

 “depend[] on the debtor’s liability.” 900 F.3d at 136; see also D.I. 1-3 at 138-40;

 SA 3697 ¶¶ 6, 14, 39-40, 49; SA 529 ¶¶ 141–42, 147; SA 2357 ¶ 11. The evidence

 at trial demonstrated that such claims are based upon the Scouting system that the

 BSA designed and has implemented at a local level by granting charters to Local

 Councils and Chartered Organizations in accordance with BSA’s Rules and

 Regulations. See D.I. 1-3 at 8–10, 138–40. The Local Councils and Chartered

 Organizations follow the BSA’s protocol with respect to volunteers. See id. at 4–5.

 Importantly, a part of that protocol involves the BSA maintaining an ineligible

 volunteer file. See id. at 8; SA 1614, SA 2381, SA 618 ¶ 150. The BSA’s youth

 protection standards and Scouting programming are also key to the plaintiffs’

 various negligence-based theories of liability. See id. at 133–39 nn.451–53; SA

 3697 ¶¶ 6, 14, 39-40, 49; SA 529 ¶¶ 141–42, 147; SA 2357 ¶ 11; SA 1602 ¶ 28;



    Councils and Chartered Organizations for the same liabilities attributable to the
    BSA. D.I. 1-3 at 134; SA 3697 ¶ 14.

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 SA 2291 ¶¶ 44–45; SA 1614 ¶¶ 21–23, 27–28, 87–88; SA 618 ¶124. Indeed, the

 evidence demonstrated that it is these policies and procedures that guide factfinders

 to determine whether there was negligence. See generally D.I. 1-3 at 7–10; SA

 1614 (referencing the BSA’s policies and procedures in a complaint against the

 BSA); SA 2381 (same); SA 618 (same). Abuse survivors cannot plead a cause of

 action under these negligence theories without directly implicating the BSA’s

 asserted wrongdoing. See D.I. 1-3 at 19, 133, 138; Bankr. D.I. 9273 ¶¶ 6, 19

 (noting that pending abuse claims generally included BSA as a defendant or co-

 defendant); see, e.g., SA 2357 ¶ 11. Nor could the Local Councils or Chartered

 Organizations properly respond to a case under these negligence theories without

 implicating the BSA’s standards, programing, management and the ineligible

 volunteer files. See D.I. 1-3 at 7–10, 138–40; Bankr. D.I. 9273 ¶¶ 18–19, 29–30.

 Like the programs themselves, the liability in these negligence cases is rooted in a

 system that was created by, and necessarily implicates at every level, the BSA. See

 D.I. 1-3 at 8, 138–40; Bankr. D.I. 9273 ¶¶ 6, 18–19; see, e.g., SA 2357 ¶ 11. This

 is reflected in the BSA’s historic practice of jointly defending and settling abuse

 claims on behalf of Local Councils and Chartered Organizations.34 See Bankr. D.I.


 34
      The Lujan and D&V Claimants’ own prepetition complaints rely upon the
      interconnected relationship that they now attempt to refute. D.I. 1-3 at 133
      (citing complaints asserting that (i) BSA and the Local Councils controlled the
      selection of Scout leaders; (ii) that BSA conspired with the Local Council and
      Chartered Organization in carrying out the alleged tortious and unlawful

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 9273 ¶¶ 4–9, 17–18, 20, 48. Because the BSA’s conduct was always at issue in

 Abuse Claims, the BSA was the “real party defendant” in defending Abuse Claims.

 See A.H. Robins, 788 F.2d at 999; see also D.I. 1-3 at 136 (acknowledging BSA’s

 historical prepetition practices).

         The Plan clearly provides that liability that is not connected to the BSA is

 not released. For example, with respect to Mixed Claims (which are claims that

 include both Scouting and non-Scouting-related Abuse), only those portions of

 Mixed Claims arising from Scouting will be channeled and released. See D.I. 1-4

 Arts. I.A.18, I.A.184, I.A.258, I.A.259. There can therefore be no concern that

 there is only an “incidental” relationship connecting the Channeling Injunction and

 Releases to the BSA. W.R. Grace, 900 F.3d at 137.

         The D&V and Lujan Claimants cannot refute the overwhelming evidence

 that demonstrates the interconnectedness of the BSA, Local Councils, and

 Chartered Organizations and supports the bankruptcy court’s finding of identity of

 interest.35 See D.I. 40 at 14–16;36 D.I. 41 at 31-33. The BSA, Local Councils, and



      conduct; and (iii) asserting that BSA was aware of the abuse, kept that
      information secret, and did nothing to change the Scouting program).
 35
      The bankruptcy court also found an identity of interest due to the reciprocal
      nature of the leadership of the BSA, Local Councils, and Chartered
      Organizations. See D.I. 1-3 at 121. Specifically, each Chartered Organization
      has a seat on the board of its Local Council, and each Local Council has
      members on the National Council that elects the National Executive Board of
      the BSA. Bankr. D.I. 9279 ¶ 6; SA 8 Art. VI Sec. 7.

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 Chartered Organizations clearly have such an identity of interest here, as the

 bankruptcy court correctly found. D.I. 1-3 at 120–24, 133–36.37

         In spite of the overwhelming trial evidence of interconnectedness, the D&V

 and Lujan Claimants contend in a few instances that that the BSA did not

 universally settle or defend cases on behalf of the tripartite group. D.I. 40 at 14–

 15; D.I. 41 at 33–34. To support these arguments, the D&V and Lujan Claimants

 cite nine lawsuits in which plaintiffs alleged abuse for which defendants were

 liable but that were unrelated to Scouting, which misses the point entirely. The

 BSA handled Scouting-related Abuse Claims (and only Scouting-related Abuse

 Claims) on behalf of the entire tripartite group.38 See D.I. 1-3 at 19–20; Bankr. D.I.


 36
      In support of their erroneous position that the BSA and other members of the
      tripartite group are not interconnected and that the BSA has no control over
      Local Councils or Chartered Organizations, the D&V Claimants rely on a
      declaration of a now-former BSA employee, which was filed in a Scouting-
      related abuse case in Oregon more than twelve years ago. Adv. D.I. 729; see
      also D.I. 40 at 12. The declaration is in the record, but has not admitted for the
      truth of the matter asserted therein. Bankr. D.I. 9591 ¶ 3. In addition to being
      inadmissible hearsay, the declaration fails to rebut the uncontested evidence
      presented by the Debtors at confirmation regarding the interconnectedness and
      control-based relationship among the BSA, Local Councils, and Chartered
      Organizations.
 37
      Bankr. D.I. 9341 at 17:14-18:15, 49:15-19, 49:20-50:1, 50:12-15, 54:22-25,
      206:10-21, 263:16-25; Bankr. D.I. 9316 ¶ 11; Bankr. D.I. 9398 ¶¶ 15, 17-18,
      25, 28; Bankr. D.I. 9273 ¶¶ 4, 6, 19, 48; Bankr. D.I. 8647, Ex. A-1 at 13; SA
      96, SA 1616, SA 1620, SA 2665, SA 2810, SA 68, SA 97, SA 107, SA 374, SA
      409, SA 434, SA 68; Bankr. D.I. 9407 at 95:19, 97:5-18.
 38
      The Lujan and D&V Claimants’ arguments focus on Mixed Claims, rather than
      Scouting-related Abuse Claims and confuse the two. See D.I. 41 at 33–34; D.I.

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 9273 ¶¶ 4–6, 9–19, 29. Claims that alleged abuse outside of the Scouting context,

 such as claims asserted against the AOA and TCJC (unrelated to their roles as

 Chartered Organizations), were handled differently. Bankr. D.I. 9273 ¶ 20; see

 also Bankr. D.I. 9354 at 191:11-192:6 (Griggs describing that Guam was an

 exception because the perpetrator of abuse, Father Brouillard, encountered

 claimants first within the church and then brought such claimants into Scouting);


    40 at 14–15. But as noted above, the Plan does not channel any claims that are
    unrelated to Scouting, including those portions of a Mixed Claim, unrelated to
    Scouting; the Channeling Injunction and Releases are narrowly tailored to relate
    solely to Scouting-related Abuse Claims. D.I. 1-4 Arts. I.A.18, I.A.184,
    I.A.258, I.A.259. For example, in the cases cited by the Lujan and D&V
    Claimants, Hammerberg v. BSA, the court noted that the sexual advances the
    perpetrator made toward the plaintiff “occurred during non-scouting
    interactions.” No. 2012-0224433 (GJP), 2015 WL 6115412, at *3 (Mass.
    Super. Ct. Aug. 11, 2015). In John Roe #1 v. BSA Corp., the court noted that it
    was significant that the perpetrator was the plaintiff’s stepfather and was in a
    relationship with the victim’s mother prior to their involvement in Scouting,
    and that the sexual abuse in question stemmed from non-Scouting camping trips
    at sites unaffiliated with the BSA or local council. 84 A.3d 443, 450 (Conn.
    App. Ct. 2013). In Hobbs v. BSA, Inc., the abuse in question occurred during
    the 24-hour period before the authorized Scouting event, and the court was
    unable to find that the BSA “had anything to do with authorizing or
    encouraging [the perpetrator] to pick up [the victim] to take him to the
    campout.” 152 S.W.3d 367, 371 (Mo. Ct. App. 2004). In Golden Spread
    Council, Inc. # 562 of the BSA v. Akins, the court noted that the perpetrator
    molested the victim prior to the victim’s involvement in the Scouting, and that
    the perpetrator “did not molest [the victim] while the two were associated with
    Troop 22.” 926 S.W.2d 287, 289 (Tex. 1995). Further, when the perpetrator
    was later arrested and convicted of child molestation, “[t]he record did not
    reflect whether any offenses for which [the perpetrator] was convicted involved
    a boy in the Boy Scouts.” Id. These cases underscore the Plan’s proper
    differentiation of the Scouting-related portion of an Abuse Claim from the non-
    Scouting-related portion of such claim.

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 Bankr. D.I. 9273 ¶ 4. Where claims against the BSA were dismissed but claims

 against other members of the tripartite group were not, the cases were

 distinguished by unique circumstances,39 and these instances are not a departure

 from the Debtors’ overall historical practice of jointly defending and settling

 Abuse Claims on behalf of Local Councils and Chartered Organizations.40 See D.I.

 1-3. at 136; Bankr. D.I. 9273 ¶ 4.



 39
      See John Roe #1 v. BSA Corp., 84 A.3d 443 (the perpetrator was the plaintiff’s
      stepfather and was in a relationship with the victim’s mother prior to their
      involvement in Scouting); Hobbs v. BSA, 152 S.W.3d 367 (the plaintiff did not
      sue the local troop officers or the chartering and sponsoring organization of the
      local troop so their liability was not at issue); N.K. v. Corp. of Presiding Bishop
      of Church of Jesus Christ of Latter-Day Saints, 307 P.3d 730, 734 (2013) (the
      perpetrator was accepted as a volunteer by the church, but never officially
      registered with the BSA, and the record did not contain evidence raising an
      inference that either the BSA or the Local Council were even aware of the
      perpetrators existence, let alone his participation in Scouting); Infant C. v. Boy
      Scouts of Am., Inc., 391 S.E.2d 322 (Va. 1990) (affirming a judgement where
      the plaintiff concurred in submitting the issue of agency to the jury, and the
      jury found in favor of the BSA); Juarez v. Boy Scouts of Am., Inc., 81 Cal. App.
      4th 377 (2000), on appeal, 2004 WL 1211952 (June 3, 2004) (the court
      reversing summary judgement for the BSA and Local Council and remanding
      the case for further proceedings, but affirming summary judgement in favor of a
      church which was not a participant in Scouting, and did not control the local
      Troop, but merely provided the facility that the local Troop used to hold
      meetings).
 40
      At least one example offered by the Lujan and D&V claimants is particularly
      disingenuous as they point to the fact that a limited set of counts against the
      BSA were dismissed without mentioning that a number of additional counts
      against the BSA remained pending—thus demonstrating the interconnected
      nature of these claims. See, e.g., Hammerberg v. BSA, 2015 WL 6115412, at *4
      (the court dismissing only a narrow set of claims against the BSA for negligent
      hiring, but preserving remaining counts for negligent infliction of emotional

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                     b.     Shared Insurance

         The Third Circuit has also recognized that courts have found “related to

 jurisdiction over claims against non-debtors based in part on shared insurance

 policies.”41 Combustion Eng’g, 391 F.3d at 226. A dollar-for-dollar reduction of

 the debtor’s available insurance coverage—property of the estate under section 541

 of the Bankruptcy Code—without the need for an intervening action is precisely

 the type of effect on the estate that can adversely affect a debtor’s reorganization

 and provide the basis for “related to” jurisdiction over a third-party claim. See,

 e.g., SN Liquid., Inc. v. Icon Int’l, Inc. (In re SN Liquid., Inc.), 388 B.R. 579, 584

 (Bankr. D. Del. 2008) (“Depletion of insurance proceeds which results from

 indemnification for defense costs would adversely affect the Debtors’ estate.”); see

 also MacArthur Co. v. Johns-Manville Corp., 837 F.2d 89, 92–93 (2d Cir. 1988)



      distress, breach of fiduciary duty, and negligence against the BSA before
      ultimately dismissing all remaining claims against both the BSA and Local
      Council for the separate reason that they were subject to a charitable immunity
      statute).
 41
      For more than 45 years, the BSA’s insurance program has provided coverage
      for Abuse Claims to all Local Councils and, by 1978, all Local Councils were
      added as named insureds under the BSA’s insurance policies. Bankr. D.I. 9316
      ¶ 11; Bankr. D.I. 9398 ¶¶ 15, 17; Bankr. D.I. 9398 ¶18; Bankr. D.I. 9490 19:6-
      7. Chartered Organizations have been named as additional insureds under both
      the BSA’s policies and the Local Councils’ policies for certain periods of time.
      SA 3824; Bankr. D.I. 9398 ¶ 25; Bankr. D.I. 9490 at 22:12-19; Bankr. D.I.
      9398 ¶ 19. In addition, certain independent policies issued to Local Councils
      also insured Chartered Organizations. D.I. 1-3 at 122; Bankr. D.I. 9490 at
      103:22-104:2; ADV 717.

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 (noting that where “third       parties [sought] to collect out of the proceeds of

 Manville’s insurance policies on the basis of Manville’s conduct…plaintiffs’ claims

 are inseparable from Manville’s own insurance coverage and are consequently well

 within the Bankruptcy Court’s jurisdiction over Manville’s assets.”); In re Quigley

 Co., 676 F.3d 45, 47 (2d Cir. 2012) (“[W]here litigation of [the suits] against

 Pfizer would almost certainly result in the drawing down of insurance policies that

 are part of the bankruptcy estate         of Quigley, the exercise of bankruptcy

 jurisdiction to enjoin these suits was appropriate.”).42

         The insurance coverage that the BSA shares with Local Councils and

 Chartered Organizations for Abuse Claims is subject to per-occurrence limits and,

 in certain instances, aggregate policy limits. The BSA’s insurance policies are also

 generally subject to combined single limits, which caps the amount of insurance

 available for a single occurrence regardless of the number of insureds. See D.I. 1-3

 at 121; See D.I. 1-3 at 121; SA 2665, SA 3082, SA 3165, SA 3189, SA 3333, SA

 2701, SA 3572, SA 3645, SA 3674. In other words, as the bankruptcy court



 42
      The D&V Claimants assert that shared insurance, by itself, is insufficient to
      confer “related to” jurisdiction. D.I. 41 at 24, 36–37. The bankruptcy court
      relied on several bases to concluding that it had “related to” jurisdiction. As a
      result, this Court need not decide whether shared insurance, standing alone, is
      sufficient to confer jurisdiction, although there is ample evidence in these cases
      that the complex and competing claims against the BSA’s insurance are
      sufficient to confer subject matter jurisdiction on the bankruptcy court. D.I. 1-
      3 at 120–22.

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 observed, “if an insurer paid out its per occurrence limits to plaintiff A to either a

 Chartered Organization or Local Council, there would be no insurance remaining

 to respond to a claim on the policy by BSA for Abuse alleged against it by

 plaintiff.” Id. And as the bankruptcy court correctly determined, no second suit is

 necessary. Id. at 123.

                    c.     Contractual Indemnification

       The Third Circuit also recognizes that indemnification rights of non-debtors

 against a debtor support “related to” jurisdiction over third-party claims where “the

 right to indemnification is clearly established and has accrued upon a filing of a

 civil action.” In re Lower Bucks Hosp., 488 B.R. 303, 314 (E.D. Pa. 2013), aff’d,

 571 F. App’x 139 (3d Cir. 2014). Such indemnification rights, to give rise to

 subject matter jurisdiction, cannot be contingent on the factual findings of

 subsequent litigation.    Id; see also Combustion Eng’g, 391 F.3d at 231

 (indemnification rights are not clearly established or accrued where the lawsuit

 “would not, itself, result in the indemnification against the debtor”); In re Fed.-

 Mogul, 300 F.3d 368 (same).

       The BSA’s and Local Councils’ indemnification obligations support the

 bankruptcy court’s exercise of “related to” jurisdiction. D.I. 1-3 at 121. Chartered

 Organizations have asserted contractual claims (as well as common law claims)

 against both the BSA and Local Councils for indemnification for losses related to



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 Abuse Claims, including in thousands of proofs of claim filed in the Chapter 11

 Cases. D.I. 1-3 at 121 (citing SA 406 – SA 472). In recognition of the critical

 roles that Chartered Organizations and Local Councils play in the delivery of

 Scouting, the BSA adopted board resolutions in which it agreed to defend and

 indemnify Chartered Organizations, in addition to maintaining and providing

 general liability insurance for Chartered Organizations in connection with the

 delivery of Scouting. Id. at 122; ADV 721. Further, every year each Local

 Council signs an Annual Charter Agreement with each Chartered Organization that

 provides the Chartered Organization with a contractual right of indemnification

 against the Local Council with respect to any Scouting-related Abuse Claim. ADV

 717. Since 2014, the Annual Charter Agreements have provided that the “[t]he

 Local Council agrees to:…[i]ndemnify the Charter Organization in accordance

 with the resolutions and policies of the National Executive Board of the Boy

 Scouts of America.”      Bankr. D.I. 9316 ¶ 69.      As noted above, and as the

 bankruptcy court correctly ruled, Local Councils’ indemnification obligations to

 Chartered Organizations may diminish the BSA’s residual interest in Local

 Council property.43 D.I. 1-3 at 121.


 43
      The D&V Claimants argue that the Annual Charter Agreements do not actually
      create indemnity obligations because they did not exist at the time that most
      Abuse Claims arose. D.I. 41 at 40, 44. This, too, is unavailing. See Bankr.
      D.I. 9316 ¶ 69. There is no evidence that these agreements do not apply to all
      applicable claims, whenever arising.

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       The record demonstrates that the BSA’s and Local Councils’ contractual

 indemnification obligations are immediate, clearly established, accrued by the

 filing of Abuse Claims, and in no way dependent on potential third-party claims.

 D.I. 1-3 at 123.     As the bankruptcy court recognized, no second lawsuit is

 necessary to establish the existence of this liability. Id. at 12.

                     d.     The BSA’s Residual Interest In Local Council
                            Property

       Bankruptcy courts indisputably have jurisdiction over property of the debtor.

 See 28 U.S.C. § 1334(e) (granting “exclusive jurisdiction…of property of the

 estate”). And claims against property of the estate indisputably fall within a

 bankruptcy court’s “related to” jurisdiction. See Pacor, 743 F.2d at 996 n.15

 (actions that “sought to affect property of the estate” are within “related to”

 jurisdiction).   As a further basis for exercising “related to” jurisdiction, the

 bankruptcy court found that the BSA’s residual interest in Local Council property

 constitutes property of the estate. D.I. 1-3 at 4, 121.

       In particular, the BSA holds a contingent interest in Local Council property

 that would be triggered by the BSA’s termination of a Local Council charter or by

 the dissolution of a Local Council. This interest is set forth in the BSA’s Bylaws

 and Rules and Regulations, as well as in the form of Local Council bylaws. D.I. 1-

 3 at 4, 121; BSA Bylaws Art. VI § 1, cl.2; see also JTX 147 Art. X Sec. 2.

 Although Local Councils are legally separate entities that hold title to property in


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 their own name, such property automatically reverts to the BSA upon the

 revocation of the Local Council’s charter or the Local Council’s dissolution.

 Under the Bankruptcy Code, the BSA’s residual interest is indisputably “property

 of the estate.” Accordingly, the bankruptcy court recognized that any Abuse Claim

 that diminishes the assets of Local Council or triggers the Local Councils’

 indemnification obligations to Chartered Organizations would also necessarily

 diminish the assets of the BSA’s estates.44

         B.    The Bankruptcy Court Has Statutory Authority To Grant The
               Channeling Injunction And Releases

         The D&V and Lujan Claimants have failed to prove that the bankruptcy

 court erred in exercising its statutory authority to channel and release claims as

 described in the Plan. See D.I. 40 at 22; D.I. 41 at 50. Recognizing that chapter 11

 presents many complex issues, Congress enacted several provisions that provide

 bankruptcy courts the flexibility to accommodate unique, case-specific

 circumstances. Certain of those provisions include sections 105(a), 1123(a)(5),

 and 1123(b)(6) of the Bankruptcy Code, which the bankruptcy court correctly



 44
      The D&V Claimants argue that, because the residual interest is subject to all
      superior interests, including valid claims against a Local Council, it is
      “impossible” that payment of claims against a Local Council would diminish
      the BSA’s interest. D.I. 41 at 38. But the BSA has a residual interest in all
      Local Council property, and the payment of debts by a Local Council, including
      on account of Abuse Claims, reduces the value of that residual interest to the
      detriment of the estate.

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 relied upon to provide the statutory basis for the nonconsensual third-party releases

 in the Plan:

            Section 105(a) empowers the court to adopt flexible remedies,
             consistent with its powers as a court of equity, as “necessary or
             appropriate to carry out the provisions of” the Bankruptcy Code.

            Section 1123(a)(5) requires a plan to provide “adequate means” of
             implementation “[n]otwithstanding any otherwise applicable
             nonbankruptcy law” and provides a non-exhaustive list of potential
             mechanisms.

            Section 1123(b)(6) allows a plan to include “any other appropriate
             provision not inconsistent with applicable provisions of [the
             Bankruptcy Code].”

 D.I. 1-3 at 128. Additionally, section 1129(a)(1) requires a plan to comply “with

 the applicable provisions of [the Bankruptcy Code]” and also provides authority to

 approve third party releases.

       When viewed together, these provisions confer what the Supreme Court has

 described as a bankruptcy court’s “residual authority” to formulate plans that

 enable successful and value-maximizing reorganizations, including relief not

 specifically authorized elsewhere in the Bankruptcy Code. See United States v.

 Energy Res. Co., 495 U.S. 545, 549 (1990). In Energy Resources, the Supreme

 Court held that the bankruptcy court had the authority under sections 105(a) and

 1123(b)(6), even though the Bankruptcy Code did not explicitly so provide, to

 reallocate the debtor’s tax liabilities “if the bankruptcy court determines that this

 [reallocation] is necessary to the success of a reorganization plan.” Id. at 549. In

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 particular, the Supreme Court held that this residual authority existed to effectuate

 relief appropriate and “necessary to the success of a reorganization plan.” Id. at

 551; see also United States v. Pepperman, 976 F.2d 123, 130 (3d Cir. 1992)

 (noting that “the [Supreme] Court in Energy Resources consistently linked its

 holding with the fact of reorganization and the debtor’s need for rehabilitation”).

         Energy Resources shows that sections 105(a) and 1123(b)(6) are sufficiently

 broad to authorize plan provisions that are both fair and necessary to the

 reorganization, including third-party releases, so long as such provisions are not

 inconsistent with the Bankruptcy Code. Courts and commentators have noted the

 similarity between the tax allocation orders upheld in Energy Resources and non-

 debtor releases.45 And the Third Circuit has read Energy Resources to provide that

 bankruptcy courts have “power to do what is necessary to get the plan confirmed,”

 In re Kaplan, 104 F.3d 589, 598 n.19 (3d Cir. 1997), and that “a showing of need

 for a reorganization or similar purpose” is sufficient grounds for bankruptcy courts

 45
      See, e.g., Wetherbee v. Willow Lane, Inc. (In re Bestway Prods., Inc.), 151 B.R.
      530, 538 n.27 (Bankr. E.D. Cal. 1993) (noting that the tax allocation order in
      Energy Resources is the “functional equivalent of a discharge for specific debts
      for someone other than the debtor”); Joshua M. Silverstein, Hiding in Plain
      View: A Neglected Supreme Court Decision Resolves the Debate over Non-
      Debtor Releases in Chapter 11 Reorganizations, 23 EMORY BANKR. DEV. J. 13,
      115 (2006) (noting that both “permit the modification of non-debtor
      obligations” and that “while both tax allocation orders and channeling releases .
      . . restrict[] the sources from which the creditor may recover, neither actually
      abrogates the creditor’s legal right to payment”) (emphasis added and internal
      citation omitted).

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 to craft flexible remedies not explicitly authorized elsewhere in the Bankruptcy

 Code. Pepperman, 976 F.2d at 131.

       Based on these provisions, the Third Circuit, courts within the Third Circuit

 and other courts have repeatedly recognized the statutory authority of bankruptcy

 courts to issue nonconsensual third-party releases under appropriate circumstances.

 See, e.g., Gillman v. Cont’l Airlines (In re Cont’l Airlines), 203 F.3d 203, 214–15

 (3d Cir. 2000) (holding that a third-party injunction would be proper under section

 105(a) if the proponents of the injunction demonstrated with specificity that such

 an injunction was both necessary to the reorganization and fair); Glob. Indus., 645

 F.3d at 206 (explaining that a third-party injunction under section 105(a) requires

 showing with specificity that an injunction is both necessary to the reorganization

 and fair) (citing Cont’l Airlines, 203 F.3d at 214); In re Airadigm Commc’ns, Inc.,

 519 F.3d 640, 657 (7th Cir. 2008) (The “residual authority” derived from sections

 105(a) and 1123(b)(6) “permits the bankruptcy court to release third parties from

 liability to participating creditors if the release is ‘appropriate’ and not inconsistent

 with any provision of the Bankruptcy Code.”); In re Seaside Eng’g & Surveying,

 780 F.3d 1070, 1076–79 (11th Cir. 2015) (citing section 105 when approving third

 party releases); MacArthur Co. v. Johns-Manville Corp., 837 F.2d 89, 93–94 (2d

 Cir. 1988) (citing section 105(a) when affirming order enjoining suits against third

 parties); In re A.H. Robins Co., 88 B.R. 742, 754 (E.D. Va. 1988) (citing section



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 105 when approving third party releases); In re Signal Int’l, Inc., No. 15-11498

 (MFW) (Bankr. D. Del. Nov. 24, 2015) [D.I. 555] at 11 (finding that the plan

 provides adequate and proper means for its implementation, including third party

 releases, thereby satisfying section 1123(a)(5)).

       The Lujan and D&V Claimants also argue that the Channeling Injunction

 and Releases are prohibited under sections 524(e) and 524(g). See D.I. 40 at 16;

 D.I. 41 at 24, 47. But the Third Circuit has rejected the argument that section

 524(e) bars nonconsensual third-party releases.           PWS, 228 F.3d at 247

 (determining that Continental “did not treat § 524(e) as a per se rule barring any

 provision in a reorganization plan limiting the liability of third parties,” but rather

 “concluded . . . the releases at issue were impermissible because the hallmarks of

 permissible non-consensual releases . . . [were] absent”) (internal quotation marks

 omitted).   Rather, the releases in Continental were invalidated because the

 “[p]laintiffs received no consideration” and there was “nothing in the record” in

 terms of specific factual findings demonstrating the necessity of the releases.

 Cont’l Airlines, 203 F.3d at 215.

       Similarly, section 524(g), which expressly authorizes third-party releases in

 asbestos cases, does not render such releases impermissible in non-asbestos cases.

 D.I. 1-3 at 129. In fact, Congress enacted a rule of construction in section 524(g)

 that contradicts the inference that the Lujan and D&V Claimants ask this Court to



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 make, legislating that “[n]othing in . . . the amendments made by [§ 524(g)-(h)]

 shall be construed to modify, impair, or supersede any other authority the court has

 to issue injunctions in connection with an order confirming a plan of

 reorganization.” Bankruptcy Reform Act, Pub. L. 103-394 § 111(b) (1994); see

 also 140 Cong. Rec. 27,692 (Oct. 4, 1994). Accordingly, section 524(g) expressly

 provides that it cannot be used to prohibit relief otherwise allowed by the

 Bankruptcy Code. Because the Lujan and D&V Claimants’ argument flies in the

 face of the express legislative history of section 524(g), it should not be credited.46

         The Court should also reject the D&V and Lujan Claimants’ reliance on In

 re Purdue Pharma, 635 B.R. 26 (S.D.N.Y. 2021) for the proposition that the

 bankruptcy court does not have statutory authority to grant the Channeling

 Injunction and Releases. First, this Court should disregard the district court’s

 decision in Purdue, which is currently on appeal before the Second Circuit,

 because it misinterprets the Bankruptcy Code and is contrary to controlling Third

 Circuit law. See Cont’l Airlines, 203 F.3d at 214.



 46
      Moreover, the legislative history of section 524(g), which retroactively approves
      prior asbestos injunctions, demonstrates that Congress sought to “remov[e]
      uncertainty over the validity of such injunctions [so that] the value of trust
      assets available to fund recoveries by victims can increase.” 140 Cong. Rec.
      27,699 (Oct. 4, 1994). At the time Congress enacted this legislation, it
      understood that “other debtors in other industries are reportedly beginning to
      experiment with similar mechanisms,” but it did not draft section 524(g) to
      prohibit third-party releases in the non-asbestos context. Id.

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       As a general matter, the Purdue court failed to follow more than three

 decades of existing Second Circuit precedent, which, like the Third Circuit, holds

 that bankruptcy courts are authorized to enjoin and release third-party claims

 against non-debtors where such releases are integral to the debtor’s reorganization.

 See In re Johns-Manville Corp., 843 F.2d 636, 640, 649 (2d Cir. 1988); In re

 Drexel Burnham Lambert Grp., Inc., 960 F.2d 285, 293 (2d Cir. 1992); In re

 Metromedia Fiber Network, Inc., 416 F.3d 136, 141–42 (2d Cir. 2005).

       Moreover, the Purdue district court’s statutory analysis is wrong as a matter

 of law. Among other things, the court’s flawed conclusion that the Bankruptcy

 Code is “silent” on the subject of a bankruptcy court’s authority to channel and

 release claims disregarded the Supreme Court’s decision in Energy Resources. In

 particular, the Purdue court ignored, among other things, section 1123(b)(6) of the

 Bankruptcy Code, which gives a bankruptcy court flexibility and substantive

 authority to approve provisions in a reorganization plan that are not expressly

 mentioned in the Bankruptcy Code so long as those provisions are not inconsistent

 with the Bankruptcy Code. The Purdue district court also disregarded the import

 of section 105(a) of the Bankruptcy Code, which allows the court to fashion relief

 necessary to effectuate a successful reorganization.

       Additionally, the Purdue district court relied heavily on section 524(g) and

 (h), which specifically provide that a bankruptcy court may enjoin actions against a



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 non-debtor in the asbestos context. But, as discussed herein, the text of section

 524(g) and (h) does not authorize an injunction of third-party claims only if the

 section 524(g) requirements are met. Finally, the Purdue district court seemingly

 took a view of section 524(e) that is contrary to precedent from this Circuit, as well

 as the Fourth, Seventh, and Eleventh Circuits, which hold that section 524(e) does

 not bar any provision in a reorganization plan limiting the liability of third parties.

 See Seaside Eng’g, 780 F.3d at 1077–78; Airadigm Commc’ns, 519 F.3d at 656; In

 re Dow Corning, 280 F.3d 648, 657 (6th Cir. 2002); PWS, 228 F.3d at 245;

 Behrmann v. Nat’l Heritage Found., 663 F.3d 704, 710 (4th Cir. 2011).

       C.     The Bankruptcy Court Has Constitutional Authority To Grant
              The Channeling Injunction And Releases

       The D&V and Lujan Claimants have failed to prove that the bankruptcy

 court erred in determining that it had constitutional authority to grant the

 Channeling Injunction and Releases. D.I. 1-3 at 129. The Third Circuit held in

 Millennium Lab Holdings that “a bankruptcy court is within constitutional bounds

 when it resolves a matter that is integral to the restructuring of the debtor-creditor

 relationship.” 945 F.3d at 135; see also D.I. 1-3 at 117, 128–29; see also

 Langenkamp v. Culp, 498 U.S. 42, 44 (1990) (observing that matters that are

 “integral to the restructuring of the debtor-creditor relationship” fall within the

 bankruptcy court’s constitutional powers of adjudication). In Millennium Lab

 Holdings, the Third Circuit reiterated the lower court’s conclusion that a


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 bankruptcy court is constitutionally authorized to approve a plan containing

 nonconsensual third-party releases and related injunctions if it concludes that such

 releases are integral to the success of the plan. See 945 F.3d at 137–40.

       The bankruptcy court thoroughly and thoughtfully addressed whether the

 Channeling Injunction and Releases were integral to the success of the Plan. The

 bankruptcy court determined without Channeling Injunction and Releases “in favor

 of the Settling Insurers, Non-Debtor Related Entities, Local Councils, Chartered

 Organizations and their Representatives, the Settling Insurers and Local Councils

 would not make their monetary contributions to the Settlement Trust.” D.I. 1-3 at

 154. Similarly, without the Channeling Injunction and Releases the “Participating

 Chartered Organizations, Related Non-Debtor Entities, and their respective

 Representatives who are additional insureds would not contribute their insurance

 rights to the Settlement Trust.” Id. Moreover, “[i]t is illogical to believe that these

 settlements could be achieved without releases and this conclusion is supported by

 the record.” Id. Finally, without the settlements and the Channeling Injunction

 and Releases, “these cases would devolve into a morass of coverage litigation, and

 recoveries to holders of Abuse Claims would be delayed for countless years.” D.I.

 1-3 at 154–55. For these reasons, the bankruptcy court concluded that the

 Channeling Injunction and Releases “unlock these monetary contributions” and are

 “the cornerstone of the Plan.” Id. Because the bankruptcy court determined that



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 the Channeling Injunction and Releases were integral to the restructuring, the

 bankruptcy court had constitutional authority to confirm the Plan. Id.        This

 conclusion is well supported by the record, and the D&V and Lujan Claimants

 have not disputed this holding, much less proved that it was erroneous.

       Importantly, the bankruptcy court had authority to enter a final order

 approving the Plan because it was not asked to adjudicate each of the Abuse

 Claims. Instead, the Plan provides for the claims to be channeled to the Settlement

 Trust for evaluation by the Settlement Trustee. Under the TDP, a claimant has

 the option to elect to seek a de novo determination of its Abuse Claims by a court

 of competent jurisdiction. D.I. 1-4, Ex. A, Art. XII.A. A claimant may also elect

 the “Independent Review Option” to have a neutral third party make a settlement

 recommendation to the Settlement Trustee, if dissatisfied with the results of his

 reconsideration of the Settlement Trustee’s determination. Id., Art. XIII.

  Accordingly, confirmation of the Plan does not effectuate the nonconsensual

 liquidation of a personal injury claim for purposes of distribution by the

 bankruptcy court. The Plan therefore complies with 28 U.S.C. § 157, and the

 bankruptcy court had jurisdiction to enter a final order.




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       D.    The Channeling Injunction And Releases Are Appropriate And
             Supported By Ample Evidence Under The Applicable Legal
             Standards

       The bankruptcy court correctly applied the law in deciding to approve the

 Channeling Injunction and Releases as fair and necessary to BSA’s reorganization,

 and supported its decision with extensive factual findings. D.I. 1-3 at 132–56,

 163–68. Because the bankruptcy court correctly applied the law in determining

 that it had statutory and jurisdictional authority to approve the Channeling

 Injunction and Releases, the D&V and Lujan Claimants must prove that the

 bankruptcy court committed clear error in its factual findings supporting the

 Channeling Injunction and Releases. D.I. 40 at 23-34; D.I. 41 at 58-79. The D&V

 and Lujan Claimants do not come close to carrying this heavy burden.

             1.    The Channeling Injunction And Releases Satisfy The
                   Continental Hallmarks

       As shown above, the Continental “hallmarks” of fairness and necessity to

 the reorganization guide the bankruptcy court’s review of third-party releases

 under Third Circuit law. Cont’l Airlines, 203 F.3d at 212; D.I. 1-3 at 115–16.

 Here, after engaging in detailed and thorough factfinding, the bankruptcy court

 correctly concluded that the Channeling Injunction and Releases satisfy the

 Continental hallmarks. D.I. 1-3 at 163. Because the applicable legal standard—

 the Continental hallmarks—is uncontroverted, and whether the bankruptcy court’s

 decision to approve the Channeling Injunction and Releases was appropriate


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 depends on its analysis of the particular facts of the case, this Court should review

 the bankruptcy court’s decision for clear error. See Exide Holdings, 2021 WL

 3145612, at *12–14 (stating that “[c]ourts review the approval of releases and

 injunctions for clear error” and finding that “[t]he Bankruptcy Court used the

 appropriate standard for determining that the Releases were justified, and the

 Bankruptcy Court’s findings are not clearly erroneous”); see also In re Wash. Mut.,

 Inc., 442 B.R. 314, 345 (Bankr. D. Del. 2011) (“Determining the fairness of a plan

 which includes the release of non-debtors requires the consideration of numerous

 factors and the conclusion is often dictated by the specific facts of the case.”);

 Cont’l Airlines, 203 F.3d at 217 (conducting detailed case-specific factual inquiry);

 Glob. Indus., 645 F.3d at 206 (same).

       The D&V and Lujan Claimants argue that the Channeling Injunction and

 Releases are not necessary because, according to them, the BSA theoretically could

 have confirmed a “BSA-only” plan of reorganization that does not contain releases

 in favor of third parties. See D.I. 40 at 26; D.I. 41 at 64. They also contend that

 the Channeling Injunction and Releases were not fair because they were approved

 without what the D&V and Lujan Claimants believe to be sufficient consideration

 from the Local Councils and Chartered Organizations.              These arguments

 misconstrue the legal standard articulated in Continental.




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                    a.    The Channeling Injunction And Releases Are
                          Necessary To The BSA’s Reorganization

       Under Continental, to approve a nonconsensual third-party release, the

 bankruptcy court must find that the release is necessary to the debtor’s

 reorganization. 203 F.3d at 214. In Continental, the Third Circuit held that the

 particular third-party releases before it on appeal were not necessary to the

 reorganization, as there was “nothing in the record to even imply that the success

 of the…reorganization bore any relationship to the release and…injunction.” 203

 F.3d at 215. The Third Circuit subsequently clarified in Global Industrial that

 necessity and fairness mean showing that the liability of the third party is

 “sufficiently onerous to jeopardize the debtors’ reorganization” if not channeled to

 a trust under the debtor’s plan of reorganization. 645 F.3d at 206. As courts in the

 Third Circuit have held, the necessity prong requires demonstration that “the

 success of the…reorganization [bears] a relationship to the release” of the non-

 consensual parties, and that the releases have provided “a critical financial

 contribution” to the plan” in exchange for receiving a release of liability.”

 Continental, 203 F.3d at 215.

       The D&V and Lujan Claimants misconstrue the necessity prong of the

 Continental standard. They argue that the Channeling Injunction and Releases are

 unnecessary because the BSA proposed—more than two years prior to the

 confirmation hearing—the “BSA Toggle Plan,” which contained an option for a


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 potential BSA-only plan. See D.I. 40 at 26; D.I. 41 at 65–67. This plan was never

 solicited, and indeed it was structured as a “cramdown” plan on abuse survivors.

 See Bankr. D.I. 6445 (solicitation version of disclosure statement excludes BSA-

 only plan). There is no evidence that such a plan would have been feasible—either

 for the future of the BSA or survivor recoveries.

       This is because, among other things, the success of a plan of reorganization

 for the BSA depends upon the BSA’s future membership revenue, which, in turn,

 depends on Local Councils and Chartered Organizations resolving their abuse

 liabilities and continuing to deliver the Scouting program. The bankruptcy court

 found that “[m]embership drives BSA’s finances,” which “depends on Local

 Councils and Chartered Organizations to both maintain and recruit Scouts.” Id. at

 153. According to the bankruptcy court, the “evidence is unrefuted” that, without

 the Channeling Injunction and Releases for Local Councils and Chartered

 Organizations, the “BSA is likely to suffer a drop in membership, significantly

 affecting revenue and putting into serious question BSA’s ability to continue as a

 national organization.” Id. at 163. Mr. Whittman testified that (i) absent the

 Channeling Injunction and Releases for Local Councils, there would be

 “significant” Local Council bankruptcy filings (which the AHCLC’s witness, Mr.

 Sugden, agreed with), and (ii) absent the Channeling Injunction and Releases for

 Chartered Organizations, there would be a significant impact on membership and



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 operation. Id. at 153-54; see also Bankr. D.I. 9316 ¶ 11, 68; Bankr. D.I. 9407 at

 35:15–36:9, 188:6–13; SA 2141.        The Local Councils’ contribution to the

 Settlement Trust, as well as the contribution of their insurance rights, would not

 have been possible without the Channeling Injunction and Releases. Bankr. D.I.

 9316 ¶ 68 (“[I]f Abuse Claims against Local Councils are not channelled to the

 Settlement Trust, Local Councils will not make the Local Council Settlement

 Contribution.”).

       For these reasons, the bankruptcy court found that the BSA-only plan was

 “not a true resolution and would leave claimants racing to the courthouse, filing

 suits across the country, and BSA in shambles.” D.I. 1-3 at 156. According to the

 bankruptcy court, a BSA-only plan would spiral the organization into a “death trap

 of litigation with minimal recoveries in sight,” and survivors—many of whom

 have been waiting decades to receive a meaningful recovery—would miss out on

 the recoveries made possible by this Plan. Id. at 158. The BSA-only plan would,

 if consummated, fail to unlock the value from the Abuse Insurance Policies and

 provide virtually no recovery to holders of Abuse Claims in comparison to the

 Plan, which provides several billion dollars in value to such creditors. See id. at

 156–58; Bankr. D.I. 2594 Art. II.A (disclosing that under the BSA-only plan the

 recovery for holders of Direct Abuse Claims would be as little as 1% of their

 claims); Bankr. D.I. 4108 (same); Bankr. D.I. 4716 at 73:9–14, 80:21–81:16



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 (counsel for the Tort Claimants’ Committee characterizing the BSA Toggle Plan as

 a “death trap plan”). Unsurprisingly, the BSA-only plan was not supported by any

 Abuse Claim constituency. See D.I. 1-3 at 157.

         In addition to misconstruing the necessity prong of Continental, the D&V

 and Lujan Claimants fail to mention that Mr. Whittman’s prior testimony as to the

 feasibility of the BSA-only plan was given several months before the BSA

 launched the solicitation of the Plan and therefore did not consider the evolution of

 the BSA’s financial position and prospects of attaining a global resolution. In prior

 versions of the disclosure statement filed on May 16, 2021 the BSA provided

 financial projections for the BSA-only plan. Bankr. D.I. 4108, Ex. C at 4. These

 financial projections assumed an August 31, 2021 emergence. See Bankr. D.I.

 4108, Ex. C at 4. During this time frame, a BSA-only plan was considered to be at

 least hypothetically feasible.47       But circumstances changed. The BSA

 unpredictably remains in bankruptcy more than one year later than its then-

 projected emergence, and its liquidity position has since deteriorated. See Bankr.

 D.I. 9517 at 66:22–23 (“And, as I’ve testified to before, the BSA, from a liquidity



 47
      See D.I. 4108 Art. X.A.19 (“[I]f the Plan is confirmed as a BSA Toggle Plan,
      because the Local Councils and Contributing Chartered Organizations will not
      be subject to the releases under the Plan, there is incremental economic risk
      related to the continued reach of Scouting which could lead to lower
      membership levels and require additional expense reductions versus what are
      reflected in the projections.”).

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 perspective, is near the end of its rope.”). Thus, although the BSA-only plan was

 hypothetically feasible at the time of Mr. Whittman’s testimony, it was not feasible

 at the time the final Plan was confirmed. Even if the D&V and Lujan Claimants’

 reading of Continental was correct (which it is not), the BSA would therefore have

 satisfied Continental’s necessity prong.

       Importantly, under the confirmed Plan, the bankruptcy court found after a

 twenty-two day evidentiary hearing involving twenty-six witnesses and more than

 1,000 exhibits, that the Channeling Injunction and Releases were necessary to

 maximize the value of the estates for the benefit of holders of Abuse Claims. See

 D.I. 1-3 at 155, 163. The foundation of the Plan consists of contributions to the

 Settlement Trust by the Releasees of approximately $2.5 billion in cash and

 property, as well as other assets the bankruptcy court determined have a value of

 more than $4 billion. Id. at 163. Without the Channeling Injunction and Releases,

 the bankruptcy court found that these contributions would not have been made.

 See id. at 154, 155, 163 (finding that the “Settling Insurers and Local Councils

 would not make their monetary contributions to the Settlement Trust” and the

 “Participating Chartered Organizations, Related Non-Debtor Entities and their

 respective Representatives who are additional insureds would not contribute their

 insurance rights to the Settlement Trust [without the Channeling Injunction and

 Releases]…[It] is illogical to believe these settlements could be achieved without



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 releases and this conclusion is supported by the record”); see also Bankr. D.I. 9517

 at 79:11–21 (Whittman) (“I believe [the Channeling Injunction and Releases] were

 necessary in order to maximize the value of the [insurance] policies, I believe they

 were necessary in order to secure this deal that is a set of interlocking, interrelated

 deals”).

       Both the amounts payable under the Insurance Settlement Agreements and

 the Local Council, Related Non-Debtor Entity and Chartered Organization

 contributions are essential to the success of the Plan insofar as they provide the

 overwhelming majority of funding to the Settlement Trust for the benefit of

 holders of Abuse Claims. The bankruptcy court found that, absent the “global

 settlements of insurance coverage disputes” with BSA’s two primary insurance

 carriers, Hartford and Century and Chubb Companies, “these cases would devolve

 into a morass of coverage litigation,” and recoveries “would be delayed for

 countless years.”    D.I. 1-3 at 155; see also Bankr. D.I. 9517 at 66:23–67:2

 (Whittman)] (“[A]bsent these insurance settlements…I’m not sure that the BSA

 would have been able to reorganize.”). The Hartford and Century and Chubb

 Companies settlements also “provided a template” for settlements with Zurich and

 Clarendon and may serve as the template for future settlements with Non-Settling

 Insurance Companies after the BSA’s emergence from bankruptcy. D.I. 1-3 at

 155. The bankruptcy court determined that the “undisputed evidence” showed that



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 “without the Scouting-Related Releases, the Settling Insurance Companies would

 not settle their liability.” Id.; see also Bankr. D.I. 9395 ¶ 31. In a world without

 the Channeling Injunction and Releases, “the insurance proceeds may or may not

 be available.” See D.I. 1-3 at 163.

       The Lujan Claimants’ arguments that the Channeling Injunction and

 Releases in favor of the Settling Insurance Companies and certain other Releasees

 are unnecessary are similarly based on a faulty reading of Third Circuit law.

 According to the Lujan Claimants, the Channeling Injunction and Releases are not

 necessary because certain earlier versions of the Plan did not provide releases for

 the AOA, Century and Chubb Companies, Clarendon, Zurich, and Roman Catholic

 Entities, which are now receiving releases under the confirmed Plan. See D.I. 40 at

 26. To reiterate, Continental’s necessity prong does not require the bankruptcy

 court to find that only a plan containing third-party releases is feasible.

       The Lujan Claimants further argue that there was no evidence and no

 bankruptcy court determination that the successful reorganization of the BSA

 requires the release of Roman Catholic Entities and other religious entities. See

 D.I. 40 at 28.        This misconstrues the bankruptcy court’s findings and

 misapprehends that under the Plan, the Roman Catholic Entities fall under the

 umbrella of Participating Chartered Organizations; therefore, all of the bankruptcy

 court’s findings relating to the necessity of releases for Participating Chartered



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 Organizations indeed include Roman Catholic Entities and any other religious

 Chartered Organizations that did not become Opt-Out Chartered Organizations

 with respect to Scouting-related Abuse Claims. See D.I. 1-4 Art. V.S.8 (“[A]ll

 Roman Catholic Entities, other than those that have specifically opted out of such

 treatment…shall    be   treated   as   Participating   Chartered   Organizations.”).

 Consequently, the Lujan Claimants’ argument ignores the evidence establishing

 that the Channeling Injunction and Releases for Participating Chartered

 Organizations (which includes Roman Catholic Entities and religious Chartered

 Organizations) are undeniably necessary and the bankruptcy court did not err in

 making such finding. See, e.g., Bankr. D.I. 9395 ¶¶ 30–31; Bankr. D.I. 9316 ¶¶

 67–70; Bankr. D.I. 9280 ¶¶ 191–93, 199.

       The bankruptcy court determined that the “BSA needs to resolve the Abuse

 litigation in order to move forward” and that the Plan, supported by the Channeling

 Injunction and Releases, accomplishes just that. D.I. 1-3 at 163–64. Thus, for the

 reasons set forth above, the D&V Claimants and Lujan Claimants have failed to

 prove that the bankruptcy court clearly erred in determining that the Channeling

 Injunction and Releases were necessary to the BSA’s reorganization, as required

 by Continental.




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                     b.    The Channeling Injunction And Releases Are Fair

         In addition to finding that the Channeling Injunction and Releases are

 necessary to the success of the reorganization, under Continental, the bankruptcy

 court must also find that they are fair. 203 F.3d 214. Courts in the Third Circuit

 have interpreted the fairness prong of Continental to require that the parties whose

 claims are being released receive adequate consideration in exchange for such

 releases.   See, e.g., Mallinckrodt, 639 B.R. at 867 (noting that “[t]he [Third

 Circuit’s] review of cases [in Continental] indicated that…fairness dictates that ‘it

 is necessary to provide adequate consideration to a claimholder being forced to

 release claims against non-debtors’” (quoting Cont’l Airlines, 203 F.3d at 212–

 13)); David v. Weinstein Co. Holdings, LLC, 2021 WL 979603, at *6 (D. Del.

 Mar. 16, 2021) (“Part of the inquiry into the fairness of non-consensual third-party

 releases is determining whether reasonable consideration is given in exchange for

 the releases.”).48 This Court has held that the adequacy of consideration given in

 exchange for releases of claims is reviewed for clear error. See Exide Holdings,

 2021 WL 3145612, at *13 (“The mere fact that [a claimant] believes the

 consideration too low does not meet the exacting standard for reversing the

 Bankruptcy Court’s finding of fact [for] clear error.”).

 48
      Indeed, the Third Circuit in Continental framed the legal question as “whether
      there are circumstances under which we might validate a non-consensual
      release that is both necessary and given in exchange for fair consideration.”
      203 F.3d at 214 n.11.

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       In this case, the D&V and Lujan Claimants have failed to prove that the

 bankruptcy court clearly erred in determining that the Channeling Injunction and

 Releases are fair to holders of Abuse Claims because “the Plan provides a

 mechanism for payment of all or substantially all Direct Abuse Claims” and

 therefore holders of Direct Abuse Claims “are being treated fairly for the releases

 they are granting.” D.I. 1-3 at 164. No party presented evidence at trial to

 challenge this critical finding, and the D&V and Lujan Claimants cite none on

 appeal. The D&V and Lujan Claimants now claim that they are being forced to

 release claims against Local Councils, Chartered Organizations, and Settling

 Insurance Companies “while receiving little to nothing in exchange.” D.I. 40 at

 24; see also D.I. 41 at 59–64. But the bankruptcy court squarely rejected this

 assertion based upon the overwhelming unrefuted record before it, finding that the

 D&V and Lujan Claimants, like other holders of Abuse Claims, can expect to be

 paid in full. See D.I. 1-3 at 164. Because they will receive under the Plan all of

 the compensation to which they would be entitled in the tort system, the D&V and

 Lujan Claimants are receiving “adequate consideration” as required by

 Continental.   The D&V and Lujan Claimants’ unsupported rhetoric cannot

 overcome the bankruptcy court’s fairness determination, as required by

 Continental. See D.I. 1-3 at 163–68.




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       The fairness of the Channeling Injunction and Releases is also evidenced by

 the fact that the Plan was “overwhelmingly accepted” by holders of Direct Abuse

 Claims. See D.I. 1-3 at 164; see also Bankr. D.I. 9280 ¶ 56. The bankruptcy court

 observed that more than 85% of holders of Direct Abuse Claims voted to accept

 the Plan, which constitutes “overwhelming acceptance.” D.I. 1-3 at 164. The Plan

 also has the support of JPM, the Creditors’ Committee, the Tort Claimants’

 Committee, the Future Claimants’ Representative, the Coalition and the Settling

 Insurance Companies. Id. The bankruptcy court concluded that the settlements are

 preferable to the alternative after conducting an exhaustive review of, among other

 things, the fairness of the settlements and the impediments to collection. Id. at

 164–68. The vast majority of claimants similarly situated to the D&V and Lujan

 Claimants agreed.

       Finally, the transparency and rigor of the process by which Local Councils’

 contributions to the Settlement Trust were calculated supports the fairness of the

 releases given in exchange. See D.I. 1-3 at 141–44. Each Local Council is

 contributing a fixed amount of cash and property based on a formula that fairly and

 equitably allocates the Local Council Settlement Contribution.      See generally

 Bankr. D.I. 9316; Bankr. D.I. 9280 ¶¶ 234–35. The formula was developed over

 many months and accounts for disparities between Local Councils’ claims




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 exposure, applicable statutes of limitation, and financial capacity. See Bankr. D.I.

 9316 ¶¶ 24–43; Bankr. D.I. 9280 ¶¶ 232–35; D.I. 1-3 at 141–44.

         In addition to the likely payment in full of Abuse Claims, the overwhelming

 acceptance of the Plan by holders of Abuse Claims, and the transparency of the

 process with respect to Local Councils and Chartered Organizations, the

 bankruptcy court also found the Channeling Injunction and Releases to be

 supported by several other factors. These include: (a) “more timely assessment

 and payment” of claims, and “more equal treatment across claimants,” in

 comparison with resolution in the tort system, D.I. 1-3 at 164, (b) consistency with

 the manner in which claimants sued and settled claims with BSA (i.e., as a

 group),49 (c) the “multiple options” provided under the TDP to holders of Direct

 Abuse Claims to pursue litigation in the tort system, id. at 165, and (d) survivors’

 need for global resolution after waiting decades.50 Id. at 164–68; see also Bankr.




 49
      The bankruptcy court found that the prepetition claimants, “including the D&V
      and Lujan Claimants, treated BSA, Local Councils and Chartered Organizations
      as ‘one organization,’ each liable for the actions of the other and with BSA in
      ultimate control.” Id. Therefore, the Channeling Injunction and Releases are
      consistent with the way that claimants sued and settled claims with BSA—as a
      group—prior to the Petition Date. Id. at 164; Bankr. D.I. 9273 ¶ 48.
 50
      The bankruptcy court found that Dr. Kennedy’s and Mr. Meidl’s testimony in
      support of the Plan evidence an awareness of their fellow survivors and the
      need for global resolution. D.I. 1-3 at 164; Bankr. D.I. 9406 at 10:19–12:5,
      14:4–15:20; Bankr. D.I. 9482 at 35:6–36:9.

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 D.I. 9280 ¶¶ 43–51, 53–56. All of those findings are supported by competent

 evidence.

         The D&V and Lujan Claimants’ additional arguments further demonstrate

 their misunderstanding of the fairness standard. For instance, the D&V Claimants

 argue that the Local Councils’ aggregate contribution is unfair by comparing the

 BSA’s versus Local Councils’ percentages of “liquid assets” being contributed to

 the Settlement Trust. See D.I. 41 at 62 (“BSA is paying 67% of its liquid assets to

 the Settlement Trust…Local Councils are getting releases of all abuse claims in

 exchange for [contributing] only 30% their liquid assets.”).51 This argument is a

 red herring.     The standard articulated in Continental is the adequacy of the

 consideration given to the party whose claims are released, not the cost imposed on

 the released party. See, e.g., Mallinckrodt, 639 B.R. at 874 (assessing fairness in

 terms of value provided to claimants in exchange for nonconsensual third party

 releases). D&V Claimants argue that without knowing the assets and potential

 liabilities of each organization receiving a release, it is “impossible” to know if the



 51
      Not only are these percentages irrelevant to fairness under Continental, they are
      inaccurate. The 30% figure does not take into account the DST Note, the BSA
      Settlement Trust Note, and the significant value of both the Local Council
      insurance policies and the Local Councils’ rights in BSA insurance policies.
      See Bankr. D.I. 9280 ¶¶ 210–19, 225 (“[W]ithout accounting for the value of
      Local Council insurance rights, the Local Council Settlement Contribution
      represents 30% of the modified unrestricted net assets of the Local Councils.”
      (emphasis added)).

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 claimants giving the releases are getting fair consideration in return. See D.I. 41 at

 61.     The Lujan Claimants likewise complain that “no analysis was done” of

 Chartered Organizations’ or, excluding Century, Settling Insurance Companies’

 assets or liability exposure. See D.I. 40 at 24–25, 31. But these arguments fail to

 account for the significant value of the insurance rights that the Local Councils and

 Chartered Organizations are contributing to the Settlement Trust and the non-

 monetary aspects of the Plan that the bankruptcy court determined to be fair to

 holders of Abuse Claims.52 See D.I. 1-3 at 168. Moreover, the D&V and Lujan


 52
       Participating Chartered Organizations and Opt-Out Chartered Organizations are
       only receiving limited releases that are coextensive to their insurance
       contributions. Therefore, such entities may be exposed to additional liability
       and may be required to make additional contributions on account of claims that
       are not covered by a Settling Insurance Company in the future. For the
       avoidance of doubt, Participating Chartered Organizations and Opt-Out
       Chartered Organizations are not receiving the same release that Contributing
       Chartered Organizations will receive under the Plan. D.I. 1-3 at 54 n.103, 100-
       02, 175–78. The D&V Claimants highlight the treatment of TCJC as a “telling
       example of the unfairness of the releases,” arguing that it is unfair that TCJC, as
       a Participating Chartered Organization, will receive “the same release and
       channeling injunction as all other Participating Chartered Organizations.” D.I.
       41 at 59–60. This argument again disregards that the portion of a Mixed Claim
       unrelated to Scouting is not channeled or released. Previously, TCJC was
       designated as a Contributing Chartered Organization based on its proposed
       agreement to contribute $250 million in cash to the Settlement Trust plus the
       assignment of its interests in Abuse Insurance Policies in exchange for the
       benefits of the Channeling Injunction and Releases, whereby TCJC would
       receive, in exchange for its cash contribution, a full and complete release of all
       Abuse Claims, without regard to when the claim arose or whether the claim
       could be considered a Mixed Claim under the Plan. At the time of
       confirmation, TCJC sought a broader release with respect to what constituted an
       Abuse Claim that would be released under the Plan than other Chartered

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 Claimants have failed to prove that the bankruptcy court clearly erred in

 determining that the Plan provides for likely payment of Abuse Claims in full, and

 therefore this inquiry is irrelevant.

       The D&V Claimants also argue that the bankruptcy court failed to make

 certain specific findings of fact that support the Channeling Injunction and

 Releases. See D.I. 41 at 67–68. This is incorrect. Moreover, the D&V Claimants

 do not cite any cases to support their argument. In Continental, the Third Circuit

 determined that the bankruptcy court “never specifically addressed the release and

 permanent injunction” of the released claims and found the confirmation order

 lacked “any findings” that the release was fair and necessary to the reorganization.

 See Cont’l Airlines, 203 F.3d at 214 (emphasis added). This is obviously not the



    Organizations. The bankruptcy court declined to approve the TCJC Settlement
    Agreement because the evidence did not support a broader release of Abuse
    Claims as compared to other Chartered Organizations. D.I. 1-3 at 168–69. As a
    consequence of this ruling, TCJC is a Participating Chartered Organization
    under the Plan and will receive the same releases that all Participating
    Chartered Organizations receive thereunder. The releases for Participating
    Chartered Organizations do not include the substantial protection TCJC would
    have been entitled to under the terms of the original TCJC Settlement, for
    which TCJC was prepared to make a substantial cash contribution. D.I. 1-1 ¶
    20. No party objected to or raised any issue with respect to TCJC’s
    classification as a Participating Chartered Organization under the Plan prior to
    the bankruptcy court’s entry of the Confirmation Order. As with all
    Participating Chartered Organizations, TCJC’s contribution of rights under
    insurance policies issued by the Settling Insurance Companies, among other
    things, is essential to the success of the Plan and the satisfaction of all
    channeled claims in full.

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 case here, where the bankruptcy court’s Confirmation Opinion includes countless

 specific findings of fact that thoroughly address and support every aspect of the

 Channeling Injunction and Releases with respect to the Continental hallmarks. See

 generally D.I. 1-3. Finally, the D&V Claimants also object to the release of

 Representatives of Chartered Organizations on fairness grounds. First, the D&V

 Claimants argue that they did not have sufficient notice of released

 Representatives, since “while there is a list attached to the Plan of more than

 100,000 Chartered Organizations released, the Plan does not identify all the

 Chartered Organizations” nor the “Representatives” of Local Councils or

 Chartered Organizations who will be released. See D.I. 41 at 67. The bankruptcy

 court, however, found that a “complete list of Chartered Organizations can be

 found      at   Boy      Scouts     of      America     Restructuring      Website,

 http://omniagentsolutions.com/bsa/.”     D.I. 1-3 at 5, 47.   The list is free and

 accessible to the public. Bankr. D.I. 9275 ¶ 7. This website was also listed thirty-

 three times throughout the solicitation packages, which the BSA, through their

 Solicitation Agent, served to holders of Direct Abuse Claims. Bankr. D.I. 7999;

 Bankr. D.I. 8378.

         The D&V Claimants also cannot complain that there was a lack of

 disclosure regarding the “Representatives,” which is a defined term in the Plan.

 D.I. 1-4 Art. I.A.249. That definition provides sufficient details to put claimants



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 on notice of the Representatives receiving a release. As noted above, no party

 disputes that Representatives must be included in the Channeling Injunction and

 Releases as part of the global resolution under the Plan because certain

 Representatives are insureds under the BSA Insurance Policies and claims against

 such Representatives would therefore impact the proceeds of the BSA Insurance

 Policies absent a release.53     Bankr. D.I. 9316 ¶ 68 (“[W]ithout coverage for

 Representatives, a Local Council will likely face indemnity/contribution claims

 from such Representatives, rendering a “global resolution” illusory.”); id. ¶ 70 (“I

 am confident that without the releases and channeling injunctions contained in the

 Plan of (a) Local Councils, (b) Local Councils’ Representatives, (3) Chartered

 Organizations, and (4) Chartered Organizations’ Representatives, Local Councils

 will not make the Local Council Settlement Contribution or the Supplemental LC

 Contribution.”); SA 92 (providing requirement to indemnify Representatives).

                      c.    The Master Mortgage Factors Are Satisfied

         Although Continental is the law in this Circuit, the factors enumerated in

 Master Mortgage are helpful guideposts for a bankruptcy court’s determination

 whether the Continental hallmarks have been met. In re Master Mortgage, 168

 B.R. 930, 937 (Bankr. W.D. Mo. 1994); see also Millennium, 591 B.R. at 584; In


 53
      For the avoidance of doubt, Perpetrators are not receiving releases regardless of
      a Perpetrator’s position or service as a Representative. D.I. 1-3 at 130; D.I. 1-4
      Art. I.A.236.

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 re 710 Long Ridge, 2014 WL 886433, at *14 (noting that “since the Third Circuit

 did not set out a specific test in Continental Airlines, several courts within the

 Third Circuit have continued to apply a five-factor” derived from Master

 Mortgage); Mallinckrodt, 639 B.R. at 875 n.103 (concluding that although it is

 unnecessary to consider the Master Mortgage factors, in any event, the factors are

 satisfied); Cal. Dep’t of Toxic Substances Control v. Exide Holdings, Inc. (In re

 Exide Holdings, Inc.), No. 20-1401 (RGA), 2021 WL 3145612, at *13 (D. Del.

 July 26, 2021).

       The Master Mortgage framework requires the bankruptcy court to ask

 whether (a) there is an identity of interest between the debtor and the third party,

 such that a suit against the non-debtor is, in essence, a suit against the debtor or

 will deplete the assets of the estate, (b) the non-debtor has contributed substantial

 assets to the reorganization, (c) the injunction is essential to reorganization such

 that without it, there is little likelihood of success, (d) a substantial majority of the

 creditors agree to such injunction: specifically, the impacted class, or classes, has

 “overwhelmingly” voted to accept the proposed plan treatment, and (e) the plan

 provides a mechanism for the payment of all, or substantially all, of the claims of

 the class or classes affected by the injunction. Master Mortgage, 168 B.R. at 935.

 In this case, the D&V and Lujan Claimants have failed to prove that the

 bankruptcy court clearly erred in determining that each of these factors, to the



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 extent relevant as guideposts in the Continental analysis, weighs in favor of

 approving the Channeling Injunction and Releases.

                          i.      Identity Of Interest

       The D&V Claimants and Lujan Claimants have failed to prove that the

 bankruptcy court clearly erred in finding “that there is an identity of interest

 between Debtors and all entities receiving third-party releases.” D.I. 1-3 at 133.

 As discussed supra pp.130-138, the evidentiary record demonstrating the identity

 of interest among the BSA, Local Councils, Chartered Organizations, Related Non-

 Debtor Entities, Representatives, and Settling Insurance Companies is clear and

 extensive. The bankruptcy court found that there was an “identity of interest”

 between BSA and the non-debtor protected parties, “such that a suit against the

 non-debtor is, in essence, a suit against the debtor or will deplete assets of the

 estate.” D.I. 1-3 at 132. Specifically, the bankruptcy court found that an identity of

 interest between the BSA and protected parties was supported by the following:

 (a) the parties’ interconnectedness and interdependence in delivering Scouting and

 joint responsibility for Scouting-related Abuse Claims, (b) shared insurance,

 (c) contractual indemnity, and (d) the BSA’s residual interest in Local Council

 property. Additionally, there is an identity of interest between BSA and the

 Settling Insurance Companies “because they are the Debtors’ insurers.” Id. at 135

 (“[n]o holder” alleges “a separate claim against any Settling Insurer on account of



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 its own conduct”). This factor weighs in favor of approving the Channeling

 Injunction and Releases.

                           ii.     Contribution Of Substantial Assets To The
                                   Reorganization

         The D&V and Lujan Claimants argue that the “substantial contribution”

 factor under Master Mortgage weighs against the Channeling Injunction and

 Releases. See D.I. 41 at 71; D.I. 40 at 30–31. As discussed in detail herein, the

 bankruptcy court found that each Releasee was making a substantial contribution

 in exchange for the benefit of the Channeling Injunction and Releases, “result[ing]

 in a trust that will pay Direct Abuse Claims in full.” D.I. 1-3 at 140-48 (citing

 Mallinckrodt, 639 B.R. at 874 (“Substantial consideration is being given in

 exchange for the releases in the form of a well-funded trust to which opioid

 claimants can turn for potential compensation.”).54 And even if the Plan were not


 54
      The Settlement Trust Assets include, among other things, the following assets
      and any income, profits and proceeds realized, received or derived from such
      assets subsequent to the transfer of such assets to the Settlement Trust: (i) the
      BSA Settlement Trust Contribution, which includes unrestricted cash and
      investments from the BSA, artwork valued at approximately $59 million,
      certain real property valued at $11.6 million, oil and gas interests valued at $7.6
      million, the BSA Insurance Assignment, and the assignment of certain causes of
      action on account of Abuse Claims belonging to the BSA; (ii) the Local Council
      Settlement Contribution, which includes at least $500 million of cash and
      property, a DST Note in the amount of $100 million, the Local Councils’
      interest in BSA Insurance Policies, the Local Councils’ interest in Local
      Council Insurance Policies, and the assignment of certain causes of action; (iii)
      the Chartered Organization Contribution, which includes an additional $15
      million cash contribution and up to $25 million added to the DST Note from the

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 likely to pay holders of Abuse Claims in full (which the bankruptcy court

 concluded it is), the bankruptcy court correctly noted that a “well-funded trust need

 not pay claimants in full for the contribution to be substantial” for purposes of the

 second Master Mortgage factor. D.I. 1-3 at 140 n.455.

                                   a.    Settling Insurance Companies

         The Lujan Claimants claim that, with the exception of Century and Chubb

 Companies, there was no evidence in the record of a Settling Insurance Company’s

 lack of assets or inability to pay. See D.I. 40 at 25.55 This argument is irrelevant,

 as further discussed infra pp. 193-201. The bankruptcy court found that the

 substantial contribution analysis is the same as the analysis of whether the

 settlement is fair under the Martin test. D.I. 1-3 at 141. As established by the


      Local Councils and a variable annual Settlement Growth Payment from Local
      Councils and the BSA; (iv) monetary contributions of $30 million from the
      United Methodist Entities and the contribution of other insurance interests and
      causes of action; (v) the Participating Chartered Organization Settlement
      Contribution, which includes such Participating Chartered Organizations’
      interests in Abuse Insurance policies, the release of claims against the BSA, the
      Local Councils, any Contributing Chartered Organization, or Settling Insurance
      Companies; (vi) any and all funds, proceeds or other consideration contributed
      to the Settlement Trust under the terms of any Insurance Settlement Agreement,
      including the $1.656 billion aggregate contribution from Hartford, Century and
      Chubb Companies, Zurich and Clarendon; and (vii) any rights, claims, or assets
      of a holder of a Direct Abuse Claim that is assigned to the Settlement Trust
      pursuant to the terms of the TDP and Settlement Trust Agreement. D.I. 1-4 Art.
      I.A.272.
 55
      The D&V Claimants do not dispute the bankruptcy court’s finding that the
      Settling Insurance Companies are making a substantial contribution. See D.I.
      41 at 71–72.

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 evidence and testimony of Mr. Desai, Mr. Whittman, Mr. Patton, Dr. Bates, and

 Ms. Gutzler, the bankruptcy court determined that each settlement with the Settling

 Insurance Companies was fair and satisfied the Martin test in light of the disputed

 coverage issues, the allocation analysis performed by Ms. Gutzler, and, as to

 Century and Chubb Companies, the concerns regarding collection in the future.

 D.I. 1-3 at 141.

                                 b.     Local Councils

       Contrary to the D&V and Lujan Claimants’ arguments, the bankruptcy court

 also found that the “Local Council Contribution is substantial.” D.I. 1-3 at 144;

 see also D.I. 41 at 71–72; D.I. 40 at 30. The bankruptcy court credited Mr.

 Whittman’s analysis of the Local Council Settlement Contribution relative to the

 Local Councils’ insurance rights, unrestricted net assets, number of claims,

 geographic location (for statute of limitations analysis), and ability to contribute.

 See D.I. 1-3 at 144. Mr. Whittman testified that the formula was a fair and

 reasonable basis for the allocation and indeed maximized the value being

 contributed to the Settlement Trust. See id. No witnesses were presented to

 contradict   Mr.   Whittman’s     testimony.      Furthermore,    Mr.   Whittman’s

 uncontroverted conclusion is that the contribution to the Plan is greater than the

 result of a liquidation of Local Councils in the aggregate. Id.; Bankr. D.I. 9280 ¶¶

 220–35, 268.



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       The D&V Claimants argue that the bankruptcy court should have focused on

 the individual amounts that certain Local Councils are contributing relative to their

 assets or the number of claims against an individual Local Council. See D.I. 41 at

 71–72. But the bankruptcy court determined that “the Local Council Contribution

 cannot be viewed in this light” given that it is a collective contribution made by

 Local Councils for the benefit of all Local Councils and was arrived at after a year

 of mediation with certain parties in interest, all of whom had an incentive to ensure

 that the formula maximized recoveries. D.I. 1-3 at 145. Moreover, the only

 evidence presented at confirmation was that the individual Local Council

 contributions were based upon a thoughtful and comprehensive formula that took

 into account Local Councils’ claims exposure, applicable statutes of limitation, and

 financial capacity. See Bankr. D.I. 9316 ¶¶ 24–43; Bankr. D.I. 9280 ¶¶ 232–35;

 D.I. 1-3 at 141–44; Bankr. D.I. 9316 ¶¶ 24–43. The internal allocation amongst

 the Local Councils was negotiated to ensure global participation by each of the

 Local Councils, which maximized the value of the Insurance Settlement

 Agreements. Id. Based on the uncontroverted evidence, the bankruptcy court

 reasoned that nothing in the Continental hallmarks precludes collective

 consideration or prevents one party, in appropriate circumstances, from

 contributing funds for the benefit of another. Id. The D&V Claimants fail to

 demonstrate any clear error by the bankruptcy court in making this determination.



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         The Lujan Claimants arbitrarily assert that the Local Councils should be

 paying “more than $1 billion in unrestricted net assets” without providing any

 reasoning to support this dollar amount.        See D.I. 40 at 30.56      There is no

 evidentiary, legal, or logical basis for this assertion, and in any event, the

 uncontroverted evidence demonstrates that the value of the Local Council

 Settlement Contribution exceeded this arbitrary threshold. Specifically, the Local

 Councils’ Settlement Contribution includes (without taking into account

 contributions made on behalf of Chartered Organizations), among other things,

 rights under insurance policies valued between $464 million and $1.13 billion,

 $500 million in cash and property, and approximately $100 million pursuant to the

 DST Note.        Therefore, these components of the Local Council Settlement

 Contribution alone exceed $1 billion. See D.I. 1-3 at 141–45; Bankr. D.I. 9280

 ¶¶ 206–19; D.I. 1-4, Ex. F.

                                   c.     Chartered Organizations

         The D&V and Lujan Claimants argue that the Participating Chartered

 Organizations do not provide anything to the Settlement Trust in exchange for the

 benefits of the Channeling Injunction and Releases. See D.I. 41 at 72; see also D.I.


 56
      The D&V Claimants assert that the Local Councils “are providing only 30% of
      the aggregate value of their unrestricted assets.” See D.I. 41 at 71–72. As
      explained earlier herein, this 30% figure is not meaningful, accurate, or relevant
      to the bankruptcy court’s finding that the Channeling Injunction and Releases
      satisfy the Continental hallmarks and Master Mortgage factors.

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 40 at 30–31. This position ignores the substantial value the Participating Chartered

 Organizations are contributing in the form of insurance rights and monetary

 consideration being paid on their behalf.

       The bankruptcy court found that the Participating Chartered Organizations’

 contributions were “substantial”: (a) the Supplemental LC Contribution of $40

 million (paid by the Local Councils on the Chartered Organizations’ behalf), D.I.

 1-3 at 146–47, Bankr. D.I. 9316 ¶¶ 56–58, (b) the funding of 25% of the

 Settlement Growth Payment (paid by the Local Councils and the BSA on behalf of

 the Chartered Organizations), D.I. 1-3 at 147, Bankr. D.I. 9316 ¶¶ 56–58, (c) the

 assignment of the Participating Chartered Organizations’ rights under BSA

 Insurance Policies and Local Council Insurance Policies, which unlocked access to

 insurance assets with coverage estimated by the bankruptcy court to be between

 $4.2 and $4.4 billion, D.I. 1-3 at 68–69, 147–48, Bankr. D.I. 9398 ¶ 121, Bankr.

 D.I. 9490 at 40:13–41:11, (d) the assignment of their own causes of action against

 Non-Settling Insurance Companies for the period prior to January 1, 1976, D.I. 1-3

 at 147, Bankr. D.I. 9280 ¶ 191, and (e) the waiver of their Indirect Abuse Claims,

 D.I. 1-3 at 147; SA 3823; Bankr. D.I. 9646 at 95:21–24. The bankruptcy court also

 determined that the Participating Chartered Organizations’ contribution (i.e., the

 waiver and assignment of insurance rights) facilitated the $1.656 billion

 contribution from the Settling Insurance Companies, enabled the Local Council



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 contribution, and provided the Settlement Trustee a chance to negotiate in the

 future with Chartered Organizations for additional contributions in exchange for

 releases of pre-January 1, 1976 Abuse Claims and to negotiate with Non-Settling

 Insurance Companies with respect to the estimated $400 million in allocated but

 unsettled insurance coverage and at least $4.2 to $4.4 billion in unallocated

 insurance limits. Id. at 68–69, 146–48; Bankr. D.I. 9398 ¶ 121; Bankr. D.I. 9490 at

 40:13–41:11.

       Thus, Appellants have failed to demonstrate clear error by the bankruptcy

 court in concluding that any Releasee’s contribution is substantial, and they have

 presented no evidence that would refute the bankruptcy court’s conclusion. D.I. 1-

 3 at 146–48.

                        iii.     A Substantial Majority Of The Impacted
                                 Creditors Support The Plan.

       The D&V and Lujan Claimants argue that the BSA “lost the vote” because

 fewer than 90% of holders of Direct Abuse Claims voted to accept. See D.I. 40 at

 32; D.I. 41 at 73. There is no legal basis for this once-again arbitrary threshold.

 An overwhelming percentage of holders of Direct Abuse Claims voted to accept

 the Plan. The D&V and Lujan Claimants cannot establish that the bankruptcy

 court clearly erred in finding that the overall acceptance rate of 85.72% for holders

 of Direct Abuse Claims constitutes a “substantial majority.” D.I. 1-3 at 149;

 Bankr. D.I. 9275. Nor can they establish that the bankruptcy court clearly erred in


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 finding that the overall acceptance rate of 82.41% for holders of Indirect Abuse

 Claims constitutes a “substantial majority.” D.I. 1-3 at 149.

       Third-party releases in this District have been approved with similar

 acceptance rates. See, e.g., In re TK Holdings Inc., No. 17-11375 (BLS) (Bankr.

 D. Del. Feb. 21, 2018) [D.I. 2120] (approving third party releases where 74–

 78.18% of the affected classes voted to accept the plan); In re The Weinstein Co.

 Holdings, LLC, No. 18-10601 (MFW) (Bankr. D. Del. Jan. 26, 2021) [D.I. 3203]

 (approving third party releases where 82.98% of the affected class voted to accept

 the plan). The bankruptcy court also noted that the 75% figure in section 524(g)

 could be used as a proxy, to the extent that there is a floor on what constitutes a

 “substantial majority.” D.I. 1-3 at 149.

       The Lujan Claimants assert that even if the overall acceptance constitutes a

 substantial majority, the bankruptcy court was required to consider claimant votes

 in relation to their claims against individual Local Councils or Chartered

 Organizations. See D.I. 40 at 32. The bankruptcy court properly rejected this

 granular analysis because, as the court explained, the Plan was put forth and

 solicited as a global resolution of Abuse Claims. D.I. 1-3 at 149. Moreover, it

 would have been impracticable to divide holders of more than 82,200 Direct Abuse

 Claims into additional subclasses based on their potential claims against Local

 Councils. The bankruptcy court itself acknowledged that “many holders of Direct



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 Abuse Claims did not name a Local Council or Chartered Organization in their

 proofs of claim.” D.I. 1-3 at 244. Thus, there is no competent evidence supporting

 any further granularity. The bankruptcy court did not clearly err in concluding this

 Master Mortgage factor supports the Channeling Injunction and Releases.

                          iv.      The Plan Provides For The Payment Of All, Or
                                   Substantially All, Of The Abuse Claims
                                   Affected By The Injunction57

         The Lujan and D&V Claimants dispute the bankruptcy court’s conclusion

 that the holders of Abuse Claims will most likely be paid in full or substantially in

 full under the Plan. They also challenge the credibility of Dr. Bates’s testimony on

 the range of aggregate values of the Direct Abuse Claims. See D.I. 40 at 33; D.I.

 41 at 75–78. This is a quintessential factual issue that the bankruptcy court

 resolved in favor of confirmation; there is no basis to reverse, and the Appellants

 have not provided any evidence to establish clear error by the bankruptcy court.




 57
      All references to Abuse Claims being “paid in full” or to “payment in full”
      herein refer to the bankruptcy court’s determination, in the context of
      confirmation, which can be found on pages 70-72 of the Confirmation Opinion.
       In addition to these determinations, the bankruptcy court entered finding “J” in
      the Confirmation Order, which provides that “(1) The Court's determination of
      the likely aggregate valuation of Direct Abuse Claims for purposes of
      Confirmation does not establish: (a) the actual amount of any individual Direct
      Abuse Claim; or (b) the actual aggregate amount of Direct Abuse Claims. (2)
      The allowed amount of Direct Abuse Claims, either individually or in the
      aggregate, will be determined pursuant to the Trust Distribution Procedures.”
      See D.I. 1-3 at 70–72; D.I. 1-1 ¶ II.J.

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       The bankruptcy court did not err in finding that the BSA showed, by a

 preponderance of the evidence, that the Direct Abuse Claims will likely be paid in

 full. D.I. 1-3 at 72. As the only valuation expert, Dr. Bates’s analysis was

 thorough, credible based on the data available,” and “undisputed.” Id. at 65. The

 bankruptcy court found that Dr. Bates “was qualified without objection as an

 expert in claim valuation, mass tort matrixes and trust distribution structures.” Id.

 at 58 (emphasis added). To arrive at the range of aggregate values, Dr. Bates

 employed a frequency severity model, which the bankruptcy court found “is an

 accepted valuation methodology within the valuation community” and is the

 methodology that Dr. Bates employs in each of the many “mass tort case[s] in

 which he has provided expert testimony.” Id. at 58; Bankr. D.I. 9454 at 115:4-

 116:2. The D&V Claimants argue that Dr. Bates applied “several of his own

 arbitrary criteria” in reaching the range of aggregate values. See D.I. 41 at 75. But

 as the bankruptcy court pointed out, “none of the objectors challenged his use of

 the frequency severity model, suggested another analysis or undercut his

 conclusions.” D.I. 1-3 at 65.

       Based on the record and assessment of Dr. Bates’s credibility, the

 bankruptcy court found that the best estimate of the aggregate value of the Abuse

 Claims fell within the lower quartile of Dr. Bates’s range of $2.4 billion to $7.1

 billion. Id. at 65–66; see Bankr. D.I. 9454 at 97:10-23; 190:17-191:6. Given the



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 value of the substantial contributions detailed above, the D&V and Lujan

 Claimants have failed to prove that the bankruptcy court clearly erred in finding

 that “the Plan provides for payment in full.” D.I. 1-3 at 149–50.58

         The Lujan Claimants challenge this finding by arguing that “recovery up to

 100%” depends on hypothetical future insurance settlements. See D.I. 40 at 34.

 Not so.     The Bankruptcy Court determined that, under the Plan, the “fully

 noncontingent funding is $2,484,200,000, which is already within the [$2.4 billion

 to $3.6 billion] range of Direct Abuse Claims.” D.I. 1-3 at 70. There is also ample

 opportunity for the Settlement Trust and, in certain circumstances, individual

 claimants, to pursue unsettled insurance coverage through negotiated settlements

 or litigation.59 See supra p. 25. The Lujan Claimants’ arguments also ignore their

 opportunity to elect the Independent Review Option.           The purpose of the


 58
      In support of their argument, the D&V Claimants cite an out-of-circuit decision
      involving a non-mass tort debtor, In re Wool Growers Cent. Storage Co., 371
      B.R. 768 (Bankr. N.D. Tex. 2007). See D.I. 41 at 79. In Wool Growers, the
      bankruptcy court determined that the plan did not provide for payment in full
      when the evidence established that creditors would recover only sixty to
      seventy percent of their claim. Wool Growers, 371 at 771, 778. That case is
      inapposite. Here, the bankruptcy court found payment in full based on the
      uncontroverted, credible evidence.
 59
      Indeed, the Independent Review Option provides a pathway for recoveries in
      excess of the $2.7 million maximum cap applicable to a Trust Claim
      Submission. D.I. 1-3 at 41; Bankr. D.I. 9309 ¶ 55; see Bankr. D.I. 9454 at
      98:14-99:1 (“[The Independent Review Option] [b]asically remov[es]…a
      windfall that the excess insurers had obtained in the original draft of the
      TDP.”).

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 Independent Review Option is to replicate the amount a reasonable jury would

 award for the Direct Abuse Claim and provides claimants that believe they have

 particularly high-value claims the opportunity to prove such claims and pursue

 higher recoveries and unsettled insurance coverage. See D.I. 1-4 Ex. A, TDP Art.

 XIII.A.     Moreover, the Lujan Claimants’ apparent concern of insufficient

 additional recoveries from Non-Settling Insurance Companies is belied by the

 Non-Settling Insurance Companies’ instant appeal, where they allege undue

 “hydraulic pressure” to settle and/or pay. Compare D.I. 40 at 34 with D.I. 45 at 6.

 This dynamic demonstrates that neither group of Appellants is correct, and the

 BSA got it right.

         After taking into account the committed, but contingent, funding60 and the

 available allocated insurance against Non-Settling Insurance Companies, the

 bankruptcy court found the funding for the Settlement Trust is “well over” the

 initial benchmark valuation and “comfortably” within the aggregate range. D.I. 1-

 3 at 70-71. The bankruptcy court also took into account an additional estimated

 60
      The bankruptcy court’s reference to $200 million of committed, but contingent
      funding inadvertently included an outdated reference to a $100 million
      fundraising effort from the United Methodist Entities. The Confirmation Order
      correctly provides that “[n]otwithstanding the reference to fundraising efforts in
      subsection (ii) of Section II.C.4 of the Confirmation Opinion, which are no
      longer part of the United Methodist Settlement Agreement, the United
      Methodist Settlement Contribution, together with the non-monetary benefits, as
      set forth in the United Methodist Settlement Agreement, provides a substantial
      contribution to the Debtors’ reorganization.” D.I. 1-1 ¶¶ II.O.

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 $4.2 to $4.4 billion in currently unallocated insurance against Non-Settling

 Insurance Companies, and unliquidated additional contributions from Chartered

 Organizations, which provide a total potential recovery of more than $7 billion.

 D.I. 1-3 at 68–71; Bankr. D.I. 9398 ¶ 121; Bankr. D.I. 9490 at 40:13–41:11.61

 Therefore, the bankruptcy court correctly determined that the BSA has shown that

 Direct Abuse Claims will likely be paid in full. Id. at 71–72. The Lujan Claimants

 (and D&V Claimants) did not provide any expert or evidence at trial to prove

 otherwise—and they cannot show clear error on appeal.

         The Lujan and D&V Claimants further argue that Dr. Bates contradicted his

 own prior testimony because he adjusted his aggregate valuation range during the

 course of the Chapter 11 Cases. See D.I. 40 at 32–33; D.I. 41 at 75. These

 arguments are unavailing and are based on a fundamental misunderstanding of Dr.

 Bates’s testimony. First, Dr. Bates’s aggregate valuation range did not change

 from his initial stated range of $2.4 billion to $7.1 billion. Dr. Bates’s ultimate

 opinion that the range was most likely in the lower quartile of this initial stated

 61
      The precise timing of a contributing party’s payment into the Settlement Trust
      does not affect the substantial payment in full analysis. Indeed, all recoveries
      under the TDP are dependent on contributions to the Settlement Trust, which
      will be contributed at different points in time. See, e.g., D.I. 1-4 Ex. I-1,
      Hartford Insurance Settlement Agreement §§ IV.B–C (providing for an initial
      payment date and then later, after certain conditions are met, an additional
      payment date). The fact that a certain contribution will not be paid to the
      Settlement Trust immediately upon the Effective Date does not, by itself, equate
      to non-payment in full.

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 range was informed by updated information regarding the historical data he relied

 on to perform his analysis, which led him to conclude that values in the lower

 quartile of the valuation range were much more likely than the upper quartile. See

 D.I. 1-3 at 61 n.241; Bankr. D.I. 9454 at 186:12–19 (“I still believe that the overall

 range of 2.4 to 7.1 is a range that is a feasible range…[b]ut the most likely portion

 of that range is in the lower quartile.”).

       Specifically, Dr. Bates testified that he found more of the historical high-

 value resolutions involved repeat abuser claims, which lowered the average for

 single abuser claims. See D.I. 1-3 at 61 n.241; Bankr. D.I. 9454 at 183:5-184:5;

 185:9–186:11. Dr. Bates further determined that the majority of pending claims

 are single abuse claims.      Bankr. D.I. 9454 at 48:1–9.     The bankruptcy court

 correctly concluded that Dr. Bates’s belief the aggregate range was most likely in

 the lower quartile was “the result of updated information and not any change in the

 methodology.” D.I. 1-3 at 61 n.241; Bankr. D.I. 9454 at 182:12–186:11. Dr. Bates

 did not contradict his prior testimony.

       Additionally, contrary to the D&V Claimants’ argument, Dr. Bates’s

 estimation does not assign “zero value” for any claim with an expected value

 below $200,000. See D.I. 41 at 76. This argument confuses a point that Dr. Bates

 made during his testimony about why low value claims were not historically

 pursued in the tort system. See Bankr. D.I. 9454 at 146:15–152:20, 156:1–23. Dr.



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 Bates assigned an estimate of what such claims would be worth if pursued in the

 tort system even though in the tort system many of such claims would not be

 pursued, as the expected recovery on such claims were below the threshold of

 economic viability to plaintiffs’ firms working on contingency fees. See id. Dr.

 Bates testified that, in the bankruptcy forum, such claims have value associated

 with them due to lower economic barriers and thus, claims with an expected value

 below $200,000 were indeed included in Dr. Bates’s estimation. See id. at 158:20–

 159:2.     Simply put, that a claim valued below $200,000 may not have had

 sufficient value to be prosecuted by a contingent counsel in the tort system does

 not mean that these Abuse Claims do not exist. In fact, Dr. Bates’s analysis

 concluded they likely constitute the majority of claims filed in the Chapter 11

 Cases.

          The bankruptcy court found that Dr. Bates’s valuation range includes his

 estimate that 400 Future Abuse Claims would be asserted. D.I. 1-3 at 62; Bankr.

 D.I. 9454 at 198:20–199:19. And the bankruptcy court did not assign any weight

 to Mr. Patton’s testimony regarding the number or value of Future Abuse Claims.

 D.I. 1-3 at 62 n.246. The court reasoned that Mr. Patton was not offered for the

 purpose of valuing Direct Abuse Claims; that he is not an expert; and that “there

 was no support offered for this position.” Id. Mr. Patton’s uncredited testimony




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 does not negate the bankruptcy court’s finding that the Plan likely provides for

 payment in full.

       The D&V Claimants point out that, in the Disclosure Statement, the Tort

 Claimants’ Committee estimated the range of aggregate value of Abuse Claims at

 $13.5 billion to $73.2 billion. See D.I. 41 at 78 (citing Bankr. D.I. 6445). But the

 Tort Claimants’ Committee did not offer any expert witness testimony and the

 bankruptcy court did not give any evidentiary weight to the Tort Claimants’

 Committee’s estimate provided in the Disclosure Statement.         The bankruptcy

 court’s reliance upon Dr. Bates’s uncontroverted and well-reasoned expert opinion

 instead of unsubstantiated statements by non-experts cannot be clearly erroneous,

 and these arguments must fail.

       The D&V Claimants’ assertions that the TDP process will inflate the values

 of claims are similarly based on pure speculation and presupposes the Settlement

 Trustee will fail to do her job. See D.I. 41 at 76-77. There is no evidence in the

 record to support this argument.

       In a last-ditch effort, the D&V Claimants also argue that the bankruptcy

 court did not address the D&V Claimants’ payment-in-full objections to the Plan

 but rather only focused on the Certain Insurers’ objection. See D.I. 41 at 79. The

 D&V Claimants are mistaken.         The bankruptcy court addressed all of the




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 objectors’ arguments and specifically mentioned the D&V Claimants’ cross-

 examination of Dr. Bates in its analysis. See D.I. 1-3 at 65, 62 n.246, 57-72.

       The bankruptcy court, as the finder of fact, concluded that the Plan would

 likely provide for payment in full of Abuse Claims. The evidence marshalled in

 support of this conclusion was more than sufficient.         The D&V and Lujan

 Claimants had ample opportunity to challenge this evidence. They did not offer

 any competent evidence or expert testimony of their own to convince the factfinder

 otherwise.

                         v.      The Injunction Is Essential To Reorganization

       As discussed herein, the D&V and Lujan Claimants have failed to prove that

 the bankruptcy court clearly erred in concluding “the Scouting-Related Releases

 and the channeling of Abuse Claims to the Settlement Trust are required.” See D.I.

 1-3 at 151. Indeed, the Plan is the only path to providing a substantial recovery for

 abuse survivors and reorganization of the BSA, and confirmation of the Plan

 depends upon approval of the Channeling Injunction and Releases. See supra pp.

 155-63; Bankr. D.I. 9280 ¶¶ 106, 134, 154–55, 170, 184, 192, 238; Bankr. D.I.

 9395 ¶ 23; Bankr. D.I. 9482 at 140:9–25; Bankr. D.I. 9517 at 27:10–17, 44:8–12,

 47:4–21, 117:15–18. As the bankruptcy court concluded, it is “illogical to believe

 that these settlements could be achieved without the [Channeling Injunction and

 Releases] and this conclusion is supported by the record.” D.I. 1-3 at 155. The



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 Channeling Injunction and Releases were the “subject of hard-fought negotiations

 with the help of seasoned mediators” and amongst parties with opposing interests.

 D.I. 1-3 at 155-56. The Channeling Injunction and Releases are narrowly tailored

 to relate solely to Abuse Claims which are defined to mean only those portions of

 claims for abuse that are related to Scouting. D.I. 1-4 Arts. I.A.18 (defining

 “Abuse Claim”), I.A.184 (defining “Mixed Claim”), I.A.261 (defining

 “Scouting”), I.A.262 (defining “Scouting-related”).

       The D&V and Lujan Claimants have failed to prove that the bankruptcy

 court clearly erred in concluding that the parties contributing to the Settlement

 Trust would not have done so without the Channeling Injunction and Releases. D.I.

 1-3 at 151-55. Without these settlements, each of the Releasees would be forced to

 divert the hundreds of millions of dollars in settlement funds into a massive,

 protracted, complex litigation process to the detriment of abuse survivors, many of

 whom have waited decades for compensation. D.I. 1-3 at 155. Further, without

 the Channeling Injunction and Releases, abuse survivors would be forced to

 individually pursue the settling Local Councils and Chartered Organizations in a

 race to the courthouse that would ultimately lead to lower recoveries for survivors.

 D.I. 1-3 at 164.      In this scenario, many Local Councils and Chartered

 Organizations would be forced to file their own bankruptcies in the process, further




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 delaying and diminishing funds available to compensate abuse survivors. D.I. 1-3

 at 153–54; Bankr. D.I. 9407 at 35:15–36:9; Bankr. D.I. 9316 ¶ 11.

       The bankruptcy court’s finding, based on the overwhelming evidence, that

 the Channeling Injunction and Releases are the “cornerstone of the Plan” was not

 clearly erroneous. D.I. 1-3 at 154-55. The D&V Claimants and Lujan Claimants

 identify no clear errors that could undermine the bankruptcy court’s conclusion.

 The bankruptcy court therefore appropriately found that the fifth Master Mortgage

 factor supports the Channeling Injunction and Releases.

 IV.   The Lujan Claimants Have Failed To Prove That The Bankruptcy
       Court Abused Its Discretion In Finding That The Insurance Settlements
       Do Not Satisfy The Martin Standard

       As noted above and set forth in the Confirmation Opinion, the bankruptcy

 court approved certain Insurance Settlements, which it determined were essential

 to the reorganization. The Lujan Claimants challenge certain of those Insurance

 Settlements, arguing, among other things, that the policy proceeds are not property

 of the estate and that the bankruptcy court erred in approving the releases of claims

 against the Settling Insurance Companies. D.I. 40 at 34–62. The bankruptcy court

 properly rejected all of these arguments in confirming the Plan, and this Court

 should affirm the bankruptcy court’s approval of the settlements.




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       A.     The Insurance Settlements Satisfy The Martin Standard

       The Lujan Claimants challenge the bankruptcy court’s finding that the

 Insurance Settlements satisfy the bankruptcy settlement approval standard. D.I. 40

 at 62–64. Bankruptcy courts consider the following factors (the “Martin factors”)

 when determining whether to approve a settlement under Rule 9019 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”): “(1) the probability of

 success in litigation; (2) the likely difficulties in collection; (3) the complexity of

 the litigation involved, and the expense, inconvenience and delay necessarily

 attending it; and (4) the paramount interest of the creditors.” Myers v. Martin (In

 re Martin), 91 F.3d 389, 393 (3d Cir. 1996).

       Under Third Circuit law, a reviewing court examines a bankruptcy court’s

 approval of a settlement “for an abuse of discretion” which is “a deferential

 standard of review.” In re Nutraquest, Inc., 434 F.3d 639, 645 (3d Cir. 2006). A

 reviewing court will “not disturb an exercise of discretion unless there is a definite

 and firm conviction that the court…committed a clear error of judgment in the

 conclusion it reached upon a weighing of the relevant factors.” Id. (quoting In re

 Orthopedic Bone Screw Prods. Liab. Litig., 246 F.3d 315, 320 (3d Cir. 2001)).

       Accordingly, to reverse the bankruptcy court’s approvals of the Insurance

 Settlements, this Court must determine that such approvals “rest on a clearly




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 erroneous finding of fact, an errant conclusion of law or an improper application of

 law to fact.” Id. (internal quotation marks and citation omitted).

       The Lujan Claimants do not come close to demonstrating that the

 bankruptcy court abused its discretion in approving the Insurance Settlements. Nor

 could they. The court approved the Insurance Settlements based on an extensive

 evidentiary record that formed the basis for the bankruptcy court’s determination

 that the BSA had satisfied the Martin standard.            See D.I. 1-3 at 75–83.

 Importantly, the bankruptcy court observed that without the approximately $1.656

 billion that the Settling Insurance Companies will contribute to the Settlement

 Trust, “there is no Plan.” D.I. 1-3 at 72–73. And the bankruptcy court found that

 the Insurance Settlements “resolv[e] complex insurance coverage issues, saving

 years of litigation and expense and yielding more timely recoveries for holders of

 Direct Abuse Claims.” D.I. 1-3 at 76.

       Although the Lujan Claimants quibble with the bankruptcy court’s

 assessment of the Martin factors, they fail to demonstrate that the bankruptcy court

 abused its discretion in approving the Insurance Settlements. As the bankruptcy

 court recognized, a settlement “need not be the best that can be achieved,” and a

 court “need only conclude that the settlement falls within the reasonable range of

 litigation possibilities somewhere above the lowest point in the range of

 reasonableness.” D.I. 1-3 at 75, 83 (quoting In re Nutritional Sourcing Corp., 398



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 B.R. 816, 833 (Bankr. D. Del. 2008)). The Lujan Claimants have failed to prove

 that the bankruptcy court clearly erred in determining, based on the record before

 it, that the Insurance Settlements met this evidentiary standard and were each

 above the lowest point in the range of reasonableness.

         As to the individual Martin factors, the bankruptcy court analyzed the first

 and third Martin factors62—the probability of success and the complexity of the

 litigation—together and found that they support the approval of the Insurance

 Settlements. Specifically, the bankruptcy court determined that insurance coverage

 litigation (including the Illinois Action, Century Texas Action, and Hartford Texas

 Action discussed above)—with potentially billions of dollars at stake—would have

 been complex, costly, risky, and lengthy, with no guarantee of success. See D.I. 1-

 3 at 72–83. “In analyzing the compromise or settlement agreement under the

 Martin factors, courts should not have a ‘mini-trial’ on the merits.” W.R. Grace,

 475 B.R. at 77–78. Nevertheless, the BSA presented an extensive evidentiary

 record reflecting the complexity, cost, risk, and delay that would attend the

 coverage litigation. See, e.g., Bankr. D.I. 9398 ¶¶ 68–72, 76–77, 83, 87, 91, 95,

 100, 104 (testifying about the significant risk that future rulings in favor of Settling



 62
      The first and third factors are often considered together. D.I. 1-3 at 75; see also
      In re Nutraquest, Inc., 434 F.3d at 646 (“The balancing of the complexity and
      delay of litigation with the benefits of settlement is related to the likelihood of
      success in that litigation.”).

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 Insurance Companies’ coverage defenses could substantially reduce available

 coverage for Abuse Claims and that coverage litigation would be complex and a

 drain on the Debtors’ resources); Bankr. D.I. 9490 at 162:1–169:2 (same); Bankr.

 D.I. 9280 ¶¶ 104, 132–33, 166–67, 180 (testifying that the settlements “avoid the

 costs, risks, uncertainty and delay associated with protracted litigation”). The

 bankruptcy court properly held that this evidence supported approval of the

 Insurance Settlements, because the “Debtors are resolving complex insurance

 coverage issues, saving years of litigation and expense and yielding more timely

 recoveries for holders of Direct Abuse Claims.” D.I. 1-3 at 82–83.

         The Lujan Claimants do not, and cannot, dispute this extensive record, as

 they did not present any counter-evidence. In their written submissions, the Lujan

 Claimants did not object to the Insurance Settlements on the grounds that they

 failed to satisfy the Martin standard and only raised this argument for the first time

 at trial. D.I. 1-3 at 74. This fact alone warrants the rejection of the Lujan

 Claimants’ argument as to the Martin standard.63 See, e.g., Thompson v. TCT


 63
      Similarly, the Lujan Claimants’ baseless request to reverse or vacate the Pre-
      Petition Century/Chubb Companies Claims Order should be denied, as they
      never objected to its entry. See Bankr. D.I. 10327 at 2; Bankr. D.I. 10288. To
      the extent the Lujan Claimants purport to join the D&V Claimants regarding
      this issue, [D.I. 40 at 79], such joinder is unavailing, as the D&V Claimants
      have withdrawn the issue on appeal. D.I. 41 at 5 n.6. Even if the Lujan
      Claimants preserved the issue (which they have not), the Pre-Petition
      Century/Chubb Companies Claims Order was part of the bargain struck under
      the Century and Chubb Companies Insurance Settlement and is in exchange for

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 Mobile, Inc., No. 19-899-RGA-SRF, 2020 WL 1531333, at *7 n.3 (D. Del. Mar.

 31, 2020) (“[B]ecause it was not raised in the briefs, the argument is waived.”);

 Watkins v. Int’l Union, Sec., Police & Fire Prof’ls of Am., No. 15-444-LPS, 2016

 WL 1166323, at *4 n.4 (D. Del. Mar. 23, 2016) (“Because this argument was made

 for the first time at the hearing, the Court will not consider it.”); Mallinckrodt, 639

 B.R. at 892 n.178 (“While Sanofi’s counsel made additional arguments...during

 closings at the Confirmation Hearing…these arguments were not included in

 Sanofi’s objections and therefore do not need to be considered.”).

       Without their own evidence to rely on, the Lujan Claimants assert that the

 Settling Insurance Companies’ coverage defenses are “without merit” and

 therefore that the bankruptcy court erred in approving the Insurance Settlements.

 D.I. 40 at 62–64. But a court’s evaluation of the first and third Martin factors is

 not influenced by one party’s confidence in its litigation position.               See

 Mallinckrodt, 639 B.R. at 864. Accordingly, the uncontroverted evidentiary record

 establishes that notwithstanding the parties’ views on the merits, litigation would

 have been complex, costly, risky, and time-intensive.

       The second Martin factor—difficulties in collection—is also satisfied or was

 not at issue. The bankruptcy court explicitly found that the BSA (and the Future


    the Century and Chubb Companies’ agreement to contribute a portion of the
    $800 million contribution to the Settlement Trust on the Effective Date. D.I. 1-
    4, Ex. I; D.I. 1-3 at 30, 77; Bankr. D.I. 9280 ¶¶ 122–38.

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 Claimants’ Representative) “had significant concerns regarding Century’s ability

 to honor its agreements going forward” based on evidence that “Century is in

 runoff paying claims.” D.I. 1-3 at 78–79. This conclusion is amply supported in

 the record. Bankr. D.I. 9398 ¶ 86; Bankr D.I. 9280 ¶¶ 129–33 (expressing concern

 regarding Century’s ability to pay any future judgment, considering information

 “including the fact that Century is in run-off and has a statutory surplus of only $25

 million.”).

         Finally, the bankruptcy court found that the fourth Martin factor—the

 paramount interest of the creditors—was satisfied.64            As noted above, the

 bankruptcy court recognized that, without the Insurance Settlements, “there is no

 Plan,” and the Plan, including the approximately $1.656 billion being contributed

 to the Settlement Trust by the Settling Insurance Companies under the Insurance

 Settlements, provides for the likely payment in full of all Abuse Claims, including




 64
      The Lujan Claimants’ reliance on Ditech is misplaced. In that case, the
      bankruptcy court denied approval of a settlement because the debtor offered no
      evidence that the settlement was fair and equitable with respect to a certain class
      of creditors. In re Ditech Holding Corp., 606 B.R. 544, 624–25 (Bankr.
      S.D.N.Y. 2019). As noted above, the bankruptcy court’s approval of the
      Insurance Settlement Agreements was supported by a substantial and
      uncontroverted evidentiary record.

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 those of the Lujan Claimants.65 See D.I. 1-3 at 73. Despite the Lujan Claimants’

 assertions otherwise,66 the bankruptcy court found that:

         [A]ll three groups representing holders of Direct Abuse Claims (i.e.,
         the Tort Claimants’ Committee, the Coalition and the Future
         Claimants’ Representative) now support the Settling Insurer
         Settlements.... Their support satisfies me that Debtors have met their
         burden to show that the Settling Insurer Settlements are in the
         paramount interest of creditors.

 D.I. 1-3 at 82. The bankruptcy court did not err in allowing overwhelming creditor

 support to speak for itself. See Police & Fire Ret. Sys. of the City v. Ambac Fin.

 Grp., Inc. (In re Ambac Fin. Grp., Inc.), No. 10-B-15973 SCC, 2011 WL 6844533,

 at *6 (S.D.N.Y. Dec. 29, 2011) (holding that, because “the unsecured

 creditors…are the parties who stand to benefit from any recovery” under the

 settlement, “[t]he Bankruptcy Court was therefore justified in placing significant

 weight on the Creditors Committee’s support for the 9019 Order”).

 65
      The Lujan Claimants further attack the Hartford Insurance Settlement
      Agreement and the Century and Chubb Companies Insurance Settlement
      Agreement because “neither settlement involves payment up to the limits of
      these mostly nonaggregate policies….” D.I. 40 at 51. The policy limits are
      irrelevant because, as the bankruptcy court determined for the purpose of
      confirmation, holders of Direct Abuse Claims are likely to be paid in full by the
      Settlement Trust through the TDP – whether through a Trust Claim Submission,
      the Independent Review Option, or a TDP Tort Election Claim (each as defined
      in the TDP). D.I. 1-3 at 51. Because the Lujan Claimants will most likely be
      paid in full for their Direct Abuse Claims, they have no basis to challenge the
      Insurance Settlements. There is no requirement that an insurance settlement
      must reach a policy limit to be approved, and the Lujan Claimants have not
      established a right to payments up to such limits.
 66
      See D.I. 40 at 63.

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       The bankruptcy court also rejected the Lujan Claimants’ argument that the

 BSA should have considered the effect of the Insurance Settlements on the

 particular claims of the Lujan Claimants, noting that “the money coming into the

 Settlement Trust does not disadvantage the Lujan Claimants more than other

 creditors.” D.I. 1-3 at 83. The court further found that “[g]iven the nature of mass

 tort litigation, it is impossible to focus on specific creditors when reviewing a

 resolution of obligations under insurance policies against which coverage can be

 sought on 82,209 claims.” D.I. 1-3 at 83. Thus, the Lujan Claimants have failed to

 prove that the bankruptcy court clearly erred in determining that the Insurance

 Settlements were in the paramount interest of the creditors—even if they were

 opposed by a small minority of creditors. For the foregoing reasons, the Lujan

 Claimants have failed to prove that the bankruptcy court clearly erred in

 concluding that the Insurance Settlements satisfied the Martin standard.

       B.    The Lujan Claimants Have Failed To Prove That The
             Bankruptcy Court Erred In Determining That Proceeds Of The
             Abuse Insurance Policies And Contributed Non-Debtor Abuse
             Insurance Policies Are Property Of The Estate

       In accordance with the Insurance Settlements, the Plan contemplates the sale

 back to Settling Insurance Companies of certain BSA Insurance Policies and Local

 Council Insurance Policies. D.I. 1-4 Art. V.S.4; Bankr. D.I. 9316 ¶ 66. Under the

 Insurance Settlement Agreements and the Plan, the Local Councils will assign their

 interests in the Local Council Insurance Policies to the BSA, which will, in turn,


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 sell such policies to the corresponding Settling Insurance Company pursuant to

 section 363 of the Bankruptcy Code. D.I. 1-4 Art. V.S.4.

       No Local Council objected to the sale of the specified Abuse Insurance

 Policies (which include the Local Council Insurance Policies) free and clear of any

 interests they may have as an insured under such policies.        D.I. 1-3 at 85.

 Similarly, no Chartered Organization currently objects to the sale of the Abuse

 Insurance Policies to the Settling Insurance Companies free and clear of any

 interests such Chartered Organization may have under such policies. D.I. 1-3 at

 85. While the AOA previously objected to the sale of any policies under which it

 might be able to recover, that objection has been resolved by the Confirmation

 Order which excepts the interest, if any, of the AOA from the sale of Abuse

 Insurance Policies. D.I. 1-1 ¶ I.3. The AOA Committee, like the AOA, is not

 party to these appeals.

       Nonetheless, the Lujan Claimants argue that the bankruptcy court erred in

 approving the Insurance Settlements because non-debtor Abuse Insurance Policies

 contributed to the BSA and the proceeds of the BSA Insurance Policies, are not

 property of the BSA’s estates such that the policies may not be sold free and clear

 of liens, claims and interests under section 363(f) of the Bankruptcy Code. D.I. 40

 at 49-50; 61-62. As discussed below, the Lujan Claimants arguments fail for

 several reasons.



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               1.     The Proceeds Of BSA Insurance Policies Are Property Of
                      The BSA’s Estates

         The Lujan Claimants incorrectly argue that “the bankruptcy estate does not

 include the proceeds of BSA liability insurance policies since injured persons,

 including Survivors, have a right to receive and keep those proceeds when the

 insurer pays on the claim.”67 D.I. 40 at 49. Even if the Lujan Claimants had a

 legally cognizable property right in the proceeds of the Abuse Insurance Policies

 (which they do not), that would not automatically divest the BSA’s bankruptcy

 estate of its entitlement to the proceeds. As the Third Circuit explained in In re

 Nutraquest, Inc.—a case relied on by the Lujan Claimants—proceeds are not

 property of the estate if the policy would only insure and pay out to non-debtors—

 67
      The Lujan Claimants also argue that the bankruptcy court lacks jurisdiction
      over the 1976 and 1977 Hartford policies for coverage of child sexual abuse
      claims, since BSA previously released its rights to such coverage. D.I. 40 at 61.
      The scope of those releases remains disputed and Local Councils and Chartered
      Organizations, which were not parties to the settlement agreement containing
      the referenced releases, have asserted that their coverage rights under those
      policies were not impacted by the settlement. Bankr. D.I. 9398 ¶ 65; Bankr.
      D.I. 6431 Art. III.F.3. Moreover, the settlement did not settle claims for
      possible coverage of claims other than child sexual abuse. See SA 3685. The
      bankruptcy court has proper jurisdiction over the 1976 and 1977 Harford
      policies because the BSA is selling its residual rights for coverage of claims
      other than child sexual abuse and child sexual abuse claims, if any, as well as
      the interests of Local Councils and Chartered Organizations which were
      contributed to the BSA and became part of the BSA estate. D.I. 1-3 at 87. To
      the extent the Lujan Claimants assert that the settlement extinguished all
      coverage for child sexual abuse under 1976 and 1977 Harford policies,
      including the interests belonging to the BSA, Local Councils, and Chartered
      Organizations, they too would have no remaining claim to those policies and
      their argument would still be meritless.

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 but this rule is inapplicable where, as here, the debtor is an insured and has a right

 to the insurance proceeds.68 434 F.3d at 647 n.4. Indeed, as discussed supra pp.

 19-21, the BSA was in active prepetition coverage litigation with its insurers for

 the express purpose of seeking to collect proceeds from certain of the Settling

 Insurance Companies.

         In considering how to characterize the proceeds of these insurance policies,

 the bankruptcy court analogized these policies to cases involving directors,

 officers, and corporate liability insurance policies, rather than the irrelevant First

 Fidelity69 framework cited by the Lujan Claimants. D.I. 1-3 at 90–91 nn.339-40.




 68
      Similarly, in In re Edgeworth, another case relied upon by the Lujan Claimants,
      the Fifth Circuit held that proceeds were not part of the debtor’s estate because
      the debtor was not named an intended beneficiary under the policy, so the
      debtor had no “legally cognizable claim” to the proceeds. 993 F.2d 51, 56 (5th
      Cir. 1993). Moreover, as the W.R. Grace court explained, the Edgeworth court
      “explicitly recognized that, in general, “‘[p]roceeds of…insurance policies, if
      made payable to the debtor rather than a third party such as a creditor, are part
      of the estate’ [and] noted the common decision of courts in mass tort
      bankruptcies cases to include insurance proceeds as property of the estate to
      avoid a ‘free-for-all against the insurer.’” W.R. Grace, 475 B.R. at 82
      (distinguishing Edgeworth).
 69
      As the bankruptcy court correctly determined, the Third Circuit’s decision in
      First Fidelity Bank v. McAteer, 985 F.2d 114 (3d Cir. 1993) is not relevant here.
      Among other reasons, unlike in First Fidelity, “BSA or the Local Council, as
      applicable, both own the Abuse Insurance Policies and is the named insured
      under the policies,” the Lujan Claimants are not insured under the policies,
      “there are numerous coverage disputes,” the claims are based on an unknown
      amount of unliquidated claims, and “[h]ere, there are thousands of Abuse
      Insurance Policies…[and] the actual allocation is unknown and unknowable

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 The bankruptcy court highlighted the four rules established by the bankruptcy

 court in Allied Digital:

              (a)    “[w]hen a debtor’s liability insurance policy provides direct
                     coverage to the debtor the proceeds are property of the estate,
                     because the proceeds are payable to the debtor.”

              (b)    “[w]hen the liability insurance policy only provides direct
                     coverage to the directors and officers the proceeds are not
                     property of the estate.”

              (c)    “[w]hen there is coverage for the directors and officers and the
                     debtor, the proceeds will be property of the estate if depletion of
                     the proceeds would have an adverse effect on the estate to the
                     extent the policy actually protects the estate’s other assets from
                     diminution.”

              (d)    “[w]hen the liability policy provides the debtor with
                     indemnification coverage but indemnification either has not
                     occurred, is hypothetical, or speculative, the proceeds are not
                     property of the bankruptcy estate.”

 D.I. 1-3 at 90–91 (quoting In re Allied Digital Techs., Corp., 306 B.R. 505, 512

 (Bankr. D. Del. 2004)). The Lujan Claimants implicitly urge this Court to find that

 the proceeds of the Abuse Insurance Policies fall into the second bucket without

 offering any evidence that the BSA does not have direct coverage; any evidence

 that depletion of insurance proceeds would not harm the estate; or any evidence

 that indemnification coverage is only hypothetical or speculative. Without such

 evidence (which does not exist), the Lujan Claimants also cannot prove that the



    until not only all of the underlying claims are liquidated, but all of the insurance
    coverage issues are resolved.” D.I. 1-3 at 88–90.

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 bankruptcy court erred in determining that the insurance proceeds are property of

 the BSA’s estates.

         Indeed, the evidence weighs decidedly in the other direction.         As the

 evidence at trial showed, “[t]he Abuse Insurance Policies provide direct

 coverage—indemnity, and in many cases, defense—to BSA or the Local Council

 [which is] not hypothetical or speculative,” and considering the “82,209 unique

 and     timely   proofs      of   claim   asserting   Direct   Abuse   Claims…against

 BSA[,]…[d]epletion of the proceeds of these policies would have an adverse effect

 on the estate.” D.I. 1-3 at 91–92.

         The Lujan Claimants have failed to prove that they have any right to the

 proceeds at all. The Lujan Claimants are not named beneficiaries under any of the

 Abuse Insurance Policies. See W.R. Grace, 475 B.R. at 83. The mere fact that the

 “Lujan Claimants can pursue direct action claims against non-settling insurers”

 does not equate to a present entitlement to such insurance proceeds. As described

 in detail below, the Guam direct action statute provides the Lujan Claimants only

 with a procedural right. It does not afford them a property interest in the proceeds

 of the Abuse Insurance Policies.70




 70
      See infra pp. 202-13.

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               2.     The Contributed Non-Debtor Insurance Policies Are
                      Property Of The BSA’s Estates

         The Lujan Claimants similarly argue that “[l]ike liability insurance proceeds,

 non-BSA insurance policies and released BSA insurance policies are not property

 of the bankruptcy estate and therefore may not be disposed of free and clear under

 sections 363(f), 1123(a)(5)(D), or 1129(b)(2)(A)(ii) of the Bankruptcy Code.” D.I.

 40 at 61. Even if the Lujan Claimants had standing (they do not),71 the bankruptcy

 court had ample authority to confirm the Plan with respect to the sale and

 settlement of Local Council Insurance Policies.            As the bankruptcy court

 explained, “[a]ny Local Council Insurance Policies, once assigned to BSA in

 71
      Third Circuit precedent limits bankruptcy appellate standing to “[a]ggrieved
      persons…whose rights or interests are directly affected by an order of the
      bankruptcy court that ‘diminish their property, increase their burdens, or impair
      their rights.’” W.R. Grace, 475 B.R. at 103 (emphasis in original) (quoting
      Combustion Eng’g, 391 F.3d at 214. The Lujan Claimants plainly have no
      interests or property rights in the contributed insurance policies assigned to the
      BSA. See id. at 81 (“Therefore, given that [objecting party] is not an additional
      insured under Grace’s insurance agreements with CNA, it has no right to
      complain that its rights are affected by the Settlement Agreement reached
      between Grace and CNA.”); id. at 83 (“Given that the [objecting parties] are not
      named as insureds or intended beneficiaries under any of the Grace-
      CNA policies and there is no evidence on the record indicating that the policies
      were purchased for their benefit, the [objecting parties] hold no direct rights to
      the insurance proceeds.”). The bankruptcy court correctly concluded that the
      Lujan Claimants’ position that they had a property interest in the proceeds of
      Abuse Insurance Policies issued by Hartford and Century (including those
      issued to non-debtor parties) was “contrary to the evidence,” as “the Lujan
      Claimants have not directed me to any provision of any Abuse Insurance Policy
      that provides that claimants are insureds” and “[t]he Lujan Claimants’ claims
      against the Aloha Council are…unliquidated personal injury claims.” D.I. 1-3
      at 89.

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 connection with the Plan, will be property of the estate.” D.I. 1-3 at 87 (citing 11

 U.S.C. § 541(a)(7)) (property of the estate includes “[a]ny interest in property that

 the estate acquires after the commencement of the case”). Contrary to the Lujan

 Claimants’ argument, which lacks legal support, property assigned to a debtor

 post-petition unquestionably becomes property of the estate. See, e.g., In re CBI

 Holding Co., 529 F.3d 432, 459 (2d Cir. 2008) (holding that a creditor’s claims

 that were assigned to debtor properly became property of the estate under section

 541(a)(7) and explaining that “[a]llowing a debtor’s creditors to assign their claims

 for the benefit of the debtor’s estate permits debtors, creditors, and bankruptcy

 courts the flexibility in reorganizing or liquidating a debtor’s assets necessary to

 achieve efficient administration of the reorganization”).

       The sole case the Lujan Claimants cite in support of their argument that non-

 BSA insurance policies are not property of the estate, In re Aegean Marine

 Petroleum Network, Inc., is entirely irrelevant to the issue of whether insurance

 policies are property of the estate. 599 B.R. 717, 723 (Bankr. S.D.N.Y. 2019).

 Aegean Marine solely concerned “the involuntary imposition of a third-party

 release” and only addressed the issue of the bankruptcy court’s authority to grant

 such releases based on evidence that did not meet the standard articulated in the

 Second Circuit for the inclusion of nonconsensual third-party releases in a plan of

 reorganization.   Id.    Moreover, the non-BSA insurance policies are being



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 voluntarily contributed to the BSA and are thus property of the estate, and Aegean

 Marine does not say otherwise.

       As the bankruptcy court explained:

       No Local Council objects to the buyback of the Abuse Insurance
       Policies to the Settling Insurers…And, as part of the Local Council
       Contribution, Local Councils are assigning to BSA any insurance
       policies they own (i.e. the Local Council Insurance Policies), which
       are then being sold to the Settling Insurers. The sale free and clear of
       their interests, therefore, is clearly consensual and thus permissible
       under § 363(f)(2)….The lack of objection of a Chartered Organization
       is also consensual for purposes of § 363 and, again, permissible under
       § 363(f)(2).

 D.I. 1-3 at 85. To the extent the Lujan Claimants seek to rehash their arguments

 related to third party releases, those are separately addressed herein, see supra pp.

 122-93, but have nothing to do with the bankruptcy court’s proper jurisdiction over

 policies contributed by the Local Councils and Chartered Organizations.

       For the same reasons that the Lujan Claimants lack a right to the proceeds of

 BSA Insurance Policies, the Lujan Claimants failed to prove that they have any

 right to the proceeds of contributed non-debtor Abuse Insurance Policies. The

 Lujan Claimants therefore neither have standing to assert this argument nor have

 they shown the bankruptcy court erred in concluding that the contributed non-BSA

 insurance policies and their proceeds are property of the Debtors’ estates.




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         C.    The Plan Adequately Protects And Compensates The Lujan
               Claimants For Their Alleged Interests In The Abuse Insurance
               Policies That Are The Subject Of The Insurance Settlements

         The Lujan Claimants acknowledge that “the Plan treats [them] the same as

 all other Survivors,” but nonetheless object to the Plan and Insurance Settlements

 because they do not afford them enhanced recoveries above and beyond those of

 other holders of Direct Abuse Claims in their class on account of certain

 procedural rights the Lujan Claimants purport to enjoy. See D.I. 40 at 58. The

 Lujan Claimants first assert that the Plan was unconfirmable because it

 incorporates Insurance Settlements that “impermissibly modify Lujan Claimants’

 rights to insurance proceeds.” Id. at 52. In the alternative, the Lujan Claimants

 demand “adequate protection and compensation for their interests in the insurance

 policies.” Id. at 57. Both objections rest on the mistaken belief that Guam’s direct

 action statute affords the Lujan Claimants a distinct property interest in the

 proceeds of Abuse Insurance Policies or an enhanced priority over other Abuse

 Claims against the BSA.72 However, as the bankruptcy court explained:


 72
      The Lujan Claimants further argue that the requirements of section
      1123(a)(5)(D), which requires that a plan provide adequate means for its
      implementation including a sale of estate property, prevent approval of the
      Insurance Settlements and associated sale of the insurance policies due to
      Guam’s direct action statute. D.I. 40 at 55. However, the bankruptcy court
      approved the sale of the BSA Insurance Policies free and clear of the Lujan
      Claimants’ direct action rights pursuant to section 363. See D.I. 1-1 at 111. As
      such, any objection on the basis of section 1123(a)(5)(D) is irrelevant. The
      Lujan Claimants’ specific arguments are also incomplete and meritless. The

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       [T]he Guam District Court describes the direct action as procedural in
       nature, not substantive….[I]t is a procedural law granting standing to
       sue or, at best, some collection remedy for a creditor of the
       policyholder in the event the creditor can prove the policyholder’s
       liability and the policy covers the loss.

 D.I. 1-3 at 108–09.

       Direct action rights under Guam law simply provide a procedural vehicle for

 a plaintiff to directly name the insurance company as a defendant in an underlying

 lawsuit against an insured. See Reyes v. United States, No. 08-00005, 2010 WL

 5207583, at *7 (D. Guam Dec. 15, 2010) (holding that Guam’s direct action statute

 does not provide a separate cause of action against the insurer). In other words, a

 direct action right against an insurance company is wholly derivative of the claim

 against the insured. See Townsend v. Benavente, 339 F.2d 421, 422 n.3 (9th Cir.

 1964) (“Derivative liability of an insurer may be established in the principal action

 under Guam’s ‘direct action’ statute.”). A direct-action plaintiff is not entitled to



    argument that the bankruptcy court cannot approve the sale of the insurance
    policies because “Guam law prohibiting the post-occurrence modification of an
    injured person’s rights is not anti-sale; it is anti-rescission” is unsupported by
    law or facts. The Lujan Claimants fail to cite an applicable Guam law or case
    prohibiting post-occurrence modification of insurance policies in bankruptcy,
    and have failed to explain how, if such law existed, it would prohibit the
    bankruptcy court from approving what is indeed a sale of insurance policies
    pursuant to section 363. The Lujan Claimants have not contested the
    bankruptcy court’s finding that the Plan provides adequate means for its
    implementation, and have not provided law or facts to support their contention
    that section 1123(a)(5)(D) prohibits approval of the Insurance Settlements. See
    D.I. 1-3 at 200.

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 any additional recovery beyond what the plaintiff could have recovered against the

 insured. Reyes, 2010 WL 5707583, at *7.

         Indeed, courts have emphasized that Guam’s direct action statute does not

 expand the rights of injured parties beyond the terms of the insurance policy, as

 “[t]he express language of § 1830573 limits the ‘right of direct action against the

 insurer within the terms and limits of the policy.’” Heikkila v. Sphere Drake Ins.

 Underwriting Mgmt., Ltd., No. CIV. 96-00047, 1997 WL 995625, at *5 (D. Guam

 Aug. 29, 1997) (emphasis in original) (citing Capital Ins. & Surety Co. Inc. v.

 Kelly, 361 F.2d 567 (9th Cir. 1966) (holding that plaintiff could not prosecute a

 claim directly against an insurer, notwithstanding Guam’s direct action statute,

 because, under the policy, any claim by an insured must be arbitrated pursuant to

 the terms of the policy and could not be litigated).         Accordingly, the Lujan

 Claimants’ interest in the Abuse Insurance Policies is no greater than that of any

 other holder of an Abuse Claim.




 73
      “On any policy of liability insurance the injured person or his heirs or
      representatives shall have a right of direct action against the insurer within the
      terms and limits of the policy, whether or not the policy of insurance sued upon
      was written or delivered in Guam, and whether or not such policy contains a
      provision forbidding such direct action, provided that the cause of action arose
      in Guam. Such action may be brought against the insurer alone, or against both
      the insured and insurer.” 22 Guam Code Ann. § 18305.

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              1.    The Insurance Settlements Do Not Impermissibly Modify
                    The Lujan Claimants’ Rights

       The record evidence and law are contrary to the Lujan Claimants’ assertion

 that they have a present interest in insurance proceeds distinct from other abuse

 survivors that cannot be modified by the Plan and Insurance Settlements. D.I. 40

 at 52. In support of their argument, the Lujan Claimants point to the findings in In

 re W.R. Grace & Co. and the existence of Guam’s direct action statute. 475 B.R.

 at 83 (holding that one way for a claimant to demonstrate a legal right to collection

 could be “a state statute crafted by the legislature conferring a right upon the

 parties to pursue a direct action for the proceeds”). However, in W.R. Grace, the

 court explained that “the claiming party must show that it has a right to the

 insurance proceeds because the insured is in some way liable to the claimant[, such

 as]…by obtaining a judgment against the tortfeasor. Absent liability, the claimant

 has no right to collect the proceeds.” Id. at 84 n.40. The court further explained

 that “the injured party has no more than an expectation that he/she will be able to

 collect from the insured prior to obtaining a judgment,” and that, particularly in the

 context of mass tort bankruptcies, this expectation should not preclude approval of

 a settlement of insurance claims that is in the best interest of personal injury

 claimants as a whole. Id. at 85 (citing In re Dow Corning Corp., 198 B.R. 214,

 242 (Bankr. E.D. Mich. 1996) (“Even more troubling is the situation…where at the

 time of the proposed settlement there are injured party claimants who are not yet


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 known. If each unknown claimant could later sue the insurer and not be estopped

 by a fully litigated judgment against its insured or by a fair and equitable

 settlement, there would be no finality to litigation and no realistic likelihood of

 settlement.”)).

       As is the case with other abuse survivors, the Lujan Claimants do not have

 an existing judgment against, or settlement with, the BSA and their claims remain

 heavily contested. Similar to the claimants in W.R. Grace, the Lujan Claimants

 have no more than an expectation of recovery, and cannot assert a present right to

 the proceeds of the BSA Insurance Policies. See W.R. Grace, 475 B.R. at 85.

 Accordingly, the Plan and Insurance Settlements do not impermissibly modify any

 right belonging to the Lujan Claimants.

              2.    Guam’s Direct Action Statute Does Not Entitle The Lujan
                    Claimants To Additional Adequate Protection

       The Lujan Claimants also assert that Guam’s direct action statute entitles

 them to additional adequate protection. D.I. 40 at 52. As the bankruptcy court

 found, because the direct action statute “does not provide the Lujan Claimants with

 rights in the Abuse Insurance Policies themselves…no adequate protection is

 required.” D.I. 1-3 at 112–13. To the extent the Lujan Claimants’ alleged direct

 action rights did entitle them to adequate protection, the Plan adequately protects

 and compensates them for their interests. See D.I. 1-3 at 113 (“If [adequate

 protection] were [required], however, I conclude that the Lujan Claimants are


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 adequately protected.”).      Simply put, the bankruptcy court found, by a

 preponderance of the evidence, that holders of Direct Abuse Claims (including the

 Lujan Claimants) would most likely be paid in full for their claims. See id. at 51,

 72. It follows, then, that any direct action rights do not have any additional value.

 If a tortfeasor’s claim is fully paid by the insured (or in this case, by the Settlement

 Trust created out of the insured’s estate), there is no additional recovery against the

 insurance company. By finding that the Lujan Claimants would most likely be

 paid in full through the TDP and the Settlement Trust, the bankruptcy court

 effectively found that the value of any purported direct action rights is zero.

 Similarly, even if a “priority right” to payment existed (which it does not), because

 all Direct Abuse Claims will most likely be paid in full, there can be no

 justification for any such “priority right” to payment.

       Again, as noted above in supra p. 32, the Lujan Claimants did not call any

 witnesses to rebut the testimony of Dr. Bates and Ms. Gutzler, upon which the

 bankruptcy court relied to correctly find that Direct Action Claims will most likely

 be paid in full. Accordingly, the Plan adequately protects and compensates the

 Lujan Claimants for any purported interests in the applicable insurance policies.




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  V.     The Plan, Confirmation Opinion, And Confirmation Order Do Not
         Improperly Impact The AOA’s Interests, If Any, In Abuse Insurance
         Policies In Violation Of The AOA’s Automatic Stay

         Prior to the filing of the Chapter 11 Cases, the AOA filed its own petition for

 chapter 11 relief (the “AOA Bankruptcy”) in the United States District Court of

 Guam – Bankruptcy Division (the “Guam Court”).74 On November 13, 2020, the

 AOA filed a proof of claim in the BSA bankruptcy proceeding. See SA 473. In

 September 2021, after resolution of a dispute between the AOA and the AOA

 Committee over the AOA Committee’s derivative standing to enforce the

 automatic stay in connection with the AOA’s purported rights under BSA

 Insurance Policies in the AOA Bankruptcy,75 the AOA took additional actions,

 including objecting to the Plan, in the BSA’s Chapter 11 Cases. See, e.g., Bankr.

 D.I. 8687, 9555.        The BSA also filed an objection to confirmation of

 reorganization solicited in the AOA Bankruptcy (the “AOA Plan”) and a proposed

 settlement in the AOA Bankruptcy in order to defend against the impairment of the

 BSA’s interests with respect to certain of the BSA Insurance Policies. See, e.g.,

 SA 1682, SA 1819, SA 1837.


 74
      See In re Archbishop of Agaña, Case No. 19-00010 (Bankr. D. Guam – Bankr.
      Div.).
 75
      SA 1639 at 19:21-20:16; SA 2140. This Court may take judicial notice of items
      on another federal court’s docket. See In re NantHealth, Inc. Stockholder
      Derivative Litig., No. 18-cv-00551-SB, 2021 WL 1909885, at *1 (D. Del. May
      12, 2021).

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         Following these actions, the parties mediated the conflicts between the BSA

 Plan and Confirmation Order and the AOA Plan, SA 867, and reached an

 agreement that resolved their objections to each other’s plans of reorganization (the

 “AOA Stipulation”), and obtained approval of the settlement from both the

 bankruptcy court and the Guam Court. Bankr. D.I. 10640; SA 2117. The AOA

 Plan was revised to be in accord with and to respect the BSA’s Plan, and the two

 plans of reorganization allow for holders of Abuse Claims, including the Lujan

 Claimants, to receive distributions from the settlement trusts established in each of

 the chapter 11 cases simultaneously to the extent applicable. See, e.g., SA 1869 at

 33:10-34:4; SA 1925 § 13.7; D.I. 1-3 at 161.76 On October 20, 2022, the Guam

 Court confirmed the AOA Plan with the support of the BSA. AOA D.I. 1093. As

 noted above, the AOA withdrew its appeal of the Confirmation Order. Bankr. D.I.

 10540.

         Despite the settlement and release of all issues with respect to the AOA

 Bankruptcy and neutrality of the BSA’s and AOA’s Plans with respect to insurance



 76
      See SA 1925, Fifth Amended Joint Chapter 11 Plan of Reorganization for the
      Archbishop of Agaña, No. 19-00010 (D. Guam Sept. 28, 2022) § 13.9
      (“Nothing in this Plan…affirmatively authorizes the Trust, Reorganized Debtor,
      any Protected Party, Class 3 Claimant, or Class 4 Claimant to act in violation of
      applicable law or affirmatively authorizes such persons to violate … any
      relevant and operative provision(s) of the BSA Confirmation Opinion, the BSA
      Plan, or the BSA Confirmation Order, including the injunctions and releases
      provided or approved thereunder”).

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 interests, the Lujan Claimants contend that the Plan violates the automatic stay in

 the AOA Bankruptcy. D.I. 40 at 64-66. This argument fails as a preliminary

 matter because the Lujan Claimants lack standing; the AOA—the only party with

 standing to assert a stay violation—has voluntarily dismissed its appeal of the

 Confirmation Opinion and the Confirmation Order with prejudice.77                  See

 Stipulation and Order of Voluntary Dismissal, Archbishop of Agaña v. Boy Scouts

 of America, Docket No. 1:22-cv-01254 [D.I. 7]. In any event, and as further

 discussed below, these arguments have been rendered moot by the AOA

 Stipulation. For these reasons, this Court need not consider the Lujan Claimants’

 arguments related to the AOA’s automatic stay. Even so, nothing in the Plan, the

 Confirmation Order, or the Confirmation Opinion violates the AOA’s automatic

 stay.78




 77
      Neither the AOA, nor any party purportedly acting on behalf of the AOA, may
      now appeal the Confirmation Opinion or Confirmation Order. See Bankruptcy
      Rule 8002.
 78
      The injunctions and releases in the Plan do not improperly affect the interests of
      the AOA in contravention of the automatic stay in the AOA Bankruptcy and are
      to the AOA’s benefit. The Plan specifically provides that Abuse Claims against
      the AOA covered by Abuse Insurance Policies issued by the Settling Insurance
      Companies will be channeled to the Settlement Trust and paid pursuant to the
      TDP. The Settling Insurance Companies provided contributions for such
      benefits to the AOA, which was an integral and necessary part of the Insurance
      Settlement Agreements.

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       A.    No Party With Standing Has Appealed Confirmation As To The
             Plan’s Impact On The AOA’s Interests, If Any, In The Abuse
             Insurance Policies

       The AOA-related arguments fail first and foremost because the AOA has

 withdrawn its appeal, and the Lujan Claimants do not have standing to assert this

 argument on the AOA’s behalf.

       As noted above, the AOA’s dismissal of its appeal was the culmination of

 rigorous mediation in the AOA Bankruptcy with the Honorable Robert J. Faris.

 SA 1867. As a result of court-directed mediation, the AOA, the AOA Committee,

 and the BSA entered into the AOA Stipulation, which was not opposed by any

 party, including the Lujan Claimants, and which was approved by the Guam Court

 and the bankruptcy court. Bankr. D.I. 10640; SA 2117.

       The AOA Stipulation required, among other things, that the AOA (i) amend

 its plan of reorganization to be consistent with terms agreed to between the AOA

 and the BSA and (ii) withdraw its appeal of the Confirmation Opinion and

 Confirmation Order. Bankr. D.I. 10640 Ex. 1. The AOA Stipulation resolved all

 issues between the BSA and AOA bankruptcy estates, as well as the AOA

 Committee, allowing the respective estates to focus on confirmation and

 implementation of their respective plans. SA 2117.

       The AOA’s withdrawal of its appeal to this Court was an integral and

 necessary part of the AOA Stipulation. Id. The Guam Court confirmed the AOA



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 Plan, which provides for distributions to holders of abuse claims against the AOA,

 including the Lujan Claimants that filed claims in the AOA Bankruptcy. SA 2127.

         The AOA Stipulation and the withdrawal of the AOA’s appeal to this Court

 is dispositive and should foreclose any attempt by the Lujan Claimants to use the

 AOA’s automatic stay to challenge the bankruptcy court’s decisions confirming

 the Plan. Moreover, the AOA itself has not sought to enforce its automatic stay

 against the BSA either in the bankruptcy court or the Guam Court. Nor has the

 Guam Court granted any party standing to enforce the stay on the AOA’s behalf.

 SA 1660 at 19:21-20:16. This Court should not entertain the Lujan Claimants’

 arguments based on the AOA’s automatic stay.

         B.    The Lujan Claimants Lack Independent Standing To Enforce The
               AOA’s Automatic Stay

         In rejecting similar AOA-focused arguments at confirmation, the bankruptcy

 court held that “[t]he Lujan Claimants have no standing to raise the rights of the

 Archbishop.” D.I. 1-3 at 85 n.329; see also Bankr. D.I. 9638 at 39:8-13. The

 Ninth Circuit, which has jurisdiction over the District Court of Guam where the

 AOA’s bankruptcy was filed,79 has held that “a creditor has no independent


 79
      The AOA’s automatic stay originates from the AOA Bankruptcy in the District
      of Guam, and therefore, Ninth Circuit law applies. See De Barros v. From You
      Flower, LLC, No. 18-503MSM, 2021 WL 5134361 at *5 (D.R.I. Sept. 22,
      2021), report and recommendation adopted, 566 F. Supp. 3d 149 (D.R.I. 2021)
      (applying the law of the district where the bankruptcy discharge was granted);
      see also United Consumers Club, Inc. v. Bledsoe, 441 F. Supp. 2d 967, 986

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 standing to appeal an adverse decision regarding a violation of the automatic stay.”

 In re Pecan Groves of Ariz., 951 F.2d 242, 245 (9th Cir. 1991) (rejecting argument

 that the purpose of the automatic stay is to protect both the debtor and creditors).

 The Ninth Circuit has held that creditors do not have an independent right to

 enforce alleged stay violations. See In re Barrett, 833 F. App’x 668, 670 (9th Cir.

 2020) (“[I]f the trustee does not seek to enforce the protections of the automatic

 stay, then no other party may challenge acts purportedly in violation of the

 automatic stay, because 11 U.S.C. § 362 is intended solely to benefit the debtor

 estate…[B]ecause the automatic-stay provisions of the Bankruptcy Code are

 intended ‘solely’ for the benefit of the debtor and the debtor’s estate, individual

 creditors’ interests do not fall within the zone of interests protected by the

 automatic-stay provisions of the Bankruptcy Code.” (quoting In re Pecan Groves

 of Ariz., 951 F.2d at 245, and Sierra Club v. Trump, 929 F.3d 670, 700 (9th Cir.

 2019))).

       Here, the AOA has dismissed its appeal, has not sought to enforce its

 automatic stay against the BSA in any forum, and is barred under the AOA

 Stipulation from joining in the Lujan Claimants’ appeal. Under clear Ninth Circuit

 precedent, the Lujan Claimants have no independent standing to enforce the


    (N.D. Ind. 2006) (declining to apply authorities “to the extent these cases
    conflict with Ninth Circuit law, which governs the [defendants’] bankruptcy,”
    including the dischargeability of defendants’ debt).

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 AOA’s automatic stay. Because the Lujan Claimants do not have standing to

 enforce the automatic stay on behalf of the AOA or in their own right, this Court

 should not permit the Lujan Claimants to pursue their stay-related arguments.

       C.    Confirmation Of The AOA Plan Has Rendered The Automatic
             Stay Issue Moot

       Even if the Lujan Claimants had standing to raise the argument that

 confirmation of the Plan violated the AOA’s automatic stay (which they do not),

 the Guam Court’s confirmation of the AOA Plan has rendered their arguments

 moot. See SA 1869 at 33:10-34:4.

       As a component of the AOA Stipulation, the BSA, the AOA and the AOA

 Committee agreed to modify certain provisions of the AOA Plan, including to

 provide that the AOA Plan would be completely neutral with respect to the Plan

 (the “Neutrality Provision”). See SA 1092 § 13.9 (providing that “[n]othing in [the

 AOA Plan]…affirmatively authorizes [the Trust, Reorganized Debtor, any

 Protected Party, Class 3 Claimant, or Class 4 Claimant] to violate or prohibits such

 persons from violating any relevant and operative provision(s) of the BSA

 Confirmation Opinion, the BSA Plan, or the BSA Confirmation Order, including

 the injunctions and releases provided or approved thereunder….”). The AOA

 Plan, including the Neutrality Provision, was confirmed by the Guam Court, and

 the Lujan Claimants are not pursuing an appeal of that confirmation order. No

 Party has argued in the AOA Bankruptcy that the AOA Plan containing the


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 Neutrality Provision violated the AOA’s automatic stay and importantly, no party

 has initiated any proceedings against the BSA alleging that the BSA Plan violated

 the automatic stay in the AOA Bankruptcy. In other words, the Lujan Claimants

 have waived any right to challenge the Neutrality Provision in the AOA Plan—

 which moots their automatic stay violation arguments here.

       Pursuant to Article III of the Constitution, a federal court may only exercise

 jurisdiction over a matter if there is a live “case or controversy.” Rendell v.

 Rumsfeld, 484 F.3d 236, 240 (3rd Cir. 2007) (internal citation omitted). A matter

 is moot if “changes in circumstances that prevailed at the beginning of the

 litigation have forestalled any occasion for meaningful relief.” Id. (quoting In re

 Surrick, 338 F.3d 224, 230 (3d Cir. 2003)). “Moreover, it does not matter when

 the case becomes moot. The requirement that a case or controversy be ‘actual [and]

 ongoing’ extends throughout all stages of federal judicial proceedings, including

 appellate review.” Id. at 40–41 (quoting Khodara Env’t, Inc. v. Beckman, 237 F.3d

 186, 193 (3d Cir. 2001)).

       The AOA’s automatic stay will terminate upon its emergence from

 bankruptcy. See 11 U.S.C. § 362(c)(2) (“[T]he stay of any other act…continues

 until the earliest of…(C)…the time a discharge is granted or denied.”); Rauso v.

 Martinez, Nos. 20-2927 and 21-1503, 2022 WL 4965388, at *3 (3d Cir. Oct. 4,

 2022) (“[T]he automatic stay ends when a discharge is granted.); In re White, 383



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 B.R. 366, 368 (W.D. Pa. 2008). The AOA’s emergence from bankruptcy and

 concurrent termination of the automatic stay by operation of law will likely

 precede this Court’s decision in these Appeals. See In re Fairchild Corp., No. 10–

 56 (GMS), 2014 WL 7215211, at *3 (D. Del. Dec. 17, 2014) (“[A]n appeal from a

 bankruptcy court’s order granting or denying a § 362 lift-stay motion becomes

 moot when the automatic stay is subsequently lifted by operation of law.”).

       Even if this Court rules before the effective date of the AOA Plan (which

 appears highly unlikely), the Neutrality Provision and the prospective discharge of

 the AOA would still effectively render the Lujan Claimants’ arguments moot

 because this Court’s ruling cannot afford the Lujan Claimants the relief they seek.

 See, e.g., In re Downey Fin. Corp., 499 B.R. 439, 471 (Bankr. D. Del. 2013)

 (denying chapter 7 trustee’s stay-violation motion based on non-debtor FDIC’s

 requests that the IRS freeze debtor’s tax refund because, “while the violation of the

 stay arguments are very strong, they are, effectively, moot,” as the parties had

 settled in principle trustee’s separate action brought in court of federal claims);

 Rendell, 484 F.3d at 241 (quoting Khodara, 237 F.3d at 193) (noting a controversy

 is rendered moot by subsequent events if a ruling would not “serve [any] purpose

 today”). Accordingly, the AOA Stipulation and confirmation of the AOA Plan has

 foreclosed the possibility of affording the Lujan Claimants any meaningful relief,




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 and the appeal based on the AOA’s automatic stay should therefore be denied as

 moot.

         D.    Even If The Lujan Claimants Had Standing And Their
               Arguments Were Not Moot, Their Arguments Are Meritless

         Even if the Lujan Claimants had standing and their arguments had not been

 rendered moot (as they have been), their arguments fail on the merits because the

 Plan, the Confirmation Opinion, and the Confirmation Order do not violate the

 AOA’s automatic stay.

         On the contrary, the bankruptcy court ensured that the Plan did not do so.

 The bankruptcy court considered arguments about the AOA’s automatic stay when

 the AOA itself raised the issue at confirmation in the context of the Plan’s

 proposed sale of the Abuse Insurance Policies. The bankruptcy court held that the

 AOA’s stay prevented a sale of such policies free and clear of the AOA’s interests,

 if any, in the BSA Insurance Policies. See D.I. 1-3 at 93–102. The Plan was

 subsequently modified to preserve any interests of the AOA in the Abuse

 Insurance Policies. See Bankr. D.I. 10190, Ex. 1 at 89-90, 114-115. Having

 preserved the AOA’s interests, if any, the bankruptcy court approved the modified

 Plan.

         At the same time it enforced the AOA’s automatic stay with respect to any

 interests of the AOA’s in the Abuse Insurance Policies, the bankruptcy court

 concluded that the BSA could sell such policies to the applicable Settling


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 Insurance Companies free and clear of the Lujan Claimants’ interests in those same

 policies. See D.I. 1-3 at 110–13. As the bankruptcy court put it, “[b]ecause…I am

 approving the channeling injunction, the Archbishop will get the benefit of the

 insurance buyback in any event.” Id. at 102 n.365. Under the Plan, the AOA will

 receive the benefit of the Channeling Injunction and Releases as an Opt-Out

 Chartered Organization. The AOA is not appealing the Confirmation Opinion or

 Order.

       The Lujan Claimants’ arguments fail because their own claims against the

 AOA (or the Settling Insurance Companies) were never protected by the AOA’s

 automatic stay, which, in pertinent part, operates to stay any “act to obtain

 possession of property of the estate or of property from the estate or to exercise

 control over property of the estate.” See 11 U.S.C. § 362(a)(3). The Lujan

 Claimants’ claims and procedural rights are not property of the AOA’s estate.

       Instead, the Plan provides that

       [t]he Lujan Claimants…and any other holders of Abuse Claims
       against the Archbishop are free to immediately pursue their claims
       against the Archbishop, consistent with the automatic stay in the
       Archbishop’s bankruptcy case, ‘to the extent that’ the Abuse Claim is
       not covered by an insurance policy issued by a Settling Insurance
       Company.

 D.I. 1-3 at 160-161. “[T]he Lujan Claimants are not enjoined from pursuing the

 Archbishop for Abuse Claims, but recoveries may not come from an insurance

 policy issued by a Settling Insurance Company.”        Id. at 161.   This narrow


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 channeling of Opt-Out Chartered Organization Abuse Claims may affect certain of

 the Lujan Claimants’ claims against the AOA, but clearly not claims that belong to

 the AOA itself, and thus do not implicate the AOA’s automatic stay.

       The Lujan Claimants nevertheless suggest that paragraph M.1 of the

 Confirmation Order impairs the AOA’s interests in violation of the automatic stay.

 See D.I. 40 at 65. It does nothing of the sort. The Settling Insurance Companies

 agreed to purchase the Abuse Insurance Policies that they issued free and clear of

 the interest of any entity, including any additional insureds, pursuant to the terms

 of the Insurance Settlements, and required entry of a confirmation order approving

 the sale free and clear of such interests as a condition precedent to confirmation of

 the Plan. See e.g. Bankr. D.I. 8816-1, II.B.2. Because the bankruptcy court held

 that the AOA’s automatic stay prevented such sale free and clear of any interests of

 the AOA, if any, the Plan could not be confirmed if the Settling Insurance

 Companies agreed to waive this condition precedent. Paragraph M.1 provides for

 the voluntary waiver of this condition precedent, subject to the condition that the

 Settling Insurance Companies will only waive their free and clear sale condition so

 long as all the related injunctions in the Plan remain in full force and effect. Given

 that this was a voluntary waiver by the Settling Insurance Companies of such

 conditions precedent, there is no basis for asserting that their waiver violated the

 AOA’s automatic stay.



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 VI.   The Bankruptcy Court Correctly Concluded That The McCarran-
       Ferguson Act Does Not Reverse Preempt The Bankruptcy Code

       The Lujan Claimants next argue that the Plan impermissibly conflicts with a

 Guam statute that purportedly provides the Lujan Claimants with direct action

 rights against the insurance companies. D.I. 40 at 43–45 (citing 22 Guam Code

 Annotated § 18305). The Lujan Claimants incorrectly assert that the McCarran-

 Ferguson Act (the “MFA”), 15 U.S.C. § 1012(b), provides an exception to federal

 preemption with respect to laws governing the “business of insurance” and which

 permits the direct action statute to reverse preempt the Bankruptcy Code. D.I. 40

 at 34–48. But as the bankruptcy court correctly identified, the Guam direct action

 statute is only a “procedural statute” that provides tort claimants with a procedural

 right to bring claims directly against insurers—it is not a “cause of action.” D.I. 1-

 3 at 109 (quoting Cruz Reyes v. United States, No. 08-00005, 2010 WL 5207583,

 at *7 (D. Guam Dec. 15, 2010)). The bankruptcy court determined that the goal of

 the direct action statute was “not policyholder protection” or to “change the

 payment provisions of the policy or the spread of risk between the insurer and

 insured.” Id. After a thoughtful analysis of the Third Circuit standard for the

 application of the MFA, the bankruptcy court correctly concluded that the “Guam

 direct action statute does not regulate the business of insurance as that term is used

 in the [MFA, and]…does not prohibit the channeling of the Lujan Claimants’

 claims to the Settlement Trust thereby effectively extinguishing their procedural


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 right to sue an insurance company.” D.I. 1-3 at 102–10. On this basis, the Guam

 statute and the MFA do not permit the reverse preemption of the Bankruptcy Code

 (which notably would have given a small group of claimants an unfair advantage at

 the expense of more than 82,000 other abuse survivors).

         In further support of this point, the BSA hereby adopts and incorporates by

 reference in full the arguments set forth in Article V.E of the Future Claimants’

 Representative’s and Article I.B.2.b of the Settling Insurance Companies’

 answering briefs with respect to this argument.

VII.     The Lujan Claimants Have Failed To Prove That The Bankruptcy
         Court Erred In Concluding That The Plan Satisfies The Best Interests
         Test Under Section 1129(a)(7)

         The Lujan Claimants assert that the Plan fails the best interests test of

 section 1129(a)(7) because the Lujan Claimants would be able to pursue various

 claims and direct action rights against non-debtor Local Councils, Chartered

 Organizations, and insurers in a chapter 7 liquidation, which claims and rights are

 enjoined under the Plan, and which they assume without evidence would result in

 greater recoveries. See D.I. 40 at 66–71.         These arguments fail on multiple

 grounds.80


 80
      As set forth in detail herein, the Debtors have amply demonstrated that the Plan
      satisfies section 1129(a)(7), to the extent it applies. Even so, the Debtors
      maintain that as non-profit corporations they need not satisfy the best interests
      test. This element of the plan confirmation standard requires courts to compare
      reorganization recoveries to liquidation recoveries. A non-profit’s chapter 11

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       Section 1129(a)(7) provides that:

       even if voting results in an accepting class, a plan may not be
       confirmed unless each holder of a claim has accepted the plan or ‘will
       receive or retain under the plan on account of such claim…value, as
       of the effective date of the plan, that is not less than the amount that
       such holder would so receive or retain if the debtor were liquidated
       under chapter 7 of this title on such date.

 D.I. 1-3 at 239 (citing 11 U.S.C. § 1129(a)(7)). To satisfy that requirement, the

 BSA prepared a liquidation analysis for the BSA and Related Non-Debtor Entities.

 See Bankr. D.I. 9280 ¶ 240.      This analysis alone demonstrates that the Plan


    case cannot be involuntarily converted to a chapter 7 liquidation, and the
    Debtors therefore should not be subject to the same standard as a “moneyed,
    business, or commercial corporation.” See 11 U.S.C. § 1112(c). As the
    Seventh Circuit observed when it declined to enforce the absolute priority rule
    of section 1129(b)(2) to preclude members of a non-profit cooperative from
    retaining control of the reorganized debtor “it is small wonder that the rules of
    Chapter 11 bankruptcy, primarily designed as they are for profit-seeking
    enterprises, are less than straightforward” when applied to non-profit debtors.
    In re Wabash Valley Power Assoc., 72 F.3d 1305, 1314 (7th Cir. 1995)
    (determining that the benefits afforded to members of the debtor by its non-
    profit operations did not constitute an equity interest cognizable in
    bankruptcy). Indeed, Congress has codified an alternative formulation of the
    best interests test in municipal restructuring cases under chapter 9 of the
    Bankruptcy Code, where liquidation is not a realistic prospect. See 11 U.S.C.
    § 947(b)(7). Courts in chapter 9 cases focus on whether for creditors as a whole
    the proposed plan provides a better alternative than dismissal and the resulting
    race to the courthouse. See In re City of Detroit, 524 B.R. 147, 213, 216–17
    (Bankr. E.D. Mich. 2014), appeals dismissed, Nos. 14-CV-14910, 14-cv-14919,
    14-CV-14920, 15-CV-10036 (E.D. Mich. Sept. 29, 2015). Here, it is clear that
    creditors as a whole would fare significantly worse if these cases were
    dismissed and the more than 82,000 holders of Abuse Claims, bereft of the
    value-maximizing settlements embodied in the Plan, were forced to pursue their
    claims in the tort system and enforce any judgment against the Debtors’ limited
    assets.

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 satisfies section 1129(a)(7); nevertheless, the BSA also prepared a consolidated

 liquidation analysis of the Local Councils. Id. The BSA further adjusted its

 analysis to account for the impact of a hypothetical liquidation on insurance

 recoveries. See id. ¶ 241. Based on these liquidation analyses, as supported by the

 uncontroverted expert testimony of Mr. Whittman of Alvarez & Marsal, the BSA’s

 financial advisor, the BSA confirmed—and the bankruptcy court agreed—that

 each class of creditors receives equal or better treatment under the Plan than under

 a hypothetical liquidation. See D.I. 1-3 at 248; Bankr. D.I. 9280 ¶ 242.

       Informed by these liquidation analyses, the bankruptcy court determined,

 based on uncontroverted testimony, that “each Class of claims is receiving more

 than it would in a chapter 7 case.” D.I. 1-3 at 248. Further, the bankruptcy court

 “determined based on the record presented that Class 8 holders of Direct Action

 Claims will be paid in full under the Plan” and thus “the Plan, by definition, meets

 the best interests test as to claimants in Class 8.” Id.

       The Lujan Claimants offer no evidence or competing liquidation analysis

 that would support their arguments, asserting instead that certain maximum

 insurance coverage limits would be available to satisfy their disputed claims

 without any evidence that this contention is true, much less that it holds true in a

 liquidation scenario.     Id. at 69–70.      Indeed, no party, including the Lujan




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 Claimants, offered any evidence to rebut the BSA’s liquidation analysis.81 See D.I.

 1-3 at 246 (noting that “[n]o party cross-examined Mr. Whittman on his liquidation

 analysis or, [except for certain other objections that were not brought on appeal], in

 any way challenged Mr. Whittman’s specific calculations, assumptions or

 conclusions”). There is therefore no support for the Lujan Claimants’ challenges

 to the bankruptcy court’s best-interests determination.

         The Lujan Claimants’ arguments also fail because (a) the Plan satisfies the

 plain language of section 1129(a)(7), (b) the Lujan Claimants’ claims against

 Chartered Organizations are too speculative to be included in any liquidation

 analysis, and (c) the Plan provides for payment in full of Abuse Claims.

         A.    The Plan Satisfies The Plain Language Of Section 1129(A)(7)

         The Lujan Claimants argue that the BSA needed to include the value of

 claims released against third parties under the Plan in their liquidation analysis.

 Not so.82 Section 1129(a)(7) requires only that an impaired creditor “receive or


 81
      The Lujan Claimants only list various alleged per occurrence limits under
      insurance policies for certain years in the 1960s and 1970s. See D.I. 40 at 69–
      70 (providing alleged per occurrence limits for Norman Aguon and Morgan
      Paul’s claims). This argument discounts all of the evidence presented favoring
      settlements with the Settling Insurance Companies and ignores that the amount
      of insurance coverage is disputed by such parties. Bankr. D.I. 9398 ¶¶ 104,
      133, 167, 181. There is no evidence that any of the insurance coverage
      identified by the Lujan Claimants is collectible. These unsupported arguments
      should be rejected.
 82
      11 U.S.C. § 1129(a)(7).

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 retain under the plan on account of such claim or interest property of a value, as

 of the effective date of the plan, that is not less than the amount that such holder

 would so receive or retain if the debtor were liquidated under chapter 7.” 11

 U.S.C. § 1129(a)(7) (emphasis added).

       As the bankruptcy court held, the “plain language” of section 1129(a)(7)

 does not support the Lujan Claimants’ argument because the text focuses only on

 claims against the debtor. See D.I. 1-3 at 247. “[A]s a matter of grammar,” the

 required comparison under section 1129(a)(7) “is between the amount that the

 objecting creditor would receive under the plan on account of its claim and what it

 would ‘so’ receive—that is, on account of its claim—if the debtor were liquidated

 under chapter 7.”    D.I. 1-3 at 243 (citing Purdue Pharma, 633 B.R. at 110)

 (emphasis added)). The amount that a creditor may receive or retain on account of

 claims against third parties in a liquidation is therefore irrelevant. That plain-text

 interpretation correctly “leaves an analysis of third-party releases to the relevant

 third-party standard” and does not allow a backdoor challenge to such releases

 under a standard other than Continental. D.I. 1-3 at 243.

       The bankruptcy court’s interpretation of the best interests test is grounded in

 established precedent. See, e.g., Purdue Pharma, 633 B.R. at 110 (holding that the

 plain language of section 1129(a)(7) does not require that a liquidation analysis

 include an analysis of a claimant’s rights against third parties in a liquidation); W.R.



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 Grace, 475 B.R. at 149-50 (concluding that the best interests test considers only

 the amount that claimants would obtain from the estates in a hypothetical chapter 7

 liquidation, not the amount claimants would allegedly recover from the estates’

 insurers); In re Plant Insulation Co., 469 B.R. 843, 887 (Bankr. N.D. Cal. 2012)

 (explaining that the “most natural interpretation of section 1129(a)(7) is that it

 addresses only the amount the dissenting creditor would receive or retain on its

 claim against the debtor” in a hypothetical chapter 7 scenario) (emphasis in

 original); In re ARO Liquidation, Inc., No. 16-11275 (Bankr. S.D.N.Y. Mar. 28,

 2018), Hr’g Tr. at 20:4-10 [D.I. 1752] (following W.R. Grace and Plant

 Insulation); see In re Dow Corning, 237 B.R. 380, 411 (Bankr. E.D. Mich. 1999)

 (holding that the best-interests test examines only the dividend the creditor would

 receive from the chapter 7 trustee—and only that amount—for comparison with

 the dividend available under the plan” and observing that courts applying the

 nearly identical test under chapter 13 “uniformly hold that amounts obtainable

 from other sources, such as guarantors, are irrelevant” to the inquiry).83




 83
      But see Ditech Holding, 606 B.R. at 610-14 (holding that, in the context of a
      section 363 sale under a plan, certain estimable third party interests must be
      included in the liquidation analysis) and In re Quigley Co., 437 B.R. 102, 145
      (Bankr. S.D.N.Y. 2010) (finding that the value of third party derivative claims
      could be estimated and therefore must be included in the liquidation analysis),
      distinguished below.

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       The Lujan Claimants rely on dicta from an out-of-circuit bankruptcy court

 decision, In re Conseco, as their only support for their argument that the

 Channeling Injunction and Releases violate the best interests test. See D.I. 40 at

 67. However, the Lujan Claimants misrepresent the findings in that case, which

 concerned a settlement whereby certain creditors who accepted additional

 consideration under a plan also agreed to third-party releases. See 301 B.R. 525,

 528 (Bankr. N.D. Ill. 2003). A group of creditors challenged the releases, but the

 court found that because the releases were voluntary, they were not “compulsory

 releases that would require justification by special circumstances.” Id. at 527. The

 case thus did not turn on the permissibility of non-consensual releases, much

 less call into doubt the cases in this circuit finding that “the condition requiring a

 release in order to receive a distribution does not violate the best interest of

 creditors test.” In re Wash. Mut., Inc., 461 B.R. 200, 251 (Bankr. D. Del.

 2011), unrelated parts vacated, No. 08-12229 MFW, 2012 WL 1563880 (Bankr.

 D. Del. Feb. 24, 2012).

       B.     The Lujan Claimants’ Claims Are Unliquidated And Too
              Speculative To Be Included In A Liquidation Analysis

       Even if this Court concludes that claims against non-debtors should be

 considered under section 1129(a)(7) in some circumstances, the Lujan Claimants’

 alleged claims against certain of the non-debtor entities are speculative, and they

 have offered no evidence to estimate their claims nor any expert or other testimony


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 to suggest the insurance coverage they claim exists is valid or collectible.

 Moreover, it would be impossible to estimate each of the more than 82,000 Abuse

 Claims individually. D.I. 1-3 at 244. It would not be appropriate to include such

 nonexistent, speculative, and unsupported values in a liquidation analysis. See,

 e.g., In re Adelphia Commc’ns Corp., 368 B.R. 140, 253 (Bankr. S.D.N.Y. 2007)

 (rejecting as “only speculation” bondholders’ unsubstantiated argument that

 IPO costs, which would only be borne by the estate in a liquidation due to the

 inapplicability of section 1145 of the Bankruptcy Code to liquidations under

 chapter 7, would be lower than the amount assumed by the plan proponents).

       As the bankruptcy court recognized, in the few cases where a court has

 included claims against third parties in the best interest test, they have done so

 when such claims “are neither speculative nor incapable of estimation and exist as

 of the date of the hypothetical chapter 7 case.” D.I. 1-3 at 243; see also Ditech

 Holding, 606 B.R. at 610-14 (holding that “when weighing [third-party] claims in a

 liquidation analysis, the claims cannot be speculative or incapable of estimation”);

 Quigley, 437 B.R. at 145 (same). The bankruptcy court distinguished the Chapter

 11 Cases from Ditech and Quigley, noting that there are “82,209 different claims

 against tens of thousands of different third-parties such that it would be impossible

 to value any particular claims.” D.I. 1-3 at 244. The bankruptcy court also

 recognized that many claims were substantively deficient which would render



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 meaningful estimation of third party claims impossible since “many holders of

 Direct Abuse Claims did not name a Local Council or Chartered Organization in

 their proofs of claim.” Id. In response to the Lujan Claimants’ unsupported

 speculation that their claims are worth substantial amounts, the bankruptcy court

 acknowledged that, on average, “[each of] the prepetition settlement of claims

 against BSA for Abuse committed by the same perpetrator, Brouillard…settled for

 $57,000.” Id.

         It stands to reason that if the Lujan Claimants’ claims and potential

 recoveries in a chapter 7 liquidation were not highly speculative and unliquidated,

 but instead could be reliably calculated, the Lujan Claimants would have produced

 some evidence to that effect rebutting the BSA’s liquidation analysis. The Lujan

 Claimants offered none.

         Though not required to satisfy section 1129(a)(7), the BSA also performed a

 consolidated liquidation analysis of all Local Councils and concluded that holders

 of Abuse Claims were better off under the Plan.84 See Bankr. D.I. 9280 ¶ 273.

 While the BSA performed the analysis with respect to the Local Councils, it would

 be impossible to repeat this exercise for Chartered Organizations on a claim by

 claim basis, and such an exercise is not required. It is neither appropriate nor

 84
      Though not applicable, the liquidation analysis clearly shows that the best
      interests test is met with respect to the Local Councils. See Bankr. D.I. 9280
      ¶¶ 267–69.

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 practical to include speculative and unliquidated claims against third parties in a

 liquidation analysis, and section 1129(a)(7) does not require such an impossible

 task.

         C.     The Plan Satisfies The Best Interests Test Because The Lujan
                Claimants Are Likely To Be Paid In Full

         Regardless of whether claims against third parties are included in the best

 interests test, the bankruptcy court’s determination that the holders of Abuse

 Claims will likely be paid in full necessarily shows that “the Plan, by definition,

 meets the best interest test as to claimants in Class 8.” D.I. 1-3 at 248 (citing

 Quigley, 437 B.R. at 145).85 Because the Lujan Claimants have no basis for

 reversing this finding, their best interests arguments fail as well. For these reasons,

 the bankruptcy court’s rulings that the best interests test was satisfied should be

 affirmed.

VIII.    The Lujan Claimants Have Failed To Prove That The Bankruptcy
         Court Erred In Concluding That The Plan Properly Classifies The
         Claims Of The Lujan Claimants Pursuant To Section 1122(a)

         Next, with minimal explanation, the Lujan Claimants complain that the Plan

 violates section 1122 of the Bankruptcy Code because the Lujan Claimants’ claims

 are not “substantially similar” to other Direct Abuse Claims in Class 8 because,


 85
      As is discussed above, the bankruptcy court held that “[b]ased on the testimony
      of Dr. Bates and Ms. Gutzler, and the value of the contributions and
      settlements,”…“if the Plan is confirmed, Direct Abuse Claims will more likely
      than not be paid in full.” D.I. 1-3 at 69.

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 unlike such other creditors, the Lujan Claimants purport to hold direct action rights

 against the Insurance Companies. See D.I. 40 at 71–72. The bankruptcy court

 rejected this argument, and the Lujan Claimants have provided no evidence of

 clear error demonstrating why or how this Court should not do the same.

          At the outset, this is a purely academic issue. As discussed, the bankruptcy

 court found that Abuse Claims would likely be paid in full. What class the Lujan

 Claimants are placed in does not matter if they are paid all they could be due.

 They are not “parties aggrieved” with appellate standing on this (or any other)

 issue.

          Section 1122(a) provides that “a plan may place a claim or interest in a

 particular class only if such claim or interest is substantially similar to the other

 claims or interests of such class.” A plan proponent has significant flexibility in

 creating multiple classes under a plan of reorganization so long as a reasonable

 basis exists and all claims in a particular class are substantially similar. See, e.g.,

 John Hancock Mut. Life Ins. Co. v. Route 37 Bus. Park Assocs., 987 F.2d 154,

 158–59 (3d Cir. 1993) (explaining that classification is proper in a cram-down case

 where each class represents a voting interest “sufficiently distinct and weighty to

 merit a separate voice in the decision whether the proposed reorganization should

 proceed”); In re Armstrong World Indus., Inc., 348 B.R. 136, 159 (Bankr. D. Del.

 2006) (explaining that section 1122 is satisfied “when a reasonable basis exists for



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 the structure, and the claims or interests within each particular class are

 substantially similar”). The bankruptcy court concluded that the Plan comported

 with section 1122(a), as there was a rational basis for classifying all Direct Abuse

 Claims together in Class 8. See D.I. 1-3 at 190–92.

       The Lujan Claimants mistakenly interpret “substantially similar” to require

 that all claims within a class be identical in all respects. See D.I. 40 at 71–72.

 That is not the law.      In evaluating whether claims in the same class are

 substantially similar for purposes of section 1122(a), the question is “whether the

 claims in a class have the same or similar legal status in relation to the debtor.” In

 re Piece Goods Shops Co., L.P., 188 B.R. 778, 788 (Bankr. M.D.N.C. 1995)

 (emphasis added) (recognizing that a debtor could appropriately classify all

 unsecured claims, including “trade, tort, unsecured notes, or deficiency claims of

 secured debtors,” in a single class); see also In re AOV Indus., Inc., 792 F.2d 1140,

 1150–51 (D.C. Cir. 1986) (noting that “the focus of the classification is the legal

 character of the claim as it relates to the assets of the debtor”) (emphasis in

 original). The Lujan Claimants’ claims share the same legal status in relation to

 the BSA as all other Direct Abuse Claims under the Plan. All holders of Class 8

 claims have unliquidated and unsecured personal injury claims against the BSA

 and, accordingly, “exhibit a similar effect” on the BSA’s estates. W.R. Grace, 475

 B.R. at 37.



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       The asserted differences—direct action rights and open statutes of

 limitations—do not change the character of those claims against the BSA. Indeed,

 as discussed above, direct action rights are simply a procedural right that do not

 change the character of the claims. See D.I. 1-3 at 191. Similarly, a statute of

 limitations is a defense, which does not change the character of a personal injury

 claim. Id. It would be impracticable to attempt to determine the relative strengths

 and weaknesses of 82,209 disputed, unliquidated personal injury claims and

 attempt to place such substantially similar claims into multiple classes. Nor is such

 an exercise required. In re Resorts Int’l, Inc., 145 B.R. 412, 448 (Bankr. D.N.J.

 1990).

       Additionally, the BSA is unable to further divide holders of Direct Abuse

 Claims into additional subclasses based on their potential claims against non-

 debtor Chartered Organizations or Local Councils.         For example, the Lujan

 Claimants contend, presumably based on their own analysis as there was no

 competent evidence supporting these assertions admitted at trial, that there are 81

 accepting votes out of 182 claimants with claims against the Aloha Council. See

 D.I. 40 at 32. For its part, the BSA’s supplemental voting report disclosed that,

 based only upon a review of the unsubstantiated proofs of claim, 78 of 149 holders

 of Direct Abuse Claims who identified the Aloha Council in their proof of claim

 voted to accept the Plan. Bankr. D.I. 9305. The same report also notes that this



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 count was based only on a tabulation of the Local Councils named in proofs of

 claim and was not at the time capable of being independently verified.             Id.

 Accordingly, not only could these claims mistakenly name the Aloha Council, but

 there could be numerous claims against the Aloha Council that were unaccounted

 for in such voting report, as the same voting report disclosed that 17,526 claims did

 not identify any Local Council. The bankruptcy court acknowledged that “many

 holders of Direct Abuse Claims did not name a Local Council or Chartered

 Organization in their proofs of claim.”        D.I. 1-3 at 244.   Thus, there is no

 competent evidence supporting any contention about how a sub-class of claims

 relating to a certain Local Council voted on the Plan, and it would be impossible to

 accurately place Direct Abuse Claims against the Aloha Council into a separate

 class, let alone to attempt to do so for all of the disparate claims against thousands

 of different Local Councils and Chartered Organizations.              Therefore, the

 bankruptcy court appropriately overruled this objection and concluded that the

 BSA met their burden with respect to section 1122(a). D.I. 1-3 at 191–92. The

 Lujan Claimants have presented no competent evidence to support their contention

 that this conclusion was clearly erroneous and this objection should be overruled.




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 IX.   The Lujan Claimants Have Failed To Prove That The Bankruptcy
       Court Erred In Concluding That The Plan Provides For The Equal
       Treatment For Holders Of Direct Abuse Claims In Accordance With
       Section 1123(A)(4)

       In a familiar refrain, the Lujan Claimants assert that the Plan violates the

 equal treatment requirement of section 1123(a)(4) because certain survivors are

 providing   greater   consideration    than    other   survivors   while   not   being

 commensurately compensated in return. See D.I. 40 at 72–74. Specifically, they

 assert that (a) survivors that hold direct action rights are entitled to greater

 consideration in exchange for giving up these rights, and (b) the Plan violates

 section 1123(a)(4) because some abuse survivors are enjoined from pursuing their

 claims directly against a Chartered Organization while other claimants retain this

 right. See id. Both arguments fail—what the Lujan Claimants actually seek is

 preferential treatment for themselves to the detriment of other survivors.

       Section 1123(a)(4) requires that a plan shall “provide the same treatment for

 each claim or interest of a particular class unless the holder of a particular claim or

 interest agrees to a less favorable treatment” for such claim. As the bankruptcy

 court recognized, in the Third Circuit, this means that “all claimants in a class must

 have the same opportunity for recovery.” In re W.R. Grace & Co., 729 F.3d 311,

 327 (3d Cir. 2013) (internal quotation marks and citations omitted); D.I. 1-3 at 195

 n.527 (citing W.R. Grace); see also Wash. Mut., 442 B.R. at 356. On this basis, the

 bankruptcy court concluded that (a) the Lujan Claimants’ direct action rights did


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 not warrant separate classification because such rights are procedural in nature, and

 (b) “equal treatment” does not mean “equality of consideration,” rejecting the

 reasoning of a non-Third Circuit case cited by a different Plan objector in support

 of this argument.86 See D.I. 1-3 at 198–200. Moreover, Class 8 Direct Abuse

 Claims “are all disputed and unliquidated,” and “[t]he treatment for each claimant

 in Class 8 is specified in the TDP, which provide each claimant multiple avenues

 to liquidate his claim, at the election of the claimant.”           D.I. 1-3 at 199.

 Accordingly, the Lujan Claimants are receiving the same opportunity to recover on

 their claims, consistent with section 1123(a)(4), and their appeal on these grounds

 should be denied.

          The Lujan Claimants do not contend that their opportunity to recover on

 their claims against the BSA differs in any way from other holders of Direct Abuse

 Claims; rather, the Lujan Claimants believe that they are providing more

 consideration than other abuse survivors, in the form of the loss of their direct

 action rights, without being appropriately compensated in exchange.            As the

 bankruptcy court observed, the Lujan Claimants’ unequal treatment argument is

 86
      The Lujan Claimants cite Quigley, 437 B.R. at 146, an out-of-circuit bankruptcy
       court opinion, in support of the principle that “each class member must pay the
       same consideration in exchange for its distribution.” D.I. 40 at 72. Quigley
       relied on In re AOV Indus., Inc. to reach this conclusion, which the bankruptcy
       court appropriately rejected as non-binding and expressly limited to the facts of
       the case, in addition to being an unworkable construct for a case with more than
       82,000 timely-filed Direct Abuse Claims in a single class. See D.I. 1-3 at 200.

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 “really just the flip side of the Lujan Claimants’ § 1122(a) argument,” in which

 they seek separate classification and enhanced treatment under the Plan on account

 of their direct action rights. D.I. 1-3 at 198. As further addressed herein, the

 bankruptcy court was correct to conclude that the Lujan Claimants’ direct action

 rights do not warrant separate classification because they are procedural in nature

 and do not entitle the Lujan Claimants to a separate cause of action. Id. at 191,

 198.

         The Lujan Claimants also argue for the first time that because only some

 holders of Direct Abuse Claims are deemed under the Plan to release the Chartered

 Organizations that are co-liable for their claims, this constitutes unequal treatment

 in contravention of section 1123(a)(4). See D.I. 40 at 73. Initially, the Lujan

 Claimants solely relied on their direct action rights for this objection. See Bankr.

 D.I. 8708 § II.C.4. The Lujan Claimants now argue this new position on appeal.87

 Courts hold that an argument not raised in a trial court brief is waived and should

 not be considered. See, e.g., Thompson, 2020 WL 1531333, at *7 n.3; Watkins,

 2016 WL 1166323, at *4 n.4; Mallinckrodt, 639 B.R. at 892 n.178. By failing to




 87
      The bankruptcy court considered the Lujan Claimants’ and Claimant I.G.’s
      equal treatment objections (see Bankr. D.I. 8692 ¶ 5) separately, noting that
      “[i]n a one-paragraph objection [based on section 1123(a)(4)], the Lujan
      Claimants once again rely on their direct action rights.” D.I. 1-3 at 198. This
      anonymous individual claimant has not filed an appeal to this Court.

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 raise this issue in their objections before the bankruptcy court, the Lujan Claimants

 have failed to preserve this argument in these Appeals.

         Even if the Lujan Claimants had preserved this argument, they fail to specify

 whether they are among the group of creditors that is supposedly being treated

 unequally in being enjoined from pursuing the Chartered Organizations that are co-

 liable for their claims. Indeed, the Lujan Claimants are not part of this group,

 because their claims against the AOA, which is an Opt-Out Chartered

 Organization, are uniquely preserved.88 See D.I. 1-3 at 162. Because of this, the

 Lujan Claimants do not have standing to make this argument. In reality, this

 argument is premised on the Lujan Claimants’ baseless efforts to recover more

 than the likely payment in full and attempt to place themselves in a position they

 believe will put them above other similarly situated claimants, and should be

 rejected accordingly.

  X.     The Plan Treats Current And Future Holders Of Direct Abuse Claims
         Fairly And Equitably

         The D&V Claimants argue that the treatment of current Direct Abuse Claims

 is not fair and equitable as compared to Future Abuse Claims because a holder of a

 Future Abuse Claim (i.e., a person whose Abuse Claim arose prior to the Petition

 88
      Regardless, the judgment reduction provision set forth in Article X.N of the
      Plan moots any argument with respect to unequal treatment of survivors that
      may have claims against a Chartered Organization that are not channeled, as it
      expressly contemplates this situation and instructs a court to set off or credit a
      judgment in this circumstance. D.I. 1-4 § X.N.

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 Date, but is currently unaware of such claim as a result of “repressed memory” to

 the extent such concept is recognized by the highest appellate court of the

 applicable state or territory or someone under 18 years of age) was not required to

 file a proof of claim by the Bar Date. D.I. 41 at 80–81.

       This argument fails at the outset because the D&V Claimants did not raise

 this issue in their objections to confirmation of the Plan and have thus not

 preserved it for appeal. See Bankr. D.I. 8744; Bankr. D.I. 9017. Unpreserved

 arguments are waived and should not be considered. See, e.g., Thompson, 2020

 WL 1531333, at *7 n.3; Watkins, 2016 WL 1166323, at *4 n.4; Mallinckrodt, 639

 B.R. at 892 n.178. Additionally, as with other arguments raised by the D&V

 Claimants, this argument is purely theoretical in light of the bankruptcy court’s

 finding that Abuse Claims (which includes current Direct Abuse and Future Abuse

 Claims) will be paid in full. The D&V Claimants, therefore are not “parties

 aggrieved” with appellate standing on this issue. Either of these grounds is

 sufficient to overrule this argument on its own.

       Even if this issue were properly before the Court, the D&V Claimants cite

 no authority whatsoever supporting this contention. There is none. Rather, the

 reverse is true and incorporating this fair and equitable treatment of Future Abuse

 Claims into the Plan was necessitated by due process concerns. The creation of a

 trust to compensate these claimants and the appointment of a legal representative



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 to act as a fiduciary for their interests in the bankruptcy case has been endorsed by

 numerous courts in mass tort chapter 11 cases as an appropriate mechanism for a

 debtor to both comply with the requirements of due process and obtain a discharge

 from this type of claim. See, e.g., Hexcel Corp. v. Stepan Co. (In re Hexcel Corp.),

 239 B.R. 564, 568-69 (N.D. Cal. 1999) (“[T]he claimants’ interests had already

 been represented in the bankruptcy proceedings through the creation of the trust

 funds and the appointment of class representatives. Had this not been the case, it is

 doubtful that plaintiffs’ claims could properly be deemed to have been discharged

 in bankruptcy.”) (citing In re A.H. Robins, 88 B.R. 742, 743 (E.D. Va. 1988), aff’d,

 880 F.2d 694 (4th Cir. 1989); In re Johns-Manville Corp., 36 B.R. 743, 745–46

 (Bankr. S.D.N.Y. 1984)).

         The channeling of Future Abuse Claims to the Settlement Trust preserves

 the due process rights of these claimants, following the mechanisms sanctioned by

 courts in other mass tort bankruptcy cases, while also permitting the BSA to obtain

 the channeling and discharge injunction and fresh start to which they are entitled.

 Moreover, it is common practice in mass tort bankruptcies to classify current and

 future claimants in the same class and to provide future claimants with additional

 time to file their as-yet unmanifested claims.89 Providing holders of Future Abuse


 89
      See, e.g., In re DBMP LLC, No. 20-30080 (JCW) (Bankr. W.D.N.C. June 7,
      2022) [D.I. 1461] at *3 (providing in claims bar date order that current holders
      of asbestos-related mesothelioma claims were subject to the claims bar date

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 Claims with additional time to assert their claims because, by definition, as

 “futures” they were unable to assert their claims by the Bar Date comports with

 principles of fairness, due process, and common sense. In any event, all such

 claimants receive the same treatment, as required by section 1123(a)(4).90

         Moreover, the D&V Claimants’ suggestion that holders of Direct Abuse

 Claims will have to wait “80 to 90 years” for Future Abuse Claims to be filed such

 that they can receive compensation from the Settlement Trust is speculative

 hyperbole, which the Court should reject. See D.I. 41 at 80-82. First, the only

 competent testimony on this subject is that there are likely only 400 Future Abuse

 Claims. D.I. 1-3 at 62; Bankr. D.I. 9454 at 198:20–199:19. The addition of 400

 Future Abuse Claims to the already over 82,200 current Direct Abuse Claims

 (0.5%) cannot possibly be material, much less the catastrophic inequity that the

 D&V Claimants would have this Court believe.



      while future claimants were not subject to the claims bar date); In re USA
      Gymnastics, No. 18-09108 (RLM) (Bankr. S.D. Ind. Dec. 16, 2021) [D.I. 1776]
      at *21, 26–27 (confirming plan under which sexual abuse claimants that
      qualified as “Future Claimants” were not subject to the claims bar date); In re
      Emons Indus. Inc., 220 B.R. 182, 186, 191-92 (Bankr. S.D.N.Y. 1998)
      (confirming plan where “subsequent” personal injury claimants, who were
      unknown to debtor at the time the bar date was fixed, were not subject to the bar
      date, and were appropriately classified in the same class as current claimants).
 90
      For the same reason, any suggestion that the Bar Date—which applied only to
      current Direct Abuse Claims and provided an exception for Future Abuse
      Claims—creates different treatment fails. The time to object to, challenge, or
      appeal the Bar Date Order has long since passed. See Bankr. D.I. 695.

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       Second, as evidenced by the TDP, the Settlement Trust will be governed by

 comprehensive process-oriented guidelines for paying current claims, while also

 ensuring that sufficient funds remain to continue to compensate remaining current,

 as well as future, claims going forward. Distributions from the Settlement Trust to

 current Direct Abuse Claims will not be delayed because of Future Abuse Claims.

 Instead, the Settlement Trustee may make distributions to holders of current or

 future Direct Abuse Claims when those claims are allowed under the procedures

 set forth in the TDP. See, e.g., D.I. 1-4, Ex. A, Art. IX (providing process for

 payment upon final determination of an Allowed Abuse Claim); D.I. 1-4, Ex. B

 Art. 4 (same). Accordingly, the D&V Claimants’ argument that the Plan is not fair

 and equitable to holders of current Direct Abuse Claims is unfounded and should

 be overruled.

 XI.   The Lujan Claimants Have Failed To Prove That The Bankruptcy
       Court Clearly Erred In Authorizing Certain Modifications To The Plan

       In a last-ditch effort to derail the Plan, the Lujan Claimants make several

 Plan modification-related arguments, asserting that (a) the BSA’s Rule 7052

 Motion impermissibly bypassed Plan-related notice requirements, (b) the Plan was

 materially and adversely modified without proper notice after confirmation, and

 (c) the BSA did not satisfy the correct standard required for a Rule 7052 Motion.

 D.I. 40 at 74–78.    The bankruptcy court overruled these objections prior to




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 confirming the Plan. The Lujan Claimants have failed to demonstrate that such

 conclusions were clearly erroneous and therefore this Court should do the same.

       A.       The Lujan Claimants Lack Standing And Their Argument Was
                Not Preserved

       As an initial matter, the Lujan Claimants lack standing to challenge any Plan

 modifications because they voted to reject the Plan.        Plan modifications are

 immaterial unless they materially “affect[] a creditor or interest holder who

 accepted the plan.” In re Am. Solar King, 90 B.R. 808, 824 (Bankr. W.D. Tex.

 1988).     Creditors that reject a plan “lack[] standing to object to the plan’s

 modification.” In re Nat’l Truck Funding LLC, 588 B.R. 175, 179 (Bankr. S.D.

 Miss. 2018). The Lujan Claimants were among the most active participants and

 most vocal objectors in the Chapter 11 Cases, and virtually all of them voted to

 reject the Plan (as noted in Lujan Claimants’ brief). See D.I. 40 at 4 (citing Bankr.

 D.I. 8708). It is not only contrary to the law, but also defies logic to accept the

 premise that further disclosure and solicitation would have affected such Lujan

 Claimants’ votes. The Lujan Claimants’ arguments should be dismissed on this

 basis alone.

       To the extent that the Lujan Claimants have standing, they first argue that

 the modifications were not permitted under Bankruptcy Rule 7052 as a “vehicle”

 to confirm an “alternative plan of reorganization” and that the BSA improperly

 bypassed notice requirements for such modifications. D.I. 40 at 74; see also id. at


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 78. Contrary to the Lujan Claimants’ assertions, the BSA timely submitted the

 Rule 7052 Motion in an abundance of caution to supplement, or, in certain

 instances, amend, particular findings of fact and conclusions of law in the

 Confirmation Opinion. Pursuant to the Rule 7052 Motion, the BSA requested

 amendment of findings related to: (1) the UMAHC’s contributions, (2) the

 settlement with the law firm of Pachulski Stang Ziehl & Jones LLP, and

 (3) exculpation provisions in the Plan.91 See Bankr. D.I. 10188 at 11–16.

         The Lujan Claimants did not object to the amendment of any of these

 specific findings, only the process by which the BSA proposed the amendments.

 Because the Lujan Claimants did not include written objections to the specific

 findings in their Rule 7052 objection, they have not preserved this argument on

 appeal. See, e.g., Thompson, 2020 WL 1531333, at *7 n.3; Watkins, 2016 WL

 1166323, at *4 n.4; Mallinckrodt, 639 B.R. at 892 n.178. Even if the Lujan

 Claimants had preserved these arguments, they are unavailing.



 91
      The Lujan Claimants’ argument—that the BSA did not satisfy the standard for
      approval of the Rule 7052 Motion—is also meritless. The Lujan Claimants
      posit that the BSA was required to “show manifest injustice without amendment
      or supplement of the Opinion or any newly discovered evidence justifying
      amendment or supplement.” See D.I. 40 at 78. However, the bankruptcy court
      expected the BSA to draft a supplemental order that worked in tandem with the
      Confirmation Opinion. See Bankr. D.I. 10215 at 11:13–22. The BSA’s limited
      corrections to findings were to clearly avoid mistakes that would have resulted
      in manifest injustice for the BSA and their plan supporters in the event such
      errors had not been corrected. See Bankr. D.I. 10188 at 11–16.

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         B.    Notice Was Extensive

         In seeking amendment of these limited findings, the BSA did not “bypass

 requirements for plan confirmation” in violation of the twenty-eight-day notice

 requirement of Bankruptcy Rule 2002(b). See D.I. 40 at 74. As detailed above,

 the confirmation hearing began on March 14, 2022 and lasted twenty-two trial days

 over a six week period, during which the bankruptcy court addressed objections

 from numerous parties including the Lujan Claimants. See D.I. 1-3 at 53. The

 BSA provided extensive notice of the confirmation hearing in compliance with the

 Bankruptcy Code and Bankruptcy Rules.92

         Indeed, the bankruptcy court expressly found in the Confirmation Order that

 notice was adequate:

         All necessary service and notice with respect to confirmation of the
         Plan, including all releases and injunctions thereunder, on all known
         and unknown creditors and other parties in interest was adequate and
         sufficient under the circumstances of the Chapter 11 Cases and was in
         compliance with the provisions of the Bankruptcy Code, the
         Bankruptcy Rules, and the Local Rules, and no other or further notice
         is necessary or shall be required.

 D.I. 1-1 ¶ II.B.

         The Lujan Claimants also had ample time to consider these discrete

 modifications, file objections, and participate in the hearing on the Rule 7052

 Motion. The Confirmation Opinion was issued on July 29, 2022. D.I. 1-3 at 269.

 92
      See, e.g., Bankr. D.I. 7761; Bankr. D.I. 7999; Bankr. D.I. 8056; Bankr. D.I.
      8378; Bankr. D.I. 8886; Bankr. D.I. 8921; Bankr. D.I. 9074; Bankr. D.I. 9213.

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 The Rule 7052 Motion was required to be filed within fourteen days of the

 bankruptcy court’s issuance of the Confirmation Opinion and was timely filed on

 August 12, 2022.     Bankr. D.I. 10188.       On August 15, the bankruptcy court

 established an appropriate objection deadline of August 24 and a hearing date of

 September 1 for the Rule 7052 Motion. See Bankr. D.I. 10195. The Lujan

 Claimants thus had nearly one month following entry of the Confirmation Opinion

 and two weeks from the filing of the Rule 7052 Motion to object and had at least

 seventeen days prior to the hearing on the Rule 7052 Motion to consider the BSA’s

 proposed Confirmation Order. Moreover, the Lujan Claimants did in fact object to

 the Rule 7052 Motion and actually participate at the September 1 hearing. See

 Bankr. D.I. 10246; Bankr. D.I. 10288 at 52:25–56:11, 79:11–80:8, 100:7–110:6.

       Next, the Lujan Claimants assert that the BSA materially and adversely

 modified the Plan without proper notice after confirmation to incorporate

 modifications that (a) resolved the RCAHC’s objections to the Plan and

 (b) implemented a fraud-prevention provision in the Confirmation Order as

 required by the Confirmation Opinion. See D.I. 40 at 74–78. At the outset, the

 Lujan Claimants misstate the facts and timing of the settlement that resolved the

 RCAHC’s Plan objections.       The Lujan Claimants assert that “the Plan now

 includes third-party releases and injunctions of Survivors’ claims which were not

 in the earlier plan, namely, the releases and injunctions in favor of Roman Catholic



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 Entities,” citing this language as set forth in the Confirmation Order. See D.I. 40 at

 74–75. But the resolution of the RCAHC’s Plan objections was disclosed in a term

 sheet filed with a mediator’s report on March 17, 2022 and announced at the

 beginning of the confirmation hearing with the exact language that the Lujan

 Claimants argue was added after confirmation. See Bankr. D.I. 9386; Bankr. D.I.

 9387; Bankr. D.I. 9406 at 8:1–10:21. The mediator’s report and term sheet were

 also served on parties in interest, including the Lujan Claimants. See Bankr. D.I.

 9387; Bankr. D.I. 9442; Bankr. D.I. 9498. That notice clearly stated that the terms

 of the settlement would be included in the Plan in exchange for resolution of the

 RCAHC’s Plan objections, and the terms were subsequently incorporated into the

 modified version of the Plan. See Bankr. D.I. 9696; Bankr. D.I. 9697. The Lujan

 Claimants actively participated in the confirmation hearing and had twenty-eight

 days from the disclosure of the RCAHC Plan objection resolution to the end of the

 confirmation hearing to raise this issue. The Lujan Claimants chose not to do so.

       The settlement with the RCAHC provided for certain clarifications, which

 were incorporated directly into the Plan. No party objected to any element of the

 RCAHC resolution at any time through completion of the confirmation hearing or

 even at any time prior to the issuance of the Confirmation Opinion. The RCAHC

 settlement was served on, among others, the Bankruptcy Rule 2002 list parties,

 parties that had filed a notice of appearance or requested notice, pro se parties, all



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 parties entitled to vote on the Plan or their counsel, and Chartered Organizations.

 See Bankr. D.I. 9498.

       The Lujan Claimants’ purported objection was first raised well past any

 conceivable deadline to do so. In fact, they never filed any pleading of any kind

 with the bankruptcy court challenging the RCAHC settlement. They did not raise

 an objection at any time prior to the end of the confirmation hearing or even the

 prior to the filing of the Confirmation Opinion. This silence continued all the way

 through their final substantive pleading in the bankruptcy court prior to their

 appeal.   After issuing the Confirmation Opinion, the bankruptcy court held

 multiple hearings on the form of Confirmation Order and the BSA’s Rule 7052

 Motion. Consistent with the Lujan Claimants’ lack of objection to the RCAHC

 resolution through issuance of the opinion, the Lujan Claimants’ objection to the

 Rule 7052 Motion filed on August 24, 2022 fails to even mention the RCAHC

 settlement. See Bankr. D.I 10246. Only at one of the subsequent hearings on the

 form of the Confirmation Order did the Lujan Claimants purport to orally

 challenge the RCAHC settlement and the resulting clarifications of the Plan. As

 the bankruptcy court ruled, that was far too late:

       I am not going to change anything with respect to the Roman Catholic
       resolution. It was filed…during confirmation, but which extended
       way beyond the filing of this particular resolution and any objections
       should have been raised at that point in time. There was plenty of
       time to do it….I think it was fairly covered…by the opinion and,



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       again, if there was a specific issue, it should have been raised
       specifically.

 Bankr. D.I. 10288 at 111:1–17. The Lujan Claimants have provided no evidence

 to support that such finding was clearly erroneous and this Court should affirm.

       C.     Modifications Were Not Material or Adverse

       The Lujan Claimants’ objections should also be overruled on the merits

 because the modification did not impact them and, in any event, were not material

 or adverse. The Bankruptcy Code permits modifications of a plan “at any time”

 prior to confirmation.    11 U.S.C. § 1127(a).      The Bankruptcy Code further

 provides that all voting creditors who previously accepted a plan will be deemed to

 have accepted the modified plan. Id. Bankruptcy Rule 3019(a) specifies that post-

 solicitation plan modifications do not require resolicitation if the modifications do

 not adversely change the treatment of parties who previously voted for the plan.

 As such, courts have found that only “material” and “adverse” modifications

 require resolicitation. See In re Fed.-Mogul Glob. Inc., No. 01-10578 (JFK), 2007

 WL 4180545, at *39 (Bankr. D. Del. Nov. 16, 2007); In re Century Glove, Inc.,

 No. 90-400 (SLR), 1993 WL 239489, at *3 (D. Del. Feb. 10, 1993).

       Plan modifications are immaterial unless they materially “affect[] a creditor

 or interest holder who accepted the plan that such entity, if it knew of the

 modification, would be likely to reconsider its acceptance.” Am. Solar King, 90

 B.R. at 824 (citing 8 Collier on Bankruptcy ¶ 3019.03 (15th ed. 1987); see also In


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 re New Power Co., 438 F.3d 1113, 1117–18 (11th Cir. 2006) (explaining that a

 party’s “vote for or against a plan” may be applied “to a modified plan unless the

 modification materially and adversely changes” the party’s treatment). Further, as

 addressed elsewhere herein, there can be no material and adverse change when

 holders of Direct Abuse Claims are likely to be paid in full under the Plan, both

 before and after modifications are made to the Plan. See D.I. 1-3 at 69.

       The Lujan Claimants take specific issue with the definition of “Roman

 Catholic Entities” in the resolution with the RCAHC, asserting that the modified

 definition “expands” the number of parties being released under the Plan and

 captures entities that may not share insurance with the BSA and may not be

 Chartered Organizations. D.I. 40 at 75–76. The Lujan Claimants add that these

 entities were not adequately disclosed in connection with soliciting votes on the

 Plan. Id. at 76. This argument is mistaken and a red herring. The RCAHC

 resolution did nothing more than clarify that the listed entities were recognized by

 the BSA.

       Moreover, only “Abuse Claims” are being released under the Plan. Abuse

 Claims, by definition, are claims against, among others, Limited Protected Parties

 such as the Roman Catholic Entities that “alleged Scouting-related Abuse that

 occurred prior to the Petition Date.” See D.I. 1-4 Art. I.A.18 (emphasis added). If

 the Lujan Claimants have claims against religious orders that are not related to



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 Scouting, those are not released under the Plan. If such claims are Scouting-

 related, then they relate to claims against the BSA and its insurance and are

 properly treated under the Plan. The bankruptcy court noted this point in the

 Confirmation Opinion: “Of course, the [AOA] will have to defend non-Abuse

 Claims (i.e., abuse claims unrelated to Scouting) but those claims are not covered

 by the BSA Insurance Policies.”       D.I. 1-3 at 97 n.354.     Thus, the RCAHC

 settlement creates no risk that the injunctions will spill past their intended effect

 and the bankruptcy court’s jurisdiction.

       The Lujan Claimants also assert that a fraud-prevention provision added to

 conform with the Confirmation Opinion materially and adversely affects the Lujan

 Claimants such that resolicitation is required. See D.I. 40 at 76–78. On its face

 this argument is absurd and implies that the Lujan Claimants’ claims would be

 negatively impacted by a process designed to identify and address fraudulent

 claims.

       The TDP is not designed to pay fraudulent claims; rather, the detection of

 fraudulent claims is also part of the review process. See generally D.I. 1-4, Ex. A.

 Nevertheless, in response to parties’ concerns that such provisions were not

 expressly set forth in the TDP, the bankruptcy court ordered that: “If the Plan is

 confirmed, the Confirmation Order will provide that the Settlement Trustee will

 propose procedures to suss out fraudulent claims taking into account factors she



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 deems appropriate, which can include a cost/benefit analysis. Those procedures

 will be presented to the Court.” D.I. 1-3 at 211–12. Accordingly, the BSA

 included the following provision in the Confirmation Order, which was served

 upon the Lujan Claimants and others and approved by the bankruptcy court:

       Consistent with the Confirmation Opinion, by one-hundred twenty
       (120) days after the Effective Date, the Settlement Trustee shall
       propose procedures to the Court to identify fraudulent claims, taking
       into account factors the Settlement Trustee deems appropriate (and
       which may include a cost/benefit analysis). These procedures shall be
       presented to the Court for approval, after notice and, if necessary, a
       hearing, and the STAC and the Future Claimants’ Representative shall
       have no consent rights or veto rights with respect to the proposed
       procedures. In addition to disallowance of a claim, penalties may
       include seeking the prosecution of the claimant or claimant’s attorney
       for presenting a fraudulent claim in violation of 18 U.S.C. § 152 and
       seeking sanctions from the Court.

 D.I. 1-1 ¶ 19. As with the Lujan Claimants’ other arguments, the bankruptcy court

 appropriately rejected the Lujan Claimants’ objection related to Plan

 modifications. At the September 1 hearing, the bankruptcy court exposed the

 absurdity of this objection in a question to counsel: “[H]ow does [a procedure to

 prevent fraudulent claims being paid by the Settlement Trust] hurt a survivor that

 somebody who’s filing a fraudulent claim gets kicked out of the pool? Doesn’t

 that benefit…all of your claimants who believe they have valid claims?” Bankr.

 D.I. 10288 at 104:10–13. This Court should ask the same.

       All of the Plan modifications made before and after the Confirmation

 Opinion were adequately disclosed and are not material and adverse modifications


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 requiring further disclosure or resolicitation.      These objections should be

 overruled.

XII.   Allianz And Liberty’s Arguments With Respect To The Plan’s
       Treatment Of Indirect Abuse Claims And Judgment Reduction
       Provisions Are Meritless

       Two non-settling insurance companies—Allianz and Liberty—have filed a

 separate brief challenging the bankruptcy court’s rulings on the treatment of

 Indirect Abuse Claims and the judgment reduction provisions set forth in the TDP

 and Confirmation Order.     See D.I. 43 at 14–41. The court’s rulings with respect

 to these Plan provisions were correct and should stand for the reasons that follow.

       A.     Allianz And Liberty Have Failed To Prove That The Bankruptcy
              Court Erred In Approving The Treatment Of Indirect Abuse
              Claims

       Under the Plan, Indirect Abuse Claims are claims for contribution,

 indemnity, reimbursement, or subrogation with respect to Abuse Claims asserted

 by Local Councils, Chartered Organizations, and Insurance Companies that are

 being channeled to the Settlement Trust for liquidation in accordance with the

 TDP. See D.I. 1-4, Art. III.B.11. Article IV.B of the TDP sets forth specific

 requirements for Indirect Abuse Claims to be eligible for compensation from the

 Settlement Trust. D.I. 1-4, Ex. A Art. IV.B. Among other things, an indirect

 abuse claimant (1) must have a valid Indirect Abuse Claim, (2) “that is not subject

 to (a) disallowance under section 502 of the Bankruptcy Code, including



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 subsection (e) thereof, (subject to the right of the holder of the Indirect Abuse

 Claim to seek reconsideration by the Settlement Trustee under section 502(j) of the

 Bankruptcy Code), or is not otherwise legally invalid, or (b) subordination under

 sections 509(c) or 510 of the Bankruptcy Code, or otherwise under applicable

 law,” and (3) must establish that (a) such claimant has paid in full the underlying

 liability for a Direct Abuse Claim for which the claimant seeks payment, (b) such

 claimant has released the Settlement Trust and Protected Parties from liability for

 the Direct Abuse Claim, and (c) the Indirect Abuse Claim is not subject to a valid

 defense. D.I. 1-4, Ex. A Art. IV. B. There is nothing improper about the way the

 Plan and TDP address these claims.

       Indeed, the bankruptcy court ruled in favor of the objectors on certain

 objections related to Indirect Abuse Claims, including the right to judicial review.

 The TDP was revised to incorporate those rulings in the confirmed Plan. See D.I.

 1-4 Ex. A. Allianz and Liberty misconstrue those changes and the bankruptcy

 court’s rulings to rehash their list of complaints.      As an initial matter, the

 bankruptcy court clearly ruled on all objections to Article IV.B of the TDP in the

 Confirmation Opinion: “With respect to Article IV.B, I make the following

 rulings….” See D.I. 1-3 at 258. Allianz and Liberty make much of the bankruptcy

 court’s alleged lack of understanding of the difference between claim treatment




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 and claim allowance, but the bankruptcy court understood those concepts very

 well:

         The allowance of a claim is distinct from treatment of a claim and
         the class vote does not bind a dissenting creditor with respect to
         whether its claim is allowed. Whether this is a due process concept or
         simply the application of § 502 of the Code, I agree with objectors
         that they are entitled to judicial review of their claims once the
         Settlement Trustee has made her determinations.93

 Id. (footnote omitted and emphasis added). The specific challenges raised by

 Allianz and Liberty are just as misguided.

         First, Allianz and Liberty assert that Article IV.B of the TDP violates section

 502 by “shift[ing] the burden” of objecting to an Indirect Abuse Claim from the

 Settlement Trustee to the holder of such claim, who must “affirmatively prove the

 validity of its claim.” D.I. 43 at 16–17. But that is neither correct nor problematic.

         As is commonplace in mass tort bankruptcy cases, the TDP set forth

 procedures for the allowance and distribution of both Direct and Indirect Abuse

 Claims that have been channeled to the Settlement Trust. In W.R. Grace, similar

 trust distribution procedures provided that indirect trust claims had to meet

 comparable requirements (including establishing that the indirect claimant had

 fixed, liquidated, and paid the trust’s liability to a direct trust claimant in full and



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      The court also expressly referenced the parties’ post-confirmation hearing
      submissions regarding Article IV.B of the TDP in connection with making its
      rulings on Article IV.B. See D.I. 1-3 at 256–57 n.742.

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 executed a release in favor of the trust, among other things) in order to become a

 “presumptively valid” claim that would be paid by the trust. See W.R. Grace, 446

 B.R. at 116 & n.30; see also, e.g., In re Duro Dyne Nat’l Corp., No. 18-27963

 (Bankr. D.N.J. Sept. 7, 2018) [D.I. 729] (same); In re Metex Mfg. Corp., No. 12-

 14554 (CGM) (Bankr. S.D.N.Y. Dec. 23, 2013) [D.I. 364] (same); In re Leslie

 Controls, Inc., No. 10-12199 (CSS) (Bankr. D. Del. Jan. 18, 2011) [D.I. 503]

 (same). That is all that is happening here.

         Objectors in W.R. Grace made similar arguments about disparate treatment

 (as Allianz and Liberty do here), arguing that the trust distribution procedures

 imposed impermissible restrictions and requirements on indirect claims that were

 not imposed on direct claims. W.R. Grace, 446 B.R. at 119. The bankruptcy court

 overruled these objections, “find[ing] that the plain language of the TDP shows

 that the ‘additional requirements’ are in place so that an Indirect PI Trust Claimant

 has a procedural mechanism to present its claims.” Id. at 120. Such is the case

 here.    What Allianz and Liberty characterize as “burden shifting” and the

 “construct[ion] [of] obstacles” is no more than the establishment of “procedural

 mechanisms” for holders of Indirect Abuse Claims to establish and present their

 claims to the Settlement Trustee at the appropriate time.

         Second, as it stands now, Allianz and Liberty have each filed Indirect Abuse

 Claims that are contingent and unliquidated. See SA 378, SA 388, SA 391.



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 Allianz and Liberty conveniently ignore that outside of the settlement-trust context,

 these claims would be subject to disallowance under section 502(e). Section

 502(e) provides that notwithstanding section 502(a), a party may object, and the

 court may disallow, a claim (1) for reimbursement or contribution, (2) for which

 the entity asserting the claim is “liable with the debtor” on or has secured the claim

 of a creditor, and (3) that is contingent at the time of its allowance or disallowance.

 See, e.g., In re Drexel Burnham Lambert Grp., Inc., 146 B.R. 92, 95 (S.D.N.Y.

 1992).

       The imposition of procedural mechanisms in Article IV.B of the TDP, such

 as the requirement that the holder of an Indirect Abuse Claim have a claim “that is

 not subject to disallowance under section 502, including subsection (e) thereof,”

 simply places Allianz and Liberty on the same footing as to the status and

 reconciliation of their claims outside of the process set forth in the TDP. As

 recognized by the court in W.R. Grace, the BSA is simply changing the procedural

 mechanisms for resolving these claims—it are not substantively deviating from the

 Bankruptcy Code’s claims resolution requirements. W.R. Grace, 446 B.R. at 119-

 20.

       Under any claim reconciliation procedures, therefore, Allianz and Liberty’s

 claims are not currently eligible for compensation from the Settlement Trust, and

 raising section 502 arguments with respect to these proofs of claim is premature.



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 Allianz and Liberty appear to recognize this, noting that they “intend to assert

 claims in the future to the extent payments are made in respect of Direct Abuse

 Claims.” D.I. 43 at 1. There is no violation of section 502(a) with respect to

 Allianz and Liberty’s existing claims (let alone liquidated claims that may be

 asserted in the future), and the “burden will shift” to the Settlement Trustee to

 object to such claims once they are in fact asserted in accordance with the TDP.94

         Third, Allianz and Liberty complain that the bankruptcy court’s judicial-

 review ruling—an issue they won—“does not…remedy the deficiencies inherent in

 the Claims Allowance Provision” because such review must be up front rather than

 after the Settlement Trustee has made her determination. D.I. 43 at 18. The

 bankruptcy court correctly dismissed this argument, ruling that

         [w]hile neither insurer cited a case for the proposition that their claims
         cannot be reviewed in the first instance by the Settlement Trustee, I
         agree that a claimant who objects to the delegation of its claim to a
         settlement trust must have the right to judicial review of the outcome
         of the trust process.

 D.I. 1-3 at 258.




 94
      The bankruptcy court also recognized that the “burden shifting” argument was
      premature at the September 1, 2022 hearing: “I think the indirect abuse
      claimants are entitled to a review in front of me and they can argue whatever
      they want to argue with respect to burden shifting at that point in time and who
      has the burden when they’re in front of me, if that’s where they want to be.”
      Bankr. D.I. 10288 at 89:16-20.

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       Allianz and Liberty repeat the same argument here, again without citing case

 law. The result should be the same. Judicial review subsequent to the Settlement

 Trustee’s decision on an Indirect Abuse Claim follows the trust distribution

 procedures approved in other mass tort cases. See, e.g., W.R. Grace, 446 B.R. at

 116 n.30 (approving trust distribution procedures providing that if a dispute

 between the trust and the indirect claimant as to payment of a claim was not

 resolved by the procedures set forth therein, the indirect claimant may litigate the

 dispute in the tort system); In re Paddock Enters., LLC, No. 20-10028 (LSS)

 (Bankr. D. Del. May 26, 2022) [D.I. 1406] (trust distribution procedures providing

 for indirect claim disputes to be resolved by ADR procedures followed by

 litigation in the tort system); In re Sepco Corp., No. 16-50058 (AMK) (Bankr.

 N.D. Ohio Mar. 24, 2020) [D.I. 732] (same); In re Maremont Corp., No. 19-10118

 (LSS) (Bankr. D. Del. May 17, 2019) [D.I. 241] (same); In re Duro Dyne Nat’l

 Corp., No. 18-27963 (Bankr. D.N.J. Sept. 7, 2018) [D.I. 729] (same); In re Geo. V.

 Hamilton, Inc., No. 15-23704 (GLT) (Bankr. W.D. Pa. Jan. 11, 2018) [D.I. 1605]

 (same); In re Metex Mfg. Corp., No. 12-14554 (CGM) (Bankr. S.D.N.Y. Dec. 23,

 2013) [D.I. 364] (same); In re Leslie Controls, Inc., No. 10-12199 (CSS) (Bankr.

 D. Del. Jan. 18, 2011) [D.I. 503] (same). The bankruptcy court correctly rejected

 this, and this Court should follow suit.




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         Fourth, Allianz and Liberty complain that the bankruptcy court incorrectly

 ruled with respect to Indirect Abuse Claims because it did not recognize the

 distinction between claims allowance and claims treatment.            However, the

 bankruptcy court noted that “[t]he allowance of a claim is distinct from treatment

 of a claim and the class vote does not bind a dissenting creditor with respect to

 whether its claim is allowed.” D.I. 1-3 at 258. Allianz and Liberty ignore this

 acknowledgment and conveniently focus instead on another statement from the

 bankruptcy court. D.I. 43 at 24. In any event, Allianz and Liberty were not

 “foreclosed from arguing that the allowance provisions for Indirect Abuse Claims

 [were] improper”—they simply lost.95

         B.    The Bankruptcy Court Did Not Err In Approving The BSA’s
               Judgment Reduction Language

         Allianz and Liberty complain about the bankruptcy court’s ruling with

 respect to the judgment reduction provisions set forth in the TDP and Confirmation

 Order, in which the bankruptcy court largely approved the BSA’s judgment

 reduction language. See D.I. 43 at 25–41; Bankr. D.I. 10304. Contrary to their

 complaints, and for the reasons set forth more fully in [Article IV.C.3] of the

 Future Claimants’ Representative’s answering brief, the judgment reduction

 provisions (1) fairly compensate Allianz and Liberty for their contingent and

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      Allianz and Liberty made this argument in their Plan objections, see Bankr. D.I.
      8763, 8778, at confirmation, and in Liberty’s post-confirmation submission to
      the bankruptcy court. See Bankr. D.I. 9689.

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 speculative contribution claims, and (2) the finality requirement set forth therein—

 which is mutual based upon the bankruptcy court’s ruling—was appropriate and is

 not prejudicial to the insurers.    The BSA hereby adopts and incorporates by

 reference in full the arguments set forth in Article V.C.2 of the Future Claimants’

 Representative’s answering brief with respect to this argument.

                                    CONCLUSION

       For all of the foregoing reasons, the Confirmation Opinion, the Confirmation

 Order, and the Pre-Petition Century/Chubb Companies Claims Order should be

 affirmed in all respects.




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                       CERTIFICATE OF COMPLIANCE

       Pursuant to Fed. R. Bankr. P. 8015(h), the undersigned hereby certifies that

 this brief complies with the type-volume limitation pursuant to this Court’s Order

 Granting Motion on Stipulation Regarding Appeals from Order Confirming Plan

 of Reorganization of Boy Scouts of America and Delaware BSA, LLC [D.I. 22] (the

 “Order”).

       1.     Pursuant to the Order, the BSA has up to 71,500 words in response to

 the Certain Insurers’ principal brief (19,500), Liberty and Allianz’ supplemental

 brief (13,000), Lujan Claimants’ principal brief (19,500), and D&V Claimants’

 principal brief (19,500). Order ¶ 9(c).]

       2.     Exclusive of the exempted portions of the brief specified in Fed. R.

 Bankr. P. 8015(g), the brief contains 68,060 words.

       3.     The brief has been prepared using Microsoft Word in 14-point Times

 New Roman font. The undersigned has relied upon the word count feature of this

 word processing system in preparing this certificate.



                                               Dated: December 7, 2022

                                               /s/ Derek C. Abbott
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